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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    Nikola Corp., et al.,1                                    Case No. 25-10258 (TMH)

                      Debtors.                                (Joint Administration Requested)

                                                              Re: Docket No. 31

                  NOTICE OF FILING THE REDACTED CREDITOR MATRIX

             PLEASE TAKE NOTICE that, pursuant to Rule 9018-1(d)(ii) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, the above-captioned debtors and debtors in possession (the “Debtors”) have today filed

the attached redacted version of the Creditor Matrix 2 with the United States Bankruptcy Court for

the District of Delaware, 824 N. Market Street, Wilmington, Delaware 19801.




                                 [Remainder of Page Intentionally Left Blank]




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are: Nikola Corporation (registered to do business in California as Nikola Truck Manufacturing
      Corporation) (1153); Nikola Properties, LLC (3648); Nikola Subsidiary Corporation (1876); Nikola Motor
      Company LLC (0193); Nikola Energy Company LLC (0706); Nikola Powersports LLC (6771); Free Form
      Factory Inc. (2510); Nikola H2 2081 W Placentia Lane LLC (N/A); 4141 E Broadway Road LLC (N/A); and
      Nikola Desert Logistics LLC (N/A). The Debtors’ headquarters are located at 4141 East Broadway Road,
      Phoenix, AZ 85040.

2
      On February 19, 2025, the Debtors filed the Debtors’ Motion for Entry of an Order Authorizing Redaction of
      Certain Personal Identifying Information Within the Consolidated List of Creditors and Other Filings [Docket
      No. 6].


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 Dated: February 19, 2025                         Respectfully submitted,
        Wilmington, Delaware
                                                  /s/ Maria Kotsiras
 Joshua D. Morse, Esq.                            M. Blake Cleary (No. 3614)
 Jonathan R. Doolittle, Esq.                      Brett M. Haywood (No. 6166)
 PILLSBURY WINTHROP SHAW                          Maria Kotsiras (No. 6840)
 PITTMAN LLP                                      Sarah R. Gladieux (No. 7404)
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        jonathan.doolittle@pillsburylaw.com
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 -and-                                                   bhaywood@potteranderson.com
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  New York, New York 10019
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         chazz.coleman@pillsburylaw.com

                      Proposed Counsel to the Debtors and Debtors in Possession




                                                  2

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12TH WONDER LLC           Case 25-10258-TMH
                                       2SIXTYTWODoc
                                                  INC 32    Filed 02/19/25   Page
                                                                               3EYE3TECHNOLOGIES,
                                                                                     of 171       LLC
5890 STONERIDGE DR, SUITE 216          6939 SCHAEFER AVE. STE D363             14600 BEADLE LAKE RD.
PLEASANTON, CA 94588                   CHINO, CA 91710                         BATTLE CREEK, MI 49014




3I, LP                                 3M COMPANY                              4 STAR ELECTRONICS INC
140 BROADWAY, FL 38                    3M CENTER                               930 CALLE NEGOCIO SUITE C
NEW YORK, NY 10005                     ST PAUL, MN 55144                       SAN CLEMENTE, CA 92673




4GEN LOGISTICS LLC                     7TH WAVE COMMUNICATIONS, INC.           A & S ENGINEERING SERVICES, INC.
23860 W HWY 85                         1631 N VINE ST                          28405 SAND CANYONSUITE B
BUCKEYE, AZ 85326                      CHICAGO, IL 60614                       CANYON COUNTRY, CA 91387




A BERGER POLSKA SP. Z O.O.             A RAYMOND GMBH & CO. KG                 A V GAUGE & FIXTURE INC
UL. PRZYJAŹNI 47A                      TEICHSTRBE 57                           4000 DELDUCA DRIVE
KEDZIERZYN-KOŹLE 47-225                LORRACH 79539                           OLDCASTLE, ON N0R 1L0
POLAND                                 GERMANY                                 CANADA




A&M CARRIERS INC                       A&P SOLUTIONS                           A&R TOWING LLC
1875 ROHLWING RD. STE B                RIO LERMA 1, KM. 116 SAN LORENZO A      19241B N MARICOPA RD
ROLLING MEADOWS, IL 60008              PUEBLA 72730                            MARICOPA, AZ 85139
                                       MEXICO




A&T GLOBAL QUALITY INC                 A. VOGT GMBH & CO. KG                   A.C MCGUNNIGLE & CO., INC
13165 W LAKE HOUSTON PKWY 228          DROSTENFELD 2-8                         100 MARKET ST
HOUSTON, TX 77044                      ARNSBERG 59759                          KENILWORTH, NJ 07033
                                       GERMANY




A.RAYMOND ITALIANA SRL                 A.V. CONCEPTS, INC.                     A-1 LOCKSMITH & SECURITY CENTER INC
STRADA COMPLANARE, 26                  1917 W. 1ST ST.                         1707 E WEBER DR STE 1
CARISIO, VERCELLI 13040                TEMPE, AZ 85281                         TEMPE, AZ 85281
ITALY




A3D HOLDINGS, LLC.                     AA ANCHOR FENCE, INC                    AAL ENTERPRISES LLC
1820 W DRAKE DR. STE 101               8320 N 67TH AVE                         1022 S 950 W
TEMPE, AZ 85283                        GLENDALE, AZ 85302                      BRIGHAM CITY, UT 84302




AARON CORICHI, JUAN                    AASHISH SHARAD DALAL                    AB DYNAMICS INC
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       48325 ALPHA DRIVE SUITE 120
                                                                               WIXOM, MI 48393




ABACUS INDUSTRIES INC.                 ABBOTT GRANITE                          ABD ELMUTALAB, MOHAMAD
3894 MANNIX DR., STE 208               4210 S 36TH ST                          [ADDRESS ON FILE]
NAPLES, FL 34114                       PHOENIX, AZ 85040
ABM INDUSTRIES INCORPORATED Case 25-10258-TMH     Doc 32 MEHRAN
                                         ABOLGHASEMIBIZAKI, Filed 02/19/25   Page 4 of
                                                                               ABOVE   171
                                                                                     AND BEYOND FITNESS REPAIR, LL
600 HARRISON ST., SUITE 600              [ADDRESS ON FILE]                     2473 S HIGLEY RD. STE 104-107
SAN FRANCISCO, CA 94107                                                        GILBERT, AZ 85295




ABRAMS & BAYLISS LLP                   ABRISA INDUSTRIAL GLASS INC             ABSG CONSULTING INC.
20 MONTCHANIN ROAD, SUITE 200          200 S HALLOCK DR                        1701 CITY PLAZA DR
WILMINGTON, DE 19807                   SANTA PAULA, CA 93060                   SPRING, TX 77389




ABT MANUFACTURING SERVICES, S.A. DE    ACCELERATE AUTO GROUP, LLC              ACCENTURE LLP
AV. AVANTE 841 PARQUE INDUSTRIAL       5201 GRISHAM DR                         500 W MADISON ST
GUADALUPE 67190                        ROWLETT, TX 75088                       CHICAGO, IL 60661
MEXICO




ACCO ENGINEERED SYSTEMS, INC           ACCURATE TAPE AND LABEL CO.             ACCURIDE CORPORATION
888 E WALNUT ST                        14500 JIB ST.                           7140 OFFICE CIRCLE
PASADENA, CA 91101                     PLYMOUTH, MI 48170                      EVANSVILLE, IN 47715




ACE INDUSTRIES, INC.                   ACE MULTI AXES SYSTEMS LIMITED          ACE TRANSPORTATION SYSTEMS LLC
6295 MCDONOUGH DR                      A50/49, 2ND MAIN, 2ND STAGE, PEENYA     5601 S ORANGE BLOSSOM TRL
NORCROSS, GA 30093                     BENGALURU, KA 56005                     ORLANDO, FL 32839
                                       INDIA




ACEDO COTA, MIGUEL                     ACEVEDO, ALFONSO                        ACEVEDO, ENRIQUE
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]




ACHILLES INC.                          ACME CRYOGENICS, INC.                   ACME ELECTRIC MOTOR, INC.
1490 S CHERRYBELL STRAV                2801 MITCHELL AVE                       1101 N WASHINGTON ST
TUCSON, AZ 85713                       ALLENTOWN, PA 18103                     GRAND FORKS, ND 58203




ACME-WORKS, LLC                        ACROMAG INC                             ACT TEST PANELS LLC
1735 LA VEREDA RD                      30765 S. WIXOM RD.                      273 INDUSTRIAL DRIVE
BERKELEY, CA 94709                     WIXOM, MI 48393                         HILLSDALE, MI 49242




ACTALENT, INC                          ACTIVE TIRE LLC                         ADAMAS INTELLIGENCE INC.
7301 PARKWAY DRIVE                     965 S 4TH AVENUE                        500 KING ST. WEST 3RD FLOOR
HANOVER, MD 21076                      YUMA, AZ 85364                          TORONTO, ON M5V 1L9
                                                                               CANADA




ADAME SALAZAR, MANUEL                  ADAMS AUTO GLASS LLC                    ADAMS, JODY
[ADDRESS ON FILE]                      21929 S 185TH ST                        [ADDRESS ON FILE]
                                       QUEEN CREEK, AZ 85142
ADAMS, WADE               Case 25-10258-TMH     Doc 32
                                       ADHETEC INC.         Filed 02/19/25   Page 5 of
                                                                               ADLER    171
                                                                                     ELEKTROTECHNIK LEIPZIG GMBH
[ADDRESS ON FILE]                      12620 INTERURBAN AVE S.BUILDING B       HAYNAER WEG 16
                                       TUKWILA, WA 98168                       SCHKQEUDITZ 04435
                                                                               GERMANY




ADLER EVO SRL                          ADMIRAL INSURANCE COMPANY               ADMIRAL INSURANCE COMPANY
VIA CUNEO 27                           1000 HOWARD BLVD., SUITE 300            232 STRAWBRIDGE DRIVE
PIANFEI 12080                          PO BOX 5430                             SUITE 300
ITALY                                  MOUNT LAUREL, NJ 08054                  MOORESTOWN, NJ 08057




ADOBE INC.                             ADOLFO ALEJANDRI ESTRELLA, JOSE         ADOT
29322 NETWORK PLACE                    [ADDRESS ON FILE]                       1801 W JEFFERSON ST
CHICAGO, IL 60673                                                              PHOENIX, AZ 85007




ADRY PARTNERS, LLC                     ADS INC                                 ADSUL, KRANTI
C/O ADRYTECH                           621 LYNNHAVEN PKWY STE 160              [ADDRESS ON FILE]
2222 W PARKSIDE LN, STE 118            VIRGINIA BEACH, VA 23452
PHOENIX, AZ 85027




ADVANCE PAPER & MAINTENANCE SUPPLY     ADVANCED CIRCUITS, INC.                 ADVANCED ENERGY IDEAS, INC.
1135 N. MCQUEEN RD. SUITE 143          21101 E. 32ND PARKWAY                   1113 W BIRCHWOOD AVE
GILBERT, AZ 85233                      AURORA, CO 80011                        MESA, AZ 85210




ADVANCED MANUFACTURING & FABRICATIO    ADVANCED POWER CONVERSION               ADVANCED PURCHASING DYNAMICS, INC.
204 S 69TH AVE                         SOLUTIONS                               9328 CLIFTON AVE.
TEMPE, AZ 85043                        81 PARKER ROAD                          PO BOX 75031
                                       BARRE, VT 05641                         SALEM, MI 48175




ADVANCED TRUCK SERVICES, LLC           ADVANCED WHEEL SALES, LLC               ADVANTECH CORPORATION
11602 OAKLAND DR                       28381 NETWORK PLACE                     380 FAIRVIEW WAY
HENDERSON, CO 80640                    CHICAGO, IL 60673                       MILPITAS, CA 95035




ADVANTECH INTERNATIONAL                ADVOKATFIRMAET HAAVIND AS               AEI CONSULTANTS
1600 COTTONTAIL LN                     BYGDOY ALLE 2PB 359 SENTRUM             2500 CAMINO DIABLO
SOMERSET, NJ 08873                     OSLO 0101                               WALNUT CREEK, CA 94597
                                       NORWAY




AERDON EQUIPMENT                       AERO AUTOMATIC SPRINKLER COMPANY        AEROBLAZE LABORATORY INC.
2576 MARINE DR SE                      21605 N CENTRAL AVE                     12819 HARMON RD. BLDG 575
VANCOUVER, BC V5S 2H1                  PHOENIX, AZ 85024                       FORT WORTH, TX 76177
CANADA




AEROCOM SPECIALTY FITTINGS INC         AEROTECH HERMAN NELSON INTERNATIONA     AGILIS ENGINEERING INC
15747 BOUL. HYMUS                      100 EAGLE DRIVE                         3930 RCA BOULEVARD, SUITE 3000
KIRKLAND, QC H9H 3L4                   WINNIPEG, MB R2R 1V5                    WEST PALM BEACH, FL 33410
CANADA                                 CANADA
                         Case
AGILIS MEASUREMENT SYSTEMS,  INC.25-10258-TMH
                                         AGRAMON, Doc
                                                  IRVING32   Filed 02/19/25   Page 6 ofINC.
                                                                                AGRATI   171
3930 RCA BLVD., STE 3001                 [ADDRESS ON FILE]                      24000 S WESTERN AVE
PALM BEACH GARDENS, FL 33410                                                    PARK FOREST, IL 60466




AGRATI FSP SRL                          AGUERO AGUILAR, HERON                   AGUERO, GABRIEL
VIA SOMMACAMPAGNA 49                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]
VERONA, VR 37137
ITALY




AGUILAR, FRANCISCO                      AGUILAR, RODRIGO                        AGUIRRE ORTEGA, ALDO
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]




AGUIRRE, NICHOLAS                       AGUIRRE, RICHARD                        AHA LABS INC.
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       20 GLORIA CIR
                                                                                MENLO PARK, CA 94025-3556




AHIRE, BHUSHAN                          AHMAD, OMAR                             AIMOTIVE INFORMATICS LTD LIABILITY CO
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       SZEPVOLGYI STREET 22
                                                                                BUDAPEST 1025
                                                                                HUNGARY




AIR CHARTER SERVICE, INC                AIR COMM CORPORATION                    AIR SQUARED MANUFACTURING, INC.
1200 RXR PLAZA                          2929 S 48TH STREET                      675 E. 124TH AVE
UNIONDALE, NY 15556                     TEMPE, AZ 85282                         THORNTON, CO 80241




AIR WATER AMERICA INC                   AIRBORNE LABS INTERNATIONAL, INC        AIRGAS, INC.
135 US HIGHWAY 202-206, SUITE 12        22C WORLD’S FAIR DRIVE                  259 N. RADNOR-CHESTER RD.
BEDMINSTER, NJ 07921                    SOMERSET, NJ 08873                      RADNOR, PA 19087




AJR TRUCKING, INC.                      AK STEEL CORPORATION                    AKASH DILIPKUMAR PANCHAL
AJR TRUCKING, INC.                      15317 COLLECTIONS CENTER DR             [ADDRESS ON FILE]
COMPTON, CA 90222                       CHICAGO, IL 60693




AKD N.V.                                AKKOUCHE, MOHAMED                       AL. DEPT OF ENVIRONMENTAL
WILHELMINAKADE 1                        [ADDRESS ON FILE]                       MANAGEMENT
ROTTERDAM 3072                                                                  PO BOX 301463
NETHERLANDS                                                                     MONTGOMERY, AL 36130-1463




ALABAMA DEPARTMENT OF REVENUE           ALABAMA DEPARTMENT OF REVENUE           ALABAMA DEPARTMENT OF REVENUE
50 N RIPLEY ST                          CORPORATE TAX SECTION                   LEGAL DIVISION
MONTGOMERY, AL 36130                    50 N RIPLEY STREET                      PO BOX 320001
                                        MONTGOMERY, AL 36132                    MONTGOMERY, AL 36132
                         Case 25-10258-TMH
ALABAMA DEPARTMENT OF REVENUE                   DocOF32CONSERVATION
                                      ALABAMA DEPT        Filed 02/19/25
                                                                    &       Page  7 of DEPT
                                                                              ALABAMA  171 OF PUBLIC HEALTH
SALES & USE TAX DIVISION              NATURAL RESOURCES                       PO BOX 303017
PO BOX 327790                         64 N UNION ST                           MONTGOMERY, AL 36130-3017
MONTGOMERY, AL 36132                  MONTGOMERY, AL 36130




ALABAMA DEPT OF PUBLIC HEALTH         ALABAMA STATE TREASURY                  ALAMDAR HAMDANI
THE RSA TOWER                         UNCLAIMED PROPERTY DIVISION             OFFICE OF THE UNITED STATES ATTORNEY
201 MONROE ST                         RSA UNION BLDG                          ONE SHORELINE PLAZA S TOWER
MONTGOMERY, AL 36104                  100 N UNION ST STE 636                  800 N SHORELINE BLVD, STE 500
                                      MONTGOMERY, AL 36104                    CORPUS CHRISTI, TX 78401



ALAMDAR HAMDANI                       ALAMILLO, JOSE                          ALBANY ROAD REAL ESTATE PARTNERS LLC
UNITED STATES FEDERAL COURTHOUSE      [ADDRESS ON FILE]                       201 4TH AVENUE NORTH, SUITE 1202
US ATTORNEYS OFFICE                                                           NASHVILLE, TN 37219
600 E HARRISON, STE 201
BROWNSVILLE, TX 78520-5106



ALBANY ROAD-QUATTRO LLC               ALBANY ROAD-QUATTRO, LLC                ALBERT & CROSS LLP
ATTN CHIRSTOPHER J KNISLEY            C/O NATIONAL REGISTERED AGENTS          ATTN FREDERIC I. ALBERT
201 4TH AVENUE NORTH, SUITE 1250      160 GREENTREE DR, STE 101               2442 DUPONT DRIVE
NASHVILLE, TN 37219                   DOVER, DE 19904                         IRVINE, CA 92612




ALBERTA MOTOR TRANSPORT ASSOCIATION   ALBERTSONS SAFEWAY                      ALCANTARA, EDGAR
1, 285005 WRANGLER WAY                400 S 99TH AVENUE                       [ADDRESS ON FILE]
ROCKY VIEW, AB T1X 0K3                TOLLESON, AZ 85353
CANADA




ALCOCER, MIGUEL ANGEL BOCANEGRA       ALDERETE, JESE                          ALEARDI, MICHAEL
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




ALEJANDRO SANCHEZ LOPEZ               ALFARO, NADIA                           ALFARO, RENE
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




ALI, AKKO                             ALIARO AB                               ALICAT SCIENTIFIC, INC.
[ADDRESS ON FILE]                     KROKSLATTS FABRIKER 30B                 DEPT. 730039
                                      MOLNDAL 431 37                          P.O. BOX 660919
                                      SWEDEN                                  DALLAS, TX 75266




ALIXPARTNERS HOLDINGS, LLP            ALL AMERICAN SIGN COMPANY, INC.         ALL METALS PROCESSING OF ORANGE COU
909 3RD AVE                           5480 KATELLA AVE. STE 201               LLC
NEW YORK, NY 10022                    LOS ALAMITOS, CA 90720                  8401 STANDUSTRIAL AVE
                                                                              STANTON, CA 90680




ALL MY SONS MOVING & STORAGE OF PHO   ALL PURPOSE SAFETY TRAINING SOLUTIO     ALL STATE FASTENER CORPORATION
LLC                                   3941 BROCKTON AVE                       15460 E 12 MILE RD
4012 WEST TURNEY AVE SUITE B-1        RIVERSIDE, CA 92501                     ROSEVILLE, MI 48066
PHOENIX, AZ 85019
ALLAN, DIANE              Case 25-10258-TMH     Doc HOLDINGS,
                                       ALLEGIS GROUP 32 Filed INC02/19/25    Page  8 of ADVISORS
                                                                               ALLIANCE 171      LLC
[ADDRESS ON FILE]                        3689 COLLECTIONS CENTER DRIVE         200 BROADACRES DRIVE 3RD FLOOR
                                         CHICAGO, IL 60693                     BLOOMFIELD, NJ 07003




ALLIANCE FOR SUSTAINABLE ENERGY LLC      ALLIANZ UNDERWRITERS INSURANCE CO     ALLIED TRANSPORTATION ASSOCIATION
15013 DENVER WEST PARKWAY                225 W. WASHINGTON STREET,             2055 E WARNER RD
GOLDEN, CO 80401                         SUITE 1800                            TEMPE, AZ 85284
                                         CHICAGO, IL 60606




ALLIED WORLD SPECIALTY INSURANCE CO      ALLISON TRANSMISSION, INC.            ALLRED METAL PRODUCTS, INC.
ATTN PROF. LIABILITY UNDERWRITING        LOCKBOX 232288                        3711 EAST MIAMI AVENUE
199 WATER STREET                         2288 MOMENTUM PL                      PHOENIX, AZ 85040
NEW YORK, NY 10038                       CHICAGO, IL 60689




ALLSTATE FASTENER                        ALMANZA, FRANCISCO                    ALMARAZ, EDUARDO
BODMAN PLC                               [ADDRESS ON FILE]                     [ADDRESS ON FILE]
SAMANTHA K W VAN SUMEREN; WALTER
GEROGE, PELTON; JEFFREY G RAPHELSON
1901 ST. ANTOINE ST, 6TH FL
DETROIT, MI 48226


ALONGI, KYLE                             ALONSO GOMEZ, EZEQUIEL                ALONSO, ANDREW
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                     [ADDRESS ON FILE]




ALPHA MACHINE CO., INC.                  ALPINE LANDING MANAGEMENT LLC         ALTA ELECTRIC VEHICLES NORTH EAST,
3721 E GROVE ST                          4141 E BROADWAY RD                    6847 ELLICOTT DR
PHOENIX, AZ 85040                        PHOENIX, AZ 85040                     EAST SYRACUSE, NY 13057




ALTA ELECTRIC VEHICLES SOUTH WEST,       ALTA ENTERPRISES, LLC                 ALTA ENTERPRISES, LLC
13211 MERRIMAN RD                        13211 MERRIMAN RD.                    8981 PALM RIVER RD.
LIVONIA, MI 48150                        LIVONIA, MI 48150                     TAMPA, FL 33619




ALTA                                     ALTAIR ENGINEERING INC.               ALTAIR ENGINEERING INC.
ATTN: MIKE BUCCI                         1820 E BIG BEAVER RD                  DEPT 771419
13211 MERRIMAN RD                        TROY, MI 48083                        PO BOX 77000
LIVONIA, MI 48150                                                              DETROIT, MI 48277




ALTEN TECHNOLOGY USA, INC.               ALTERNATIVE FUEL REAL ESTATE CORP     ALTERNATIVE HOSE LLC
7830 THORNDIKE ROAD                      A CALIFORNIA CORPORATION              20 N. 48TH AVE
GREENSBORO, NC 27409                     1476 E VALLEY ROAD                    PHOENIX, AZ 85043
                                         SANTA BARBARA, CA 93108




ALTIUM INC                               ALVARADO, MARTIN                      ALVAREZ ASSOCIATES LLC
4225 EXECUTIVE SQ, STE 1000              [ADDRESS ON FILE]                     13389 FOLSOM BLVD. 300-179
LA JOLLA, CA 92037                                                             FOLSOM, CA 95630
AM RACING INC             Case 25-10258-TMH    Doc 32
                                       AMADA AMERICA, INC. Filed 02/19/25      Page 9 of
                                                                                 AMARO   171
                                                                                       RODRIGUEZ, ERIK
3780 EAGLE LOOP STE 300                  7025 FIRESTONE BLVD                     [ADDRESS ON FILE]
HOOD RIVER, OR 97031                     BUENA PARK, CA 90621




AMAZON CAPITAL SERVICES, INC.            AMAZON CAPITAL SERVICES, INC.           AMAZON WEB SERVICES, INC.
410 TERRY AVE N                          PO BOX 035185                           410 TERRY AVE N
SEATTLE, WA 98109                        SEATTLE, WA 98124                       SEATTLE, WA 98109




AME ELECTRICAL CONTRACTING, INC          AMER QUADRI, MIR                        AMERICAN AIR FILTER COMPANY INC
7120 S PRIEST DR                         [ADDRESS ON FILE]                       9920 CORPORATE CAMPUS DRIVESTE 22
TEMPE, AZ 85283                                                                  LOUISVILLE, KY 40223




AMERICAN AIR LIQUIDE HOLDINGS, INC.      AMERICAN ARBITRATION ASSOCIATION        AMERICAN ASSOCIATION OF PORT AUTHOR
9811 KATY FREEWAY, STE 100               45 E RIVER PARK PLACE W. STE 308        INC.
HOUSTON, TX 75243                        FRESNO, CA 93720                        1201 MARYLAND AVE SW, STE 860
                                                                                 WASHINGTON, DC 20024




AMERICAN CASUALTY CO OF READING, PA      AMERICAN CASUALTY CO OF READING, PA     AMERICAN CHEMISTRY COUNCIL
151 N FRANKLIN STREET                    PO BOX 74007619                         700 SECOND ST NE
CHICAGO, IL 60606                        CHICAGO, IL 60674                       WASHINGTON, DC 20002




AMERICAN CLEANSOURCE, LLC                AMERICAN ELECTRONIC COMPONENTS, INC     AMERICAN GPR SERVICES
1453 N 172ND ST                          1101 LAFAYETTE STREET                   11435 W. BUCKEYE RD 104-419
GILBERT, AZ 85234                        ELKHART, IN 46516                       AVONDALE, AZ 85323




AMERICAN INSTITUTE OF CHEMICAL ENGI      AMERICAN INTERNATIONAL GROUP, INC.      AMERICAN MAINTENANCE PROFESSIONALS
120 WALL STREET, 23RD FLOOR              1271 AVE OF AMERICAS, FL 37             2435 S 11TH AVE
NEW YORK, NY 10005                       NEW YORK, NY 10020                      PHOENIX, AZ 85007




AMERICAN MEDICAL RESPONSE OF MARICO      AMERICAN METALS COMPANY                 AMERICAN PORTWELL TECHNOLOGY INC
LLC                                      740 W BROADWAY                          44200 CHRISTY STREET
C/O AMERICAN MEDICAL RESPONSE INC        MESA, AZ 85210                          FREEMONT, CA 94538
6501 S FIDDLERS GREEN CIR, STE 100
GREENWOOD VILLAGE, CO 80111



AMERICAN SOUND & ELECTRONICS, INC.       AMERICAN TRANSPORTATION                 AMERICAN TRUCKING ASSOCIATIONS, INC.
1800 RUSSELL STREET                      LOGISTICS SERVICES INC                  80 M ST. SE, STE 800
COVINGTON, KY 41014                      7412 SW BEAVERTON HILLSDALE HWY SUI     WASHINGTON, DC 20003
                                         PORTLAND, OR 97225




AMERICAS COMMERCIAL TRANSPORTATION       AMERICAS SAP USERS GROUP                AMERIGAS - 5213
RESEARCH COMPANY, LLC                    PO BOX 4248, DEPT 127                   460 N GULPH RD, STE 100
4440 MIDDLE ROAD                         HOUSTON, TX 77210                       KING OF PRUSSIA, PA 19406
COLUMBUS, IN 47203
AMERIGAS                  Case 25-10258-TMH
                                        AMERIPAK,Doc
                                                  INC. 32      Filed 02/19/25   Page 10 of
                                                                                  AMERIT    171SOLUTIONS, INC.
                                                                                         FLEET
PO BOX 7155                               551 BRADFORD ST                          1331 N. CALIFORNIA BLVD SUITE 150
PASADENA, CA 91109                        PONTIAC, MI 48341                        WALNUT CREEK, CA 94596




AMETEK PROGRAMMABLE POWER INC             AMG INDUSTRIES LLC                       AMI INDUSTRIES, INC
9250 BROWN DEER RD                        200 COMMERCE DRIVE                       5093 N. RED OAK RD.
SAN DIEGO, CA 92121                       MOUNT VERNON, OH 43050                   PO BOX 269
                                                                                   LEWISTON, MI 49756




AMPD UP CUSTOM HEARING PROTECTION         AMPER- -AUTO S.R.L.                      AMPHENOL LTW TECHNOLOGY CO., LTD.
2473 S HIGLEY STE 104 PMB 242             STR. DELLE LOSE, 7/ABEINASCO (TO)        5F-3, NO.51, SEC. 4, ZHONGYANG RD.
GILBERT, AZ 85295                         BEINASCO, TO 10092                       TUCHENG DIST.
                                          ITALY                                    NEW TAIPEI CITY 23675
                                                                                   TAIWAN



AMPHENOL PCD SHENZHEN CO LTD              AMPHENOL TECHNICAL PRODUCTS INTL CO      AMPHENOL TECHNOLOGY (ZHUHAI) CO., L
BLDG 21 1ST LIAO KENG INDUSTRIAL ZO       2110 NOTRE DAME AVENUE                   63 XIANGHAN RD.
BAO AN DIST, SHENZHEN 518108              WINNIPEG, MB R3H 0K1                     SANZAO TOWN, GUANGDONG 519040
CHINA                                     CANADA                                   CHINA




AMPHENOL THERMOMETRICS, INC.              AMPHENOL-TUCHEL ELECTRONICS GMBH         AMTECH INTERNATIONAL
28690 NETWORK PLACE                       AUGUST-HAEUSSER-STR. 10                  100 PROFESSIONAL VIEW DRIVE
CHICAGO, IL 60673                         HEILBRONN 74080                          FREEHOLD, NJ 07728
                                          GERMANY




AMW PACKAGING                             AMWINS INSURANCE BROKERAGE, LLC          ANALYTICAL & PRECISION BALANCE CO I
5640 S 32ND STREET                        444 SOUTH FLOWER ST, SUITE 4500          9830 S 51ST STREET, SUITE B-103
PHOENIX, AZ 85040                         LOS ANGELES, CA 90071                    PHOENIX, AZ 85044




ANDERSEN, SABRINA                         ANDERSON, MARK                           ANDERSON, TIFFANY
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]




ANDEW M. LUGAR                            ANDEW M. LUGAR                           ANDREWS REFRIGERATION INC
US COURTHOUSE                             US COURTHOUSE                            5617 E HILLERY DR
300 S 4TH ST, STE 600                     316 N ROBERT ST, STE 404                 SCOTTSDALE, AZ 85254
MINNEAPOLIS, MN 55415                     ST. PAUL, MN 55101




ANGI ENERGY SYSTEMS LLC                   ANGULO, RAMON                            ANIL MARKAN, AKSHIT
32950 COLLECTION CENTER DRIVE             [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CHICAGO, IL 60693




ANIXTER CANADA INC.                       ANIXTER, INC.                            ANJANEYASWAMY, NAMITHA
200 FOSTER CRESCENT                       ATTN LEGAL DEPARTMENT                    [ADDRESS ON FILE]
MISSISSAUGA, ON L5R 3Y5                   2301 PATRIOT BLVD.
CANADA                                    GLENVIEW, IL 60026
ANN ARBOR WELDING SUPPLY  Case 25-10258-TMH      Doc 32USAFiled
                                        ANNATA DYNAMICS     INC 02/19/25    Page 11PRODUCTIONS,
                                                                              ANSA  of 171      INC.
10559 CITATION DRIVE STE 204            8770 WEST BRYN MAWR AVESUITE 1300      801 S GRAND AVE 375
BRIGHTON, MI 48116                      CHICAGO, IL 60631                      LOS ANGELES, CA 90017




ANSYS, INC.                            ANTHONY PROVENZANO                      ANTONIO MARQUEZ SANCHEZ, JORGE
2600 ANSYS DRIVE                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]
CANONSBURG, PA 15317




ANTONIO RODRIGUEZ FELIX, JESUS         ANTONIONI, BRYAN                        ANVER CORPORATION
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       36 PARMENTER ROAD
                                                                               HUDSON, MA 01749




AON CONSUTLING INC                     AON CONSUTLING INC                      APE SOFTWARE, INC.
200 E RANDOLPH ST, LOWR LL3            THE AON CENTRE, LEADENHALL BLDG         10174 HIGHWAY 41
CHICAGO, IL 60601                      122 LEADENHALL ST                       MADERA, CA 93636
                                       LONDON EC3V 4AN
                                       UNITED KINGDOM



APEM, INC.                             APEM, INC.                              APEX VACUUM, LLC
7901 4TH ST N                          970 PARK CNTR DR                        233 ARNOLD MILL ROAD SUITE 300
ST PETERSBURG, FL 33702                VISTA, CA 92081-8301                    WOODSTOCK, GA 30188




APHASE II, INC.                        API CONTROL SYSTEMS, INC.               API GROUP LIFE SAFETY USA LLC
6120 CENTER DR.                        218 HECTOR CONNOLY RD.                  4346 E ELWOOD ST. STE 100
STERLING HEIGHTS, MI 48312             CARENCRO, LA 70520                      PHOENIX, AZ 85040




APIS NORTH AMERICA LLC                 APPCOLL, INC.                           APPEL, CHRISTIAN
938 N WASHINGTON AVE                   325 SHARON PARK DR                      [ADDRESS ON FILE]
ROYAL OAK, MI 48067                    MENLO PARK, CA 94025




APPLE RUBBER PRODUCTS INC              APPLIED GRAY MATTER, LLC                APPLIED INDUSTRIAL TECHNOLOGIES, IN
310 ERIE STREET                        13110 NE 177TH PL 223                   22510 NETWORK PLACE
LANCASTER, NY 14086                    WOODINVILLE, WA 98072                   CHICAGO, IL 60673




APPLIED SATELLITE TECHNOLOGY SYSTEM    APPLIED TECHNICAL SERVICES              APRIORI TECHNOLOGIES, INC.
1478 N TECH BLVD., SUITE 105           1049 TRIAD COURT                        300 BAKER AVE SUITE 370
GILBERT, AZ 85233                      MARIETTA, GA 30062                      CONCORD, MA 01742




APTIV CORPORATION                      ARAMARK UNIFORM &                       ARAMARK UNIFORM &
5725 INNOVATION DRIVE                  CAREER APPAREL GROUP, INC               CAREER APPAREL GROUP, INC
TROY, MI 48098                         DALLAS, TX 75373                        N/K/A VESTIS
                                                                               115 N FIRST ST
                                                                               BURBANK, CA 91502
ARAMCO VALVOLINE GLOBALCase 25-10258-TMH
                       HOLDING COR            Doc 32INC.Filed 02/19/25
                                     ARANDA TOOLING                         Page 12 of INSTITUTE
                                                                              ARBINGER 171       LLC
1200 SMITH ST                        13950 YORBA AVE.                          686 N ARBINGER WAYSUITE 200
HOUSTON, TX 77002                    CHINO, CA 91710                           FARMINGTON, UT 84025




ARBOMEX LCM, S.A. DE C.V.             ARBON EQUIPMENT CORPORATION              ARCELORMITTAL DOFACSO GP
NORTE 7 NO. 102,                      25464 NETWORK PI                         1330 BURLINGTON STREET EAST, PO BOX
CD. INDUSTRIAL GUACELAYA              CHICAGO, IL 60673                        HAMILTON, ON L8N 3J5
CELAYA, GT 38010                                                               CANADA
MEXICO



ARCELORMITTAL USA LLC                 ARCH SPECIALTY INSURANCE COMPANY         ARCHACKI, ANDREW
25465 NETWORK PLACE                   210 HUDSON ST                            [ADDRESS ON FILE]
CHICAGO, IL 60673                     STE 300
                                      JERSEY CITY, NJ 07311-1206




ARCX CORPORATION                      AREA 4141 SPONSOR LLC                    AREMCO PRODUCTS INC
3133 W FRYE RD STE 101                290 MADISON AVENUE4TH FLOOR              707-B EXECUTIVE BLVD.
CHANDLER, AZ 85226                    NEW YORK, NY 10017                       VALLEY COTTAGE, NY 10989




ARGUELLO DAVILA, OSCAR                ARIAS, JUAN                              ARIZMENDI, JAEN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




ARIZONA CASTERS EQUIPMENT AND WHEEL   ARIZONA CHAMBER OF COMMERCE AND IND      ARIZONA COMMERCE AUTHORITY
INC.                                  11445 E VIA LINDA STE 2352               100 NORTH 7TH AVE SUITE 400
3329 N 24TH ST                        SCOTTSDALE, AZ 85259                     PHOENIX, AZ 85007
PHOENIX, AZ 85016




ARIZONA CONCRETE REPAIR, INC.         ARIZONA CORPORATION COMMISSION           ARIZONA CORPORATION COMMISSION
2031 W LONE CACTUS DR.                100 N 7TH AVE                            SECURITIES DIVISION
PHOENIX, AZ 85027                     PHOENIX, AZ 85007                        1300 W WASHINGTON ST
                                                                               PHOENIX, AZ 85007




ARIZONA CYBER THREAT RESPONSE ALLIA   ARIZONA DENTAL INSURANCE SERVICE, I      ARIZONA DEPARTMENT OF REVENUE
INC.                                  14850 N SCOTTSDALE RD, STE 400           1600 W MONROE ST
42441 N CROSS TIMBERS CT              SCOTTSDALE, AZ 85254                     PHOENIX, AZ 85007
ANTHEM, AZ 85086




ARIZONA DEPARTMENT OF REVENUE         ARIZONA DEPARTMENT OF REVENUE            ARIZONA DEPT OF ECONOMIC SECURITY
PO BOX 29010                          UNCLAIMED PROPERTY UNIT                  UNEMPLOYMENT INSURANCE
PHOENIX, AZ 95038                     PO BOX 29026                             ADMINISTRATION
                                      PHOENIX, AZ 29096                        PO BOX 29225
                                                                               PHOENIX, AZ 85038-9225



ARIZONA DEPT OF ENVIRONMENTAL         ARIZONA DEPT OF ENVIRONMENTAL            ARIZONA ELITE WELDING LLC
QUALITY                               QUALITY                                  11770 W WEDGEWOOD RD
1110 W WASHINGTON ST                  SOUTHERN REGIONAL OFFICE                 CASA GRANDE, AZ 85194
PHOENIX, AZ 85007                     400 W CONGRESS ST, STE 433
                                      TUCSON, AZ 85701
                          Case
ARIZONA FINGER PRINTS & MORE   25-10258-TMH
                             LLC                 Doc 32 ASSOCIATION
                                        ARIZONA FORWARD    Filed 02/19/25    Page 13 ofGATEWAY
                                                                               ARIZONA  171 LOGISTICS, LLC
2 N CENTRAL AVE SUITE 1800              3800 N CENTRAL AVENUE                   11327 W BELL ROAD, SUITE 105
PHOENIX, AZ 85004                       PHOENIX, AZ 85012                       SURPRISE, AZ 85378




ARIZONA GENERATOR TECHNOLOGY, INC.     ARIZONA PNEUMATIC SYSTEMS, INC.          ARIZONA PUBLIC SERVICE COMPANY
7901 N 70TH AVENUE                     205 SOUTH RIVER DRIVE                    400 N 5TH ST
GLENDALE, AZ 85303                     TEMPE, AZ 85288                          PHOENIX, AZ 85004-3902




ARIZONA PUBLIC SERVICE COMPANY         ARIZONA PUBLIC SERVICE COMPANY           ARIZONA PUBLIC SERVICE COMPANY
400 NORTH 5TH STREET                   MS 3200                                  PO BOX 37812
PHOENIX, AZ 85004                      PO BOX 53933                             BOONE, IA 50037
                                       PHOENIX, AZ 85072




ARIZONA REPUBLIC, THE                  ARIZONA SECRETARY OF STATE               ARIZONA STATE TRAILER SALES INC.
200 E VAN BUREN ST                     1700 W. WASHINGTON ST, FLOOR 7           2038 N COUNTRY CLUB DR
PHOENIX, AZ 85004                      PHOENIX, AZ 85007                        MESA, AZ 85201




ARIZONA STATE UNIVERSITY FOUNDATION    ARIZONA STATE UNIVERSITY FOUNDATION      ARIZONA STATE UNIVERSITY
A NEW AMERICAN UNIVERSITY              A NEW AMERICAN UNIVERSITY                1151 S FOREST AVE
ASU FULTON CENTER                      PO BOX 2260                              TEMPE, AZ 85281
300 E UNIVERSITY DR                    TEMPE, AZ 85280-2260
TEMPE, AZ 85281-2033



ARIZONA TECHNOLOGY COUNCIL             ARIZONA TRUCKING ASSOCIATION, INC.       ARIZONA UNCLAIMED PROPERTY UNIT
2800 N CENTRAL AVE, SUITE 1530         7500 W MADISON ST                        1600 W MONROE
PHOENIX, AZ 85004                      TOLLESON, AZ 85353                       PHOENIX, AZ 85007-2650




ARIZONA UNCLAIMED PROPERTY UNIT        ARIZONA WILDLIFE RESOURCE LLC            ARIZONA/ALBUQUERQUE VALVE & FITTING
C/O ARIZONA DEPT OF REVENUE            3560 N MAYA RD                           4926 E BEVERLY RD
PO BOX 29026                           ELOY, AZ 85131                           PHOENIX, AZ Albuq
PHOENIX, AZ 85038-9026




ARKANSAS DEPT OF LABOR                 ARKANSAS DEPT OF WORKFORCE SERVICES      ARKANSAS DEPT OF WORKFORCE SERVICES
900 W CPAITAL AVE                      2 CAPITOL MALL                           PO BOX 2981
SUITE 400                              LITTLE ROCK, AR 72201                    LITTLE ROCK, AR 72203
LITTLE ROCK, AR 72201




ARLINGTON SALES AND RENTAL LLC         ARMADA RUBBER MANUFACTURING              ARMANDO RAMIREZ CUEVAS
520 N BULLARD AVE STE 41               COMPANY                                  [ADDRESS ON FILE]
GOODYEAR, AZ 85338                     24586 ARMADA RIDGE RD.
                                       ARMADA, MI 48005




ARMENDARIZ, DANA                       ARNAL, AUSTIN                            ARNOLD FASTENING SYSTEMS, INC
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        1873 ROCHESTER INDUSTRIAL COURT
                                                                                ROCHESTER, MI 48309
ARNOLD MACHINERY COMPANY Case 25-10258-TMH      DocTECHNOLOGIES,
                                       ARO WELDING   32 Filed 02/19/25
                                                                 INC.       Page 14 of
                                                                              AROCHI    171 S.C.
                                                                                     & LINDER,
2975 W 2100 S                          48500 STRUCTURAL DRIVE                  INSURGENTES SUR 1605-PISO 20
SALT LAKE CITY, UT 84119               CHESTERFIELD, MI 48051                  SAN JOSE INSURGENTES
                                                                               CDMX 3900
                                                                               MEXICO



ARRIETA, ERNEST                       ARRIS COMPOSITES, INC                    ARRIVE LOGISTICS HOLDINGS, LLC
[ADDRESS ON FILE]                     710 BANCROFT WAY                         7701 METROPOLIS DR, BLDG 15
                                      BERKELEY, CA 94710                       AUSTIN, TX 78744




ARROW AUTOMATION & ENGINEERING INC.   ARROW ELECTRONICS, INC                   ARROYO, JONATHON
23255 COMMERCE DR.                    9151 E PANORAMA CIR                      [ADDRESS ON FILE]
FARMINGTON, MI 48335                  CENTENNIAL, CO 80112




ARROYO, MARTIN                        ARTICULATE GLOBAL, LLC                   ARZOLA PENA, ALEJANDRO
[ADDRESS ON FILE]                     DEPT 3747. PO BOX 123747                 [ADDRESS ON FILE]
                                      DALLAS, TX 75312




ASCENT REAL ESTATE ADVISORS, LLC      ASCOT SPECIALTY INSURANCE COMPANY        ASGHAR, ALI
ATTN DEAN BENJAMIN                    55 WEST 46TH STREET                      [ADDRESS ON FILE]
290 MADISON AVE, 4TH FLOOR            26TH FLOOR
NEW YORK, NY 10017                    NEW YORK, NY 10036




ASGN INCORPORATED                     ASHBY LOGISTICS                          ASHCRAFT, WILLIAM
4400 COX RD, STE 110                  770 E MAIN STREET STE 408                [ADDRESS ON FILE]
GLEN ALLEN, VA 23060                  LEHI, UT 84043




ASHURST LLP                           ASI DATAMYTE, INC.                       ASK INDUSTRIES S.P.A.
LUDWIGPALAISLUDWIGSTRABE 8            2800 CAMPUS DRIVE, SUITE 60              VIALE B.RAMAZINNI 39/F
MUNCHEN 80539                         PLYMOUTH, MN 55441                       REGGIO EMELIA 42124
GERMANY                                                                        ITALY




ASKEW, BENJAMIN                       ASMC LLC                                 ASPEN SPECIALTY INSURANCE COMPANY
[ADDRESS ON FILE]                     19087 W CASEY RD                         400 CAPITAL BOULEVARD
                                      LIBERTYVILLE, IL 60048                   SUITE 200
                                                                               ROCKY HILL, CT 06067




ASPEN TECHNOLOGY, INC.                ASSOCIATION FOR SUPPLY CHAIN MANAGE      ASTEELFLASH USA CORP.
20 CROSBY DR.                         1 E ERIE, STE 525, MAILBOX 4021          4211 STARBOARD DR.
BEDFORD, MA 01730                     CHICAGO, IL 60611                        FREMONT, CA 94538




ASTENGO RAVILET, FRANCISCA            ASTERS LAW FIRM                          ASTOTEC AUTOMOTIVE GMBH
[ADDRESS ON FILE]                     19-21 BOHDANA KHMELNYTSKOHO ST           LEOBERSDORFER STRASSE 31-33
                                      KYIV 01030                               HIRTENBERG 2552
                                      UKRAINE                                  AUSTRIA
AT&T MOBILITY          Case 25-10258-TMH      Doc
                                     ATALIAN US     32 LLC
                                                MIDWEST   Filed 02/19/25    Page
                                                                              ATC15 of 171
                                                                                  GROUP SERVICES LLC
C/O AT&T SERVICES INC                525 WASHINGTON BLVD, 25TH FLOOR           13215 BEE CAVE PKWY
ATTN KAREN CAVAGNARO, LEAD PARALEGAL JERSEY CITY, NJ 07310                     BLDG B, STE 230
ONE AT&T WAY, RM 3A104                                                         AUSTIN, TX 78738
BEDMINSTER, NJ 07921



ATHENA 3D MANUFACTURING LLC           ATLANTIC PACIFIC STANDARD                ATLANTIC RUBBER CO., INC.
1820 W DRAKE DR. STE 101              3001 S. 12TH AVE UNIT 1                  PO BOX 2295. 37 AYER RD. UNIT 6
TEMPE, AZ 85283                       TUCSON, AZ 85713                         LITTLETON, MA 01460




ATLAS COPCO NORTH AMERICA INC         ATLAS COPCO TOOLS & ASSEMBLY             ATLAS MATERIAL TESTING TECHNOLOGY L
DEPT CH 19511                         SYSTEMS LLC                              16576 COLLECTIONS CENTER DRIVE
PALATINE, IL 60055                    3301 CROSS CREEK PARKWAY                 CHICAGO, IL 60693
                                      AUBURN HILLS, MI 48326




ATLAS PRODUCTION COMPANY LLC          ATLAS TECHNICAL CONSULTANTS LLC          ATLAS VAN LINES INC
124 S 600 EASTSUITE 100               13215 BEE CAVE PKWY                      1212 SAINT GEORGE RD
SALT LAKE CITY, UT 84102              BLDG B, STE 230                          EVANSVILLE, IN 47711-2364
                                      AUSTIN, TX 78738




ATLAS VAN LINES INC                   ATLURI, KRISHNAPRIYA                     ATMOSPHERE COMMERCIAL INTERIORS LLC
PO BOX 952340                         [ADDRESS ON FILE]                        81 SOUTH 9TH STREET SUITE 350
SAINT LOUIS, MO 63195                                                          MINNEAPOLIS, MN 55402




ATTAIN SPORTS & ENTERTAINMENT-        AUDIO PRECISION, INC.                    AUDIO USER EXPERIENCE LLC
BOWIE BAYSOX, LLC                     5750 SW ARCTIC DRIVE                     39 WEST 14TH STREET STE 303
4101 CRAIN HIGHWAY                    BEAVERTON, OR 97005                      NEW YORK, NY 10011
BOWIE, MD 20716




AUDUBON ENGINEERING COMPANY, LP       AURORA CIRCUITS INC                      AUSTIN FIRE SYSTEMS, LLC
10205 WESTHIEMER RD, STE 100          2250 WHITE OAK CIRCLE                    13580 EADS RD
HOUSTON, TX 77042                     AURORA, IL 60502                         PRAIRIEVILLE, LA 70769




AUTO CUTTER USA, LLC                  AUTO RESEARCH CENTER LLC                 AUTODESK, INC.
13477 LAWRENCE 1045                   4012 CHAMPIONSHIP DR                     ONE MARKET PLAZA, LANDMARK BLDG, ST
STOTTS CITY, MO 65756                 INDIANAPOLIS, IN 46268                   SAN FRANCISCO, CA 94105




AUTOFORNITURE MOLINO SPA              AUTOLIV NCS PYROTECHNIE ET TECHNOLO      AUTOMATIONDIRECT.COM INC
VIA CAVOUR, 3                         RUE DE LA CARTOUCHERIE – B.P.90010       3505 HUTCHINSON RD
ROBASSOMERO (TO) 10070                SURVILLIERS 95471                        CUMMING, GA 30040
ITALY                                 FRANCE




AUTOMOTIVE DYNAMICS CORP              AUTOMOTIVE INDUSTRY ACTION GROUP         AUTONOMY TECHNOLOGY LLC
20203 WINDEMERE DRIVE                 4400 TOWN CENTER                         1650 NW 18TH ST. STE 807 B
MACOMB, MI 48044                      SOUTHFIELD, MI 48075-1104                POMPANO BEACH, FL 33069
AVALON RISK MANAGEMENT Case  25-10258-TMH
                       INSURANCE AG            DocAUTO
                                      AVANT GARDE   32 LOGISTICS
                                                         Filed 02/19/25
                                                                 LLC      Page 16 CLAIR
                                                                            AVERY of 171PEECHATKA
LLC                                   278 DOUG WARPOOLE RD 301A              252 E MCCORMICK AVE
DEPARTMENT 4609                       SMYRNA, TN 37167                       STATE COLLEGE, PA 16801
ELGIN, IL 60122




AVILA, JAVIER                         AVILA, MIGUEL                          AVILA, PABLO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]




AVILA, RAMSEY                         AVINA, GUSTAVO                         AVINA, JULIO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]




AVL MOBILITY TECHNOLOGIES, INC.       AVL TEST SYSTEMS, INC                  AVNET, INC
47519 HALYARD DRIVE                   47603 HALYARD DRIVE                    2211 S 47TH ST
PLYMOUTH, MI 48170                    PLYMOUTH, MI 48170                     PHOENIX, AZ 85034




AVNET, INC                            AVTECH CAPITAL, LLC                    AWC INC
PO BOX 70390                          6995 UNION PARK CENTERSUITE 400        6655 EXCHEQUER DR
CHICAGO, IL 60673                     COTTONWOOD HEIGHTS, UT 84047           BATON ROUGE, LA 70809-548




AXEL PRODUCTS INC                     AXIOM TEST EQUIPMENT INC               AXION RAY INC
2255 SOUTH INDUSTRIAL HIGHWAY         2610 COMMERCE WAY                      20 PENN MART SHOPPING CTRPMB 540
ANN ARBOR, MI 48104                   VISTA, CA 92081                        NEW CASTLE, DE 19720




AXIS PORTABLE AIR LLC                 AXISWORKS LLC                          AXLE LOGISTICS, LLC
33 SOUTH 56TH ST                      819 W. 22ND ST. STE 108                835 N CENTRAL ST
CHANDLER, AZ 85226                    TEMPE, AZ 85282                        KNOXVILLE, TN 37917




AYCOCK, ROBERT                        AZ BOXES STORAGE LLC                   AZ INDUS ELECTRICAL CONTRACTORS, INC.
[ADDRESS ON FILE]                     3219 E CAMELBACK RD 484                7931 E PECOS RD, STE 164
                                      PHOENIX, AZ 85018                      MESA, AZ 85212-6508




AZTEK TECHNOLOGIES S.A. DE C.V.       B&G LEASING LLC                        B&H FOTO & ELECTRONICS CORP
CARRETERA MONTERREY-GARCIA KM 3, AV   3200 INDUSTRIAL PARK ROAD              420 9TH AVENUE
SANTA CATARINA, NL 66367              VAN BUREN, AR 72956                    NEW YORK, NY 10001
MEXICO




B.D. HOLT COMPANY                     BABIARZ, BRENDAN                       BACKUS, MICHAEL
ATTN: BERT FULGRIUM                   [ADDRESS ON FILE]                      [ADDRESS ON FILE]
5665 S.E. LOOP 410
SAN ANTONIO, TX 78222
BAHRAMZADEH, YOUSEF        Case 25-10258-TMH      Doc 32
                                         BAIRD, JESSE        Filed 02/19/25   Page 17 COMMODITIES,
                                                                                BAKER of 171       INC.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       3602 W. ELWOOD ST.
                                                                                 PHOENIX, AZ 85005




BAKER TILLY US, LLP                      BALAKRISHNAN PANNEERSELVAM,             BALDUR SUSPANSIYON URETIM SAN. VETC
790 N WATER ST, STE 2000                 LOGESWARAN                              SEKERPINAR MAH. TEPE SOK. NO:1, CAY
MILWAUKEE, WI 53202                      [ADDRESS ON FILE]                       KOCAELI 34950
                                                                                 TURKEY




BALLESTEROS GONZALEZ, DANIEL             BALTIERREZ SOTOMAYOR, LUIS              BAMBELLA TOOLS LLC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       607 ROBINHOOD RD
                                                                                 BRENHAM, TX 77833




BAMKO, LLC                               BANDA, LUIS                             BANDURA CYBER INC
10925 WEYBURN AVE                        [ADDRESS ON FILE]                       28 HAWK RIDGE CIRCLE STE 107
LOS ANGELES, CA 90024                                                            ST LOUIS, MO 63367




BANK OF AMERICA                          BANKS, CURTIS                           BANKS, TACURSHIA
JOE TURSO                                [ADDRESS ON FILE]                       [ADDRESS ON FILE]
14636 N SCOTTSDALE RD
SCOTTSDALE, AZ 85254




BANKS, TYSHON                            BANNER OCCUPATIONAL HEALTH CLINICS      BAPTIE, COLTON
[ADDRESS ON FILE]                        2901 N CENTRAL AVE, STE 160             [ADDRESS ON FILE]
                                         PHOENIX, AZ 85012




BARAGAR, BENNETT                         BARAJAS, LEONOR                         BARCODES LLC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       200 W. MONROE ST.
                                                                                 CHICAGO, IL 60606




BARGHAUSEN CONSULTING ENGINEERS, IN      BARLOW, CAMERON                         BARNES, BABETTE
18215 72ND AVENUE SOUTH                  [ADDRESS ON FILE]                       [ADDRESS ON FILE]
KENT, WA 98032




BARNEY, MATTHEW                          BARNHART, RYAN                          BARR, RICHARD J.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




BARREL ACCESSORIES AND SUPPLY CO IN      BARTEC DISPENSING TECHNOLOGY, INC       BARTEC DISPENSING TECHNOLOGY, INC
2595 PALMER AVE                          2300 N SWEET GUM AVE                    PO BOX 470741
UNIVERSITY PARK, IL 60484                BROKEN ARROW, OK 74012                  TULSA, OK 74147
BARTEC USA LLC           Case 25-10258-TMH
                                       BARTLETT,Doc
                                                 ERIC 32     Filed 02/19/25   Page 18 of 171
                                                                                BARTOSZEK, BRYAN
6475 19 1/2 MILE RD                    [ADDRESS ON FILE]                         [ADDRESS ON FILE]
STERLING HEIGHTS, MI 48314




BASF CORPORATION                        BATOM CO LTD                             BATSON, MATTHEW
29492 NETWORK PLACE                     NO. 45 SIYU ST DALI DISTR                [ADDRESS ON FILE]
CHICAGO, IL 60673                       TAICHUNG CITY 41279
                                        TAIWAN




BAUGHMAN KROUP BOSSE PLLC               BAUR & ASSOCIATES CONSULTING ENGINE      BAUTISTA, JUAN
500 E MAIN ST. STE 1400                 5485 CONESTOGA COURT SUITE 200           [ADDRESS ON FILE]
NORFOLK, VA 23510                       BOULDER, CO 80301




BAY CAST TECHNOLOGIES, INC.             BAYARD, P.A.                             BAYLESS, SAMUEL
2611 CENTER AVE                         600 N KING ST. STE 400                   [ADDRESS ON FILE]
PO BOX 126                              WILMINGTON, DE 19809
BAY CITY, MI 48707




BAYOTECH INC                            BAYOTECH, INC.                           BC TRUCKING ASSOCIATION
8601 PAESO ALAMEDA NE STE B             8601 PASEO ALAMEDA NE SUITE B            20111 93A AVENUE, STE 100
ALBUQUERQUE, NM 87113                   ALBUQUERQUE, NM 87113                    LANGLEY, BC V1M 4A9
                                                                                 CANADA




BD HOLT CO                              BDO USA LLP                              BEAMSLEY, CAMERON
5665 SOUTHEAST LOOP 410                 339 SIXTH AVE, 8TH FL                    [ADDRESS ON FILE]
SAN ANTONIO, TX 78222                   PITTSBURGH, PA 15222




BEAUCHAMP, AARON                        BECKHOFF AUTOMATION LLC                  BEDNARZ, ALEXIA
[ADDRESS ON FILE]                       13130 DAKOTA AVE                         [ADDRESS ON FILE]
                                        SAVAGE, MN 55378




BEGAY, LESLYN                           BEHESHTAEIN, SIAVASH                     BEHLEN, MATTHEW J.
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




BEIJING VICTORY ELECTRIC CO.            BEL POWER SOLUTIONS INC                  BELLOC, CRISTOBAL
NO.8 JUFUYUAN INDUSTRIAL ZONE           2390 WALSH AVE                           [ADDRESS ON FILE]
BEIJING 21500                           SANTA CLARA, CA 95051
CHINA




BEL-METRIC INC.                         BELTAN VIBRACOUSTIC TITRESIM             BELTRAN ESQUER, JUAN
35 WESTECH DRIVE                        ELEMEN SANAYI VE TICARET A.S             [ADDRESS ON FILE]
TYNGSBORO, MA 01879                     BTSO SANAYI BOLGESI SARI CADDE NO:1
                                        BURSA 16140
                                        TURKEY
BELTRAN SEVEY, JESUS      Case 25-10258-TMH     Doc 32 Filed
                                        BENDER ELECTRONICS, INC. 02/19/25   Page 19 of 171 LLC
                                                                              BENEDICT-MILLER,
[ADDRESS ON FILE]                        420 EAGLEVIEW BLVD.                  100-124 N 12TH ST
                                         EXTON, PA 19341                      KENILWORTH, NJ 07033




BENESCH FRIEDLANDER COPLAN & ARONOF      BENESCH FRIEDLANDER COPLAN &         BENGER, TYGART
200 PUBLIC SQR 2300                      ARONOFF LLP                          [ADDRESS ON FILE]
CLEVELAND, OH 44114                      71 S WACKER DRIVE SUITE 1600
                                         CHICAGO, IL 60606




BENNETT JONES LLP                        BENNETT MOTOR EXPRESS LLC            BENNETT, NIPON JAKE
4500 BANKERS HALL E, 855 -2ND ST. S      1001 INDUSTRIAL PKWY                 [ADDRESS ON FILE]
CALGARY, AB T2P 4K7                      PO BOX 569
CANADA                                   MCDONOUGH, GA 30253




BENS COATING LLC                         BERGMANN, MATTHIAS                   BERKSHIRE PRODUCTION SUPPLY, LLC
4501 KNAPP RD. BLDG 3                    [ADDRESS ON FILE]                    40333 W 14 MILE RD
PEARLAND, TX 77581                                                            NOVI, MI 48377-1609




BERLIN KOMMUNIKATION UG                  BERNADICOU, JOHN                     BERNAL FRANCO, JUAN
WAGHAEUSELER STRASSE 10E                 [ADDRESS ON FILE]                    [ADDRESS ON FILE]
BERLIN 10715
GERMANY




BERNARD, BRETT                           BERRAN INDUSTRIAL GROUP , INC.       BERRETT PEST CONTROL AZ INC.
[ADDRESS ON FILE]                        570 WOLF LEDGES PKWY                 9849 N 19TH DR, STE 1
                                         AKRON, OH 44311                      PHOENIX, AZ 85021-1942




BERRETT PEST CONTROL AZ INC.             BERRETT PEST CONTROL AZ INC.         BERRUETE, ANGEL
9849 N 19TH                              PO BOX 80065                         [ADDRESS ON FILE]
PHOENIX, AZ 85021                        CITY OF INDUSTRY, CA 91716




BETA CAE SYSTEMS USA, INC.               BETHLEHEM HYDROGEN LLC               BEU-MATH ENGINEERING INC
29800 MIDDLEBELT ROAD, SUITE 100         600 HELD DR.                         7898 E ACOMA DRSUITE 110
FARMINGTON HILLS, MI 48334               NORTHAMPTON, PA 18067                SCOTTSDALE, AZ 85260




BEUS GILBERT PLLC                        BHALERAO, RAVI                       BHARADWAJ MAROOR NAGENDRAKUMAR,
701 N 44TH ST                            [ADDRESS ON FILE]                    YESHAS
PHOENIX, AZ 85008                                                             [ADDRESS ON FILE]




BHARDWAJ, ANGSHUMAN                      BHATTI, IRFAN                        BHIMRAO KHADSE, AKSHAY
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                    [ADDRESS ON FILE]
BIAGI BROS, INC          Case 25-10258-TMH      Doc
                                       BIAGI BROS, INC 32     Filed 02/19/25   Page
                                                                                 BIG 20 ofLLC
                                                                                     BOLT, 171
2001 BURGUNDY PLACE                      466 DEVLIN ROAD                          140 COVINGTON DRIVE
ONTARIO, CA 91761                        NAPA, CA 94558                           BLOOMINGDALE, IL 60108




BIG LIFT MATERIAL HANDLING               BIG SANDY INC.                           BIGFOOT CONSTRUCTION EQUIPMENT INC
1315 E GIBSON LANE BLDG-E2               615 W ELLIOT RD                          1111 BROADWAY COURT
PHOENIX, AZ 85034                        TEMPE, AZ 85284                          WOODSTOCK, IL 60098




BIGREP AMERICA INC                       BIGTEX TRAILER WORLD                     BILL BROWN FORD INC
150 EAST 42ND STREET                     1795 S 19TH AVE                          32222 PLYMOUTH RD
NEW YORK, NY 10017                       PHOENIX, AZ 85009                        LIVONIA, MI 48150




BIOLID I.G.                              BIRD AND BUG VENTURES LLC                BISCO INDUSTRIES INC
POL. ARTUNDUAGA. PRESAGANA 1 - 1º P      6146 N 35TH AVE SUITE 101                5065 E HUNTER AVE
BASAURI, BIZKAIA 48970                   PHOENIX, AZ 85017                        ANAHEIM, CA 92807
SPAIN




BITNER, TODD                             BIZLINK TECH INC                         BLACHFORD INC.
[ADDRESS ON FILE]                        8001 ARTCRAFT RD                         1400 NUCLEAR DR
                                         EL PASO, TX 79932                        WEST CHICAGO, IL 60185




BLACK & MCDONALD LIMITED                 BLACK & VEATCH CORPORATION               BLACK DIAMOND PRODUCTS, INC.
10717 181 STREET NW                      11401 LAMAR AVE.                         211 S. RIVER RIDGE, SUITE 102
EDMONTON, AB T5S 1N3                     OVERLAND PARK, KS 66211                  BURNSVILLE, MN 55337
CANADA




BLACK HILLS INFORMATION SECURITY LL      BLACK HILLS UTILITY HOLDINGS, INC.       BLACKCLOAK, INC.
115 W HUDSON ST                          ATTN: PAYMENT SERVICES. PO BOX 6006      7025 COUNTY RD 46A, STE 1071, 342
SPEARFISH, SD 57783                      RAPID CITY, SD 57709                     LAKE MARY, FL 32746




BLACKLINE SYSTEMS, INC.                  BLACKWOLF RUN HOLDING LTD                BLACKWOLF RUN HOLDINGS LTD.
21300 VICTORY BLVD, 12TH FL              ATTN CLARENCE SHIELDS                    2110 SPARROW DR
WOODLAND HILLS, CA 91367                 2110 SPARROW DRIVE                       NISKU, AB T9E 8A2
                                         NISKU, AB AB T9E 8N5                     CANADA
                                         CANADA



BLAKE, NELSON                            BLANCHARD, MELANIE                       BLASCHKA, PAUL
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]




BLINK S.R.L.                             BLOCK HARBOR, LLC                        BLOOMBERG INDUSTRY GROUP, INC.
VIA ANTONIO LOCATELLI, 6                 1397 S PIEDMONT AVE STE 100              1801 S. BELL STREET
NOVA MILANESE MILAN 20124                TROY, MI 48083                           ARLINGTON, VA 22202
ITALY
                        Case
BLUE CROSS BLUE SHIELD OF      25-10258-TMH
                          ARIZONA,      BLUESTARDoc     32 Filed
                                                   RETIREMENT     02/19/25
                                                              SERVICES INC   Page 21 of 171
                                                                               BLUEWATER BATTERY LOGISTICS, LLC
8220 N 23RD AVE                         822 A1A N, STE 211                      136 W. CANON PERDIDO ST., SUITE 102
PHOENIX, AZ 85021                       PONTE VEDRA BEACH, FL 32082             SANTA BARBARA, CA 93101




BLYTH, CHARLES                          BMAK, INC.                              BOARD OF SUPERVISORS, LOUISIANA
[ADDRESS ON FILE]                       1839 KNOLL DRIVE                        SOUTHERN
                                        VENTURA, CA 93003                       UNIVERSITY & AGRICULTURAL &
                                                                                MECHANICAL COLLEGE
                                                                                202 HIMES HALL
                                                                                BATON ROUGE, LA 70803


BOARD SHARK LLC                         BOBIT BUSINESS MEDIA INC                BOBIT BUSINESS MEDIA INC
8275 SHORESIDE LANE                     21250 HAWTHORNE BLVD, STE 360           PO BOX 2703
MERRITT ISLAND, FL 32952                TORRANCE, CA 90503-5540                 TORRANCE, CA 90509




BOELLHOFF GMBH                          BOGE ELASTMETALL GMBH                   BOLLHOFF INC
ARCHIMEDESSTRASSE 1-4                   DR JURGEN ULDERUP PLATZ 1               2705 MARION DRIVE
BIELEFELD 33649                         DAMME 49401                             KENDALLVILLE, IN 46755
GERMANY                                 GERMANY




BONNIER, GILDAS                         BOOM INDUSTRIAL, INC                    BOOTZ & DUKE SIGN CO.
[ADDRESS ON FILE]                       2010 WRIGHT AVE.                        2831 W WELDON AVE
                                        LA VERNE, CA 91750                      PHOENIX, AZ 85017




BORDER STATES INDUSTRIES, INC.          BOREAL METALWORKS S C                   BORGHI, CORY
PO BOX 1450 NW 7235                     AVENIDA ASOCIACION DE INDUSTRIALES      [ADDRESS ON FILE]
MINNEAPOLIS, MN 55485                   APASEO EL GRANDE, GT 38160
                                        MEXICO




BORGWARNER INC                          BORTEANU, DANIEL                        BORTEANU, DANIEL
7929 SW BURNS WAY SUITE F               [ADDRESS ON FILE]                       [ADDRESS ON FILE]
WILSONVILLED, OR 97070




BORTEANU, DANIEL                        BORTEANU, DANIEL                        BORUSAN PIPE U.S., INC.
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       4949 BORUSAN ROAD
                                                                                BAYTOWN, TX 77523




BOSCH REXROTH CORPORATION               BOSIO SRL                               BOSSARD INC.
14001 SOUTH LAKES DRIVE                 VIA MONTEGRAPPA 11                      6521 PRODUCTION DRIVE
CHARLOTTE, NC 28273                     SANTENA, TO 10026                       CEDAR FALLS, IA 50613
                                        ITALY




BOTT ENTERPRISES, INC.                  BOTTOMLINE TECHNOLOGIES, INC.           BOUCK EQUIPMENT REPAIR LLC
717 SOUTH 5600 WEST                     100 INTERNATIONAL DR, STE 200           15228 S. 30TH PLACE
SALT LAKE CITY, UT 84104                PORTSMOUTH, NH 03801                    PHOENIX, AZ 85048
BOULDIN, DOUGLAS         Case 25-10258-TMH     DocU S32
                                       BOYD GROUP     INC Filed 02/19/25     Page
                                                                               BPC22 of 171 COMPANY
                                                                                   ACQUISITION
[ADDRESS ON FILE]                       400 W GRAND AVE, STE 1                 1218 E. PONTALUNA ROAD
                                        ELMHURST, IL 60126-1013                SPRING LAKE, MI 49456




BRACKENBURY, MATTHEW                    BRADFORD COMPANY                       BRADY, KIM
[ADDRESS ON FILE]                       13500 QUINCY ST                        [ADDRESS ON FILE]
                                        HOLLAND, MI 49424




BRADY, MELISSA                          BRAUN, CARSON                          BRAVO, CARLO
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                      [ADDRESS ON FILE]




BRAY SALES, INC.                        BRECHBUHLER SCALES INC.                BRENDEL ASSOCIATES LIMITED
13333 WESTLAND EAST BLVD                1424 SCALE ST SW                       3280 BROADWAY RD
HOUSTON, TX 77041-1219                  CANTON, OH 44706                       BLOOMFIELD HILLS, MI 48301




BRENNAN INDUSTRIES OF TEXAS, INC        BREON PEACE                            BRESEE, DEREK
6701 COCHRAN RD                         US ATTORNEYS OFFICE                    [ADDRESS ON FILE]
SOLON, OH 44139                         610 FEDERAL PLAZA
                                        CENTRAL ISLIP, NY 11722-4454




BRICE, AARON                            BRIGHT SKY LOGISTICS INC               BRIGHTFLAG INC
[ADDRESS ON FILE]                       1001 FAIRWAY DRIVE                     PO BOX 4668, PMB 80610
                                        BENSENVILLE, IL 60106                  NEW YORK, NY 10163




BRIGHTHOUSE LIFE INSURANCE COMPANY      BRIKS COATINGS & SANDBLASTING, LLC     BRILLIANT EPOXY COATINGS
11215 N COMMUNITY HOUSE RD, STE 100     3370 E SUPERIOR AVE                    16099 N 82ND ST. SUITE B11
CHARLOTTE, NC 28277                     PHOENIX, AZ 85040                      SCOTTSDALE, AZ 85260




BRISCOE, CONNER                         BRIT FEATHERSON                        BRIT FEATHERSON
[ADDRESS ON FILE]                       US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE
                                        101 E PARK BLVD, STE 500               550 FANNIN, STE 1250
                                        PLANO, TX 75704                        BEAUMONT, TX 77701




BRITT TOOL, INC.                        BROADLUX, INC.                         BROADRIDGE INVESTOR COMM SOLUTIONS,
949 E. NATIONAL AVENUE                  PO BOX 7303                            INC
BRAZIL, IN 47834                        LAGUNA NIGUEL, CA 92607                125 HIGH ST, FL 3
                                                                               BOSTON, MA 02110




BROADRIDGE INVESTOR COMM SOLUTIONS,     BROKEN LIMB LLC                        BRONKHORST USA INC
INC                                     228 WEST ST GEORGE BLVD                57 S COMMERCE WAYSUITE 120
5 DAKOTA DR, STE 300                    ST GEORGE, UT 84770                    BETHLEHEM, PA 18017
LAKE SUCCESS, NY 11042
BROOKS KUSHMAN P.C.      Case 25-10258-TMH     Doc 32
                                       BROOKS, DUSTIN       Filed 02/19/25    Page 23 of
                                                                                BROWN,   171
                                                                                       AUSTIN
1000 TOWN CENTER, 22ND FLOOR           [ADDRESS ON FILE]                         [ADDRESS ON FILE]
SOUTHFIELD, MI 48075




BROWN, JAMISON                          BROWN, RICHARD                           BRUCKNERS TRUCK SALES INC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        7626 BRIGHTON RD
                                                                                 COMMERCE CITY, CO 80022




BRUN, ADAM                              BRUSA HYPOWER AG                         BRUTINEL PLUMBING & ELECTRICAL, INC
[ADDRESS ON FILE]                       NEUDORF 14                               600 E 1ST ST
                                        SENNWALD 9466                            CASA GRANDE, AZ 85122
                                        SWITZERLAND




BRYCO ASPHALT MILLING, INC.             BSI GROUP AMERICA INC.                   BTIG, LLC
1959 S. POWER RD 103-375                12950 WORLDGATE DRIVE SUITE 800          350 BUSH STREET, 9TH FLOOR
MESA, AZ 85206                          HERNDON, VA 20170                        SAN FRANCISCO, CA 94111




BUBBLE MAMAS                            BUCCI, MICHAEL                           BUCHANAN HAULING & RIGGING, INC.
1939 S. CALLE MEDIA                     [ADDRESS ON FILE]                        4625 INDUSTRIAL RD
CASA GRANDE, AZ 85194                                                            FORT WAYNE, IN 46825




BUCKLEY, DYLAN                          BUILDING ROBOTICS, INC.                  BUJANOVICH, PAUL
[ADDRESS ON FILE]                       DEPT LA 21690                            [ADDRESS ON FILE]
                                        PASADENA, CA 91185




BUNCH, JASON                            BUREAU VERITAS NORTH AMERICA, INC        BUREK, EREK
[ADDRESS ON FILE]                       16800 GREENSPOINT PARK DR, STE 300S      [ADDRESS ON FILE]
                                        HOUSTON, TX 77060-2393




BURGAFLEX NORTH AMERICA LLC             BURGER, REID                             BURKETT, CHANCE
1101 COPPER AVE                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]
FENTON, MI 48430




BURNS & MCDONNELL ENGINEERING           BURNS, FRANCIS                           BURRI, AJAYARAM
COMPA INC                               [ADDRESS ON FILE]                        [ADDRESS ON FILE]
9400 WARD PARKWAY
KANSAS CITY, MO 64114




BURRTEC WASTE GROUP, INC                BUSCHJOST GMBH                           BUSH SALES & MFG INC
9890 CHERRY AVE                         DETMOLDER STR. 256POSTFACH 10 02         827 SOUTH 500 WEST
FONTANA, CA 92355                       BAD OEYNHAUSEN 32502                     SALT LAKE CITY, UT 84101
                                        GERMANY
BUSHEY, STEVEN             Case 25-10258-TMH
                                         BUSINESS Doc 32REPORTS
                                                  CREDIT   FiledINC
                                                                  02/19/25     Page 24 of 171ESTEBAN
                                                                                 BUSTAMANTE,
[ADDRESS ON FILE]                         1645 NASHVILLE PIKE                     [ADDRESS ON FILE]
                                          GALLATIN, TN 37066




BUSTAMANTE, JORGE                         BUSTAMANTE, JOSE                        BUTLER, BRIAN
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                       [ADDRESS ON FILE]




BWI GROUP, TCB                            BYK GARDNER USA                         BYOS, LLC
12501 E GRAIN RIVER AVE                   25098 NETWORK PLACE                     2121 CORNWALL ST.
BRIGHTON, MI 48116                        CHICAGO, IL 60673                       GERMANTOWN, TN 38138




BYRD, BARBRA                              BYRD, JUSTIN                            BYUN, HYEYOUNG
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                       [ADDRESS ON FILE]




BYUN, HYEYOUNG                            C & S SWEEPING SERVICES, INC.           C & W MOTORS, INC.
[ADDRESS ON FILE]                         716 E TONTO STREET                      2677 E WILLIS RD
                                          PHOENIX, AZ 85034                       CHANDLER, AZ 85286




CA DEPT OF TAX & FEE ADMINISTRATION       CA DEPT. OF MOTOR VEHICLES              CA. DEPT OF TOXIC SUBSTANCES CTRL
PO BOX 942879                             8243 DEMETRE AVE, MS L224               1001 "I" ST
SACRAMENTO, CA 94279                      SACRAMENTO, CA 95828                    SACRAMENTO, CA 95814-2828




CA. DEPT OF TOXIC SUBSTANCES CTRL         CABALATUNGAN, JERRY                     CACTUS SWEEPING, INC.
PO BOX 806                                [ADDRESS ON FILE]                       12324 N 57TH DR
SACRAMENTO, CA 95812-0806                                                         GLENDALE, AZ 85304




CACTUS TRANSPORT II, LLC                  CADMAKERS 3D PRINTING COMPANY INC.      CADWALADER WICKERSHAM & TAFT LLP
8211 WEST SHERMAN ST                      295-4664 LOUGHEED HIGHWAY               200 LIBERTY ST
TOLLESON, AZ 85353                        BURNABY, BC V5C 5T5                     NEW YORK, NY 10281
                                          CANADA




CAHILL GORDON & REINDEL LLP               CALCRAFT CORPORATION                    CALDERON, CARLOS
32 OLD SLIP                               1426 S. WILLOW AVE.                     [ADDRESS ON FILE]
NEW YORK, NY 10005                        RIALTO, CA 92376




CALDERON, JOVANI                          CAL-DISC GRINDING CO., INC.             CALIENTE CONSTRUCTION INC
[ADDRESS ON FILE]                         3725 E. ROESER ROAD UNIT 16             485 W VAUGHN STREET
                                          PHOENIX, AZ 85040                       TEMPE, AZ 85283
CALIFORNIA AIR RESOURCESCase
                         BOARD25-10258-TMH
                                       CALIFORNIADoc
                                                   AIR 32   Filed BOARD
                                                       RESOURCES   02/19/25   Page 25 of 171
                                                                                CALIFORNIA AIR RESOURCES BOARD
1001 "I" ST                            1001 I STREET                             PO BOX 2815
SACRAMENTO, CA 95814                   SACRAMENTO, CA 95814                      SACRAMENTO, CA 95812




CALIFORNIA CLEANING SUPPLIES CORP.      CALIFORNIA DEPARTMENT OF                 CALIFORNIA DEPT OF CONSERVATION
7440 SCOUT AVE                          TAX & FEE ADMINISTRATION                 715 P ST, MS 1900
BELL GARDENS, CA 90201                  450 N STREET                             SACRAMENTO, CA 95814
                                        SACRAMENTO, CA 94279




CALIFORNIA DEPT OF WATER RESOURCES      CALIFORNIA DEPT OF WATER RESOURCES       CALIFORNIA ENVIRONMENTAL PROTECTION
715 P ST                                PO BOX 94236                             AGENCY
SACRAMENTO, CA 95814                    SACRAMENTO, CA 94236-0001                1001 I ST
                                                                                 PO BOX 2815
                                                                                 SACRAMENTO, CA 95812-2815



CALIFORNIA FORWARD ACTION FUND          CALIFORNIA FRANCHISE TAX BOARD           CALIFORNIA FUEL CELL PARTNERSHIP TR
116 SYCAMORE AVE 5369                   PO BOX 942857                            919 NORTH MARKET STREET STE 1600
HERCULES, CA 94547                      SACRAMENTO, CA 94257                     WILMINGTON, DE 19801




CALIFORNIA HYDROGEN BUSINESS COUNCI     CALIFORNIA INTEGRATED WASTE MGMT         CALIFORNIA STATE CONTROLLERS OFFICE
18847 VIA SERENO                        BOARD                                    UNCLAIMED PROPERTY DIVISION
YORBA LINDA, CA 92886                   1001 I ST                                300 CAPITOL MALL, STE 1850
                                        PO BOX 4025                              SACRAMENTO, CA 95814
                                        SACRAMENTO, CA 95812-4025



CALIFORNIA TINY HOUSE, INC.             CALIFORNIA TRUCKING ASSOCIATION          CALIFORNIA UNEMPLOYMENT INSURANCE
3630 N. HAZEL AVE.                      4148 EAST COMMERCE WAY                   EMPLOYMENT DEVELOPMENT DEPT
FRESNO, CA 93722                        SACRAMENTO, CA 95834                     PO BOX 8268800
                                                                                 UIPCD, MIC 40
                                                                                 SACRAMENTO, CA 94280-0001



CALLAHAN, ERIC                          CALLEROS, LEONARDO                       CALSPAN CORPORATION
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        4455 GENESEE STREET
                                                                                 BUFFALO, NY 14225




CALSTART, INC.                          CALVIN, DAVID                            CAMACHO PEREZ, REYNA
48 S CHESTER AVE                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]
PASADENA, CA 91106




CAMARO PARENT, LLC                      CAMELBACK DISPLAYS INC                   CAMELBACK INTERIORS LLC
13047 COLLECTIONS CENTER DRIVE          20020 HICKORY TWIG WAY                   4129 N 47TH STREET
CHICAGO, IL 60693                       SPRING, TX 77388                         PHOENIX, AZ 85018




CAMELOT U.S. ACQUISITION LLC            CAMFIL USA, INC.                         CAMPBELL SCIENTIFIC INC
789 E. EISENHOWER PKWY                  3200 NESTLE ROAD                         815 W 1800 N
ANN ARBOR, MI 48108                     JONESBORO, AR 72401                      LOGAN, UT 84321
CAMPBELL, EMILY          Case 25-10258-TMH
                                       CAMPERO,Doc 32 Filed 02/19/25
                                               MICHAEL                     Page 26 ofGALLARDO,
                                                                             CAMPOS   171      CESAR
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                      [ADDRESS ON FILE]




CANADIAN HYDROGEN & FUEL CELL ASSOC    CANADIAN TRANSPORTATION EQUIPMENT      CANALES ANDRADE SR, SALVADOR
BAY ADELAIDE CENTRE, 333 BAY ST. 2     ASSOC                                  [ADDRESS ON FILE]
TORONTO, ON M5H 2R2                    116 ALBERT ST. STE 200-300
CANADA                                 OTTAWA, ON K1P 5G3
                                       CANADA



CANALES, TIFFANY                       CAPA LLC                               CAPE
[ADDRESS ON FILE]                      3455 S GILBERT RD                      18881 IMMI WAY
                                       GILBERT, AZ 85297                      WESTFIELD, IN 46074




CAPELLO, JOSEPH                        CAPES, RYAN                            CAPITAL, STORE
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                      [ADDRESS ON FILE]




CAPIZ OROZCO, CRISTINA                 CARBAJAL, JESUS                        CARCAMO JR, WENCESLAO
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                      [ADDRESS ON FILE]




CARCAMO, FRANCISCO                     CARDENAS, PAUL                         CARDILINO, GILARDO
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                      [ADDRESS ON FILE]




CARL KURT WALTHER GMBH & CO. KG        CARLA B. FREEDMAN                      CARLA B. FREEDMAN
WESTFALENSTRASSE 2                     US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE
HAAN 42781                             14 DURKEE ST, STE 340                  PO BOX 7198
GERMANY                                PLATTSBURGH, NY 12901                  100 S CLINTON ST
                                                                              SYRACUSE, NY 13261-7198



CARLING TECHNOLOGIES INC               CARLSON GLASS INC                      CARLSUN ENERGY SOLUTIONS INC.
60 JOHNSON AVE                         4703 W BRILL STSUITE 300               1606 BRUCE SAUGEEN TOWNLINE
PLAINVILLE, CT 06062                   PHOENIX, AZ 85043                      PORT ELGIN, ON N0H 2C5
                                                                              CANADA




CARLTON S. SHIER IV                    CARLTON S. SHIER IV                    CARNEGIE AS
US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE                    SENTRUM, FJORDALLEEN 16 - AKER BRYG
207 GRANDVIEW DRIVE, STE 400           601 MEYERS BAKER ROAD, STE 200         OSLO 0106
FT. MITCHELL, KY 41017-2762            LONDON, KY 40741-3035                  NORWAY




CARNEGIE MELLON UNIVERSITY             CARNS, JESSE                           CAR-O-LINER COMMERCIAL AB
5000 FORBES AVE                        [ADDRESS ON FILE]                      MEJERIGATAN 12
PITTSBURGH, PA 15213                                                          KATRINEHOLM 641 3
                                                                              SWEDEN
CARONI S.P.A.            Case 25-10258-TMH     Doc
                                       CARPENTER,    32
                                                  BRAD      Filed 02/19/25    Page 27 of 171
                                                                                CARRAZCO RAYGOZA, HIRAM
VIA CASTELLETTO STURA, 46              [ADDRESS ON FILE]                         [ADDRESS ON FILE]
CUNEO 12100
ITALY




CARRERA, PAUL                           CARRIEDO, ANTONIO                        CARRIER CORPORATION
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        7501 S QUINCY ST, STE 110
                                                                                 WILLOWBROOK, IL 60527




CARRIER CORPORATION                     CARRILLO ARVIZU, MARTIN                  CARRILLO ROSAS, GUSTAVO
PO BOX 93844                            [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CHICAGO, IL 60673




CARRILLO, SAUL                          CARROLL MICENA, KELLY                    CARROLL, JOHN K.
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




CARROLL, SCOTT                          CARTER MACHINERY COMPANY, INCORPORA      CARTER, DAN
[ADDRESS ON FILE]                       1330 LYNCHBURG TURNPIKE                  [ADDRESS ON FILE]
                                        SALEM, VA 24153




CARTWRIGHT, JODY LEE                    CARVER, RONALD                           CARY, PHILIP
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




CASA GRANDE PUMPING SERVICE, INC.       CASA GRANDE VALLEY NEWSPAPERS INC        CASARES, JAVIER
7324 S LINDA LOU RD.                    200 W 2ND ST.                            [ADDRESS ON FILE]
ELOY, AZ 85131                          CASA GRANDE, AZ 85122




CASHMAN EQUIPMENT COMPANY               CASPLE S.A.                              CASTELLANOS, FERNANDO
3300 ST ROSE PARKWAY                    CALLE ALCALDE MARTIN COBOS, 2            [ADDRESS ON FILE]
HENDERSON, NV 89052                     BURGOS 09007
                                        SPAIN




CASTELLANOS, JUAN                       CASTER CONCEPTS INC                      CASTER CONNECTION INC
[ADDRESS ON FILE]                       16000 E. MICHIGAN AVE                    2380 INTERNATIONAL STREET
                                        ALBION, MI 49224                         COLUMBUS, OH 43228




CASTILLO, KATIA                         CASTILLO, NATALIE                        CASTILLO, YANAI
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CASTRO, ANGELICA ROBLES Case 25-10258-TMH      Doc 32
                                      CASTRO, JIMMY          Filed 02/19/25   Page 28 ofCOMPONENTS,
                                                                                CATALINA 171        INC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          4015 W. MILKY WAY
                                                                                 CHANDLER, AZ 85226




CAVIGLIETTO GIUSEPPE SRL               CAYATA GRUPO LARRION                      CAYMAN DYNAMICS, LLC
VIA VOLPIANO 69                        CALLE TRABAJO                             15201 CENTURY DR, STE 605
LEINI, TO 10040                        GATAFE, MADRID 28906                      DEARBORN, MI 48120
ITALY                                  SPAIN




CAZARES, LUIS                          CAZARES, OMAR                             CB&I GROUP INC.
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         1298 ROCKBRIDGE RD, STE B
                                                                                 STONE MOUNTAIN, GA 30087




CC PROPERTY INVESTMENTS, LLC           CCA FINANCIAL LLC                         CCJ & ASSOCIATES, LLC
2353 W UNIVERSITY DR                   7275 GLEN FOREST DR, STE 100              10811 W FAIRMONT PKWY
TEMPE, AZ 85281                        RICHMOND, VA 23226                        LA PORTE, TX 77571-6008




CCL DESIGN ITALIA SRL                  CCL LABEL INC.                            CDW DIRECT
VIA ANTONIO CANOVA, 42LAINATE          12303 COLLECTION CENTER DR.               200 N MILWAUKEE AVE
MILANO 20020                           CHICAGO, IL 60693                         VERNON HILLS, IL 60061
ITALY




CEET INDUSTRIES, INC                   CELLINO SRL                               CELMAC S.R.L.
1725 E ROBIN LANE                      FRAZIONE TETTI CAGLIERI VIA MONCALI       STRADA DELLA BEFFA 40
PHOENIX, AZ 85024                      VINOVO, TO 10048                          POIRINO, TO 10046
                                       ITALY                                     ITALY




CENIT NORTH AMERICA INC.               CENTER FOR TRANSPORTATION                 CENTERLINE DRIVERS LLC
691 N. SQUIRREL ROAD, SUITE 275        AND THE ENVIRONMENT, INC.                 1600 E 4TH ST, STE 340
AUBURN HILLS, MI 48326                 730 PEACHTREE STREET, SUITE 450           SANTA ANA, CA 92701
                                       ATLANTA, GA 30308




CENTRAL ARIZONA SUPPLY INC.            CENTRAL PROGRAMS BUREAU                   CENTRAL PROGRAMS BUREAU
208 SOUTH COUNTRY CLUB DRIVE           800 LINCOLN WAY                           PO BOX 9278
MESA, AZ 85210                         AMES, IA 50010                            DES MOINES, IA 50306-9278




CERTARUS (USA) LTD.                    CERTARUS (USA) LTD.                       CERTEX USA, INC.
757 N ELDRIDGE PKWY, STE 1200          PO BOX 60403                              1721 W CULVER ST
HOUSTON, TX 77079                      MIDLAND, TX 79711                         PHOENIX, AZ 85007




CERTEX USA, INC.                       CERVANTES, DESTINY                        CET TECHNOLOGY LLC.
PO BOX 201553                          [ADDRESS ON FILE]                         27 ROULSTON ROAD
DALLAS, TX 75320                                                                 WINDHAM, NH 03087
CFI LOGISTICA, S.A. DE C.V. Case 25-10258-TMH      DocINC.
                                          CGS PREMIER,  32 Filed 02/19/25      Page 29 ofRONALD
                                                                                 CHACON,  171
4701 E 32ND ST                            S64 W15586 COMMERCE CENTER PARKWAY     [ADDRESS ON FILE]
JOPLIN, MO 64804                          MUSKEGO, WI 53150




CHAHAYED, ISSAM                         CHAMPAGNE, MACKENNA                      CHAMPION ACQUISITION LLC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        3444 N 27TH AVE
                                                                                 PHOENIX, AZ 85017




CHAN, MARY                              CHAN, MARY                               CHANG, HUIWEN
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




CHANGE ENERGY ENGINEERING INC.          CHAPMAN, TYLER                           CHARGEPOINT, INC.
2140 WINSTON PARK DRIVE, STE 203        [ADDRESS ON FILE]                        DEPT LA 24104
OAKVILLE, ON L6H 5V5                                                             PASADENA, CA 91185
CANADA




CHARIN E.V.                             CHARLES E. THOMAS COMPANY, INC.          CHART INC.
C/O INNOS - SPERLICH GMBHKURFUSTE       13701 S ALMA AVE                         2200 AIRPORT INDUSTRIAL DR, STE 100
BERLIN 10719                            GARDENA, CA 90249                        BALL GROUND, GA 30107
GERMANY




CHART LIFECYCLE, INC                    CHATTER SOFTWARE DEVELOPMENT INC.        CHATURVEDI, VINAYAK
8665 NEW TRAILS DRIVE, STE 100          7251 GALILEE RD. STE 160                 [ADDRESS ON FILE]
THE WOODLANDS, TX 77381                 ROSEVILLE, CA 95678




CHAVANT INC                             CHAVEZ, EDGAR                            CHAVOLLA, CESAR
5043 INDUSTRIAL ROAD                    [ADDRESS ON FILE]                        [ADDRESS ON FILE]
FARMINGDALE, NJ 07727




CHEAP TUBES INC                         CHEMPOINT.COM INC.                       CHEMTREAT, INC.
3992 RTE 121E STE 3                     411 108TH AVENUE NE, SUITE 1050          5640 COX ROAD
GRAFTON, VT 05146                       BELLEVUE, WA 98004                       GLEN ALLEN, VA 23060




CHEN, JORDAN                            CHERRY, ERIN                             CHERRY, JOANNE
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




CHICAGO TITLE AGENCY                    CHICAGO TITLE COMPANY                    CHICKMANGAL SATYANARAYAN,
6710 NORTH SCOTTSDALE RD STE 100        464 CALIFORNIA STREET                    RAGHAVENDRA
SCOTTSDALE, AZ 85253                    SAN FRANCISCO, CA 94104                  [ADDRESS ON FILE]
CHIEF ENTERPRISES INC      Case 25-10258-TMH      Doc 32CO Filed 02/19/25
                                         CHIEF PETROLEUM                    Page 30 ofCITY
                                                                              CHILLER   171CORP
545 W LAKE ST                             301 S 10TH ST.                       563 WEST 3RD AVENUE
ELMHURST, IL 60126                        COLORADO SPRINGS, CO 80904           MESA, AZ 85210




CHIOSINI, BRUNA                           CHIP 1 EXCHANGE USA INC.             CHITLA, CHRISTOPHER
[ADDRESS ON FILE]                         23422 MILL CREEK DRSUITE 220         [ADDRESS ON FILE]
                                          LAGUNA HILLS, CA 92653




CHITWOOD, ANTHONY                         CHOLODEWITSCH, STEPHEN               CHRISTENSEN & DOUGHERTY LLP
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                    1201 NORTH MARKET ST. STE 1404
                                                                               WILMINGTON, DE 19801




CHRISTENSEN, KEVIN D                      CHRISTIAN, MATTHEW                   CHRISTMAN, COLE
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                    [ADDRESS ON FILE]




CHRISTOPHER R. KAVANAUGH                  CHRISTOPHER R. KAVANAUGH             CHROMA SYSTEMS SOLUTIONS, INC.
US ATTORNEYS OFFICE                       US COURTHOUSE & FEDERAL BLDG         19772 PAULING
180 W MAIN ST                             255 W MAIN ST, ROOM 130              FOOTHILL RANCH, CA 92610
ABINGDON, VA 24210                        CHARLOTTESVILLE, VA 22902




CHRYSAN INDUSTRIES, INC.                  CHURCH, BRIAN                        CICHOCKI, MARK
14707 KEEL STREET                         [ADDRESS ON FILE]                    [ADDRESS ON FILE]
PLYMOUTH, MI 48170




CINCINNATI INCORPORATED                   CINCINNATI TEST SYSTEMS, INC.        CINTAS CANADA LIMITED
7420 KILBY RD                             10100 PROGRESS WAY                   6300 KENNEDY RD. UNIT 3
HARRISON, OH 45030                        HARRISON, OH 45030                   MISSISSAUGA, ON L5T 2X5
                                                                               CANADA




CINTAS CORPORATION NO. 2                  CINTAS INC.                          CIRBA SOLUTIONS SERVICES US, LLC
6800 CINTAS BLVD                          5501 W HADLEY ST                     4930 HOLTZ DR
MASON, OH 45040                           PHOENIX, AZ 85043                    WIXOM, MI 48393




CIRCLE T TRUCKING, LTD                    CIRCOR AEROSPACE                     CIRCULA GMBH
245 F QUARTER CIRCLE LOOP                 30 CORPORATE DR, STE 200             SCHONHAUSER ALLEE 148
CHEYENNE, WY 82004                        BURLINGTON, MA 01803-4232            BERLIN 10435
                                                                               GERMANY




CIRIGNANI, CAROLINA                       CIRIGNANI, DANIEL                    CIRRIS INC.
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                    401 N 5600 W
                                                                               SALT LAKE CITY, UT 84116
CISCO-EAGLE, INC.          Case 25-10258-TMH
                                         CISION USDoc
                                                  INC. 32      Filed 02/19/25   Page  31 US
                                                                                  CISION of INC.
                                                                                             171
DEPT 1225                                 300 S RIVERSIDE PLZ, STE 300             50 MILK ST, 15TH FL
TULSA, OK 74182                           CHICAGO, IL 60606                        MOOSEHEAD STE
                                                                                   BOSTON, MA 02109




CITI BANK                                 CITIBANK N.A.                            CITIGROUP GLOBAL MARKETS INC.
399 PARK AVE                              111 WALL STREET                          ATTN SHENWEI ZHU
NEW YORK, NY 10022                        NEW YORK, NY 10005                       338 GREENWICH STREET
                                                                                   NEW YORK, NY 10013




CITY ELECTRIC SUPPLY COMPANY              CITY OF COOLIDGE - PUBLIC WORKS          CITY OF COOLIDGE
3902 E UNIVERSITY DR. SUITE 3             355 S 1ST STREET                         130 W CENTRAL AVE
PHOENIX, AZ 85034                         COOLIDGE, AZ 85128                       COOLIDGE, AZ 85128




CITY OF LA - HARBOR DEPARTMENT            CITY OF LONG BEACH                       CITY OF LOS ANGELES
425 S PALOS VERDES ST                     411 W OCEAN BLVD                         200 N MAIN STREET ROOM 1780
SAN PEDRO, CA 90731                       LONG BEACH, CA 90842                     LOS ANGELES, CA 90012




CITY OF PHOENIX - UTILITY BILLS           CITY OF PHOENIX - UTILITY BILLS          CITY OF PHOENIX (PLANNING & DVLPMT
200 W WASHINGTON ST                       200 W. WASHINGTON ST                     200 W WASHINGTON ST
PHOENIX, AZ 85003                         PHOENIX, AZ 85003                        PHOENIX, AZ 85003




CITY OF PHOENIX CED                       CITY OF PHOENIX                          CITY OF STOCKTON
200 W WASHINGTON ST 20TH FLOOR            251 W WASHINGTON ST. 5TH FLOOR           425 N EL DORADO ST, 1ST FL
PHOENIX, AZ 85003                         PHOENIX, AZ 85003                        STOCKTON, CA 95202




CITY OF WEST SACRAMENTO                   CITY SPACES, LLC                         CLARIENCE TECHNOLOGIES
1110 W CAPITOL AVE, 3RD FLOOR             24100 NORTH 51ST AVENUE                  20600 CIVIC CENTER DR
WEST SACRAMENTO, CA 95691                 GLENDALE, AZ 85310                       SOUTHFIELD, MI 48076-4110




CLARINOX TECHNOLOGIES PTY LTD             CLARION CORPORATION OF AMERICA           CLARIOS INTERNATIONAL LP
SUITE 28, 296 BAY ROAD                    2800 HIGH MEADOW CR.                     FLORIST TOWER, 5757 N GREEN BAY AVE
CHELTENHAM, VIC 3192                      AUBURN HILLS, MI 48326                   GLENDALE, WI 53209-4408
AUSTRALIA




CLARITAS, HOLDINGS INC.                   CLARK PEST CONTROL OF STOCKTON, INC      CLARK WILSON LLP
8044 MONTGOMERY RD, STE 455               555 N GUILD AVE                          885 WEST GEORGIA STREET, SUITE 900
CINCINNATI, OH 45236                      LODI, CA 95240                           VANCOUVER, BC V6C 3H1
                                                                                   CANADA




CLARK, ANDREW                             CLARK, GAVIN                             CLARK, GAVIN
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CLARK, MATTHEW            Case 25-10258-TMH      Doc 32
                                        CLARK, NICOLE        Filed 02/19/25   Page 32 ofHORN
                                                                                CLARTON  171
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       AVENIDA JUAN CARLOS I, S/N
                                                                                LA CAROLINA, JAEN 23200
                                                                                SPAIN




CLASSIC COMPONENTS CORP                 CLAUNCH, JANET                          CLAUNCH, JOSEPH
23605 TELO AVE                          [ADDRESS ON FILE]                       [ADDRESS ON FILE]
TORRANCE, CA 90505




CLAYTON, RYAN                           CLEAN HARBORS ENVIRONMENTAL SERVICE     CLEAN HYDROGEN FUTURE COALITION
[ADDRESS ON FILE]                       PO 734867                               1050 THOMAS JEFFERSON ST. NW, STE.
                                        DALLAS, TX 75373                        WASHINGTON, DC 20007




CLEAN ROOM DEVICES INC                  CLEANCONTROLLING, INC.                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC
10855 DOVER ST UNIT 100                 1029 S BELVEDERE AVE.                   4830 N LOOP
WESTMINSTER, CO 80021                   GASTONIA, NC 28054                      1604 W
                                                                                SAN ANTONIO, TX 78249




CLEVELAND BROTHERS EQUIPMENT CO., I     CLEVELAND BROTHERS EQUIPMENT            CLEVELAND ELECTRIC LABORATORIES, IN
4565 WILLIAM PENN HWY                   ATTN: BRANDON FRITZ                     1776 ENTERPRISE PARKWAY
MURRYSVILLE, PA 15668                   4565 WILLIAM PENN HWY                   TWINSBURG, OH 44087
                                        MURRYSVILLE, PA 15668




CLF WAREHOUSE                           CLONTS, SHAWN                           CLOUD TECHNOLOGY SOLUTIONS
1436 N 27TH LN                          [ADDRESS ON FILE]                       LOWRY HOUSE, 17 MARBLE STREET
PHOENIX, AZ 85009                                                               MANCHESTER M2 3A
                                                                                UNITED KINGDOM




CLS FABRICATION, INC.                   CM TFS LLC                              CMS S.P.A.
20522 BUILDERS STREET                   5480 CORPORATE DR 350                   VIA NUOVA STRADA CONSORTILE
SOUTH BEND, OR 97701                    TROY, MI 48098                          FISCIANO,SA 84084
                                                                                ITALY




CNA FINANCIAL CORPORATION               CNC TECH.COM INC                        CNC WATERJET LLC
10375 PARK MEADOWS DRIVE, SUITE 300     1622 COUNTY ROAD 22                     4168 N PECOS RD STE 106
LITTLETON, CO 80124                     BELLE RIVER, ON N0R 1A0                 LAS VEGAS, NV 89115
                                        CANADA




CNH INDUSTRIAL AMERICA LLC              COALA LLC                               COALITION INSURANCE SOLUTIONS, INC.
700 STATE STREET                        1991 S 1100 E UNIT A                    44 MONTGOMERY ST, SUITE 4210
RACINE, WI 53404                        SALT LAKE CITY, UT 84106                SAN FRANCISCO, CA 94104




COBALT ROBOTICS INC.                    COBLE, JASON                            COBRA PATTERNS AND MODELS INC
300 SPECTRUM CENTER DRIVE, STE 1100     [ADDRESS ON FILE]                       32303 HOWARD
IRVINE, CA 92618                                                                MADISON, WI 48071
COBRAPLAST               Case 25-10258-TMH       Doc 32SUPPLY
                                       CODALE ELECTRIC      Filed
                                                                INC02/19/25   Page 33 of 171
                                                                                CODECLINIC LLC
VIA (EX STRADA) FORMACINO              5225 W 2400 SOUTH                         352 PARK ST, SUITE 104
LEINI, TO 10040                        SALT LAKE CITY, UT 84120                  NORTH READING, MA 01864
ITALY




COFFELT, STEVEN                         COHEN & MIZRAHI LLP                      COHEN ZIFFER FRENCHMAN & MCKENNA LL
[ADDRESS ON FILE]                       300 CADMAN PLAZA W12TH FLOOR             1325 AVE OF AMERICAS, 31ST FLOOR
                                        BROOKLYN, NY 11201                       NEW YORK, NY 10019




COILCRAFT, INC.                         COKER, CHRISTOPHER                       COLE FINEGAN
1102 SILVER LAKE RD                     [ADDRESS ON FILE]                        AUSA JEFFREY GRAVES
CARY, IL 60013                                                                   835 E 2ND AVE, STE 410
                                                                                 DURANGO, CO 81301




COLE FINEGAN                            COLE FINEGAN                             COLEMAN, JAMES
AUSA PETER HAUTZINGER                   US ATTORNEYS OFFICE                      [ADDRESS ON FILE]
205 N 4TH ST, STE 400                   1801 CALIFORNIA ST
GRAND JUNCTION, CO 81501                DENVER, CO 80202




COLE-PARMER INSTRUMENT COMPANY LLC      COLLETT, KEITH                           COLLIERS FUNDING LLC
13927 COLLECTIONS CENTER DRIVE          [ADDRESS ON FILE]                        90 S 7TH ST, STE 4300
CHICAGO, IL 60693                                                                MINNEAPOLIS, MN 55402




COLLIERS INTERNATIONAL HOLDINGS (US     COLLIERS MORTGAGE HOLDINGS LLC           COLLINS, BEVERLY
INC.                                    90 SOUTH SEVENTH STSUITE 4300            [ADDRESS ON FILE]
2390 E CAMELBACK RD. STE 100            MINNEAPOLIS, MN 55402
PHOENIX, AZ 85018




COLLINS, BRANDON                        COLMENEROS PALLETS INC.                  COLON, NOEL
[ADDRESS ON FILE]                       2947 E ILLINI ST                         [ADDRESS ON FILE]
                                        PHOENIX, AZ 85040




COLONY INSURANCE COMPANY                COLORADO DEPARTMENT OF REVENUE           COLORADO DEPARTMENT OF REVENUE
501 7TH AVENUE, 7TH FLOOR               1881 PIERCE ST                           1881 PIERCE ST
NEW YORK, NY 10018                      ENTRANCE B                               LAKEWOOD, CO 80214
                                        LAKEWOOD, CO 80214




COLORADO DEPARTMENT OF REVENUE          COLORADO DEPT OF LABOR AND               COLORADO DEPT OF LABOR AND
DENVER, CO 80261-0013                   EMPLOYMENT                               EMPLOYMENT
                                        633 17TH STREET                          UNEMPLOYMENT INSURANCE
                                        STE 201                                  633 17TH ST
                                        DENVER, CO 80202                         STE 201
                                                                                 DENVER, CO 80202-3660


COLORADO DEPT OF PUBLIC HEALTH AND      COLORADO STATE TREASURY                  COLORADO STATE UNIVERSITY
ENVIRONMENT                             UNCLAIMED PROPERTY DIVISION              1301 CAMPUS DELIVERY
4300 CHERRY CREEK DRIVE S               200 E COLFAX AVE, STE 141                FORT COLLINS, CO 80523
DENVER, CO 80246-1530                   DENVER, CO 80203-1722
                       CaseINC
COLUMBUS CHEMICAL INDUSTRIES 25-10258-TMH
                                      COMDATA Doc
                                               INC 32     Filed 02/19/25    Page 34 of 171
                                                                              COMERCIAL LOUREIRO
N4335 TEMKIN ROAD                     5301 MARYLAND WAY, SUITE 100             4141 E BROADWAY RD
COLUMBUS, WI 53925                    BRENTWOOD, TN 37027                      PHOENIX 85040




COMETIC GASKET INC                    COMFORT SYSTEMS USA (SOUTHWEST), IN      COMMERCIAL VEHICLE GROUP, INC
8090 AUBURN RD                        6875 W GALVESTON ST                      15705 COLLECTIONS CENTER DRIVE
CONCORD, OH 44077                     CHANDLER, AZ 85226                       CHICAGO, IL 60693




COMMISSIONER OF MOTOR VEHICLES        COMMON AREA CLEANING, INC                COMMONWEALTH ELECTRIC COMPANY
6 EMPIRE STATE PLAZA ROOM 220         133 W. MCDOWELL RD.                      1203 N SCHULTZ ST. STE A
ALBANY, NY 12228                      PHOENIX, AZ 85003                        CASA GRANDE, AZ 85122




COMMONWEALTH OF MASSACHUSETTS         COMMUNITY OF EXPERTS OF DASSAULT         COMPASS LEXECON LLC
100 CAMBRIDGE ST                      SYSTEMES SOLUTIONS                       200 STATE ST, 9TH FL
BOSTON, MA 02204                      330 N WABASH AVE. SUITE 2000             BOSTON, MA 02109
                                      CHICAGO, IL 60611




COMPETITIVE METALS, INC               COMPLETE TRAINING RESOURCES, LLC         COMPRESSED GAS ASSOCIATION
135 CYPRESS LANE                      2516 E UNIVERSITY DR. STE 100            14501 GEORGE CARTER WAY, SUITE 103
EL CAJON, CA 92020                    PHOENIX, AZ 85034                        CHANTILLY, VA 20151




COMPTROLLER OF MARYLAND               COMPTROLLER OF PUBLIC ACCOUNTS           COMPUNET, INC.
UNCLAIMED PROPERTY                    111 EAST 17TH ST                         LB 410802 PO BOX 35143
301 W PRESTON ST, RM 310              AUSTIN, TX 78774                         SEATTLE, WA 98124
BALTIMORE, MD 21201




COMPUTER AIDED SOLUTIONS, LLC         COMSOL, INC.                             CONCENTRA
8429 MAYFIELD RDUNIT 104              100 DISTRICT AVENUE                      1818 E SKY HARBOR CIR. N 150
CHESTERLAND, OH 44026                 BURLINGTON, MA 01803                     PHOENIX, AZ 85034




CONCENTRIC BIRMINGHAM LTD             CONCORD WORLDWIDE, INC.                  CONCRETE BLOCK SUPPLY LLC
UNIT 10 GRAVELLY PARK TYBURN ROAD     177 POST ST, STE 910                     6397 W PRENTICE AVE
ERDINGTON B24 S                       SAN FRANCISCO, CA 94108-4712             LITTLETON, CO 80123
UNITED KINGDOM




CONNECTICUT DEPARTMENT OF LABOR       CONNECTICUT DEPARTMENT OF REVENUE        CONNECTICUT DEPT OF ENERGY AND
200 FOLLY BROOK BLVD                  PO BOX 2977                              ENVIRONMENTAL PROTECTION
WETHERSFIELD, CT 06109                HARTFORD, CT 06104                       79 ELM ST
                                                                               HARTFORD, CT 06106-5127




CONNECTICUT DEPT OF LABOR             CONNECTICUT DEPT OF PUBLIC HEALTH        CONNECTICUT DEPT OF REVENUE SVCS
UNEMPLOYMENT INSURANCE                410 CAPITOL AVE                          450 COLUMBUS BOULEVARD, SUITE 1
200 FOLLY BROOK BLVD                  HARTFORD, CT 06134                       HARTFORD, CT 06103
WETHERSFIELD, CT 06109
CONNECTOR ID, LLC       Case 25-10258-TMH
                                      CONNOLLYDoc   32 FiledCO.02/19/25
                                               CONSTRUCTION                 Page 35 of 171
                                                                              CONNOLLY GALLAGHER LLP
4359 WADE HAMPTON BLVD. PO BOX 1110   179 EMMAUS ROAD                          1201 NORTH MARKET STREET20TH FLOO
TAYLORS, SC 29687                     MARYSVILLE, OH 43040                     WILMINGTON, DE 19801




CONNOR GROUP GLOBAL SERVICES LLC      CONRAD, DANIEL                           CONSILIO INC.
DEPT 3748. PO BOX 123748              [ADDRESS ON FILE]                        DEPT CH 17174
DALLAS, TX 75312                                                               PALATINE, IL 60055




CONSOLIDATED ELECTRICAL DISTRIBUTOR   CONSOLIDATED RESOURCES INC               CONSTRUCTION LABELS, LLC
INC.                                  13420 W JOE RAMIREZ RD                   3650 E. WIER AVENUE
1920 WESTRIDGE DR                     EL MIRAGE, AZ 85335                      PHOENIX, AZ 85040
IRVING, TX 75038




CONTA-CLIP, INC.                      CONTAX, INC.                             CONTEMPORARY AMPEREX TECHNOLOGY
400 APGAR DR. SUITE D                 311 W. SUPERIOR ST. 313                  CO.
SOMERSET, NJ 08873                    CHICAGO, IL 60654                        2 XINGANG ROAD, ZHANGWAN TOWN, JIAO
                                                                               NINGDE CITY 352100
                                                                               CHINA



CONTEMPORARY AMPEREX TECHNOLOGY       CONTINENTAL AUTOMOTIVE HUNGARY KFT.      CONTINENTAL AUTOMOTIVE SYSTEMS INC
USA                                   NAPMATKA UTCA 6.                         1 CONTINENTAL DR
2455 FEATHERSTONE RD.                 BUDAPEST 1106                            AUBURN HILLS, MI 48326
AUBURN HILLS, MI 48326                HUNGARY




CONTINENTAL BATTERY COMPANY           CONTINENTAL BROADBAND LLC                CONTINENTAL STOCK TRANSFER&TRUST CO
8585 N. STEMMONS FWY STE. 600 S       1 ALLEGHENY SQ, STE 600                  ONE STATE STREET PLAZA 30TH FLOOR
DALLAS, TX 75247                      PITTSBURGH, PA 15212-5360                NEW YORK, NY 10004




CONTITECH MGW GMBH                    CONTITECH NORTH AMERICA, INC.            CONTRERAS, JORGE
HANNOVERSCHE STRABE 100               703 S CLEVELAND-MASSILLON RD             [ADDRESS ON FILE]
HAMBURG 21079                         FAIRLAWN, OH 44333
GERMANY




CONTRERAS, JUAN                       CONTROL DISTRIBUTORS LLC                 CONTROL ENGINEERING, LLC
[ADDRESS ON FILE]                     7305 W BOSTON ST.                        8380 S KYRENE RD. STE D101
                                      CHANDLER, AZ 85226                       TEMPE, AZ 85284




CONTROL FACTORS- SEATTLE INC.         CONTROL INSULATION SERVICES, LLC         CONTROLLED MOTION SOLUTIONS, INC
1508 O ST SW, STE 101                 2819 KENNING RD.                         8433 SOLUTION CENTER
AUBURN, WA 98001                      CROSBY, TX 77532                         CHICAGO, IL 60677




COOK, BRETT                           COOK, MICHAEL                            COOK, STEVEN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]
                        Case 25-10258-TMH
COOLIDGE YOUTH LITTLE LEAGUE                  Doc 32 Filed 02/19/25
                                      COOPER, CHRISTOPHER             Page 36 ofJOSHUA
                                                                        COOPER,  171
456 S 18TH ST                         [ADDRESS ON FILE]                  [ADDRESS ON FILE]
COOLIDGE, AZ 85128




COOPER-STANDARD INDUS & SPECIA      COPPER STATE BOLT & NUT CO           COPPERPOINT INSURANCE COMPANY
GROUP LLC                           DEPT 880220 PO BOX 29650             3030 N 3RD ST, STE 110
40300 TRADITIONS DR                 PHOENIX, AZ 85038                    PHOENIX, AZ 85012-3068
CHICAGO, IL 60674




CORBINS SERVICE ELECTRIC, LLC       CORE ELECTRIC COOPERATIVE            CORE MOLDING TECHNOLOGIES, INC.
4829 S 38TH STREET                  5496 N US HWY 85                     800 MANOR PARK DR.
PHOENIX, AZ 85040                   SEDALIA, CO 80135                    COLUMBUS, OH 43228




CORETEK, INC                        CORNAGLIA                            CORNWELL, CLINTON
34900 GRAND RIVER AVENUE            STRADA MIRAFIORI, 31                 [ADDRESS ON FILE]
FARMINGTON HILLS, MI 48335          BEINASCO, TO 10092
                                    ITALY




CORNWELL, JOHN                      CORPORATE DIRECT APPAREL, LLC        CORPORATE INTERIOR SYSTEMS INC
[ADDRESS ON FILE]                   121 CHESHIRE LANE N, STE 100         3311 E BROADWAY RD
                                    HOPKINS, MN 55305                    PHOENIX, AZ 85040




CORPORATION SERVICE COMPANY         CORRALES MENDOZA, ARMANDO            CORRALES, LUIS
AS REPRESENTATIVE                   [ADDRESS ON FILE]                    [ADDRESS ON FILE]
PO BOX 2576
SPRINGFIELD, IL 62708




CORRIGAN ENTERPRISES, INC.          CORSO                                CORTEZ VISUAL COMMUNICATIONS, INC.
775 N. SECOND STREET                10377 S LAC VIEUX RD                 219 S WILLIAM DILLARD DR. BLDG 2 ST
BRIGHTON, MI 48116                  S JORDAN, UT 84009                   GILBERT, AZ 85233




COST PER MILE INC.                  COSTAR REALTY INFORMATION, INC.      COSTCO WHOLESALE CORPORATION
3967 E CENTRAL AVE                  2563 COLLECTION CENTER DR            999 LAKE DRIVE
FRESNO, CA 93725                    CHICAGO, IL 60693                    ISSAQUAH, WA 98027




COTA, JOSE                          COTA, RICHARD                        COTTER, JOHN
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                    [ADDRESS ON FILE]




COTTON CENTER HOSPITALITY LC        COURNOYER, ROSS                      COUTURE, MEGHAN
4750 EAST COTTON CENTER BLVD        [ADDRESS ON FILE]                    [ADDRESS ON FILE]
PHOENIX, AZ 85040
COVENANT TRANSPORT, INC.Case 25-10258-TMH      Doc 32INC Filed 02/19/25
                                      COWEN HOLDINGS                         Page
                                                                               COX37 of 171
                                                                                   BUSINESS
400 BIRMINGHAM HWY                    599 LEXINGTON AVE                        6205 PEACHTREE DUNWOODY RD
CHATTANOOGA, TN 37419                 NEW YORK, NY 10022                       ATLANTA, GA 30328




COX BUSINESS                          COX BUSINESS                             COZZA, MICHAEL
6205-B PEACHTREE SUNWOODY RD, NE      PO BOX 53249                             [ADDRESS ON FILE]
ATLANTA, GA 30328                     PHOENIX, AZ 85072




CP INDUSTRIES HOLDINGS, INC           CPRIME, INC.                             CRA INTERNATIONAL INC.
2214 WALNUT STREET                    900 NORTHBROOK DR. STE 320               200 CLARENDON STREET
MC KEESPORT, PA 15132                 FEASTERVILLE-TREVOSE, PA 19053           BOSTON, MA 02116




CRATING TECHNOLOGY INC                CRAWFORD, JAMES                          CRAWFORD, KEENAN
3909 E MIAMI AVE                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]
PHOENIX, AZ 85040




CRD MFG, INC.                         CREAFORM U.S.A. INC                      CREATIVE LIQUID COATINGS, INC.
615 FEE ANA STREET                    4903 W SAM HOUSTON PKWY N, STE A-400     1701 MAGDA DRIVE
PLACENTIA, CA 92870                   HOUSTON, TX 77041                        MONTPELIER, OH 43543




CREATIVE MACHINE COMPANY              CREATIVE SAFETY SUPPLY, LLC              CRESSALL RESISTORS LTD
50140 PONTIAC TRAIL                   8030 SW NIMBUS AVENUE                    EVINGTON VALLEY ROAD
WIXOM, MI 48393                       BEAVERTON, OR 97008                      LEICESTER LE5 5LZ
                                                                               UNITED KINGDOM




CROSBY, BRIAN                         CROSHAW, JACE                            CROTTY, TREVOR
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




CRUM & FORSTER SPECIALTY INSURANCE    CRUNCHY DATA SOLUTIONS, INC.             CRUZ CISNEROS, LUIS
305 MADISON AVENUE                    162 SEVEN FARMS DRIVE STE. 220           [ADDRESS ON FILE]
MORRISTOWN, NJ 07960                  CHARLESTON, SC 29492




CRUZ, JONATHAN                        CRYOCO LLC                               CRYOGENIC INDUSTRIES SERVICE COMPAN
[ADDRESS ON FILE]                     5 INDIAN RIVER AVE, UNIT 1207            LLC
                                      TITUSVILLE, FL 32796                     21250 SPELL CIRCLE
                                                                               TOMBALL, TX 77375




CRYO-LEASE, LLC                       CRYO-LEASE, LLC                          CRYSTALLOGY CONSULTING INC
2003 N 193RD EAST AVE                 48 PINE RD                               680 E COLORADO BLVD. SUITE 180
CATOOSA, OK 74105                     BRENTWOOD, NH 03833                      PASADENA, CA 91101
                        Case
CSC - CORPORATION SERVICE     25-10258-TMH
                          COMPANY               Doc
                                       CSC LEASING   32 Filed 02/19/25
                                                   COMPANY                 Page
                                                                             CSE38  of 171 INC.
                                                                                 W-INDUSTRIES,
251 LITTLE FALLS DR                    6802 PARAGON PLACESUITE 350           8303 THORA LN
WILMINGTON, DE 19808                   RICHMOND, VA 23230                    SPRING, TX 77379




CSK AUTO, INC                        CSL INDUSTRIALE S.R.L                   CSL S.P.A.
PO BOX 1156                          VIA FINALE LIGURE, 7                    VIA FINALE LIGURE 7
SPRINGFIELD, MO 65801                TURIN 10040                             LA LOGGIA (TORINO) 10040
                                     ITALY                                   ITALY




CSM PRODUCTS, INC.                   CT CORPORATION SYSTEM                   CTAM INC.
1920 OPDYKE CT SUITE 200             PO BOX 4349                             1623 CENTRAL AVE, STE 3
AUBURN HILLS, MI 48329               CAROL STREAM, IL 60197                  CHEYENNE, WY 82001




CULBERSON, KIRK                      CUMMINS INC.                            CUPIX AMERICA INC
[ADDRESS ON FILE]                    500 JACKSON STREET                      3003 NORTH 1ST STREET STE 204
                                     COLUMBUS, IN 47201                      SAN JOSE, CA 95134




CURAFIN ADVISORS, LLC                CURTISS-WRIGHT CORPORATION              CUTTING EDGE MANUFACTURING, INC
4747 N. 22ND ST., STE 410            4510 ROBARDS LN                         22601 N. 17TH AVE.SUITE 120
PHOENIX, AZ 85016                    LOUISVILLE, KY 40218                    PHOENIX, AZ 85016




CVG NATIONAL SEATING CO MEXICO       CVG NATIONAL SEATING COMPANY, LLC       CW CONSTRUCTION LLC
7800 WALTON PARKWAY                  PO BOX 15694, COLLECTIONS CENTER DR     4417 W. WALTANN LN.
NEW ALBANY, OH 43054                 CHICAGO, IL 60693                       GLENDALE, AZ 85306




CWL HOLDING COMPANY LLC              CYBERCODERS, INC.                       CYVATAR.AI INC
1500 RANKIN ROAD                     FILE54318                               530 TECHNOLOGY DRIVE, SUITE 100
SUITE 400                            LOS ANGELES, CA 90074                   IRVINE, CA 92618
HOUSTON, TX 77073




D&L TRANSPORT, LLC                   D. REYNOLDS COMPANY, LLC                D.H. PACE COMPANY INC
8101 COLLEGE BLVD. SUITE 110         2680 SYLVANIA CROSS DR                  1901 E 119TH STREET
OVERLAND PARK, KS 66207              FORT WORTH, TX 76123                    OLATHE, KS 66061




D.R. MCNATTY & ASSOCIATES, INC.      DACASIN, NATHAN                         DAIGLE, ALLISON
26300 LA ALAMEDA, STE 250            [ADDRESS ON FILE]                       [ADDRESS ON FILE]
MISSION VIEJO, CA 92691




DAMAGE RECOVERY                      DAMIAN WILLIAMS                         DAMIAN WILLIAMS
413 DIVISION ST                      UNITED STATES ATTORNEYS OFFICE          UNITED STATES ATTORNEYS OFFICE
KANSAS CITY, MO 66103                1 ST ANDREWS PLAZA                      50 MAIN ST
                                     NEW YORK, NY 10007                      WHITE PLAINS, NY 10606
DANAPPANAVAR, SANTOSH Case 25-10258-TMH     Doc 32OY Filed 02/19/25
                                    DANFOSS EDITRON                        Page 39 ofPOWER
                                                                             DANFOSS  171 SOLUTIONS (US)
[ADDRESS ON FILE]                   LENTOKENTANTIE 44                         COMPANY
                                    LAPPEENRANTA 53600                        580 N HENDERSON RD
                                    FINLAND                                   FREEPORT, IL 61032-9017




DANIEL, ALDO                         DANIEL, MATHEW                           DANIELS, DAVID
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                        [ADDRESS ON FILE]




DANIELS, LOGAN                       DANMAR INDUSTRIES, INC.                  DANNER, OLIVER
[ADDRESS ON FILE]                    DEPT 934, PO BOX 4346                    [ADDRESS ON FILE]
                                     HOUSTON, TX 77210




DANOTHERM ELECTRIC A/S               DANTE KEENE, JOHN                        DARED 90 LLC
MAARKAERVEJ 1-3                      [ADDRESS ON FILE]                        11452 EL CAMINO REAL, STE. 200
TAASTRUP 2630                                                                 SAN DIEGO, CA 92130
DENMARK




DARJI, MAYANK                        DARKTRACE HOLDINGS LIMITED               DARLEY CONSULTING, INC.
[ADDRESS ON FILE]                    DEPT LA 25444                            700 MILAM STREET, SUITE 1300
                                     PASADENA, CA 91185                       HOUSTON, TX 77002




DARLING CONCRETE LLC                 DASSAULT SYSTEMES AMERICAS CORP          DATA SYSTEMS INTERNATIONAL, INC.
11243 S RIVERSIDE DR                 175 WYMAN ST                             65 BLUE SKY DR
SAULT STE. MARIE, MI 49783           WALTHAM, MA 02451-1223                   BURLINGTON, MA 01803




DATADOG INC                          DATASTRIKE, LLC                          DATAVAIL CORPORATION
DEPT CH 17763                        2000 ERICSSON DR., STE 225               11800 RIDGE PARKWAY SUITE 125
PALATINE, IL 60055                   WARRENDALE, PA 15086                     BROOMFIELD, CO 80021




DAVID C WEISS                        DAVIS INTERIOR GRAPHICS & SIGNS, LL      DAVIS JR, ORLANDO
HERCULES BLDG, US ATTORNEYS OFFICE   3640 E WASHINGTON ST.                    [ADDRESS ON FILE]
1313 N MARKET ST, PO BOX 2046        PHOENIX, AZ 85034
WILMINGTON, DE 19801




DAVIS, ALEXANDER                     DAVIS, CHRISTOPHER                       DAVIS, HOSEA
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                        [ADDRESS ON FILE]




DAVIS, SAMUEL                        DAWN N. ISON                             DAWN N. ISON
[ADDRESS ON FILE]                    UNITED STATES ATTORNEYS OFFICE           UNITED STATES ATTORNEYS OFFICE
                                     101 FIRST ST, STE 200                    210 FEDERAL BLDG
                                     BAY CITY, MI 48708                       600 CHURCH ST
                                                                              FLINT, MI 48502
DAWN N. ISON            Case 25-10258-TMH       Doc 32 Filed
                                      DAWSON ENTERPRISES,   INC. 02/19/25   Page
                                                                              DAY40 of SUPPLY
                                                                                  AUTO 171 INC
UNITED STATES ATTORNEYS OFFICE        17251 E SHEA BLVD SUITE 1               18705 E BUSINESS PARK DR 101
211 W FORT ST, STE 2001               FOUNTAIN HILLS, AZ 85268                QUEEN CREEK, AZ 85142
DETROIT, MI 48226




DAY, MITCHELL                          DAYFORCE US, INC.                      DAYTON T. BROWN, INC.
[ADDRESS ON FILE]                      3311 E OLD SHAKOPEE RD                 1175 CHURCH STREET
                                       MINNEAPOLIS, MN 55425-1640             BOHEMIA, NY 11716




DBI PLASTICS NORTH AMERICA, INC.       DE ANDRADE, MARCUS                     DE HOOG, BRIAN
950 W UNIVERSITY DR. STE 104           [ADDRESS ON FILE]                      [ADDRESS ON FILE]
ROCHESTER, MI 48307




DE LA ROSA, JOSEPH                     DE LA VEGA ALONSO, GERARDO             DE MOLLI GIANCARLO INDUSTRIE SPA
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                      VIA SANTALESSANDRO N. 10
                                                                              CASTROMMO, VA 21040
                                                                              ITALY




DE SOUSA, JANAINA                      DEARING, MALICA                        DECISION SUPPORT SOLUTIONS
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                      621 S 48TH STREET, SUITE 114
                                                                              TEMPE, AZ 85281




DEFLECTO, LLC                          DEIBIS, ROBIN                          DEKRA SERVICES, INC.
7035 E 86TH ST                         [ADDRESS ON FILE]                      1945 THE EXCHANGE SE, STE 300
INDIANAPOLIS, IN 46250                                                        ATLANTA, GA 30339-2040




DEL BOSQUE, EDGAR                      DELAWARE DEPARTMENT OF JUSTICE         DELAWARE DEPARTMENT OF LABOR
[ADDRESS ON FILE]                      CARVEL STATE OFFICE BUILDING           4425 NORTH MARKET S
                                       820 N. FRENCH STREET                   WILMINGTON, DE 19802
                                       WILMINGTON, DE 19801




DELAWARE DEPARTMENT OF REVENUE         DELAWARE DEPARTMENT OF REVENUE         DELAWARE DIVISION OF CORPORATIONS
820 N. FRENCH STREET                   DIVISION OF CORPORATIONS               PO BOX 5509
WILMINGTON, DE 19801                   PO BOX 898                             BINGHAMTON, NY 13902
                                       DOVER, DE 19903




DELAWARE ELECTRO INDUSTRIES, INC.      DELAWARE SECRETARY OF STATE            DELAWARE SECRETARY OF STATE
9248 ETON AVENUE                       CARVEL STATE OFFICE BLDG, 10 FL        CORPORATION DIVISION, FRANCHISE TAX
CHATSWORTH, CA 91311                   820 N FRENCH ST                        P.O. BOX 898
                                       WILMINGTON, DE 19801                   DOVER, DE 19903




DELAWARE STATE TREASURY                DELFINGEN US INC.                      DELL TECHNOLOGIES INC.
820 SILVERLAKE BLVD, SUITE 100         3985 W HAMLIN ROAD                     1 DELL PKWY
DOVER, DE 19904                        ROCHESTER, MI 48309                    NASHVILLE, TN 37217
DELL TECHNOLOGIES INC.     Case 25-10258-TMH
                                         DELLARO, Doc 32 Filed 02/19/25
                                                  MATTHEW                      Page 41 of&171
                                                                                 DELOITTE  TOUCHE LLP
PO BOX 802816                            [ADDRESS ON FILE]                        2200 ROSS AVE, STE 1600
CHICAGO, IL 60680                                                                 DALLAS, TX 75201-6778




DELOITTE FINANCIAL ADVISORY SERVICES     DELOITTE TAX LLP                         DELOITTE TAX LLP
LLP                                      30 ROCKEFELLER PLAZA, 41ST FL            717 N HARWOOD ST, STE 1800
1919 N LYNN ST                           NEW YORK, NY 10112-0015                  DALLAS, TX 75201
ARLINGTON, VA 22209




DELOITTE TRANSACTIONS & BUSINESS         DELTA DIVERSIFIED ENTERPRISES INC        DELTA RESEARCH CORPORATION
ANALYTICS LLP                            425 W GEMINI DRIVE                       32971 CAPITOL AVE
2200 ROSS AVE                            TEMPE, AZ 85283                          LIVONIA, MI 48150
DALLAS, TX 75201-2708




DELTA WYE ELECTRIC, INC.                 DENA J. KING                             DENA J. KING
1182 N. KNOLLWOOD CIRCLE                 US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE
ANAHEIM, CA 92801                        100 OTIS ST                              227 W TRADE ST, STE 1650
                                         ASHEVILLE, NC 28801                      CHARLOTTE, NC 28202




DENETSO, MARGARET                        DENSO THERMAL SYSTEMS S.P.A.             DEODATO, JOSEPH
[ADDRESS ON FILE]                        FRAZIONE MASIO, 24                       [ADDRESS ON FILE]
                                         PORINO 10046
                                         ITALY




DEPARTMENT OF HOMELAND SECURITY          DEPARTMENT OF HOMELAND SECURITY          DEPARTMENT OF LABOR UNEMPLOYMENT
BUREAU OF CUSTOMS AND BORDER             BUREAU OF CUSTOMS AND BORDER             INS
PROTECTION                               PROTECTION                               PO BOX 4320
4349 WOODSON RD, STE 201                 OFFICE OF CHIEF COUNSEL                  BINGHAMTON, NY 13902
ST. LOUIS, MO 63197                      1300 PENNSYLVANIA AVE, STE 4.4-B
                                         WASHINGTON, DC 20229


DEPARTMENT OF REVENUE SERVICES           DEPARTMENT OF STATE TREASURER            DEPARTMENT OF TREASURY
STATE OF CONNECTICUT                     COMMONWEALTH OF MASSACHUSETTS            1700 W WASHINGTON ST, 102
450 COLUMBUS BLVD, STE 1                 UNCLAIMED PROPERTY DIVISION              PHOENIX, AZ 85007
HARTFORD, CT 06104                       1 ASHBURTON PLACE, 12TH FL
                                         BOSTON, MA 02108-1608



DEPARTMENT OF TREASURY                   DEPT OF HIGHWAY SAFETY AND MO            DEPT OF LABOR UNEMPLOYMENT
DEPARTMENT OF TREASURY - INTERNAL R      VEHICLES                                 INSURANCE
OGDEN, UT 84201                          2900 APALACHEE PARKWAY, ROOM A312-M      BLDG 12, WA HARRIMAN CAMPUS
                                         TALLAHASSEE, FL 32399                    ALBANY, NY 12226




DERIVADOS DE METAL, S.A. DE C.V.         DEROUEN, SETH                            DERUWE, BENJAMIN
CALLE 3 1260, COLONIA INDUSTRIAL         [ADDRESS ON FILE]                        [ADDRESS ON FILE]
GUADALAJARA, JA 44940
MEXICO




DESAI, UTSAV                             DESAY SV AUTOMOTIVE SINGAPORE PTE.       DESCHAUMES, JULIA ASTRID
[ADDRESS ON FILE]                        3A INT. BUSINESS PARK 09-13              [ADDRESS ON FILE]
                                         SIGNAPORE 60993
                                         SINGAPORE
                        Case 25-10258-TMH
DESERT POWDER COATING LLC                      Doc 32
                                      DESERT TRAILER     Filed
                                                     SYSTEMS INC02/19/25   Page 42 of 171
                                                                             DESHPANDE, SAURABH
3883 W LOWER BUCKEYE RD               2733 W BUCKEYE RD                       [ADDRESS ON FILE]
PHOENIX, AZ 85009                     PHOENIX, AZ 85009




DESIGN & SOFTWARE INTERNATIONAL INC   DESROCHERS, PAUL                        DETECTOR ELECTRONICS CORPORATION
526 NILLES RD STE 2                   [ADDRESS ON FILE]                       23B TURNPIKE RD
FAIRFIELD, OH 45014                                                           SOUTHBOROUGH, MA 01772




DEUTSCHE BANK                         DEUTSCHE MESSE AG                       DEVELOPMENT MARKETING GROUP
ONE COLUMBUS CIRCLE                   MESSEGELANDE HANNOVER                   981 HIGHWAY 98 E. STE 3-111
NEW YORK, NY 10019                    HANNOVER 30521                          DESTIN, FL 32541
                                      GERMANY




DEWESOFT, LLC                         DEWITT, JAMES                           DEYO, DANIEL
10730 LOGAN ST                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]
WHITEHOUSE, OH 43571




DGI METROLOGY-DIMENSIONAL GAUGE CO    DGI METROLOGY-DIMENSIONAL GAUGE CO      DHERE, ANIKET
2144 HWY 292                          PO BOX 160027                           [ADDRESS ON FILE]
INNMAN, SC 29349                      BOILING SPRINGS, SC 29316




DHL EXPRESS USA INC                   DIALPAD INC                             DIAMONDBACK CARPORT REPAIR INC
16592 COLLECTIONS CENTER DRIVE        PO BOX 123808, DEPT 3808                319 E PIONEER STREET
CHICAGO, IL 60693                     DALLAS, TX 75312                        PHOENIX, AZ 85040




DIAZ JR, JOSE                         DIAZ, JOSHUA                            DICENTRAL CORPORATION
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       C/O TRUECOMMERCE
                                                                              210 W KENSINGER DR
                                                                              CRANBERRY TWP, PA 16066-3436




DICK & FRITSCHE DESIGN GROUP          DIGABIT INC.                            DIGI-KEY CORPORATION
4545 E MCKINLEY ST                    5690 DTC BLVD. STE 515E                 701 BROOKS AVE S
PHOENIX, AZ 85008                     GREENWOOD VILLAGE,, CO 80110            THIEF RIVER FALLS, MN 56701




DILIGENT CORPORATION                  DILL, RUSSELL                           DILLABAUGH, LORNE L.
61 W 23RD ST, 4TH FL                  [ADDRESS ON FILE]                       [ADDRESS ON FILE]
NEW YORK, NY 10010




DIMENSIONAL CONTROL SYSTEMS INC       DINSMORE & ASSOCIATES INC               DIRECTIVEGROUP, INC.
2805 BELLINGHAM RD                    1681 KETTERING STREET                   8067 COUNTRY CLUB RD N.
TROY, MI 48083                        IRVINE, CA 92614                        ST PETERSBURG, FL 33710
DIRT DOGS HOLDING LLC     Case 25-10258-TMH
                                        DIRT DOGSDoc 32 LLC
                                                  HOLDINGS Filed 02/19/25   Page 43 of RAMPS.COM
                                                                              DISCOUNT 171       LLC
37467 POLO RUN DR.                       ATTN TRACY J. HUGHES                  N102 W19400 WILLOW CREEK WAY
ELIZABETH, CO 80107                      37467 POLO RUN DRIVE                  GERMANTOWN, WI 53022
                                         ELIZABETH, CO 80107




DISCOUNT TWO WAY RADIO CORPORATION       DISENOS SUMINISTROS Y                 DIVECHA, AVINASH
555 W. VICTORIA ST.                      RETORNABLES SA DE CV                  [ADDRESS ON FILE]
COMPTON, CA 90220                        DIONISIO HERRERA 611
                                         SANTA CATARINA, NL 66358
                                         MEXICO



DIVERSE SUPPLY, INC.                     DIVERSE SUPPLY, INC.                  DIVERSIFIED INSURANCE GROUP
360 CENTRAL AVE, STE 800                 PO BOX 10997                          ATTN KERRY BELT
SAINT PETERSBURG, FL 33701               SAINT PETERSBURG, FL 33733            136 E. SOUTH TEMPLE
                                                                               SALT LAKE CITY, UT 84111




DIVVYPAY, INC.                           DIXON, SHANIQUA                       DIZ, SANTIAGO
13707 SOUTH 200 WEST STE. 100            [ADDRESS ON FILE]                     [ADDRESS ON FILE]
DRAPER, UT 84020




DJ PRODUCTS INC                          DJAMS PROPERTIES LLC                  DJEU, JORDAN
1009 4TH ST NW                           2250 INTERNATIONALE PARKWAY           [ADDRESS ON FILE]
LITTLE FALLS, MN 56345                   WOODRIDGE, IL 60517




DLR AUTOTRANSPORTES LLC                  DMG EVENTS (CANADA) INC.              DMG MORI USA INC
10025 SLEMPRE VIVA RD. STE B             1510 - 140 10 AVE SE                  LOCKBOX 773744, 350 EAST DEVON AVEN
SAN DIEGO, CA 92154                      CALGARY, AB T2G 0W1                   ITASCA, IL 60143
                                         CANADA




DN AUTOMOTIVE ITALY SRL                  DN AUTOMOTIVE                         DNB BANK ASA
VIA SANT ANTONIO 59                      UL. J/A MORSZTYNA 7                   INVESTMENT BANKING DIVISION
PASSIRANO, BS 25050                      CZESTOCHOWA 42-209                    OSLO 0021
ITALY                                    POLAND                                NORWAY




DNB ENGINEERING, INC                     DNV AS                                DNV GL USA, INC.
1750 RAYMER AVENUE                       VERITASVEIEN 1                        1400 RAVELLO DRIVE
FULLERTON, CA 92833                      HOVIK 1363                            KATY, TX 77449
                                         NORWAY




DOAR, INC                                DOCUSIGN INC                          DOCUSIGN INC
1370 BROADWAY, 15TH FLOOR                221 MAIN ST, 800                      PO BOX 735445
NEW YORK, NY 10018                       SAN FRANCISCO, CA 94105               DALLAS, TX 75373




DOEHRMAN COMPANY INC                     DOGA USA CORPORATION                  DOGGETT FREIGHTLINER OF SOUTH TEXAS
1432 E VAN BUREN ST                      12060 RAYMOND COURT                   9111 NORTH FREEWAY
PHOENIX, AZ 85006                        HUNTLEY, IL 60142                     HOUSTON, TX 77037
DOGRA, RAJDEEP             Case 25-10258-TMH    Doc
                                         DOHRMANN,    32
                                                   BRADY       Filed 02/19/25   Page 44MARTHY
                                                                                  DOM,  of 171
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]




DOMINGUEZ GOMEZ, ALBERTO                 DOMINGUEZ, JORGE                         DON SMALL & SONS OIL DISTRIBUTOR CO
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        1761 AUBURN WAY NORTH
                                                                                  AUBURN, WA 98002




DON SMALL & SONS OIL DISTRIBUTOR CO      DONALDSON, TONY E                        DONGGUAN OVAR TECHNOLOGY CO LTD
4455 NE 150TH CT                         [ADDRESS ON FILE]                        HK KINGWELL INDUSTRIAL COMPANY LTD
PORTLAND, OR 97230                                                                1205 B WORLD TRADING PL 229TH FUK
                                                                                  GUANGDONG HK Ki
                                                                                  SWITZERLAND



DONNELLEY FINANCIAL, LLC                 DONNELLY, CONROY & GELHAAR, LLP          DONOHOE ADVISORY ASSOCIATES LLC
35 W WACKER DR                           260 FRANKLIN STREET, STE 1600            9801 WASHINGTONIAN BLVD STE 340
CHICAGO, IL 60601-1723                   BOSTON, MA 02110                         GAITHERSBURG, MD 20878




DORSEY & WHITNEY LLP                     DOSS VIJAYA KUMAR, MOHAN                 DOUBLE E COMPANY LLC
50 S 6TH ST, STE 1500                    [ADDRESS ON FILE]                        1025 BREEZEWOOD LANE
MINNEAPOLIS, MN 55402-1498                                                        NEENAH, WI 54956




DOUBLE E COMPANY LLC                     DOUGLAS AUTOTECH CORPORATION             DOUGLAS, JOSEPH
319 MANLEY STREET                        8943 RELIABLE PARKWAY                    [ADDRESS ON FILE]
WEST BRIDGEWATER, MA 02379               CHICAGO, IL 60686




DOUGLAS, KESHAWN                         DOWNES, PATRICK                          DRAEGER INC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        3135 QUARRY RD
                                                                                  TELFORD, PA 18969-1051




DRAGON FIRE TOOLS, LLC                   DRAKA TRANSPORT USA, LLC                 DRANETZ TECHNOLOGIES, INC.
131 SEANOR CHURCH RD                     4 TESSENEER DRIVE                        1000 NEW DURHAM ROAD
RUFFS DALE, PA 15679                     HIGHLAND HEIGHTS, KY 41076               EDISON, NJ 08817




DRATA INC.                               DRAY, MICHAEL J                          DREXEL UNIVERSITY
4660 LA JOLLA VILLAGE DR, STE 100        [ADDRESS ON FILE]                        3201 ARCH STREET, STE 420
SAN DIEGO, CA 92122                                                               PHILADELPHIA, PA 19104




DRIVE SYSTEM DESIGN, INC.                DRIVER DISPATCH INC                      DROPBOX, INC.
37655 INTERCHANGE DRIVE                  6251 S WILMOT RD                         1800 OWENS ST, STE 200
FARMINGTON HILLS, MI 48335               TUCSON, AZ 85756                         SAN FRANCISCO, CA 94158-2533
                      Case 25-10258-TMH
DRURY DEVELOPMENT CORPORATION                Doc 32 2016,
                                    DRURY PARTNERSHIP   Filed 02/19/25
                                                            LLLP         Page 45 SOUTHWEST,
                                                                           DRURY of 171     INC.
1780 W RANCH ROAD                   1205 SOUTH PRICE ROAD                   3333 E UNIVERSITY DRIVE
TEMPE, AZ 85284                     CHANDLER, AZ 85286                      PHOENIX, AZ 85034




DSBJ SUZHOU YONGCHUANG METAL SCIENC   DSM ARIZONA INC                       DSP CONCEPTS, INC.
AND TECHNOLOGY CO., LTD.              2611 S ROOSEVELT STSTE 102            3235 KIFER ROAD, STE 100
HI-TECH INDUSTRIAL PARK,PUZHUANG TO   TEMPE, AZ 85282                       SANTA CLARA, CA 95051
SUZHOU 21500
CHINA



DSPACE INC.                           DSV AIR & SEA INC                     DUFFY, PETER ANTHONY
50131 PONTIAC TRAIL                   200 CORPORATE CENTER DR, STE 301      [ADDRESS ON FILE]
WIXOM, MI 48393                       MOON TOWNSHIP, PA 15108




DUFOUR, PHILIPPE                      DUGAN, MARGARET                       DUN & BRADSTREET, INC.
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                     75 REMITTANCE DRIVE
                                                                            CHICAGO, IL 60675




DUNCAN, JESSICA                       DUNCAN, SCOTT                         DUNHAM, BRYCE
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                     [ADDRESS ON FILE]




DUNHAM, JAMES KEVIN                   DUNN ASSOCIATES INC                   DUNN II, BOBBY
[ADDRESS ON FILE]                     380 WEST 800 SOUTH STE 100            [ADDRESS ON FILE]
                                      CITY, UT 84101




DUNN, BOBBY                           DUNN, BRANDON                         DUNN, DAVID
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                     [ADDRESS ON FILE]




DUOTEC DE NORTEAMERICA S DE RL DE C   DURAMAX HOLDINGS LLC                  DURAN, DANIEL
BLVD. CAMPESTRE NO. 100               12700 GENERAL DR                      [ADDRESS ON FILE]
ARTEAGA COAHUILA, CO 25350            CHARLOTTE, NC 28273-6415
MEXICO




DURASERV CORP                         DURR BRASIL LTDA                      DURR SYSTEMS INC
2200 LUNA RD, STE 160                 AV.ARNALDO MAGNICCARO, N 500          26801 NORTHWESTERN HWY
CARROLLTON, TX 75006                  VILA GEA, SP 04691                    SOUTHFIELD, MI 48033-6251
                                      BRAZIL




DWFRITZ AUTOMATION, INC               DWIVEDI, AKASH                        DWV E.V.
9600 BOECKMAN ROAD                    [ADDRESS ON FILE]                     ROBERT-KOCH-PLATZ 4
WILSONVILLE, OR 97070                                                       BERLIN 10115
                                                                            GERMANY
DWYER INSTRUMENTS, LLC Case 25-10258-TMH      Doc 32 Filed
                                     DWYER INSTRUMENTS,    LLC 02/19/25     Page 46DENNIS
                                                                              DYER, of 171
102 INDIANA HWY 212                  PO BOX 373                               [ADDRESS ON FILE]
MICHIGAN CITY, IN 46360              MICHIGAN CITY, IN 46361




DYNALENE, INC.                        DYNAMIC MOTION CONTROL, INC.            DYNAPACK INTERNATIONAL LLC
5250 WEST COPLAY ROAD                 2222 N. ELSTON AVE, STE 200             2939 LARKIN AVENUE
WHITEHALL, PA 18052                   CHICAGO, IL 60614                       CLOVIS, CA 93612




DYNYBIL, DANIEL                       DYTRAN INSTRUMENTS, INC.                DZIWULSKI, ELLIS
[ADDRESS ON FILE]                     21592 MARILLA ST.                       [ADDRESS ON FILE]
                                      CHATSWORTH, CA 91311




DZKICORP, INC.                        DZUL ALARCON, GIOVANNI                  E. MARTIN ESTRADA
762 HIGUERA ST, STE 216               [ADDRESS ON FILE]                       US ATTORNEYS OFFICE
SAN LUIS OBISPO, CA 93401-3573                                                312 N SPRING ST, STE 1200
                                                                              LOS ANGELES, CA 90012




E.B. HORSMAN & SON LTD.               EA ELEKTRO-AUTOMATIK, INC               EAC DESIGN, INC
19295 25 AVE                          9845 VIA PASAR                          40 S 7TH ST., STE 212. BOX 117
SURREY, BC V3S 3X1                    SAN DIEGO, CA 92126                     MINNEAPOLIS, MN 55402
CANADA




EARLE M JORGENSEN CO                  EARNHARDT FORD SALES                    EARNSCLIFFE STRATEGY GROUP GP
10650 ALAMEDA ST                      7300 W ORCHID LANE                      46 ELGIN STREET - SUITE 200
LYNWOOD, CA 90262                     CHANDLER, AZ 85226                      OTTAWA, ON K1P 5K6
                                                                              CANADA




EAST PENN MANUFACTURING CO            EATON ELECTRICAL PRODUCTS LIMITED       ECHEVARRIA REYNA, EDUARDO
102 DEKA RD                           UNIT 1, HAWKER BUSINESS PARK, MELTO     [ADDRESS ON FILE]
LYONS, PA 19536                       LEICESTER, LOUGHBOROUGH LE12 5TQ
                                      UNITED KINGDOM




ECLIPSE AUTOMATION SOUTHWEST LLC      ECOCLEAN, INC                           ECP CORPORATION
2340 WEST BROADWAY RD., SUITE 107     8329 RELIABLE PARKWAY                   1305 CHESTER INDUSTRIAL PKWY
MESA, AZ 85202                        CHICAGO, IL 60686                       AVON, OH 44011-1083




EDAG ENGINEERING GMBH                 EDAG ENGINEERING SCHWEIZ GMBH           EDAG ITALIA S.R.L
KREUZBERGER RING 40                   SCHLOSSGASSE 2                          CORSO VITTORIO EMANUELE II 48
WIESBADEN 65205                       ARBON 9320                              TORINO, TO 10123
GERMANY                               SWITZERLAND                             ITALY




EDAG, INC                             EDALAT, ALI                             EDGEWATER AUTOMATION, LLC
1650 RESEARCH DRIVE SUITE 300         [ADDRESS ON FILE]                       481 RENAISSANCE DRIVE
TROY, MI 48083                                                                SAINT JOSEPH, MI 49085
EDM EXPRESS.COM, INC.      Case 25-10258-TMH     Doc 32 INC.
                                         EDM EXPRESS.COM, Filed 02/19/25        Page 47LLC
                                                                                  EDPO  of 171
2511 N ARIZONA AVE                        PO BOX 2270                             11155 W MAIN ST
CHANDLER, AZ 85225                        GILBERT, AZ 85299                       RUDYARD, MI 49780




EDPO LLC                                  EDUARDO EZEQUIEL CHAVARRIA GUZMAN       EDWARDS, TANYA
30 S WACKER DR, STE 2575                  [ADDRESS ON FILE]                       [ADDRESS ON FILE]
CHICAGO, IL 60606-7474




EFC INVESTMENT HOLDINGS, LLC              EFFECTUS GROUP LLC                      EFFEM CORPORATION
29356 NETWORK PLACE                       1735 TECHNOLOGY DR, STE 780             1313 E BASELINE ROAD
CHICAGO, IL 60673                         SAN JOSE, CA 95110                      GILBERT, AZ 85233




EFFICIENT POWER DESIGN LLC                EFFICIENT TOOL SOLUTIONS, LLC           E-GAPS LLC
1675 KIOWA AVE STE 110                    480 N DEAN ROAD SUITE H7                43000 W 9 MILE RD STE 109 PMB2136
LAKE HAVASU CITY, AZ 86403                AUBURN, AL 36830                        NOVI, MI 48375




EGL, INC.                                 EGUIZABAL COJULUN, ERICK                EH GROUP TECHNOLOGIES INC.
DEPT 2309                                 [ADDRESS ON FILE]                       1181 COAST VILLAGE ROAD SUITE 488
CAROL STREAM, IL 60132                                                            SANTA BARBARA, CA 93108




EIS INTERMEDIATE HOLDINGS, LLC            EISELE, ANTHONY                         EISEN, BATUHAN
2018 POWERS FERRY RD SE                   [ADDRESS ON FILE]                       [ADDRESS ON FILE]
ATLANTA, GA 30339




EISENBRANDT, TIMOTHY                      EJOT FASTENING SYSTEMS LP               EJOT SE & CO. KG
[ADDRESS ON FILE]                         46953 LIBERTY DR                        IM HERRENGARTEN 1
                                          WIXOM, MI 48393                         BAD BERLEBURG 57319
                                                                                  GERMANY




EKA CANADA INC.                           ELCOMETER INC.                          ELECDIRECT.COM LLC
421 7TH AVENUE SW. STE 1700               6900 MILLER DRIVE                       9-6311 INCUCON CORPORATE DR.
CALGARY, AB T2P 4K9                       WARREN, MI 48092                        SANBORN, NY 14132
CANADA




ELECTRIC APPLICATIONS INCORPORATED        ELECTRICAL RELIABILITY SERVICES INC     ELECTRICAL TEST INSTRUMENTS, LLC
1337 EAST WASHINGTON STREET               24865 NETWORK PLACE                     8430 SPIRES WAY, SUITE A
PHOENIX, AZ 85034                         CHICAGO, IL 60673                       FREDERICK, MD 21701




ELECTRIFY AMERICA, LLC                    ELECTRIFY EXPO LLC                      ELECTRO KINETIC TECHNOLOGIES, LLC
2003 EDMUND HALLEY DR                     127 COUNTY ROAD 423, STE 4              W194 N11304 MCCORMICK DR.
RESTON, VA 20191                          SPICEWOOD, TX 78669                     GERMANTOWN, WI 53022
ELECTRO RENT CORPORATION Case 25-10258-TMH      Doc EQUIPMENT
                                       ELECTROMATIC  32 FiledCO.,
                                                              02/19/25
                                                                  INC       Page 48 of 171 Y DE
                                                                              ELECTROMECANICA
8511 FALLBROOK AVE, STE 200            175 VINCENT AVE                        TRANSPORTADORE S.A. DE C.V.
WEST HILLS, CA 91304                   LYNBROOK, NY 11563                     DEL PLANETARIO 28 COL. PARQUE IN
                                                                              HERMOSILLO, SONORA 83299
                                                                              MEXICO



ELECTRONIC PROCESS TRAINING &         ELECTRONICA CLARION, S.A. DE C.V.       ELECTUS ENERGY CORP.
CONSULTING CORP.                      AVENIDA NEUVE ORIENTE NO. 3ZONA I       1199 LUDLOW ST. STE 2211
8025 SO WILLOW ST BLDG 2 207          SAN JUAN DEL RIO, QUERETARO 76803       PHILADELPHIA, PA 19107
MANCHESTER, NH 03103                  MEXICO




ELECTUS GM, LLC                       ELEMENT MATERIALS TECHNOLOGY DETROI     ELEMENT MATERIALS TECHNOLOGY
21550 OXNARD ST. STE 860              DAVIDSON BLDG, 5 SOUTHAMPTON ST         HOUSTO
WOODLAND HILLS, CA 91367              LONDON WC2E 7HA                         14805 YORKTOWN PLAZA DR
                                      UNITED KINGDOM                          HOUSTON, TX 77040




ELEMENT MATERIALS TECHNOLOGY NEW      ELEMENT PARENT, INC.                    ELETTRA 1938 S.P.A
BE INC                                11080 CIRCLE POINT RD, STE 200          VIALE EUROPA 75
3200 S 166TH ST                       WESTMINSTER, CO 80020                   MONTECCHIO MAGGIORE (VI) 36075
NEW BERLIN, WI 53151                                                          ITALY




ELEVATE ENERGY CORP.                  ELITE CIVIL CONSTRUCTION LLC            ELITE ELECTRONIC ENGINEERING INC.
SUITE 610, 717 7TH AVE SW             3240 W. LINCOLN ST                      1516 CENTRE CIRCLE DR
CALGARY, AB T2P 0Z3                   PHOENIX, AZ 85009                       DOWNERS GROVE, IL 60515
CANADA




ELITE ENGINEERING                     ELITE MANUFACTURING TECHNOLOGIES LL     ELITETOWING, LLC
210 W TIENKEN RD                      33670 LIPKE ST.                         965 W GILA BEND HWY
ROCHESTER HILLS, MI 48306             CLINTON TOWNSHIP, MI 48044              CASA GRANDE, AZ 85122




ELIZABETH SAADE SAADE, MARIA          ELKEM SILICONES USA CORP.               ELLIOTT, JOHNATHAN
[ADDRESS ON FILE]                     2 TOWER CENTER BLVD. SUITE 1802         [ADDRESS ON FILE]
                                      EAST BRUNSWICK, NJ 08816




ELLISON MACHINERY COMPANY LLC         ELLY HOLDINGS                           ELMEG S.R.L. - ITALY
1610 S PRIEST DR. STE 101             DEPARTMENT 2790. PO BOX 986500          S.S. 231 ASTI-ALBA, 7
TEMPE, AZ 85281                       BOSTON, MA 02298                        ISOLA, AT 14057
                                                                              ITALY




ELMEG IBERICA SL - SPAIN              ELPERS, DAVID                           ELRINGKLINGER ABSCHIRMTECHNIK
POLIGONO INDUSTRIAL LA CHARLUCA, CA   [ADDRESS ON FILE]                       SCH AG
CATALAYUD 50300                                                               SCHILDSTRASSE 20
SPAIN                                                                         SEVELEN, 9475
                                                                              SWITZERLAND



ELRINGKLINGER AUTOMOTIVE              ELRINGKLINGER SILICON VALLEY, INC       ELRINGKLINGER USA, INC.
MANUFACTUR INC.                       23300 NORTHWESTERN HWY                  4961 GOLDEN PARKWAY
23300 NORTHWESTERN HWY                SOUTHFIELD, MI 48075                    BUFORD, GA 30518
SOUTHFIELD, MI 48075
ELS MAINTENANCE INC       Case 25-10258-TMH      Doc 32
                                        ELYSIUM INC.        Filed 02/19/25     Page
                                                                                 EMA49 of 171
                                                                                     DESIGN AUTOMATION, INC
3329 E. SOUTHERN AVE                    3000 TOWN CENTER, STE 2235                225 TECH PARK DRIVE
PHOENIX, AZ 85040                       SOUTHFIELD, MI 48075                      ROCHESTER, NY 14623




EMBARK INTERMEDIATE HOLDINGS, LLC       EMERGENCY ENVIRONMENTAL SERVICES LL       E-MOBILITY MARKET SERVICES, INC.
LOCKBOX 121907, 1501 N PLANO RD. ST     3064 N. NORFOLK ST                        902 BROADWAY, FL. 6
RICHARDSON, TX 75081                    MESA, AZ 85215                            NEW YORK, NY 10010




EMPIRE SOUTHWEST, LLC                   EMPRISE CORPORATION                       EMS INDUSTRIAL & SERVICE CO.
1725 S COUNTRY CLUB DR                  3900 KENNESAW 75 PARKWAY NW SUITE         10800 N. MAIN ST
MESA, AZ 85210-6099                     KENNESAW, GA 30144                        RICHMOND, IL 60071




ENCINAS MOLINA, YANELI                  ENDEAVOR BUSINESS MEDIA, LLC              ENDRESS HAUSER INC
[ADDRESS ON FILE]                       30 BURTON HILLS BLVD, STE 185             DEPT 78795, PO BOX 78000
                                        NASHVILLE, TN 37215                       DETROIT, MI 48278




ENDURANCE ASSURANCE CORPORATION         ENERFLUX                                  ENERFORM SOLUTIONS
1221 AVENUE OF THE AMERICAS, FL 18      ZA DES ONZE ARPENTS 28-34 RUE ROBERT      2095 EXETER ROAD, SUITE 80289
NEW YORK, NY 10020                      NAU                                       GERMANTOWN, TN 38138
                                        BLOIS 41000
                                        FRANCE



ENERGY ASSURANCE LLC                    ENERGY OVERWATCH LLC                      ENERSYS ENERGY PRODUCTS INC
2350 CENTENNIAL DRIVE                   5200 DTC PKWY, SUITE 530                  2366 BERNVILLE RD
GAINESVILLE, GA 30504                   GREENWOOD VILLAGE, CO 80111               READING, PA 19605




ENGEL, GUS                              ENGINEERED DISTRIBUTION SPECIALTIES       ENGINEERED MACHINED PRODUCTS, INC
[ADDRESS ON FILE]                       14329 NORTHDALVE BLVD                     3111 N 28TH ST
                                        ROGERS, MN 55374                          ESCANABA, MI 49829




ENGINEERING CENTER STEYR GMBH & CO      ENGINEERING TECHNOLOGY ASSOCIATES,        ENGINEERING, PROCUREMENT &
STEYRER STRASSE 32                      5445 CORPORATE DRIVE SUITE 301            CONSTRUC LLC
ST. VALENTIN 4300                       TROY, MI 48098                            6131 TRUMPETER DRIVE
AUSTRIA                                                                           CHEYENNE, WY 82007




ENGLIZIAN, MARK W                       ENGS COMMERCIAL FINANCE CO                ENGS COMMERCIAL FINANCE CO
[ADDRESS ON FILE]                       PO BOX 128                                SUITE 1000 LOCKBOX 71347
                                        ITASCA, IL 60143                          CHICAGO, IL 60604




ENOVATION CONTROLS LLC                  ENRIQUEZ FERNANDEZ, SELENNE               ENRIQUEZ, ADAM
DEPT. 96-0494                           [ADDRESS ON FILE]                         [ADDRESS ON FILE]
OKLAHOMA CITY, OK 73196
ENTEGEE, INC.             Case 25-10258-TMH     Doc
                                        ENTERPRISE   32 Filed
                                                   HOLDINGS, INC. 02/19/25    Page 50 of 171
                                                                                ENTERPRISE LEASING COMPANY OF PHOEN
DEPT CH 14395                             600 CORPORATE PARK DR                  LLC
PALATINE, IL 60055                        ST LOUIS, MO 63105                     4100 W GALVESTON STREET, SUITE 1
                                                                                 CHANDLER, AZ 85226




ENTRON TECHNOLOGY (SHANGHAI) INC.         ENTSERV DEUTSCHLAND GMBH               ENVIRONMENTAL RESOURCES
ROOM 406, 570 SHENGXIA ROAD,              SCHICKARDSTRABE 32                     MANAGEMENT,
PUDONG DISTRICT, SHANGHAI 201210          BOBLINGEN 71034                        BOX NO. 2691, PO BOX 8500
CHINA                                     GERMANY                                PHILADELPHIA, PA 19178




ENVIRONMENTAL RESPONSE, INC.              ENVOY GLOBAL INC                       ENVOY, INC.
DEPT 2021                                 230 W MONROE ST, STE 2700              410 TOWNSEND ST. SUITE 410
PHOENIX, AZ 85038                         CHICAGO, IL 60606                      SAN FRANCISCO, CA 94107




EPA - REGION 9                            EPC PROJECT SERVICES, INC.             EPIC CORPORATION
75 HAWTHORNE ST                           1700 POST OAK BLVD, SUITE600           600 INDUSTRIAL BLVD
SAN FRANCISCO, CA 94105                   HOUSTON, TX 77056                      PALMYRA, WI 53156




EPIC EQUIPMENT & ENGINEERING              EPIFINI LANDSCAPING INC.               EPPERSON, ANTHONY
52301 SHELBY PARKWAY                      3066 N LEAR AVE                        [ADDRESS ON FILE]
SHELBY TOWNSHIP, MI 48315                 CASA GRANDE, AZ 85122




EPPLER & EPPLER INC                       EQS GROUP INC                          EQUIGAS, INC.
5748 AVE 7 1/2                            217 W 18TH STREET, P. O. BOX 1221      518 CORLISS ST
FIREBAUGH, CA 93622                       NEW YORK, NY 10113                     GREENSBORO, NC 27406




EQUILAR INC                               EQUILON ENTERPRISES LLC                EQUIPMENTSHARE.COM INC.
1100 MARSHALL ST                          1000 M ST, STE 14268C                  5710 BULL RD DR
REDWOOD CITY, CA 94063                    HOUSTON, TX 77002                      COLUMBIA, MO 65201-2860




EQUITASTECH, LLC                          EREK L. BARRON                         ERICH JAEGER USA INC
12 EXETER RD                              US ATTORNEYS OFFICE                    17199 N LAUREL PARK DRIVE. STE 105
HUDSON, MA 01749                          36 S CHARLES ST, 4TH FL                LIVONIA, MI 48152
                                          BALTIMORE, MD 21201




ERNEST PACKAGING SOLUTIONS                ERNST & YOUNG U.S. LLP                 ERRECINQUE SRL
5777 SMITHWAY ST.                         3712 SOLUTIONS CENTER                  VIA MEUCCI 31/A
LOS ANGELES, CA 90040                     CHICAGO, IL 60677                      MAPPANO, TO 10079
                                                                                 ITALY




ERRECINQUE                                ESCALANTE RODRIGUEZ, RICARDO           ESCAMILLA, JORGE A.
VIA MEUCCI, 31 / A                        [ADDRESS ON FILE]                      [ADDRESS ON FILE]
MAPPANO, TO 10079
ITALY
ESCOBEDO, CINDY          Case 25-10258-TMH
                                       ESI NORTHDoc 32 INCFiled 02/19/25
                                                 AMERICA                      Page 51GRAPHICS
                                                                                ESKO  of 171 INC.
[ADDRESS ON FILE]                       32605 W 12 MILE ROAD SUITE 350           33066 COLLECTION CENTER DR.
                                        FARMINGTON HILLS, MI 48334               CHICAGO, IL 60693




ESKUBE SRL                              ESPARZA HERNANDEZ, LUIS                  ESPEC NORTH AMERICA INC
CORSO ITALIA 50                         [ADDRESS ON FILE]                        4141 CENTRAL PKWY
MILANO, MI 20122                                                                 HUDSONVILLE, MI 49426
ITALY




ESPINOZA, ANDREW                        ESPINOZA, DIANA                          ESQUIVEL, JAVIER
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




ESTAMPACIONES METALICAS EGUI S.A.U      ESTAMPADOS Y ACABADOS EDEMVAIS SA D      ESTRADA, JUSTO
N-634 7                                 CALZADA SAN MATEO N. 40                  [ADDRESS ON FILE]
ERMUA, VIZCAYA 48260                    COLONIA SAN JUAN BOSCO, EM 52946
SPAIN                                   MEXICO




ESWORTHY, ALEXANDER                     ET TRANSPORT                             ETAS INC
[ADDRESS ON FILE]                       500 CREDITSTONE ROAD                     15800 N HAGGERTY RD
                                        CONCORD, ON L4K 3Z3                      PLYMOUTH, MI 48170-4859
                                        CANADA




ETHERO                                  ETSA LLC                                 EUROFINS MTS CONSUMER PRODUCT TESTI
ATTN: DAVID BAIOCCHI                    14844 S REDONDO RD                       INC
188 FRANK WEST CIRCLE                   ARIZONA CITY, AZ 85123                   349 LENOX ST
STOCKTON, CA 95206                                                               NORWOOD, MA 02062




EUROMONEY GLOBAL LIMITED                EUROPLASTICS S.R.L.                      EUROSWITCH
8 BOUVERIE STREET                       VIA DEL SOLDATO 19                       VIKA PROVINCIALE 15, SALE MARASINO
LONDON EC4Y 8AX                         COLFELICE, FR 03030                      BRESCIA 25132
UNITED KINGDOM                          ITALY                                    ITALY




EUROTECH DISTRIBUTORS, INC.             EVA AV CO.                               EVANS TRANSPORTATION SERVICES INC
9503 BRANDYWINE ROAD                    1 CIRCLE STAR WAY                        440 WELLS ST, STE 200
NORTHFIELD, OH 44067                    SAN CARLOS, CA 94070                     DELAFIELD, WI 53018




EVANS, MARK                             EVANS, TAYLOR                            EVCO GMBH
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        NICOLAUS-OTTO-STR. 27
                                                                                 ULM 89079
                                                                                 GERMANY




EVELD BALLARD, KRISTIN                  EVENT MARKETING DRIVERS LLC              EVENTS UNLIMITED
[ADDRESS ON FILE]                       S64W15586 COMMERCE CENTER PKWY           2942 N 24TH STREET SUITE 114
                                        MUSKEGO, WI 53150                        PHOENIX, AZ 85016
EVERSHEDS SUTHERLAND (US) CaseLLP 25-10258-TMH
                                           EVOLUTIONDoc  32 AND
                                                     SENSORS    Filed 02/19/25
                                                                    CONTROLS     Page 52 ofALEXANDRE
                                                                                   EVRARD,  171
700 6TH STREET, NW, SUITE 700              6700 FORUM DR. STE 125                   [ADDRESS ON FILE]
WASHINGTON, DC 20001                       ORLANDO, FL 32821




EWAN, SHAWN                               EWAN, VICTORIA                            EWING, ANTHONY
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                         [ADDRESS ON FILE]




EWING, LIAM                               EWING, WILLIAM                            EXCELFORE CORPORATION
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                         39650 LIBERTY STREET, STE 255
                                                                                    FREMONT, CA 94538




EXEL INC                                  EXIDE TECHNOLOGIES SRL                    EXPEDITORS INTERNATIONAL OF WASHING
360 WESTER BLVD.                          VIALE DANTE ALIGHIERI, 100/106            INC
WESTERVILLE, OH 43082                     ROMANO DI LOMBARDIA BG 24058              3930 E WATKINS ST SUITE 100
                                          ITALY                                     PHOENIX, AZ 85034




EXPERLOGIX HOLDINGS INC.                  EXPERLOGIX LLC                            EXPERT ASSEMBLY SERVICES, INC.
2317 3RD AVE. N, STE 101                  10808 S RIVER FRONT PKWY, STE 850         14312 CHAMBERS RD STE 200
BIRMINGHAM, AL 35203                      SOUTH JORDAN, UT 84095                    TUSTIN, CA 92780




EXPONENT, INC.                            EXPONENTIAL BUSINESS & TECHNOLOGI CO      EXPORTADORA ACEROMEX SAPI DE CV.
PO BOX 200283 DEPT. 002                   10025 VALLEY VIEW RD, STE 150             CONSTITUYENTES DE NUEVO LEON 103
DALLAS, TX 75320                          EDEN PRAIRIE, MN 55344                    GUADALUPE, NL 67124
                                                                                    MEXICO




EXPRESS TECHNOLOGY GROUP, INC.            E-Z TOWING AND RECOVERY LLC               EZ VENTURES INC.
46 WINDSOR PL, UNIT 1                     901 E RILEY DRIVE                         1656 N BANNING
CENTRAL ISLIP, NY 11722                   AVONDALE, AZ 85323                        MESA, AZ 85205




EZI METALES, S.A. DE C.V.                 F.I.T.E.S. SRL                            FA COMMERCIAL DUE DILIGENCE SERVICE
LERDO DE TEJADA,COL.EL LECHUGA            VIA C.LOMBROSO 42/BIS                     3550 W ROBINSON ST, FLOOR
SANTA CATARINA, NL 66376                  COLLEGNO(TO) 10093                        NORMAN, OK 73072
MEXICO                                    ITALY




FABER, JUSTIN                             FABRIC STRUCTURES USA LLC                 FACCHINI FRANCESCO S.P.A
[ADDRESS ON FILE]                         24 OCEAN BREEZE STREET                    VIA I MAGGIO 1
                                          LAKE WORTH, FL 33460                      CASTREZZAT0 (BS) 25030
                                                                                    ITALY




FACIL EUROPE BV                           FACIL NORTH AMERICA, INC                  FADI-AMT LLC
GELEENLAAN 20                             2242 PINNACLE PKWY, 100                   202 HUNSLET WAY
GENK 3600                                 TWINSBURG, OH 44087                       SIMPSONVILLE, SC 29680
BELGIUM
                         Case 25-10258-TMH
FAIR SUN INDUSTRIAL CO LTD                     Doc
                                       FAIRBANKS,    32 Filed 02/19/25
                                                  JONATHAN                 Page 53 of 171
                                                                             FAIRBANKS, JOSHUA
1F NO. 62 BEI NING ROAD                [ADDRESS ON FILE]                      [ADDRESS ON FILE]
TAIPEI CITY 105 T
TAIWAN




FAIRVIEW II PROPERTY OWNER L.P.      FAITH TECHNOLOGIES INCORPORATED          FAKLER, SARAH
C/O STARWOOD CAPITAL GROUP           201 MAIN ST                              [ADDRESS ON FILE]
ATTN ANDRES PANZA                    PO BOX 260
1255 NW 23RD STREET, SUITE 250       MENASHA, WI 54952
WASHINGTON, DC 20037



FAMILY ADVENTURES RV, INC.           FANKHANEL, CHRISTINA                     FANSTEL CORP
19380 MONTEREY ROAD                  [ADDRESS ON FILE]                        7466 E. MONTE CRISTO AVE. STE 5
MORGAN HILL, CA 95037                                                         SCOTTSDALE, AZ 85260




FANUC AMERICA CORPORATION            FARADAY & FUTURE                         FARELO AHUMADA, FABIAN
3900 W HAMLIN ROAD                   18455 S FIGUEROA ST                      [ADDRESS ON FILE]
ROCHESTER HILLS, MI 48309            GARDENA, CA 90248




FARRELL EQUIPMENT & CONTROLS, INC.   FARRIS, ANGELA                           FARRIS, JOHN
263 COX ST                           [ADDRESS ON FILE]                        [ADDRESS ON FILE]
ROSELLE, NJ 07203




FASB                                 FASKEN MARTINEAU DUMOULIN LLP            FAST DMS LLC
801 MAIN AVE                         550 BURRAD STREET SUITE 2900             1258 W SOUTHERN AVE, STE. 103
PO BOX 5116                          VANCOUVER, BC V6C 0A3                    TEMPE, AZ 85281
NORWALK, CT 06856-5116               CANADA




FASTENAL COMPANY                     FASTENING SYSTEMS INTERNATIONAL INC      FASTFIELD, INC.
2001 THEURER BLVD                    1206 E. MACARTHUR STREET                 255 STATE ST, FLR 8
WINONA, MN 55987                     SONOMA, CA 95476                         BOSTON, MA 02109




FAUSTINO DANIEL ROSALES NAMBO        FCS AMERICA                              FEASEL, BRENT
[ADDRESS ON FILE]                    1-5305 PULLEYBLANK ST                    [ADDRESS ON FILE]
                                     OLD CASTLE, ON N9G 0B8
                                     CANADA




FEDEL, DANYELLE                      FEDERAL ARBITRATION, INC.                FEDERAL EXPRESS CORPORATION
[ADDRESS ON FILE]                    333 UNIVERSITY AVE. STE 200              942 S SHADY GROVE RD
                                     SACRAMENTO, CA 95825                     MEMPHIS, TN 38120




FEDERAL TRADE COMMISSION             FEDEX FREIGHT, INC.                      FEILONG AUTO COMPONENTS, LTD.
600 PENNSYLVANIA AVE, DROP H-790     DEPT LA, PO BOX 21415                    INDUSTRIAL AREA,DONGHUAN ROAD,XIXIA
WASHINGTON, DC 20580                 PASADENA, CA 91185                       NANYANG CITY 474500
                                                                              CHINA
FELDMAN, MICHAEL           Case 25-10258-TMH     DocJOSHUA
                                         FELDTKELLER, 32 Filed 02/19/25          Page 54 of 171
                                                                                   FELSAN
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                         POL.IND.ROMICA, AVDA.C, PARC.126
                                                                                   ALBACETE 02080
                                                                                   SPAIN




FENG, JINYONG                            FERGUSON US HOLDINGS INC.                 FERNANDEZ, GREY
[ADDRESS ON FILE]                        12500 JEFFERSON AVENUE                    [ADDRESS ON FILE]
                                         NEWPORT NEWS, VA 23602




FERNANDEZ, JUAN MONTEALEGRE              FERRAZ, REINALDO                          FERRIN, ERIKA
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                         [ADDRESS ON FILE]




FERRIS, KALEE                            FERTILIZER COMPANY OF ARIZONA, INC        FF SCREW PRODUCTS INC
[ADDRESS ON FILE]                        2850 S PEART RD                           888 WEST QUEEN STREET
                                         CASA GRANDE, AZ 85193                     SOUTHINGTON, CT 06489




FGR TRANSFORMACIONES METALICAS SA D      FIBA TECHNOLOGIES, INC.                   FIBET SPA
COLINAS DE SAN JOSE NO. 3COL.            56 AYER ROAD                              VIA ALBA 12/6
COLINAS DE SANTA CRUZ, QE 76117          LITTLETON, MA 01460                       MONCALIERI, TO 10024
MEXICO                                                                             ITALY




FIBRECODE GMBH                           FICOMIRRORS S.A.                          FICOSA INTERNATIONAL GMBH
MANE-CURIE-STRABE 9                      GRAN VIA DE CARLOS III 98                 SCHWEIGERSTRABE 10
ETTINGEN 76275                           BARCELONA 08028                           WOLFENBUTTEL 38302
GERMANY                                  SPAIN                                     GERMANY




FIDELITY INVESTMENTS                     FIDELITY NATIONAL TITLE COMPANY OF CA     FIDELITY SECURITY LIFE INSURANCE CO
245 SUMMER ST                            3905 PARK DRIVE SUITE 200                 3130 BROADWAY BLVD
BOSTON, MA 02210                         EL DORADO HILLS, CA 95762                 KANSAS CITY, MO 64111-2542




FIEDLER GROUP                            FIELD CALIBRATIONS INC                    FIERRO, FRANCISCO
299 N. EUCLID AVE., SUITE 550            9830 SOUTH 51ST ST SUITE B111             [ADDRESS ON FILE]
PASADENA, CA 91101                       PHOENIX, AZ 85044




FIFTH THIRD BANK                         FIGOR, KIM                                FIGUEROA, MIGUEL
38 FOUNTAIN SQUARE PLZ, GRSM85           [ADDRESS ON FILE]                         [ADDRESS ON FILE]
CINCINNATI, OH 45263




FIGUEROA, NATALIE                        FINANCIAL AGENT SERVICES                  FINRA FINANCIAL INDUSTRY REGULATORY
[ADDRESS ON FILE]                        PO BOX 2576                               AUTH
                                         SPRINGFIELD, IL 62708                     15200 OMEGA DRIVE
                                                                                   ROCKVILLE, MD 20850
FIRECROWN MEDIA INC         Case 25-10258-TMH
                                          FIRMEX Doc 32      Filed 02/19/25   Page 55AMERICAN
                                                                                FIRST of 171 TITLE INSURANCE COMP
605 CHESTNUT ST. STE 800                 110 SPADINA AVE SUITE 700               2425 E CAMELBACK RDSTE 300
CHATTANOOGA, TN 37450                    TORONTO, ON M5V 2K4                     PHOENIX, AZ 85016
                                         CANADA




FIRST AMERICAN TITLE INSURANCE COMP      FIRST ELECTRONICS INC                   FIRST ELEMENT FUEL, INC.
3281 E. GUASTI ROAD, SUITE 440           150 E CHILTON DR                        5281 CALIFORNIA AVE STE 260
ONTARIO, CA 91761                        CHANDLER, AZ 85225                      IRVINE, CA 92617




FIRST INSURANCE FUNDING                  FIRST INSURANCE FUNDING                 FIRST-CITIZENS BANK & TRUST COMPANY
450 SKOKIE BLVD, STE 1000                PO BOX 7000                             420 MONTGOMERY STREET
NORTHBROOK, IL 60062                     CAROL STREAM, IL 60197                  SAN FRANCISCO, CA 94104




FISCALNOTE, INC                          FISCHER & PLATH GMBH                    FISCHER TRUCKING LLC
1201 PENNSYLVANIA AVE NW, 6TH FLOOR      INDUSTRIESTRAßE 4                       20205 87TH AVE SE
WASHINGTON, DC 20004                     BREMEN 27804                            SNOHOMISH, WA 98296
                                         GERMANY




FISCHER TRUCKING LLC                     FISCHER USA INC                         FISHER ROSEMOUNT SYSTEMS INC.
PO BOX 1120                              3715 BLUE RIVER AVENUE                  1100 W. LOUIS HENNA BLVD.
MONROE, WA 98272                         RACINE, WI 53405                        ROUND ROCK, TX 78681




FISHER SCIENTIFIC COMPANY LLC            FISHERS TOOLS & HANDLES, LLC            FIVES CINETIC CORP
300 INDUSTRY DRIVE                       1990 E. 3RD STREET                      23400 HALSTED RD
PITTSBURGH, PA 15275                     TEMPE, AZ 85288                         FARMINGTON, MI 48335




FKA SV INC                               FL VISCOSITY OIL COMPANY                FLAMING RIVER INDUSTRIES, INC
2362 WALSH AVE                           600-H JOLIET ROAD                       800 POERTNER DRIVE
SANTA CLARA, CA 95051                    HINSDALE, IL 60527                      BEREA, OH 44017




FLEET LOGIC, LLC                         FLEETMASTER LEASING CORP.               FLEETPRIDE, INC
D/B/A VELOCITY TRUCK RENTAL & LEASING    300 E. NAGHTEN ST.                      600 E LAS COLINAS BLVD
15724 VALLEY BLVD                        COLUMBUS, OH 43215                      IRVING, TX 75039
FONTANA, CA 92335




FLETEZ, LAMEC                            FLEX TECHNOLOGIES INC                   FLEX-N-GATE VALLADOLID S.L.U
[ADDRESS ON FILE]                        15151 S. MAIN ST.                       CALLE CARRACA S/N
                                         GARDENA, CA 90248                       VALLADOLID 47012
                                                                                 SPAIN




FLEXPORT, INC.                           FLEXQUBE INC                            FLEXSEALS, INC.
760 MARKET ST, 8TH FL                    317 TUCAPAU RD                          6551 JANSEN AVE NE
SAN FRANCISCO, CA 94102                  DUNCAN, SC 29334                        ALBERTVILLE, MN 55301
FLIEGL FAHRZEUGBAU GMBHCase 25-10258-TMH      Doc 32 LLCFiled 02/19/25
                                     FLIP ELECTRONICS,                     Page
                                                                             FLIR56 of 171 SYSTEMS, INC
                                                                                  COMMERCIAL
OBERPOLLINGER STRABE 8               6520 CORPORATE COURT, SUITE 300          FILE 50752
TRIPTIS 07819                        ALPHARETTA, GA 30005                     LOS ANGELES, CA 90074
GERMANY




FLORES, EDITH                        FLORES, JOSHUA                           FLORES, MARIA
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                        [ADDRESS ON FILE]




FLORES, RANDALL ERIC                 FLORIAN, GEORGE                          FLORIDA DEPARTMENT OF REVENUE
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                        5050 W TENNESSEE ST
                                                                              TALLAHASSEE, FL 32399




FLORIDA DEPT OF ENVIRONMENTAL        FLORIDA DEPT OF HEALTH                   FLORIDA DEPT OF LABOR
PROTECTION                           4052 BALD CYPRESS WAY                    DEPT OF ECONOMIC OPPORTUNITY
3900 COMMONWEALTH BLVD               BIN A00                                  107 EAST MADISON ST
TALLAHASSEE, FL 32399                TALLAHASSEE, FL 32399-1701               CALDWELL BUILDING
                                                                              TALLAHASSEE, FL 32399-4120



FLORIDA STATE TREASURY               FLOURISH FOREVER TECHNOLOGY CO., LI      FLUID MECHANICS VALVE COMPANY
UNCLAIMED PROPERTY DIVISION          BLDGA5-2, 3RDIND. ZONE,YANCHUAN          12803 FM 529 RD.
200 E GAINES ST                      SHENZHENCITY 518127                      HOUSTON, TX 77041
TALLAHASSEE, FL 32399-0358           CHINA




FLUITRON LLC                         FLUITT, BRANDON                          FLUKE ELECTRONICS CORPORATION
330 S. WARMINSTER RD                 [ADDRESS ON FILE]                        6920 SEAWAY BLVD
HATBORO, PA 19040                                                             EVERETT, WA 98203




FM SYLVAN INC                        FMB TRUCKING LLC                         FNS, INC.
1749 HIGHWOOD W                      24813 W DURANGO ST                       1545 FRANCISCO STREET
PONTIAC, MI 48340                    BUCKEYE, AZ 85326                        TORRANCE, CA 90501




FOLEY EQUIPMENT COMPANY              FOLIO INVESTMENTS INC                    FONTANA REDWOOD PROPERTIES LLC
1550 S WEST ST                       8180 GREENSBORO DRIVE8TH FLOOR           ATTN KELLY ARFT
WICHITA, KS 67213                    MCLEAN, VA 22102




FONTANA REDWOOD PROPERTIES, LLC      FONTES DOMINGUEZ, JEANETH                FORD, LARRY H MILLER
492 W FOOTHILL BLVD                  [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CLAREMONT, CA 91711




FORESTER DE ROTHSCHILD, LYNN         FORETELLIX INC.                          FOREWIN FLEX LIMITED CORPORATION
[ADDRESS ON FILE]                    1579 KENNEWICK DR                        NO.189 JINFENG ROAD, NEW DISTRICT,
                                     SUNNYVALE, CA 94087                      SUZHOU 215132
                                                                              CHINA
FORMFAB LLC              Case 25-10258-TMH      DocIP 32
                                       FORRESTERS     LLP Filed 02/19/25    Page 57 of 171
                                                                              FORTEGRA SPECIALTY INSURANCE CO
3044 RESEARCH DR                       PORT LIVERPOOL BUILDING PIER HEAD       10751 DEERWOOD PARK BLVD.
ROCHERSTER HILLS, MI 48309             LIVERPOOL L3 1BY                        SUITE 200
                                       UNITED KINGDOM                          JACKSONVILLE, FL 32256




FORTIER, FRANCOIS                     FORTIL INC.                              FORTNER, TYLER
[ADDRESS ON FILE]                     1251 AVE OF THE AMERICAS, FL.3           [ADDRESS ON FILE]
                                      NEW YORK, NY 10020




FORTUNE ELECTRIC CO., LTD.            FOSTER FUELS INC.                        FOSTER, DANIEL
NO. 10, CHI LIN RD, CHUNG LI INDUST   16270 BROOKNEAL HWY                      [ADDRESS ON FILE]
TAOYUAN CITY 32063                    PO BOX 190
TAIWAN                                BROOKNEAL, VA 24528




FOTRONIC CORPORATION                  FOURCAULT, ALEXANDRA                     FOURCAULT, ERIN
C/O TEST EQUIPMENT DEPOT              [ADDRESS ON FILE]                        [ADDRESS ON FILE]
5 COMMONWEALTH AVE, UNIT 6
WOBURN, MA 01801-1069




FPT INDUSTRIAL S.P.A.                 FRAGOL AG                                FRALEY, KEIFER
VIA PUGLIA, 15                        SOLINGER STR. 16                         [ADDRESS ON FILE]
TORINO 10156                          MULHEIM AN DER RUHR 45481
ITALY                                 GERMANY




FRANCHISE TAX BOARD                   FRANCIS M. (TREY) HAMILTON III           FRANCIS M. (TREY) HAMILTON III
3321 POWER INN RD, STE 250            US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE
SACRAMENTO, CA 95826-3893             220 W DEPOT ST, STE 423                  800 MARKET ST, STE 211
                                      GREENEVILLE, TN 37743                    KNOXVILLE, TN 37902




FRANCO SANCHEZ, STALIN                FRANCO, RICARDO ORNELAS                  FRANK RECRUITMENT GROUP INC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        199 WATER ST, 10TH FL
                                                                               NEW YORK, NY 10038-3529




FRANK, JARED                          FRANK, JOHN                              FRANKLIN PICTURES INCORPORATION
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        4770 LOCH LOMOND DRIVE
                                                                               CARMICHAEL, CA 95608




FRANKLIN, LYNN                        FRANKLIN, ROBERT                         FRANKS SUPPLY COMPANY, INC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        3311 STANFORD N.E.
                                                                               ALBUQUERQUE, NM 87107




FRANS B. ROOZENDAAL                   FRAUENTHAL AUTOMOTIVE ELTERLEIN GMB      FRAZIN, IRWIN
[ADDRESS ON FILE]                     SCHEIBENBERGER STR. 45                   [ADDRESS ON FILE]
                                      ELTERLEIN 09481
                                      GERMANY
FREELANCE VPS             Case 25-10258-TMH     DocBRUCKHAUS
                                        FRESHFIELDS 32 Filed   02/19/25
                                                             DERINGER          Page 58 ofUNIFIED
                                                                                 FRESNO    171 SCHOOL DISTRICT
9528 MIRAMAR RD 1228                     2710 SAND HILL ROAD                      2309 TULARE ST
SAN DIEGO, CA 92126                      MENLO PARK, CA 94025                     FRESNO, CA 93721




FRIEVENTH CIENFUEGOS, RODRIGO            FRISBY, BRIAN                            FRONIUS USA LLC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        6797 FRONIUS DR
                                                                                  PORTAGE, IN 46368




FRONTIER GROUP, INC.                     FRY STEEL COMPANY                        FRY STEEL COMPANY
3518 E. WOOD STREET                      13325 MOLETTE ST                         PO BOX 4028
PHOENIX, AZ 85040                        SANTA FE SPRINGS, CA 90670               SANTA FE, CA 90670




FTI CONSULTING, INC.                     FTI FLOW TECHNOLOGY INC                  FUEL CELL & HYDROGEN ENERGY ASSOC,
16701 MILFORD BLVD.SUITE 200             8930 S BECK AVE, STE 107                 INC.
BOWIE, MD 20715                          TEMPE, AZ 85284-2864                     1025 CONNECTICUT AVE, NW, STE 1000
                                                                                  WASHINGTON, DC 20036




FUELFEST, INC.                           FUELING & SERVICE TECHNOLOGIES, INC      FULLER, NICHOLAS
459 N GILBERT RD. STE C-110              7050 VILLAGE DRIVE, SUITE D              [ADDRESS ON FILE]
GILBERT, AZ 85234                        BUENA PARK, CA 90621




FUTEK ADVANCED SENSOR TECHNOLOGY, I      FUTURE ALLOYS INC                        FUTUREWAY MECHANICAL INC
10 THOMAS                                20151 BAHAMA STREET                      2963 N NORFOLK
IRVINE, CA 92618                         CHATSWORTH, CA 91311                     MESA, AZ 85215




FYFFE, JEFFERY                           GABALDON, GABRIEL                        GABALDON, NOLAN
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]




GADHAVE, GAURAV                          GAIA PRAECIPIO BUYER, INC.               GALAZ, JOSE
[ADDRESS ON FILE]                        5511 W HWY 71, STE 110-111               [ADDRESS ON FILE]
                                         AUSTIN, TX 78738




GALLIEN, KIMBERLY                        GALLIEN, LESLIE                          GAMALIEL CONTRERAS
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        30444 W MCKINLEY ST
                                                                                  BUCKEYE, AZ 85396




GAMBONE, LIVIO                           GAMBONE, MELISSA                         GAMEZ, RAUL
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]
GAMMA TECHNOLOGIES LLC Case 25-10258-TMH
                                     GAMMAGEDoc    32 Filed
                                               & BURNHAM       02/19/25
                                                         ATTY AT LAW         Page 59 of 171 RECHTSANWALTE
                                                                               GAMONNOTARE
601 OAKMONT LANE                     40 NORTH CENTRAL AVE 20TH FLOOR            BOCKENHEIMER LANDSTRABE 33
WESTMONT, IL 60559                   PHOENIX, AZ 85004                          FRANKFURT 60325
                                                                                GERMANY




GANAN, NIKITH                         GANAPATHY MANOHARAN, SURIYA               GARBRICK, ROBERT
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         [ADDRESS ON FILE]




GARCIA CADENA, PEDRO                  GARCIA ROMERO, CHRISTIAN                  GARCIA, ANDREW
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         [ADDRESS ON FILE]




GARCIA, ERICK                         GARCIA, JUAN                              GARCIA, KARINA
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         [ADDRESS ON FILE]




GARCIA, LEONARD                       GARCIA, NATALIE                           GARCIA, PEDRO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         [ADDRESS ON FILE]




GARCIA, PEDRO                         GARCIA, RAMON                             GARCIA, RICARDO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         [ADDRESS ON FILE]




GARCIA, VILMA                         GARDNER ENGINEERING ALT ENE SERVICES      GARIC, INC
[ADDRESS ON FILE]                     LLC                                       68 35TH ST, STE C653
                                      2047 PAINTER LANE                         MAILBOX 4
                                      WEST HAVEN, UT 84401                      BROOKLYN, NY 11232




GARIC, INC                            GARIC, INC.                               GARRETT MOTORS
PO BOX 6967                           68 35TH ST, STE C653                      197 N. ARIZONA BLVD.
CAROL STREAM, IL 60197                BROOKLYN, NY 11232                        COOLIDGE, AZ 85128




GARTNER, INC.                         GARWOOD, JUSTO                            GARY M. RESTAINO
56 TOP GALLANT ROAD                   [ADDRESS ON FILE]                         UNITED STATES ATTORNEYS OFFICE
STAMFORD, CT 06902                                                              TWO RENAISSANCE SQ
                                                                                40 N CENTRAL AVE, STE 1800
                                                                                PHOENIX, AZ 85004-4408



GARY M. RESTAINO                      GARY M. RESTAINO                          GARY M. RESTAINO
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE                       US ATTORNEYS OFFICE
123 N SAN FRANCISCO ST, STE 410       405 W CONGRESS ST, STE 4800               7102 E 30TH ST, STE 101
FLAGSTAFF, AZ 86001                   TUCSON, AZ 85701-5040                     YUMA, AZ 85365
GARZA BERINO, RICARDO     Case 25-10258-TMH     Doc RAYMUNDO
                                        GARZA GOMEZ, 32 Filed 02/19/25         Page 60 of
                                                                                 GARZA,   171
                                                                                        DAVID
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




GARZA, ISMAEL                           GASTROEVENTS GMBH & CO KG                GATEWAY CHEVROLET, INC
[ADDRESS ON FILE]                       STEINBEISSTRAßE 7                        9901 W PAPAGO FREEWAY
                                        ULM 89079                                AVONDALE, AZ 85323
                                        GERMANY




GAUGE WIRE & CABLE, LLC                 GAUZY GMBH                               GBT US III LLC
1870 PRODUCTION CT                      BUCHENSTRAßE 2                           14635 N KIERLAND BLVDSUITE 200
LOUISVILLE, KY 40299                    SULZ AM NECKAR 72172                     SCOTTSDALE, AZ 85254
                                        GERMANY




GEIGER GMBH                             GEIKE, BRANDON                           GENCELL INC
ESPACHWEG 1                             [ADDRESS ON FILE]                        111 CONGRESS AVE. SUITE 500
PRETZFELD 91362                                                                  AUSTIN, TX 78701
GERMANY




GENERAC POWER SYSTEMS, INC              GENERAL FASTENERS COMPANY                GENERATIONS ENTERPRISES, INC.
S45 W29290 HWY 59                       19500 VICTOR PARKWAY STE 525             SDS 12-2106, PO BOX 86
WAUKESHA, WI 53189                      LIVONIA, MI 48152                        MINNEAPOLIS, MN 55486




GENTHERM HUNGARY KFT                    GENUINE PARTS COMPANY                    GEOLOGIC ASSOCIATES, INC.
BANYATELEP 14                           12010 WOODRUFF AVE, STE B                8777 NORTH GAINEY CENTER DRIVESUI
PILISSZENTIVAN 2084                     DOWNEY, CA 90241                         SCOTTSDALE, AZ 85258
HUNGARY




GEORGE CAIRO ENGINEERING, INC           GEORGE, DAVID                            GEORGIA DEPARTMENT OF REVENUE
1630 S STAPLEY DR. SUITE 117            [ADDRESS ON FILE]                        COMPLIANCE DIVISION –
MESA, AZ 85204                                                                   CENTRAL COLLECTION SECTION
                                                                                 2595 CENTURY PKWY NE, STE 331
                                                                                 ATLANTA, GA 30345-3173



GEORGIA DEPARTMENT OF REVENUE           GEORGIA DEPARTMENT OF REVENUE            GEORGIA DEPT OF LABOR
PO BOX 105408                           UNCLAIMED PROPERTY PROGRAM               148 ANDREW YOUNG INTL BLVD, NE
ATLANTA, GA 30348                       4125 WELCOME ALL RD STE 701              ATLANTA, GA 30303-1751
                                        ATLANTA, GA 30349-1824




GEORGIA DEPT OF LABOR                   GEORGIA ENVIRONMENTAL PROTECTION DIV     GEORGIA TECH RESEARCH CORPORATION
148 ANDREW YOUNG                        2 MARTIN LUTHER KING JR DRIVE            926 DALNEY ST NW
INTERNATIONAL BLVD NE                   STE 1456                                 ATLANTA, GA 30332-0415
ATLANTA, GA 30303                       ATLANTA, GA 30334-9000




GEORGIOU, ANASTASIS                     GERARD M. KARAM                          GERARD M. KARAM
[ADDRESS ON FILE]                       HARRISBURG FEDERAL BLDG AND              OFFICE OF THE UNITED STATES ATTORNEY
                                        COURTHOUSE                               HERMAN T SCHNEEBELI FEDERAL BLDG
                                        228 WALNUT ST, STE 220                   240 W THIRD ST
                                        PO BOX 11754                             WILLIAMSPORT, PA 17701-6465
                                        HARRISBURG, PA 17108-1754
GERARD M. KARAM          Case 25-10258-TMH      Doc 32 CHAMBER
                                       GERMAN AMERICAN       Filed 02/19/25
                                                                   OF COMM CA Page 61 ofLINARES
                                                                                GESTAMP   171
WILLIAM J NEALON FED. BLDG &           INC                                      POL IND LOS RUBIALES
COURTHOUSE                             600 B STREET, SUITE 300                  LINARES, JAEN 23700
235 N WASHINGTON AVE, STE 311          SAN DIEGO, CA 92101                      SPAIN
SCRANTON, PA 18503



GESTAMP SERVICIOS, S.A.                 GETGEN, AARON                            GH PTM PTY LTD
CALLE ALFONSO XII, 16                   [ADDRESS ON FILE]                        LEVEL 10, 161 COLLINS STREET
MADRID 28014                                                                     MELBOURNE, VIC 3000
SPAIN                                                                            AUSTRALIA




GHA TECHNOLOGIES INC                    GHAFARI ASSOCIATES, LLC                  GHD INC.
DEPT 2090 PO BOX 29661                  17101 MICHIGAN AVENUE                    DEPT. LA23922
PHOENIX, AZ 85038                       DEARBORN, MI 48126                       PASADENA, CA 91185




GHORAD, SOMNATH                         GHOST PRODUCTS, INC                      GIARDINA, STEPHEN
[ADDRESS ON FILE]                       110 E SOUTHERN AVE                       [ADDRESS ON FILE]
                                        MESA, AZ 85210




GIGAVAC LLC                             GILA LOCAL EXCHANGE CARRIER              GILL, DAVID
6382 ROSE LN                            7065 W ALLISON ROAD, BOX 5020            [ADDRESS ON FILE]
CARPINTERIA, CA 93013                   CHANDLER, AZ 85226




GILLMAN, RILEY                          GILROY, DEREK                            GIOBERT S.P.A.
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        VIA PAVIA, 82
                                                                                 RIVOLI, TO 10098
                                                                                 ITALY




GIRADE, PIYUSH                          GIRSKY, STEPHEN                          GIRSKY, STEPHEN J
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




GIRSKY, STEPHEN                         GITLAB INC.                              GIVEN, TIMOTHY
[ADDRESS ON FILE]                       268 BUSH STREET, 350                     [ADDRESS ON FILE]
                                        SAN FRANCISCO, CA 94104




GKN DRIVELINE NORTH AMERICA INC         GLACIER TANKS LLC                        GLADSTEIN, NEANDROSS & ASSOCIATES L
2200 N OPDYKE ROAD                      1301 NE 144TH ST, STE 125                2525 OCEAN PARK BLVDSUITE 200
AUBURN HILLS, MI 48326                  VANCOUVER, WA 98685                      SANTA MONICA, CA 90405




GLADSTONE PLACE PARTNERS LLC            GLASS, TERRY                             GLASSDOOR INC
485 MADISON AVE 4TH FLOOR               [ADDRESS ON FILE]                        DEPARTMENT 3436
NEW YORK, NY 10022                                                               DALLAS, TX 75312
GLEASON, ERIC PAUL        Case 25-10258-TMH
                                        GLEAVES, Doc   32
                                                 WILLIAM      Filed 02/19/25   Page 62INC.
                                                                                 GLINT  of 171
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                       62228 COLLECTIONS CENTER DRIVE
                                                                                  CHICAGO, IL 60693




GLIWA GMBH & CO. KG                       GLOBAL EQUIPMENT COMPANY INC.           GLOBAL FFT INC.
POLLINGER STR. 1                          29833 NETWORK PLACE                     539 CALLE SAN PABLO
WEILHEIM IN OBERBAYERN 82362              CHICAGO, IL 60673                       CAMARILLO, CA 93012
GERMANY




GLOBAL KNOWLEDGE SOLUTIONS LLC            GLOBAL POWER SYSTEMS INC                GLOBAL PROJECT MANAGEMENT
9000 REGENCY PKWY, STE 100                1309-10 STREET                          SOLUTIONS
CARY, NC 27518                            NISKU, AB T9E 8L6                       1925 CORPORATE DR. STE B
                                          CANADA                                  SLIDELL, LA 70458




GLOBAL TEST SUPPLY LLC                    GLOBAL THERMOFORMING INC                GLOBAL TRADE MARKETING INC.
312 RALEIGH ST SUITE 9                    735 WEST KNOX RD                        12640 ALLARD ST.
WILMINGTON, NC 28412                      TEMPE, AZ 85284                         SANTA FE SPRINGS, CA 90670




GLOBAL WATER - PICACHO COVE               GLOBALIZATION PARTNERS                  GLOBE MOTORS INC
WATER COMPANY, INC.                       175 FEDERAL STREET 17TH FLOOR           2275 STANLEY AVE
21410 N 19TH AVENUE SUITE 220             BOSTON, MA 02110                        DAYTON, OH 45404
PHOENIX, AZ 85027




GLO-QUARTZ INCORPORATED                   GM FINANCIAL                            GM&T ENGINEERING INC
1550 S EUCLID AVE                         801 CHERRY ST, STE 3600                 1250 E MICHIGAN AVE
TUCSON, AZ 85713                          FORT WORTH, TX 76102                    YPSILANTI, MI 48198




GMC SAS DI MASSIMO DEMATTEIS & C          GMC SAS DI MASSIMO DEMATTEIS & C        GMES, LLC
VIA MONGINEVRO 102                        VIA MONGINEVRO, 102                     1391 E BOONE INDUSTRIAL BLVD
CAPRIE, TO 10040                          CAPRIE, TO 10040                        COLUMBIA, MO 65202
ITALY                                     ITALY




GMW ASSOCIATES, INC.                      GODOWN, LEE R.                          GODOWN, LEE
955 INDUSTRIAL RD.                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]
SAN CARLOS, CA 94070




GOEBEL, STEVEN G.                         GOENGINEER, LLC                         GOKCEK, CEVAT
[ADDRESS ON FILE]                         739 E FORT UNION BLVD.                  [ADDRESS ON FILE]
                                          MIDVALE, UT 84047




GOLDBAND CORPORATION                      GOLDEMBERG, TYLER                       GOLDMAN SACHS & CO., LLC
16650 N. 91ST STREET, SUITE 108           [ADDRESS ON FILE]                       ATTN MATT MCCLURE
SCOTTSDALE, AZ 85260                                                              200 WEST STREET
                                                                                  NEW YORK, NY 10282-2198
GOLD-STANDARD TECHNOLOGYCaseLLC 25-10258-TMH     Doc 32
                                         GOMEZ CHAVEZ,  ALBA Filed 02/19/25   Page 63 of
                                                                                GOMEZ,   171
                                                                                       ANGELICA
123 W. CHANDLER HEIGHTS RD 13620         [ADDRESS ON FILE]                       [ADDRESS ON FILE]
CHANDLER, AZ 85248




GOMEZ, JOHNNY                           GOMEZ-HANNAMAN, MARIANA                  GONZALEZ CLASHMAN, LYNN
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




GONZALEZ, MANUEL                        GONZALEZ, OMAR                           GONZALEZ, RAUL
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




GONZALEZ, SALVADOR                      GONZALEZ-CABALLOS, ELISA                 GOOD VIBES CAR & BIKE SHOW
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        VFW POST 3713328 W COOLIDGE AVE
                                                                                 COOLIDGE, AZ 85128




GOODKEY SHOW SERVICE                    GOPAL THUBE, ABHIJIT                     GOPAL, SANJEEVI
5506 - 48 STREET, NW                    [ADDRESS ON FILE]                        [ADDRESS ON FILE]
EDMONTON, AB T6B 2Z1
CANADA




GOPI, YUVARAJ                           GOPROTO LLC                              GORDON BROTHERS HOLDINGS II, LLC
[ADDRESS ON FILE]                       240 W. CREST ST. STE A                   101 HUNTINGTON AVE. STE 1100
                                        ESCONDIDO, CA 92025                      BOSTON, MA 02199




GORE, CHARLES                           GOTION INC                               GOY, TRACI
[ADDRESS ON FILE]                       48660 KATO RD                            [ADDRESS ON FILE]
                                        FREMONT, CA 94538




GRAB, ALEXANDER                         GRACO HIGH PRESSURE EQUIPMENT INC        GRAEPEL LONINGEN GMBH & CO. KG
[ADDRESS ON FILE]                       2955 WEST 17TH ST, SUITE 6               ZEISIGWEG 2
                                        ERIE, PA 16505                           LONINGEN 49624
                                                                                 GERMANY




GRANITE SPECIALTY FOODS, INC.           GRANT PRODUCTS INTERNATIONAL             GRANT THORNTON LLP
3310 E CORONA AVE                       1900 BILLY MITCHELL BLVD BLDGC ST        3333 FINLEY ROAD SUITE 700
PHOENIX, AZ 85040                       BROWNSVILLE, TX 78521                    DOWNERS GROVE, IL 60515




GRANTMATCH INC.                         GRAS NA INC                              GRAY, CLAYTON
403 5TH ST.                             5750 SW ARCTIC DR                        [ADDRESS ON FILE]
LYNCHBURG, VA 24504                     BEAVERTON, OR 97005
GRAY, NICHOLI            Case 25-10258-TMH
                                       GRAYBAR Doc  32 COMPANY,
                                               ELECTRIC  Filed 02/19/25
                                                                INC          Page 64 of 171
                                                                               GRAYBIRCH CONSTRUCTION, LLC
[ADDRESS ON FILE]                       34 N MERAMEC AVE                        18537 COLLIER AVE,
                                        CLAYTON, MO 63105                       LAKE ELSINORE, CA 92530




GRAYHILL INC.                           GRAZIA BUGLIONE – GRACE RELOCATION      GREAT AMERICAN INSURANCE COMPANY
111 WEST MONROE                         INSEL 8                                 301 E. 4TH STREET
CHICAGO, IL 60690                       NEU-ULM - BAVARIA 89231                 CINCINNATI, OH 45202
                                        GERMANY




GREAT CENTRAL TRANSPORT, INC.           GREATER SACRAMENTO REGIONAL CLEAN       GREEN CLOVER CONSULTING, LLC.
737 W ARTESIA BLVD                      A COAL                                  1030 FIRESIDE DRIVE
COMPTON, CA 90220                       777 12TH STREET, SUITE 300              ALLEN, TX 75002
                                        SACRAMENTO, CA 95814




GREEN HILLS SOFTWARE LLC                GREEN, GERRY                            GREENE, WILLIAM
30 WEST SOLA STREET                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]
SANTA BARBARA, CA 93101




GREENLIGHT INNOVATION CORPORATION       GREGORY MANUFACTURING COMPANY           GREWAL, JAGJOT
101-8339 EASTLAKE DR                    2512 HENRY LADEN DR                     [ADDRESS ON FILE]
BURNABY, BC V5A 4W2                     FORT MADISON, IA 52627
CANADA




GREWE, TIMOTHY MICHAEL                  GRID CONNECT INC                        GRIDER, DUANE
[ADDRESS ON FILE]                       1630 W DIEHL RD                         [ADDRESS ON FILE]
                                        NAPERVILLE, IL 60563




GRIDWIZ INC                             GRIECO, NICHOLAS                        GRIFFIN, ALEXANDER
4F, 25 SANUN-RO 208BEON-GILBUNDAN       [ADDRESS ON FILE]                       [ADDRESS ON FILE]
BUNDANG-GU 13460
SOUTH KOREA




GROSS, GREGORY                          GROTTENTHALER, DAVID LEIGH              GROWING LABS, LLC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       115 E MAIN ST
                                                                                BUFORD, GA 30518-5727




GROWING LABS, LLC                       GRUBES COMMODITIES, INC                 GRUNEWALD GMBH & CO KG
PO BOX 1237                             1660 N. 600 W                           BIEMENHORSTER WEG 19
SUWANEE, GA 30024                       DECATUR, IN 46733                       BOCHOLT 46395
                                                                                GERMANY




GRUPO INDUSTRIAL MAGNOACERO SADECV      GS OPERATING, LLC                       GT CONTACT CORPORATION
AV ALMAZAN 1247 COL. TOPOCHICO          9500 N ROYAL LN, STE 130                31441 SANTA MARGARITA PKWY STE-A-1
MONTERREY NUEVO, NL 64260               IRVING, TX 75063-2425                   RANCHO SANTA MARGARITA, CA 92688
MEXICO
                        Case 25-10258-TMH
GTI GRAPHIC TECHNOLOGY INC.                     Doc 32
                                      GTL LEASING           Filed 02/19/25   Page 65 of 171
                                                                               GUENTHER, JULIANE
211 DUPONT AVE                        19715 E. 6TH STREET                       [ADDRESS ON FILE]
PO BOX 3138                           TULSA, OK 74108
NEWBURGH, NY 12550




GUERRERO DE LA PENA, ANA                GUERRERO ORTIZ, ALFREDO                 GUERRERO, JESUS
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]




GUERRERO, JUAN                          GUERRERO, NANCY                         GUERRERO, RAUL
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]




GUERRERO, ROBERT                        GUMASTE, ROHAN                          GUPTA, ISHAN
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]




GURRAM, VIKRAM                          GUTIERREZ, DAVID                        GUTIERREZ, ERIK
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]




GUTIERREZ, FAVIAN                       GUTIERREZ, JESS                         GUTIERREZ, ROGELIO
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       [ADDRESS ON FILE]




GUY L. WARDEN AND SONS                  GVZ COMPONENTS S.R.L.                   H SQUARED, LLC
16626 PARKSIDE AVE                      VIA MAGENTA 77/16A                      136 E SOUTH TEMPLE ST SUITE 2300
CERRITOS, CA 90703                      RHO, MI 20017                           SALT LAKE CITY, UT 84111
                                        ITALY




H&E EQUIPMENT SERVICES, INC.            H.B. COMPLIANCE SOLUTIONS               H.K.B. INC
7500 PECUE LANE                         5005 S ASH AVE. STE A-10                4705 S 35TH AVE
BATON ROUGE, LA 70809                   TEMPE, AZ 85282                         PHOENIX, AZ 85041




H2SCAN CORPORATION                      HAAS, GEORGE                            HACKEN, MICHAEL SCOTT
27215 TURNBERRY LN.                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]
VALENCIA, CA 91351




HACKERX INC.                            HADDADI, FARID                          HADI HAJJAR
333 BRYANT STE 360                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]
SAN FRANCISCO, CA 94105
HAGHI-TABRIZI, SHAHRAM   Case 25-10258-TMH     Doc PRODUCTS
                                       HALDEX BRAKE 32 Filed  02/19/25 Page
                                                            CORPORATION     66LAUREN
                                                                         HALL, of 171
[ADDRESS ON FILE]                      10930 N POMONA AVE                [ADDRESS ON FILE]
                                       KANSAS CITY, MO 64153




HALTEC CORPORATION                     HALTEC CORPORATION                HAM, WOONGSIK
120 INDUSTRY ST                        PO BOX 1180                       [ADDRESS ON FILE]
LEETONIA, OH 44431                     SALEM, OH 44460




HAMPTON, DOMINIC                       HAN, POYUAN                       HANCOCK, FOREST
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                 [ADDRESS ON FILE]




HANGZHOU PAISHUN RUBBER & PLASTIC CO   HANJI, YASHASWINI                 HANK THORN CO
LTD                                    [ADDRESS ON FILE]                 29164 WALL ST
B-101 HANGZHOU SMART INDUSTRIAL PAR                                      WIXOM, MI 48393
HANGZHOU 310030
CHINA



HANKO, ANNA                            HANNAS WRECKER SERVICE, INC.      HANRAHAN, ADAM
[ADDRESS ON FILE]                      3501 WEST KELLY STREET            [ADDRESS ON FILE]
                                       INDIANAPOLIS, IN 46241




HANSEN, ANNALIZA                       HANWHA CIMARRON LLC               HANWHA INTERNATIONAL LLC
[ADDRESS ON FILE]                      4912 MOORES MILL RD               300 FRANK W BURR BLVD SUITE 52
                                       HUNTSVILLE, AL 35811              TEANECK, NJ 07666




HANWHA SOLUTIONS CORPORATION BUSAN     HARBOR TEAM LOGISTICS INC         HARBOR TRUCKING ASSOCIATION
32, HWAJEONSANDAN 3-RO                 1119 S CLARENCE ST                PO BOX 32475
GANGSEO-JU, BUSAN 99999                ANAHEIM, CA 92806                 LONG BEACH, CA 90832
SOUTH KOREA




HARDER MECHANICAL CONTRACTORS, INC     HARMUN TRUCKING, INC.             HARRELL, LOREN
2148 NE MARTIN LUTHER KING JR BLVD     1070 LINCOLN RD.                  [ADDRESS ON FILE]
PORTLAND, OR 97212                     YUBA CITY, CA 95991




HARRIS, MARTRAIL                       HARRIS, SAVON                     HARRIS-CHAPMAN, CRISTIAN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                 [ADDRESS ON FILE]




HARRIS-CHAPMAN, MATEA                  HARRISON, DEANNA                  HARRISON, THOMAS
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                 [ADDRESS ON FILE]
HARSHCO LLC                 Case 25-10258-TMH      Doc 32
                                          HARTZEL, DEREK      Filed 02/19/25   Page 67 of FIBER
                                                                                 HASTINGS 171 GLASS PRODUCTS INC.
7442 E BUTHERUS DRIVE                     [ADDRESS ON FILE]                       1301 WEST GREEN STREET
SCOTTSDALE, AZ 85260                                                              HASTINGS, MI 49058




HATMAN, JOSEPH                            HAUBOLD, JASON                          HAWS, ANTHONY
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                       [ADDRESS ON FILE]




HAZARD CONTROL TECHNOLOGIES, INC.         HDS MARKETING, INC.                     HDS TRUCK DRIVING INSTITUTE, INC.
150 WALTER WAY                            633 NAPOR BLVD                          6251 S WILMOT RD
FAYETTEVILLE, GA 30214                    PITTSBURGH, PA 15205                    TUCSON, AZ 85756




HEAD ACOUSTICS INC                        HEAD, CONNOR                            HEAD, GARY
6964 KENSINGTON ROAD                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]
BRIGHTON, MI 48116




HEALTH ADVOCATE SOLUTIONS                 HEALTH ADVOCATE SOLUTIONS, INC.         HEALTHY HOME FLOORING LLC
3043 WALTON RD                            PO BOX 200603                           601 N. 44TH AVE
PLYMOUTH MEETING, PA 19462                DALLAS, TX 75320                        PHOENIX, AZ 85043




HEFNER, JEREMY                            HEGAZY, ASMA                            HEISENER ELECTRONICS LIMITED
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                       RM 2103 21/FHO KING COMMERCIAL CENT
                                                                                  SHENZHEN Shen
                                                                                  HONG KONG




HEI-TEK AUTOMATION LLC                    HELGESEN INDUSTRIES INC                 HELGESEN INDUSTRIES INC
24435 N 20TH DRIVE                        1720 INNOVATION WAY                     PO BOX 684095
PHOENIX, AZ 85085                         HARTFORD, WI 53027-9082                 CHICAGO, IL 60695




HELIOX TECHNOLOGY INC                     HELLA AUTOMOTIVE SALES, INC.            HELLA GMBH & CO KGAA
165 OTTLEY DR. NE STE 205                 201 KELLY DR                            RIXBECKER STRABE 75
ATLANTA, GA 30324                         PEACHTREE CITY, GA 30269-1924           LIPPSTADT 59552
                                                                                  GERMANY




HELLERMANNTYTON S.R.L.                    HELLMANN WORLDWIDE LOGISTICS INC        HELLWIG PRODUCTS COMPANY, INC.
VIA VISCO 3/5                             LOCKBOX NUMBER 13361                    16237 AVENUE 296
LIMENA 35010                              NEWARK, NJ 07101                        VISALIA, CA 93292
ITALY




HEM HOLDINGS LLC                          HEM HOLDINGS, LLC                       HEMENDRAKUMAR SHAH, SMIT
3630 GAVIOTA AVE                          ATTN JIM MILES                          [ADDRESS ON FILE]
LONG BEACH, CA 90807                      P.O.BOX 7128
                                          LONG BEACH, CA 90807
HEMINGWAY II, COREY    Case 25-10258-TMH     Doc
                                     HENAN THB    32 CO.,
                                               ELECTRIC Filed
                                                            LTD02/19/25   Page 68 of 171CHARLES
                                                                            HENDERSHOT,
[ADDRESS ON FILE]                      003 SONGJIANG RD                      [ADDRESS ON FILE]
                                       HEBI 458030
                                       CHINA




HENDERSON, ANTHONY                     HENDRICKSON DOUAI S.A.S.              HENRIQUEZ, HERNAN
[ADDRESS ON FILE]                      201 RUE DE SIN LE NOBLE               [ADDRESS ON FILE]
                                       DOUAI 59500
                                       FRANCE




HENRY C. LEVENTIS                      HENRY, LATISHA                        HENRYHORNE LLP
UNITED STATES ATTORNEYS OFFICE         [ADDRESS ON FILE]                     2055 E WARNER RDSUITE 1010
719 CHURCH ST, STE 3300                                                      TEMPE, AZ 85284
NASHVILLE, TN 37203




HENSLER, ROY                           HEPLER, DREW LEE                      HERD, VALEN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




HERE HOLDING CORPORATION               HEREDIA CAMARENA, ARNULFO             HERGATT, JOSEPH
5187 PAYSPHERE CIRCLE                  [ADDRESS ON FILE]                     [ADDRESS ON FILE]
CHICAGO, IL 60674




HERITAGE ENVIRONMENTAL SERVICES, IN    HERITAGE PRODUCT GROUP, INC.          HERMES ENGINEERING
6510 TELECOM DRIVE SUITE 400           1912 W BUSINESS CENTER DR             IVAN SUSANIN 26 STR.
INDIANAPOLIS, IN 46278                 ORANGE, CA 92867                      SOFIA 1618
                                                                             BULGARIA




HERNANDEZ MEZA, ENRIQUE                HERNANDEZ MORENO, DANIEL              HERNANDEZ ZANKL, MARCUS
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




HERNANDEZ, CARLOS                      HERNANDEZ, CASEY STREBE & SAMUAL      HERNANDEZ, CESAR
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




HERNANDEZ, DANIEL                      HERNANDEZ, ERIC                       HERNANDEZ, JAMES
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




HERNANDEZ, JESSICA                     HERNANDEZ, KENIA                      HERNANDEZ, MARCOS
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]
HERNANDEZ, PAULINO       Case 25-10258-TMH    Doc
                                       HERNANDEZ,   32 Filed 02/19/25
                                                  THANYA                     Page 69 of AME
                                                                               HERRERA, 171
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]




HERSA                                  HERTZER, COLLIN                         HESTER, GREGORY
2002 TIMBERLOCH PLACE STE 200          [ADDRESS ON FILE]                       [ADDRESS ON FILE]
SPRING, TX 77380




HEW-KABEL GMBH                         HEWLETT-PACKARD FINANCIAL SERVICES      HEWLETT-PACKARD FINANCIAL SERVICES
KLINGSIEPEN 12                         200 CONNELL DR, STE 5000                PO BOX 402582
WIPPENFURTH 51688                      BERKELEY HEIGHTS, NJ 07922-2816         ATLANTA, GA 30384
GERMANY




HEXAGON MANUFACTURING INTELLIGENCE,    HEXAGON MASTEREWORKS, INC.              HEXAGON PURUS GMBH
250 CIRCUIT DR                         1221 INDEPENDENCE WAY. STE A            HANNOVERSCHE STR. 1
NORTH KINGSTOWN, RI 02852              WESTMINSTER, MD 21157                   KASSEL 34134
                                                                               GERMANY




HEXAGON PURUS SYSTEMS USA LLC          HEYFRON, JOSEPH                         HI PRO SPEED INTL INC
100 - 3335 SUSAN STREET                [ADDRESS ON FILE]                       5367 AYON AVE
COSTA MESA, CA 92626                                                           IRWINGDALE, CA 91706




HIGGINS, WILLIAM                       HIGH BAR BRANDS OPERATING, LLC          HIGHWAY TO HEALTH, INC
[ADDRESS ON FILE]                      2701 18TH ST SW - PO BOX 740            933 1ST AVE
                                       OWATONNA, MN 55060                      KING OF PRUSSIA, PA 19406-1342




HILBOURN, VLADIMIR                     HILGARTWILSON, LLC                      HILL CRANE SERVICE, INC.
[ADDRESS ON FILE]                      2141 E HIGHLAND AVE, STE 250            3333 CHERRY AVE.
                                       PHOENIX, AZ 85016                       LONG BEACH, CA 90807




HILL, ROSS                             HILLIER, MITCHELL                       HINDUJA TECH INC.
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       39555 ORCHARD HILL PLACE, SUITE600
                                                                               NOVI, MI 48375




HINTZE, ERIN                           HIOKI USA CORPORATION                   HIREART, INC.
[ADDRESS ON FILE]                      6600 CHASE OAKS BVLD, STE 150           500 WESTOVER DR 15269
                                       PLANO, TX 75023                         SANFORD, NC 27330




HIRERIGHT GIS INTERMEDIATE CORP., I    HIRERIGHT GIS INTERMEDIATE CORP., I     HIRSCHMANN AUTOMOTIVE GMBH
100 CENTERVIEW DR, STE 300             PO BOX 847783                           OBERER PASPELSWEG 6-8
NASHVILLE, TN 37214                    DALLAS, TX 75284                        RANKWEIL 6830
                                                                               AUSTRIA
                         CaseAMERICA
HIRSCHMANN AUTOMOTIVE NORTH   25-10258-TMH      DocINC
                                       HIS COMPANY   32 Filed 02/19/25     Page
                                                                             HIS 70 of 171
                                                                                 COMPANY INC
2927 WATERVIEW DR                      6650 CONCORD PARK DR                   PO BOX 679472
ROCHESTER HILLS, MI 48309              HOUSTON, TX 77040-4098                 DALLAS, TX 75267




HISCOX INSURANCE COMPANY             HITACHI INDUSTRIAL HOLDINGS AMERICA      HI-TECH FASTENERS, INC.
5 CONCOURSE PARKWAY, SUITE 2150      INC.                                     4940 WINCHESTER BLVD
ALTANTA, GA 30328                    859 W 1050 S.                            FREDERICK, MD 21703-7400
                                     OGDEN, UT 84404




HITOOLS, INC.                        HLS TREE SERVICE & LANDSCAPE             HMD TRANSPORT INC
2070 BUSINESS CENTER DR. STE 210     PO BOX 605                               10015 VIRGINIA AVE
IRVINE, CA 92612                     RANCHO CUCAMONGA, CA 91729               CHICAGO RIDGE, IL 60415




HOCKENBERGS EQUIPMENT & SUPPLY CO,   HODESS CLEANROOM CONSTRUCTION, LLC       HODGES TRANSPORTATION, INC.
INC.                                 8 N MAIN STREET, SUITE 400               605 FORT CHURCHILL RD
2015 SILVER BELL RD, STE 15          ATTLEBORO, MA 02703                      SILVER SPRINGS, NV 89429-8002
ST PAUL, MN 55122-3170




HODGES TRANSPORTATION, INC.          HOEFELMANN, DIRK                         HOERBIGER ELEKTRONIK GMBH
PO BOX 234                           [ADDRESS ON FILE]                        JUSTINUS-KERNER-STRABE 7
CARSON CITY, NV 89702                                                         AMMERBUCH 72119
                                                                              GERMANY




HOFEMANN, OLE                        HOFFMAN LEGAL, LLC                       HOFFMAN, ANN-MARIE
[ADDRESS ON FILE]                    99 E. VIRGINIA AVE., STE. 220            [ADDRESS ON FILE]
                                     PHOENIX, AZ 85004




HOFFMAN, MICHAEL                     HOFMANN FORDERTECHNIK GMBH               HOLLOWAY, CALEB
[ADDRESS ON FILE]                    SILCHERSTRAßE 34                         [ADDRESS ON FILE]
                                     NECKARSULM 74172
                                     GERMANY




HOLT OF CALIFORNIA, INC.             HOLT OF CALIFORNIA, INC.                 HOLT, BRIDGET
7310 PACIFIC AVE                     PO BOX 100001                            [ADDRESS ON FILE]
PLEASANT GROVE, CA 95668-9708        SACRAMENTO, CA 95813




HOLT, JERRY                          HOPE INDUSTRIAL SYSTEMS, INC.            HORIBA INSTRUMENTS INCORPORATED
[ADDRESS ON FILE]                    1325 NORTHMEADOW PARKWAY, SUITE 100      9755 RESEARCH DRIVE
                                     ROSWELL, GA 30076                        IRVINE, CA 92618




HORIZONS ENERGY, LLC                 HORROCKS JR, BILLY                       HOSFORD, JOHN
6216 MEMORIAL DR                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]
DUBLIN, OH 43017
HOTTINGER BRUEL & KJAER INCCase 25-10258-TMH      Doc 32
                                         HOUSE, TRAVIS       Filed 02/19/25    Page 71 of
                                                                                 HOUSE,   171
                                                                                        TYLER
5210 E WILLIAMS CIR, STE 240             [ADDRESS ON FILE]                       [ADDRESS ON FILE]
TUCSON, AZ 85711-4410




HOVAIR AUTOMOTIVE LLC                    HOWARD A. SCHAEVITZ TECH INC.           HOWARD, CHRISTOPHER
211 PROVINCE ST.                         1000 LUCAS WA                           [ADDRESS ON FILE]
FRANKLIN, IN 46131                       HAMPTON, VA 23666




HOWE PRECAST CONCRETE BARRIER INC.       HOWMET AEROSPACE INC.                   HOWMET WHEEL SUB ASSEMBLY & LOGISTI
7825 E PALOMA AVE                        201 ISABELLA ST, STE 200                1089 EASTERN AVENUE
MESA, AZ 85212                           PITTSBURGH, PA 15212                    CHILLICOTHE, OH 45601




HP INC                                   HSBC BANK USA NATIONAL ASSOCIATION      HSBC
11311 CHINDEN BLVD MS 305                WEST 39TH STREET 5TH FLOOR              ATTN JOHN LEITER
BOISE, MS 83714                          NEW YORK, NY 10018                      ONE EMBARCADERO CENTER
                                                                                 34TH FLOOR
                                                                                 SAN FRANCISCO, CA 94111



HT SPA                                   HTI LTD                                 HUANG, JUNKUI
VIA FRIULI 79                            PO BOX 650998, DEPT HOU1121             [ADDRESS ON FILE]
SAN VENDEMMIANO, TV 31020                DALLAS, TX 75265
ITALY




HUB GROUP, INC.                          HUB6 INC.                               HUBERSUHNER INC
2001 HUB GROUP WAY                       300-6000 BOUL. DE ROME                  3540 TORINGDON WAY, STE 560
OAK BROOK, IL 60523                      BROSSARD, QC J4Y 0B6                    CHARLOTTE, NC 28277-3867
                                         CANADA




HUBSPOT, INC.                            HUDSON INSURANCE GROUP                  HUGHES CORPORATION
2 CANAL PARK                             100 WILLIAM ST, 5TH FLOOR               1815 BELLAIRE AVE. STE B
CAMBRIDGE, MA 02141                      NEW YORK, NY 10038                      ROYAL OAK, MI 48067




HUGLEY, KYLE                             HUHN, CHAD                              HUHN, CHAD
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




HUHN, CHAD                               HUIZAR-CARDENAS, DIEGO                  HULL III, WILBUR
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




HULTEK S.A DE C.V.                       HUMAN SOLUTIONS OF NORTH AMERICA, I     HUMPHREY, BRENTLEE
COBRE 9361. CIUDAD INDUSTRIAL MITR       215 SOUTHPORT DRIVESUITE 140            [ADDRESS ON FILE]
GARCIA, NL 66023                         MORRISVILLE, NC 27560
MEXICO
HUTCHINSON BLACK AND COOK Case
                            LLC 25-10258-TMH
                                         HUTCHINSONDoc
                                                     SNC32 Filed 02/19/25   Page 72 of
                                                                              HWANG,   171HO
                                                                                     DAVID
921 WALNUT ST., SUITE 200                3, RUE DU GUE ORY                    [ADDRESS ON FILE]
BOULDER, CO 80302                        SOUGE-LE-GANELON 72130
                                         FRANCE




HYDRAULAX PRODUCTS                     HYDROGEN COUNCIL AISBL                 HYDROGEN FUEL CELL PARTNERSHIP
5606 TULIP ST                          AVENUE MARNIX, 23                      3300 INDUSTRIAL BLVD. STE 200
PHILADELPHIA, PA 19124                 BRUSSELS 1000                          WEST SACRAMENTO, CA 95691
                                       BELGIUM




HYDRO-PAC INC                          HYG FINANCIAL SERVICES INC             HYLA HYDROGEN
7470 MARKET RD. PO BOX 921             PO BOX 35701                           4141 E BROADWAY RD
FAIRVIEW, PA 16415                     BILLINGS, MT 59107                     PHOENIX, AZ 85040




I.M.A.TE.G.93 S.R.L.                   I2 LLC                                 IBANEZ DIAZ, KIMBERLY
CORSO KENNEDY, 18                      570 W SOUTHERN AVENUE                  [ADDRESS ON FILE]
ROBASSOMERO, TO 10070                  TEMPE, AZ 85282
ITALY




IBE ELECTRONICS CO., LTD               IBE ELECTRONICS USA, LLC               IBE ELECTRONICS, INC
TOWER NO.7088 SHENNAN BOULEVARD        6497 NE CROENI ROAD                    40760 ENCYCLOPEDIA CIR
SHENZHEN 518040                        HILLSBORO, OR 97124                    FREMONT, CA 94538
CHINA




IBRAHEEM SARWAR, SYED                  IC SECURITY PRINTERS INC., MFG         IC SECURITY PRINTERS INC., MFG
[ADDRESS ON FILE]                      4080 S 500 W                           PO BOX 25175
                                       SALT LAKE CITY, UT 84123               SALT LAKE CITY, UT 84125




ICE SYSTEMS INC                        ICIMS, INC.                            IDAHO DEPT OF LABOR
175 COMMERCE DR, STE P                 29348 NETWORK PLACE                    317 W. MAIN ST
HAUPPAUGE, NY 11788                    CHICAGO, IL 60673                      BOISE, ID 83735




IDIADA AUTOMOTIVE TECHNOLOGY SA        IDNEO TECHNOLOGIES S. A. U.            IEC SUPPLY LLC
LALBOMAR, TARRAGONA                    GRAN VIA CARLOS III, 98, 5A PLANTA     1455 W 12TH PLACE
SANTA OLIVIA 43710                     BARCELONA 08028                        TEMPE, AZ 85281
SPAIN                                  SPAIN




IES COMMERCIAL INC                     IEWC HOLDINGS CORP                     IGUS BEARINGS, INC.
2801 SOUTH FAIR LANE                   5001 S TOWNE DR                        257 FERRIS AVE
TEMPE, AZ 85282                        NEW BERLIN, WI 53151                   RUMFORD, RI 02916




IGUS GMBH                              IGX GROUP, INC.                        IHS GLOBAL INC.
SPICHER STR. 1A                        1619 SHATTUCK AVENUE                   15 INVERNESS WAY EAST
KOLN 51147                             BERKELEY, CA 94709                     ENGLEWOOD, CO 80112
GERMANY
IKD CO. LTD              Case 25-10258-TMH       Doc 32
                                       IKE COMMERCIAL  REALFiled 02/19/25
                                                           ESTATE, LLC      Page
                                                                              IKEA73 of 171 INC.
                                                                                   PROPERTY,
NO.588 JINSHAN ROAD,JIANGBEI INVEST    410 N. SCOTTSDALE ROAD 1000             420 ALAN WOOD ROAD
NINGBO 31503                           TEMPE, AZ 85281                         CONSHOHOCKEN, PA 19428
CHINA




ILJIN GLOBAL                           ILLINOIS DEPARTMENT OF REVENUE          ILLINOIS DEPARTMENT OF REVENUE
527 SAMSUNG-RO, GANGNAM-GU             555 W MONROE, STE 1100                  PO BOX 19034
SEOUL 06157                            CHICAGO, IL 60661                       SPRINGFIELD, IL 62794
SOUTH KOREA




ILLINOIS DEPT OF EMPLOYMENT SECURITY   ILLINOIS DEPT OF LABOR                  ILLINOIS DEPT OF LABOR
7650 MAGNA DR, STE 120                 160 N. LA SALLE STREET                  524 S. 2ND STREET
BELLEVILLE, IL 62223                   C-1300                                  STE 400
                                       CHICAGO, IL 60601                       SPRINGFIELD, IL 62701




ILLINOIS DEPT OF NATURAL RESOURCES     ILLINOIS ENVIRONMENTAL PROTECTION       ILLUMITI CORP.
ONE NATURAL RESEOURCES WAY             AGENCY                                  123 COMMERCE VALLE DRIVE E, SUITE 5
SPRINGFIELD, IL 62702-1271             1021 N GRAND AVE E                      THORNHILL, ON L3T 7W8
                                       PO BOX 19276                            CANADA
                                       SPRINGFIELD, IL 62794-9276



IMA CORP                               IMA, INC.                               IMC DATAWORKS, LLC
ATTN: JOHN CAMPOS                      95 S STATE ST. STE 1300                 525 AVIS DRIVE, SUITE 14
85 S. STATE ST, SUITE 1300             SALT LAKE CITY, UT 84111                ANN ARBOR, MI 48108
SALT LAKE CITY, UT 84111




IMC LOGISTICS, LLC                     IMI FLUID CONTROLS HOLDINGS INC         IMMEDIA, LLC
1305 SCHILLING BLVD W                  5400 S DELAWARE ST                      8399 E HARTFORD DR
COLLIERVILLE, TN 38017                 LITTLETON, CO 80120                     SCOTTSDALE, AZ 85255




IMOTIONS, INC.                         IMPERSEALCO, S.A. DE C.V.               IMPRO INDUSTRIES USA INC
141 TREMONT STREET, FLOOR 7            CALLE ALAMO NUM. 8 COL. LOS HORNOS      21660 E COPLEY DR SUITE 100
BOSTON, MA 02111                       TULTITLAN, EM 54916                     DIAMOND BAR, CA 91765
                                       MEXICO




IMR - INDUSTRIALESUD SPA               INCLUSIVE CAPITAL PARTNERS LP           INDEED, INC.
VIA RIVERA, 56                         1170 GORGAS AVENUE                      MAIL CODE 5160. PO BOX 660367
CARATE BRIANZA, MB 20481               SAN FRANCISCO, CA 94129                 DALLAS, TX 75266
ITALY




INDEPENDENCE HYDROGEN, INC.            INDEPENDENT ELECTRIC SUPPLY INC         INDIANA DEPARTMENT OF REVENUE
44927 GEORGE WASHINGTON BLVD., STE     3951 OCEANIC DR                         ATTN: LEGAL DIVISION
ASHBURN, VA 20147                      OCEANSIDE, CA 92056                     100 N SENATE AVENUE MS 102
                                                                               INDIANAPOLIS, IN 46204




INDIANA DEPARTMENT OF REVENUE          INDIANA DEPT OF ENVIRONMENTAL MGMT      INDIANA DEPT OF NATURAL RESOURCES
PO BOX 7087                            INDIANA GOVERNMENT CENTER NORTH         402 W WASHINGTON ST
INDIANAPOLIS, IN 46207                 100 N SENATE AVE                        INDIANAPOLIS, IN 46204
                                       INDIANAPOLIS, IN 46204-2251
INDICOR HOLDINGS, LLC       Case 25-10258-TMH      Doc
                                          INDUSTRIAL CNC32
                                                         LLC Filed 02/19/25      Page 74 of 171
                                                                                   INDUSTRIAL COMMISSION OF ARIZONA
8930 S BECK AVE. STE. 107                  17D CLINTON DR                           LABOR DEPARTMENT
TEMPE, AZ 85284                            HOLLIS, NH 03049                         800 W. WASHINGTON ST
                                                                                    PHOENIX, AZ 85007




INDUSTRIAL SAFETY SHOE COMPANY             INDUSTRIAL SUPPLY COMPANY, INC.          INDUSTRIAL VIDEO & CONTROL CO LLC
1421 E. FIRST STREET                       1635 SOUTH 300 WEST                      189 WELLS AVENUE, STE 202
SANTA ANA, CA 92701                        SALT LAKE CITY, UT 84115                 NEWTON, MA 02459




INDUSTRIES MARTINS INC                     INFICON INC                              INFICON INC
1200 INDUSTRIAL BOULEVARD                  2 TECHNOLOGY PL EAST                     PO BOX 88133
FARNHAM, QC J2N 3B5                        SYRACUSE, NY 13057-9714                  CHICAGO, IL 60695
CANADA




INFINITE ELECTRONICS INTERNATIONAL         INFLATABLES, LLC                         INFOSYS LIMITED
DEPT LA 24787                              13862 A BETTER WAY SUITE 11C             2400 N GLENVILLE DR STE 150
PASADENA, CA 91185                         GARDEN GROVE, CA 92843                   RICHARDSON, TX 75082




ING. LANG & MENKE GMBH                     INGENIERIA Y MAQUINARIA                  INGERSOLL--RAND INDUSTRIAL U.S., IN
ALTENAER STRAßE 113                        DE GUADALUP DE CV                        15768 COLLECTIONS CENTER DRIVE
HEMER 58675                                CARRETERA 57 KM 1050                     CHICAGO, IL 60693
GERMANY                                    CASTANOS, CH 25870
                                           MEXICO



INGURGIO, SAMANTHA                         INLAND SWEEPING SERVICE                  INNODISK USA
[ADDRESS ON FILE]                          2340 GOLDEN WEST LN                      42996 OSGOOD RD.
                                           NORCO, CA 92860                          FREMONT, CA 94539




INNOVATIVE CASTING TECHNOLOGIES, IN        INNOVMETRIC SOFTWARE INC.                INSIGHT DIRECT USA INC
2100 EARLYWOOD DR.                         2014 RUE CYRILLE-DUQUET, SUITE 310       375 N FRONT ST
FRANKLIN, IN 46131                         QUEBEC G1N 4                             COLUMBUS, OH 43215-2232
                                           CANADA




INSIGHT DIRECT USA INC                     INSIGHT GLOBAL FINANCE                   INSIGHT GLOBAL FINANCE
PO BOX 731069                              1111 OLD EAGLE SCHOOL RD                 1224 HAMMOND DR
DALLAS, TX 75373                           WAYNE, PA 19087                          ATLANTA, GA 30346




INSIGHT GLOBAL LLC                         INSTRUMART LLC                           INSTRUMENT IN A BOX
1224 HAMMON DR NE, STE 1500                35 GREEN MOUNTAIN DR                     32554 LAKE LOUISE ST.
ATLANTA, GA 30346-1537                     SOUTH BURLINGTON, VT 05403               FREMONT, CA 94555




INSTRUMENTATION AND CONTROLS LLC           INTECH PROCESS AUTOMATION INC.           INTEGRATED CRYOGENIC SOLUTIONS LLC
6829 W. FRYE ROAD                          1400 BROADFIELD BOULEVARD, SUITE 31      2835 PROGRESS PLACE
CHANDLER, AZ 85226                         HOUSTON, TX 77084                        ESCONDIDO, CA 92029
                         Case 25-10258-TMH
INTEGRATED ENGINEERING SERVICES        INTEGRITYDoc  32 SERVICES
                                                 SECURITY Filed 02/19/25
                                                                 LLC            Page 75 of 171LLC
                                                                                  INTELLAQUEST,
70 SARATOGA AVE, SUITE 200             30 W SOLA STREET                           4613 N. UNIVERSITY DRIVE 472
SANTA CLARA, CA 95051                  SANTA BARBARA, CA 93101                    CORAL SPRINGS, FL 33067




INTELLIGENTE SENSORSYSTEME DRESDEN      INTERCAX, LLC                             INTERCLEAN EQUIPMENT, LLC
ZUR WETTERWARTE 50                      47 PERIMETER CENTER, DRIVE EAST, ST       709 JAMES L HART PARKWAY
DRESDEN 01109                           DUNWOODY, GA 30346                        YPSILANTI, MI 48197
GERMANY




INTERCON USA INC                        INTERFACE INC.                            INTERIOR SOLUTIONS OF ARIZONA, LLC
1125 FIR AVENUE                         1280 W PEACHTREE ST NW                    6965 S PRIEST DRIVE SUITE 1
BLAINE, WA 98230                        ATLANTA, GA 30309-3445                    TEMPE, AZ 85283




INTERIORTEK INC                         INTERMODAL ASSOCIATION OF NORTH AME       INTERMOUNTAIN TRAILER SALES AND SER
1927 E MEDLOCK DR                       11785 BELTSVILLE DR 1100                  LLC
PHOENIX, AZ 85016                       CALVERTON, MD 20705                       5510 WEST LAMPERT LANE
                                                                                  WEST VALLEY CITY, UT 84120




INTERNAL REVENUE SERVICE LOCAL OFFICE   INTERNAL REVENUE SERVICE LOCAL OFFICE     INTERNAL REVENUE SERVICE LOCAL OFFICE
21309 BERLIN RD UNIT 13                 600 ARCH STREET                           844 KING ST
GEORGETOWN, DE 19947                    PHILADELPHIA, PA 19106                    WILMINGTON, DE 19801




INTERNAL REVENUE SERVICE                INTERNAL REVENUE SERVICE                  INTERNATIONAL BATTERY CORPORATION
1111 CONSTITUTION AVE NW                P.O. BOX 7346                             3823 MISSION OAKS BLVD., STE. A
WASHINGTON, DC 20224                    PHILADELPHIA, PA 19101-7346               CAMARILLO, CA 93012




INTERNATIONAL VALVE CORPORATION         INTERSTATE IMAGE, INC.                    INTERTEK PSI
1800 FULLER ROAD                        1510 SOUTH 3600 WEST                      4050 E COTTON CENTER BLVD SUITE 59
WEST DES MOINES, IA 50265               SALT LAKE CITY, UT 84104                  PHOENIX, AZ 85040




INTERTEK TECHNICAL SERVICES, INC.       INTERTEK TESTING SERVICES NA INC          INTERTEK TESTING SERVICES NA LTD
1450 LAKE ROBBINS, SUITE 620            3933 US RTE 11                            LB 210291 P.O. BOX 11728 SUCC. CENT
THE WOODLANDS, TX 77380                 CORTLAND, NY 13045-9715                   2561 GEORGES V
                                                                                  MONTREAL, QC H1L 6S4
                                                                                  CANADA



INTERWORLD HIGHWAY LLC                  INTREPID CONTROL SYSTEMS INC              INVEKTEK, LLC
205 WESTWOOD AVE                        1850 RESEARCH DR, 1ST FL                  PO BOX 1961
LONG BRANCH, NJ 07740-6564              TROY, MI 48083-2165                       WAUKESHA, WI 53187




INVENSITY INC                           INVENTUS LLC                              IONOMR INNOVATIONS INC.
438 MACOMB ST                           750 B ST, STE 1410                        2386 EAST MALL, SUITE 111
DETROIT, MI 48226                       SAN DIEGO, CA 92101-8190                  VANCOUVER, BC V6T 1Z3
                                                                                  CANADA
IOPPOLO, NICK            Case 25-10258-TMH
                                       IOWA DEPTDoc  32 Filed
                                                 OF NATURAL     02/19/25
                                                            RESOURCES          Page
                                                                                 IPC 76  of 171 INC
                                                                                     INTERNATIONAL
[ADDRESS ON FILE]                       WALLACE STATE OFFICE BLDG                3000 LAKESIDE DRIVE, SUITE 105N
                                        502 E 9TH ST, 4TH FL                     BANNOCKBURN, IL 60015
                                        DES MOINES, IA 50319-0034




IPETRONIK, INC.                         IPOLOG GMBH                              IQS LOGISTICS CONSULTING CORP
24445 NORTHWESTERN HIGHWAY STE 114      HEIDENHEIMER STR. 6                      880 APOLLO STREET SUITE 332
SOUTHFIELD, MI 48075                    LEONBERG 71229                           EL SEGUNDO, CA 90245
                                        GERMANY




IRDI SYSTEM INC                         IRON MOUNTAIN                            IRONSHORE SPECIALTY INSURANCE CO
5951 NO3 RD UNIT 120                    PO BOX 601002                            175 BERKELEY STREET
RICHMOND, BC V6X 2E3                    PASADENA, CA 91189                       BOSTON, MA 02116
CANADA




IRS                                     IRVINE, LAWRENCE                         IRWANDI, JOHAN
DEPARTMENT OF THE TREASURY              [ADDRESS ON FILE]                        [ADDRESS ON FILE]
1500 PENNSYLVANIA AVENUE NW
WASHINGTON, DC 20220




ISMAIL J. RAMSEY                        ISMAIL J. RAMSEY                         ISMAIL J. RAMSEY
OFFICE OF THE UNITED STATES ATTORNEY    OFFICE OF THE UNITED STATES ATTORNEY     OFFICE OF THE UNITED STATES ATTORNEY
FEDERAL COURTHOUSE                      FEDERAL COURTHOUSE                       HERITAGE BANK BLDG
1301 CLAY ST                            450 GOLDEN GATE AVE                      150 ALMADEN BLVD STE 900
OAKLAND, CA 94612                       SAN FRANCISCO, CA 94102                  SAN JOSE, CA 95113



ISOTEK CORPORATION                      ISYSTEM USA LLC                          ITAGI, PRAVEEN
1199 GRAND ARMY OF THE REPUBLIC HIG     28345 BECK ROAD SUITE 409                [ADDRESS ON FILE]
SWANSEA, MA 02777                       WIXOM, MI 48393




ITALDESIGN                              ITALDESIGN-GIUGIARO USA                  ITD INDUSTRIES INC.
VIA ACHILLE GRANDI, 25                  6785 TELEGRAPH RD, STE 450               ATTN: PHILIP TURI
MONCALIERI, TO 10024                    BLOOMFIELD, MI 48301                     161THE WEST MALL
ITALY                                                                            TORONTO, ON M9C 4V8
                                                                                 CANADA



ITD SALES CORP.                         ITIB S.R.L.                              ITK ENGINEERING LLC
161 THE WEST MALL                       VIA ROMIGLIA 9                           28700 CABOT DRIVE - SUITE 500
TORONTO, ON M9C 4V8                     PADERNO FRANCIACORTA 25050               NOVI, MI 48377
CANADA                                  ITALY




IVANCOVICH, ROBERT                      IVECO ESPANA S.L                         IVECO MAGIRUS AG
[ADDRESS ON FILE]                       AV. DE ARAGON, 402, 28022 MADRID, E      NICOLAUS-OTTO-STR. 27. BADEN- WURTT
                                        MADRID 28022                             ULM 89079
                                        SPAIN                                    GERMANY




IVECO S.P.A                             IWATANI CORPORATION OF AMERICA           IYER, AMEY GURUMURTHI
VIA PUGLIA, 35                          2200 POST OAK BLVD. SUITE 1150           [ADDRESS ON FILE]
PIEDMONT, TORINO 10156                  HOUSTON, TX 77056
ITALY
IYER, AMEY                  Case 25-10258-TMH      Doc 32
                                          J HEIDERSCHEIT     Filed
                                                         TRUCKING   02/19/25
                                                                  LLC          Page  77 ofASSOCIATES,
                                                                                 J. FRANK  171        LLC
[ADDRESS ON FILE]                           6201 CHUCKS CT                        622 THIRD AVENUE 36TH FLOOR
                                            PEOSTA, IA 52068                      NEW YORK, NY 10017




J.B. HUNT TRANSPORT, INC.                   J.J. KELLER & ASSOCIATES, INC         J.J. KELLER & ASSOCIATES, INC
615 J B HUNT CORPORATE DR                   3003 W BREEZEWOOD LN                  PO BOX 6609
LOWELL, AR 72745-9143                       NEENAH, WI 54956-9611                 CAROL STREAM, IL 60197




J.V. ELECTRONICS, INC.                      JACKSON, AUDREY                       JACKSON, KATHRYN
2001 HARBOR BLVD                            [ADDRESS ON FILE]                     [ADDRESS ON FILE]
COSTA MESA, CA 92627




JACKSON, TAMERA                             JACKSON, WILLIAM                      JACKSSONS TRAILERS INC
[ADDRESS ON FILE]                           [ADDRESS ON FILE]                     3054 E MAIN ST
                                                                                  MESA, AZ 85213




JACOBS, GWENDOLYN                           JACOBS, KENNETH                       JACQUELINE C. ROMERO
[ADDRESS ON FILE]                           [ADDRESS ON FILE]                     US ATTORNEYS OFFICE
                                                                                  504 W HAMILTON ST, 3701
                                                                                  ALLENTOWN, PA 18101




JACQUELINE C. ROMERO                        JADHAV, OMKAR                         JA-GASTECHNOLOGY GMBH
US ATTORNEYS OFFICE                         [ADDRESS ON FILE]                     ALBRECHT-THAER-RING 9
615 CHESTNUT ST, STE 1250                                                         BURGWEDEL 30938
PHILADELPHIA, PA 19106                                                            GERMANY




JAGCO GLOBAL                                JAIME ESPARZA                         JAIME ESPARZA
3401 E HARBOUR DR.                          US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE
PHOENIX, AZ 85034                           111 E BROADWAY, ROOM A306             601 NW LOOP 410, STE 600
                                            DEL RIO, TX 78840                     SAN ANTONIO, TX 78216




JAIME ESPARZA                               JAIME ESPARZA                         JAIME ESPARZA
US ATTORNEYS OFFICE                         US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE
700 E SAN ANTONIO AVE, STE 200              800 FRANKLIN, STE 280                 903 SAN JACINTO BLVD, STE 334
EL PASO, TX 79901                           WACO, TX 76701                        AUSTIN, TX 78701




JAIME SIQUEIROS, JUAN                       JAIN, SAURABH                         JAKKALAVADIKE, MURALIDHARA
[ADDRESS ON FILE]                           [ADDRESS ON FILE]                     [ADDRESS ON FILE]




JAKKALAVADIKE, PADMANABHA                   JAMA SOFTWARE INC                     JAMES, MAXWELL
[ADDRESS ON FILE]                           135 SW TAYLOR ST, SUITE 200           [ADDRESS ON FILE]
                                            PORTLAND, OR 97204
JARMAN, CURTIS           Case 25-10258-TMH     Doc 32USA Filed
                                       JAS FORWARDING    INC   02/19/25          Page 78 R.ofCOODY
                                                                                   JASON      171
[ADDRESS ON FILE]                       DEPT 3570, PO BOX 123570                    OFFICE OF THE UNITED STATES ATTORNEY
                                        DALLAS, TX 75312                            GAINESVILLE DIVISION
                                                                                    300 E UNIVERSITY AVE, STE 310
                                                                                    GAINESVILLE, FL 32601



JASON R. COODY                          JASON R. COODY                              JASPER AI, INC.
TALLAHASSEE HEADQUARTERS                UNITED STATES ATTORNEYS OFFICE              2701 E GRAUWYLER RD, BLDG 1 DPT EXT
111 N ADAMS ST 4TH FL                   PENSACOLA DIVISION                          IRVING, TX 75061
US COURTHOUSE                           21 E GARDEN ST, STE 400
TALLAHASSEE, FL 32301                   PENSACOLA, FL 32502



JAVAD EMS INC                           JAWS TEC LLC                                JAY MENDOZA, MICHAEL
900 ROCK AVENUE                         2839 HWY 39, SUITE 100                      [ADDRESS ON FILE]
SAN JOSE, CA 95131                      AMERICAN FALLS, ID 83211




JAYANT KURHADE, ADITYA                  JAYASHREE POLYMERS PVT. LTD                 JEEVES, MARC
[ADDRESS ON FILE]                       PLOT NO 8/1. D3, BLOCK MIDC, CHINCHWAD      [ADDRESS ON FILE]
                                        PUNE, MH 41101
                                        INDIA




JENSEN ENTERPRISES INC                  JENSEN HUGHES INC                           JERONIMO, JESUS
2410 W BROADWAY RD                      3610 COMMERCE DRIVE, SUITE 817              [ADDRESS ON FILE]
PHOENIX, AZ 85041                       HALETHORPE, MD 21227




JESSEL, NAVNEET                         JESSICA D. ABER                             JESSICA D. ABER
[ADDRESS ON FILE]                       US ATTORNEYS OFFICE                         US ATTORNEYS OFFICE
                                        101 W MAIN ST, STE 8000                     919 E MAIN ST, STE 1900
                                        NORFOLK, VA 23510-1671                      RICHMOND, VA 23219




JETT LLC                                JETTSET LUXURY BROKERS LLC                  JIGAR R PATEL
5600 N DODGE AVE.                       7631 E GREENWAY RD, STE B1                  [ADDRESS ON FILE]
FLAGSTAFF, AZ 86004                     SCOTTSDALE, AZ 85260




JILL E. STEINBERG                       JILL E. STEINBERG                           JIMENEZ FONSECA, LUIS
US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE                         [ADDRESS ON FILE]
22 BARNARD ST, STE 300                  600 JAMES BROWN BLVD, STE 200
SAVANNAH, GA 31401                      AUGUSTA, GA 30901




JIMENEZ LOPEZ, VICTOR                   JIMENEZ MEDINA, ANTONIO                     JIMENEZ, OSDAL
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                           [ADDRESS ON FILE]




JIRON, CORTLAND                         JKM DESIGNS, INC.                           JM TEST SYSTEMS, LLC
[ADDRESS ON FILE]                       3401 MADISON STREET                         PO BOX 11407 DEPT. 6389
                                        SKOKIE, IL 60076                            BIRMINGHAM, AL 35246
JMC EQUIPMENT LLC       Case 25-10258-TMH       Doc 32 Filed 02/19/25
                                      JNS TRANSPORT                      Page 79 ofINC171
                                                                           JOBVITE
82 NORTH DRIVE VALLEY STREAM          824 N FLINT AVE                       20 N MERIDIAN ST, STE 300
VALLEY STREAM, NY 11580               WILMINGTON, CA 90744                  INDIANAPOLIS, IN 46204




JOBVITE INC                          JOFA SRL                               JOGI, SANTHOSH
PO BOX 208262                        VIA AUSTRIA 34                         [ADDRESS ON FILE]
DALLAS, TX 75320                     PADOVA 35127
                                     ITALY




JOHNSEN, IVAN                        JOHNSON MATTHEY HYDROGEN               JOHNSON, ALEXANDER
[ADDRESS ON FILE]                    TECHNOLOGI LTD                         [ADDRESS ON FILE]
                                     LYDIARD FIELDS, GREAT WESTERN WAY
                                     SWINDON SN5 8UB
                                     UNITED KINGDOM



JOHNSON, AUSTIN                      JOHNSON, CALVIN                        JOHNSON, CASEY
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




JOHNSON, GLEN                        JOHNSON, JAMES                         JOHNSON, JEREMY
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




JOHNSON, KATHRYN                     JOHNSON, TORION                        JOLTA, SEBASTIAN
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




JONES JR., ROBERT A.                 JONES, JAMES                           JONES, JOHN
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




JONES, MARIELENE                     JONES, MITCHELL TERRY                  JONES, RODERICK
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




JONSON, ALINA                        JOONG KIM, NAK                         JORDAN, ALBERT
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




JORDHEIM, KURT                       JOSEPH T. RYERSON & SON, INC.          JOSEPH T. RYERSON & SON, INC.
[ADDRESS ON FILE]                    227 W MONROE ST, 27TH FL               PO BOX 100097
                                     CHICAGO, IL 60606                      PASADENA, CA 91189
JOSEPH, GEORGE           Case 25-10258-TMH      Doc 32 CORP
                                       JOST INTERNATIONAL Filed 02/19/25      Page 80 of
                                                                                JOYSON   171 SYSTEMS
                                                                                       SAFETY
[ADDRESS ON FILE]                       1770 HAYES ST                           BAHNWEG 1
                                        GRAND HAVEN, MI 49417                   ASCHAFFENBURG 63743
                                                                                GERMANY




JOYSON SAFTEY SYSTEMS CZECH S.R.O       JPMORGAN CHASE BANK NA                  JPMORGAN CHASE
NA OBRADECH 264                         383 MADISON AVE                         270 PARK AVENUE
RTYNR V PODKRKONOSI 542 3               NEW YORK, NY 10179                      NEW YORK, NY 10017
UNITED KINGDOM




JSP INTERNATIONAL GROUP LTD             JTEKT- EUROPE S.A.S.                    JUAREZ, JUAN
404 E 4TH STREET                        Z.I RUE DU BROTEAU S 70001              [ADDRESS ON FILE]
MILLEDGEVILLE, IL 61051                 IRGINY 69540
                                        FRANCE




JULIAN ELECTRICAL SVC & ENGINEERING     JUNG, SEGE                              JVI ARIZONA LLC
INC                                     [ADDRESS ON FILE]                       2851 W KATHLEEN RD.
15706 WEST 147TH STREET                                                         PHOENIX, AZ 85053
LOCKPORT, IL 60491




JVIS USA LLC                            JVIS USA LLC                            JW SPEAKER CORPORATION
52048 SHELBY PKWY                       PO BOX 350                              N120 W19434 FREISTADT RD
SHELBY TOWNSHIP, MI 48315               MT CLEMENS, MI 48046                    GERMANTOWN, WI 53022




K&L GATES LLP                           K&L GATES LLP                           KAB SEATING S.A.
K&L GATES CENTER                        PO BOX 844255                           AVENUE ERNEST SOLVAY
210 SIXTH AVE                           BOSTON, MA 02284                        SAINTES 1480
PITTSBURGH, PA 15222                                                            BELGIUM




KAG FOOD PRODUCTS LLC                   KAG LEASING, INC                        KAG LOGISTICS, INC.
4366 MT PLEASANT ST NW                  4366 MT. PLEASANT ST. NW                4366 MT PLEASANT ST NW
NORTH CANTON, OH 44720                  NORTH CANTON, OH 44720                  NORTH CANTON, OH 44720




KAG MERCHANT GAS GROUP, LLC             KAGLI, SWAROOP                          KAIZINK ENTERPRISES, LLC
4366 MT PLEASANT ST NW                  [ADDRESS ON FILE]                       3767 E BROADWAY RD. STE 2
NORTH CANTON, OH 44720                                                          PHOENIX, AZ 85040




KALONGO, ACHER                          KAM SPECIALTY EQUIPMENT SERVICES CO     KAMAN INDUSTRIAL TECHNOLOGIES
[ADDRESS ON FILE]                       45005 FIVE MILE ROAD                    4141 SOUTH 36TH STREET 100-110
                                        PLYMOUTH, MI 48170                      PHOENIX, AZ 85040




KAMICK SUPPLY COMPANY                   KANG, BYUNGHO                           KANG, TEDDY
4901 PRIME PARKWAY                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]
MC HENRY, IL 60050
KANOMAX USA INC            Case 25-10258-TMH     Doc 32 OF
                                         KANSAS DEPARTMENT Filed 02/19/25
                                                              REVENUE       Page 81 of
                                                                              KANSAS   171
                                                                                     DEPARTMENT OF REVENUE
219 US HWY 206                            BUSINESS TAXATION SEC                PO BOX 3506
ANDOVER, NJ 07821                         SCOTT STATE OFFICE BLDG              TOPEKA, KS 66625
                                          120 SE 10TH AVE
                                          TOPEKA, KS 66612-1103



KANSAS DEPT OF HEALTH & ENVIRONMENT       KANSAS STATE TREASURER               KAORI HEAT TREATMENT CO., LTD
1000 SW JACKSON ST                        UNCLAIMED PROPERTY DIVISION          NO. 5-2, CHI-LIN NORTH ROAD
TOPEKA, KS 66612                          900 SW JACKSON, STE 201              CHUNG-LI DISTRICT
                                          TOPEKA, KS 66612                     TAOYUAN CITY 32062
                                                                               TAIWAN



KAPRE, PRIYADARSHANI                      KARAMBA SECURITY INC                 KARKERA, CHANDAN
[ADDRESS ON FILE]                         41000 WOODWARD AVE                   [ADDRESS ON FILE]
                                          BLOOMFIELD HILLS, MI 48304




KARY ENVIRONMENTAL SERVICES, INC.         KASHYAP, NITHIN                      KASOWITZ BENSON TORRES LLP
641 SOUTH DREW STREET                     [ADDRESS ON FILE]                    1633 BROADWAY ROAD
MESA, AZ 85210                                                                 NEW YORK, NY 10019




KATAMANENI, PRAVEEN                       KATE E. BRUBACHER                    KATE E. BRUBACHER
[ADDRESS ON FILE]                         US ATTORNEYS OFFICE                  US ATTORNEYS OFFICE
                                          1200 EPIC CENTER                     444 SE QUINCY, STE 290
                                          301 N MAIN                           TOPEKA, KS 66683
                                          WICHITA, KS 67202



KATE E. BRUBACHER                         KAUSHIK SRIDHARAN, VAMSI             KAYCAN TRANSPORT LLC
US ATTORNEYS OFFICE                       [ADDRESS ON FILE]                    1430 E GAFFNEY RD
500 STATE AVE, STE 360                                                         NEW RIVER, AZ 85087
KANSAS CITY, KS 66101




KAYCO SPRAY BOOTHS, INC.                  KAYSER AUTOMOTIVE SYSTEMS            KBF CPAS LLP
135 INDUSTRIAL DR                         KŁODZKO S Z O.O.                     5285 MEADOWS RDSTE 420
LA VERNIA, TX 78121                       UL. PRZEMYSŁOWA 3                    LAKE OSWEGO, OR 97204
                                          JASZKOWA DOLNA 57-312
                                          POLAND



KC TOOL, LLC                              KCB COMPANIES, LLC                   KCM MARKETING
1280 N WINCHESTER ST                      8231 214TH ST W, STE 2               DEPT. LA 23395
OLATHE, KS 66061                          LAKEVILLE, MN 55044                  PASADENA, CA 91185




KECK, KELTON                              KECK, MADISON                        KEELEY CONSTRUCTION GROUP, INC.
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                    500 S EWING AVENUE SUITE G
                                                                               ST. LOUIS, MO 63103




KEEN TRANSPORT, INC.                      KEENE, DAVID                         KEEPER SECURITY INC
1951 HARRISBURG PIKE                      [ADDRESS ON FILE]                    820 WEST JACKSON BLVD, SUITE 400
CARLISLE, PA 17015-7304                                                        CHICAGO, IL 60607
KEISLING, NATHANIEL       Case 25-10258-TMH      Doc 32
                                        KEISTER, DRU          Filed 02/19/25   Page 82TYLER
                                                                                 KEITH, of 171
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




KELLER BENVENUTTI KIM LLP               KELLER, HAROLD                            KELLEY BROS OF ARIZONA INC
650 CALIFORNIA STREET, STE 1900         [ADDRESS ON FILE]                         3440 NORTH 27TH AVE
SAN FRANCISCO, CA 94108                                                           PHOENIX, AZ 85017




KELLY, VAUGHN                           KEMLO, GORDON                             KEMPF, JOHN
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




KEMPSTON CONTROLS                       KENMODE TOOL AND ENGINEERING, INC.        KENTUCKY DEPT OF
SHIRLEY ROAD, NORTHANTS                 820 W. ALGONQUIN ROAD                     ENVIRONMENTAL PROTECTION
RUSHDEN NN10                            ALGONQUIN, IL 60102                       300 SOWER BLVD
UNITED KINGDOM                                                                    FRANKFORT, KY 40601




KENTUCKY MOTOR VEHICLE COMMISSION       KENTUCKY STATE TREASURER                  KENTUCKY STATE TREASURER
200 MERO STREET, 3RD FLOOR WEST         200 MERO STREET, 3RD FLOOR WEST           UNCLAIMED PROPERTY DIVISION
FRANKFORT, KY 40622                     FRANKFORT, KY 40601                       1050 US HIGHWAY 127 SOUTH, STE 100
                                                                                  FRANKFORT, KY 40601




KERN, THOMAS M                          KERPAN, CHRISTOPHER                       KESSON, SPENCER
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




KEWALE, YATIN                           KEY BANK                                  KEY EQUIPMENT FINANCE
[ADDRESS ON FILE]                       127 PUBLIC SQUARE                         A DIV OF KEYBANK NA
                                        CLEVELAND, OH 44114                       1000 S MCCASLIN BLVD
                                                                                  SUPERIOR, CO 80027




KEYBANK NATIONAL ASSOCIATION            KEYBANK NATIONAL ASSOCIATION              KEYENCE CORPORATION OF AMERICA
1000 SOUTH MCCASLIN BLVD                BOX 74225. 4910 TIEDEMAN ROAD             669 RIVER DRIVE, SUITE 403
SUPERIOR, CO 80027                      CLEVELAND, OH 44144                       ELMWOOD PARK, NJ 07407




KEYSIGHT TECHNOLOGIES, INC.             KEYSTONE AUTOMOTIVE INDUSTRIES, INC       KEYSTONE COMPLIANCE, LLC
32837 COLLECTION CENTER DRIVE           5670 S 32ND STREET                        131 N COLUMBUS INNERBELT
CHICAGO, IL 60693                       PHOENIX, AZ 85040                         NEW CASTLE, PA 16101




KEYSTONE ENGINEERING INC.               KFORCE INC                                KFORCE INC
1100 WEST CAUSEWAY APPROACH             1150 ASSEMBLY DR, STE 500                 PO BOX 277997
MANDEVILLE, LA 70471                    TAMPA, FL 33607                           ATLANTA, GA 30384
KHAN, AZIZ               Case 25-10258-TMH      Doc 32
                                       KHAN, JEHANZEB        Filed 02/19/25   Page 83MOHAMMAD
                                                                                KHAN, of 171
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




KHAN, SHIRAZ                           KHARE, PRASAD                            KHATTRI, SANJIV
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




KHESE, ROMEY                           KHOT, MAHANTESH                          KICK SYSTEMS INC.
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        2411 FONDREN RD, 1207
                                                                                HOUSTON, TX 77063




KIESSIG, JOSEPH                        KIEZIK CONSULTING LTD                    KIM, DONGHWAN
[ADDRESS ON FILE]                      15 HURON STREET                          [ADDRESS ON FILE]
                                       DEVON, AB T9G 1G4
                                       CANADA




KIMCO DISTRIBUTING A DIV OF HISCO      KIMLER, TYLER                            KINCAID, ZACHARY
7150 HART ST. A10                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]
MENTOR, OH 44060




KING & SPALDING LLP                    KING & SPALDING LLP                      KING FIO TRUCKING, LLC
1180 PEACHTREE ST NE, STE 1600         PO BOX 116133                            3553 ATLANTIC AVE. STE B 1329
ATLANTA, GA 30309                      ATLANTA, GA 30368                        LONG BEACH, CA 90807




KING, MILES                            KINGS ENERGY SERVICES LTD                KIRBY EADES GALE BAKER
[ADDRESS ON FILE]                      277 BURNT PARK DRIVE                     [ADDRESS ON FILE]
                                       RED DEER COUNTY, AB T4S 0K7
                                       CANADA




KIRKLAND & ELLIS LLP                   KISTLER INSTRUMENT CORPORATION           KL COATINGS, INC.
300 NORTH LASALLE ST                   75 JOHN GLENN DRIVE                      16463 PHOEBE AVENUE
CHICAGO, IL 60654                      AMHERST, NY 14228                        LA MIRADA, CA 90638




KLAPTHOR, JENNIFER                     KLEESE, AUSTIN O.                        KLEESE, BRETT
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




KLEESE, COLLIN                         KLEIN, DANIEL                            KLOECKNER METALS CORPORATION
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        500 COLONIAL CENTER PKWY, STE 500
                                                                                ROSWELL, GA 30076
                      Case 25-10258-TMH
KLOECKNER METALS CORPORATION                 Doc 32
                                    KLUMPP, MARK            Filed 02/19/25   Page 84 of
                                                                               KNIGHT    171
                                                                                      INDUSTRIES & ASSOCIATES, INC
PO BOX 741824                       [ADDRESS ON FILE]                           2705 COMMERCE PARKWAY
LOS ANGELES, CA 90074                                                           AUBURN HILLS, MI 48326




KNIGHT TRANSPORTATION INC.           KNIGHT-SWIFT TRANSPORTATION HOLDING        KNIGHT-SWIFT TRANSPORTATION HOLDING
2002 W. WAHALLA LN.                  2002 W WAHALLA LN                          PO BOX 643985
PHOENIX, AZ 85027                    PHOENIX, AZ 85027                          PITTSBURGH, PA 15264




KNM INDUSTRIES                       KNM INDUSTRIES                             KNOBLACH, ANDREW
1768 KENNETH ST                      PO BOX 56380                               [ADDRESS ON FILE]
SEASIDE, CA 93955                    CHICAGO, IL 60656




KNORR BRAKE HOLDING CORPORATION      KNORR BRAKE HOLDING CORPORATION            KNORR BRAKE HOLDING CORPORATION
1 ARTHUR PECK DR                     1850 RIVERFORK DR                          90 FINEGAN ROAD
WESTMINSTER, MD 21157                HUNTINGTON, IN 46750                       DEL RIO, TX 78840




KNOWBE4 INC                          KNOX                                       KOAM, LLC
33 N GARDEN AVE, STE 1200            301 W. HINTZ RD. E02                       2401 INDUSTRIAL BLVD, STE 2
CLEARWATER, FL 33755                 WHEELING, IL 60090                         OPELIKA, AL 36801




KOBYLANSKI, PATRICK                  KOCHI CORPORATION                          KODASH, INC.
[ADDRESS ON FILE]                    24050 MADISON ST 100G                      17744 SKY PARK CIRCLE. STE 100
                                     TORRANCE, CA 90505                         IRVINE, CA 92614




KOELLE, NEIL                         KOLB DESIGN TECHNOLOGY GMBH & CO KG        KOLHAR, ARVIND
[ADDRESS ON FILE]                    JOSEF-WALLNER-STRABE 5 A                   [ADDRESS ON FILE]
                                     DEGGENDORF 94469
                                     GERMANY




KOLHOFF, JAMES B                     KOLON INDUSTRIES, INC.                     KOMAN, DANIEL
[ADDRESS ON FILE]                    110, MAGOKDONG-RO, GANGSEO-GU              [ADDRESS ON FILE]
                                     SEOUL 07793
                                     SOUTH KOREA




KONECRANES, INC.                     KONECRANES, INC.                           KONGSBERG ACTUATION SYSTEMS II, LLC
4401 GATEWAY BLVD                    PO BOX 641807                              ONE FIRESTONE DRIVE
SPRINGFIELD, OH 45502                PITTSBURGH, PA 15264                       SUFFIELD, CT 06078




KONGSBERG DRIVELINE SYSTEMS SAS      KONGSBERG POWER PRODUCTS SYSTEMS I         KORCEK, REANNA
650 AVENUE DE LA REPUBLIQUE          300 S COCHRAN ST                           [ADDRESS ON FILE]
CLUSES 74300                         WILLIS, TX 77378-9034
FRANCE
KORTICK, KRISTEN         Case 25-10258-TMH    Doc
                                       KOUROUPAS,   32 Filed 02/19/25
                                                  STYLIANOS              Page 85 RYAN
                                                                           KOZIN, of 171
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                    [ADDRESS ON FILE]




KOZINER, PABLO                         KP INDUSTRIAL INC                    KPIT TECHNOLOGIES INC.
[ADDRESS ON FILE]                      7225 W ROOSEVELT ST STE. 172         21333 HAGGERTY RD., STE 100
                                       PHOENIX, AZ 85043                    NOVI, MI 48375




KPMG AG WPG                            KPMG LLP                             KRAH ELEKTRONISCHE BAUELEMENTE
POSTFACH 97 01 25                      PO BOX 120922 DEPT 922               GMBH
BERLIN 12701                           DALLAS, TX 75312                     MARKISCHE STRABE 4
GERMANY                                                                     DROLSHAGEN 57489
                                                                            GERMANY



KRAJESKI, WILLIAM                      KRATZER S.R.O.                       KRAYDEN
[ADDRESS ON FILE]                      DOLECKA 15                           1491 WEST 124TH AVENUE
                                       JAROMER 551 01                       WESTMINSTER, CO 80234
                                       CZECHIA




KREISEL ELECTRIC GMBH & CO KG          KREPS, ROBERT                        KRISHNA SOMARA, VAMSI
4261 RAINBACH KESSELSTRAßE 1           [ADDRESS ON FILE]                    [ADDRESS ON FILE]
STUTTGART 70327
GERMANY




KROHNE INC                             KROLL ASSOCIATES INC                 KROLL ASSOCIATES INC
55 CHERRY HILL DRIVE                   ONE WORLD TRADE CENTER               PO BOX 847509
BEVERLY, MA 01915                      285 FULTON ST, 31ST FL               DALLAS, TX 75284-7509
                                       NEW YORK, NY 10007




KRONBERGER, BRITNEY                    KRONBERGER, WARREN                   KRONER, KARL
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                    [ADDRESS ON FILE]




KSR INTERNATIONAL INC.                 KUANG KUAN, CHIH                     KUEHNE NAGLE INC
67 WATSON RD S UNIT 3                  [ADDRESS ON FILE]                    10 EXCHANGE PL, 19TH FL
GUELPH, ON N1L 1E3                                                          JERSEY CITY, NJ 07302
CANADA




KUEHNE NAGLE INC                       KUJALA, TARA                         KUKA ROBOTICS CORPORATION
PO BOX 894095                          [ADDRESS ON FILE]                    51870 SHELBY PARKWAY
LOS ANGELES, CA 90189                                                       SHELBY TOWNSHIP, MI 48315




KUMAR THAMMU, SAPHAL                   KUNSHAN GUOLI YUANTONG               KUNTJORO, ANDREW MICHAEL
[ADDRESS ON FILE]                      NEW ENERGY TECHNOLOGY CO., LTD.      [ADDRESS ON FILE]
                                       XIHU ROAD 28
                                       KUNSHAN, JIANGSU 215334
                                       CHINA
KUNWAR, ALUS             Case 25-10258-TMH      Doc 32
                                       KURIAN, JOHN         Filed 02/19/25   Page 86 of 171
                                                                               KURTULUS, ORKAN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




KURTULUS, ORKAN                        KURUSHBAYEVA, SANDUGASH                  KURUSHBAYEVA, SANDUGASH
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




KUTAK ROCK LLP                         KVL TIRES INC                            KYOCERA AVX COMPONENTS CORPORATION
ATTN KELLY REYNOLDSON, NATHAN          10156 LIVE OAK AVE                       1 AVX BOULEVARD
HUMPHREY                               FONTANA, CA 92335                        FOUNTAIN INN, SC 29644
1801 CALIFORNIA STREET, SUITE 3000
DENVER, CO 80202



K-ZELL METALS, INC.                    L&M TIRE LLC                             L&T TECHNOLOGY SERVICES LIMITED
1725 E. BROADWAY RD.                   2307 MCCLAIN RD                          2035 LINCOLN HIGHWAY, STE 3002
PHOENIX, AZ 85040                      LIMA, OH 45804                           EDISON, NJ 08817




L.S.L. MARCHESE VITTORINO SRL          LACHENAUER, MICHAEL                      LACKNER CONSULTING LLC
VIA REISS ROMOLI, 122/10 F             [ADDRESS ON FILE]                        4737 E VALLEY VISTA LANE
TORINO, TO 10148                                                                PARADISE VALLEY, AZ 85253
ITALY




LACLAIRE, PAUL                         LACO TECHNOLOGIES                        LAGUNA ENT INC
[ADDRESS ON FILE]                      3085 W DIRECTORS ROW                     9100 E VALLEY RD
                                       SALT LAKE CITY, UT 84104                 PRESCOTT VALLEY, AZ 86314




LAIRD PLASTICS INC                     LAIRD S.R.O.                             LAIRD TECHNOLOGIES INC
4219 E BROADWAY RD. STE 104            PRUMYSLOVA 497                           16401 SWINGLEY RIDGE RD. STE 700
PHOENIX, AZ 85040                      LIBEREC 463 12                           CHESTERFIELD, MO 63017
                                       CZECHIA




LALDIN, OMAR                           LALITHAMMA PURUSHOTHAMAN NAIR,           LALITYA MULLAPUDI, SAI
[ADDRESS ON FILE]                      DILEEP                                   [ADDRESS ON FILE]
                                       [ADDRESS ON FILE]




LAM S.P.A                              LAM, KEVIN                               LAMADRID, ALAN
VIA GUIDO ROSSA, 4                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]
SPILAMBERTO MODENA 41057
ITALY




LAMB, HILARY                           LAMB, SARAH                              LAMBDA, INC.
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        DEPT LA 25512
                                                                                PASADENA, CA 91185
LAMBERT GLOBAL, LLC      Case 25-10258-TMH
                                       LAMBERT, Doc 32 Filed 02/19/25
                                                GREGORY                      Page 87 of REACE
                                                                               LAMBERT, 171
47 COMMERCE AVE SW                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]
GRAND RAPIDS, MI 49503




LAMERE, SONYA                          LAMINA Y PLACA COMERCIAL, S. A. DE       LAMPERT, BRANDON
[ADDRESS ON FILE]                      CALLE OCAMPO PONIENTE 250 PISO 6 A       [ADDRESS ON FILE]
                                       MONTERREY, NL 64000
                                       MEXICO




LAMRANI, IMANE                         LANE, JEREMY                             LAPORTE, JOHN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LARA CASHIERS OFFICE                   LARA CASHIERS OFFICE                     LATHAM & WATKINS LLP
2407 NORTH GRAND RIVER AVE             PO BOX 30670                             355 SOUTH GRAND AVE, STE 100
LANSING, MI 48906                      LANSING, MI 48909                        LOS ANGELES, CA 90071




LATHAM & WATKINS LLP                   LAUDA-BRINKMANN, LP                      LAW OFFICES OF MICHELE VAN QUATHEM,
PO BOX 7247-8181                       9 EAST STOW ROAD, SUITE C                7600 N. 15TH ST., SUITE 150
PHILADELPHIA, PA 19170                 MARLTON, NJ 08053                        PHOENIX, AZ 85020




LAWSON, CONNOR                         LAWSON, LAWRENCE                         LEAD MANUFACTURING (HK) GROUP LIMIT
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        5F, BUILDING 3, JINYUDA INDUSTRIAL
                                                                                SHENZHEN CITY 51810
                                                                                CHINA




LEAD PLAINTIFFS GEORGE MERSHO &        LEAD PLAINTIFFS GEORGE MERSHO &          LEAD TRUCKING INC
VINCENT CHAU C/O BLOCK & LEVITON       VINCENT CHAU C/O POMERANTZ LLP           1086 BUNTING WAY
ATTN J BLOCK, J WALKER, M GAINES       ATTN J. LIEBERMAN, M. WERNKE             PERRIS, CA 92571
260 FRANKLIN ST, STE 1860              600 THIRD AVE, 20TH FL
BOSTON, MA 02110                       NEW YORK, NY 10016



LEAL CASTILLO, ARIADNA                 LEAL, DANIEL                             LEAN COACHING INC
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        6 PARKLANE BLVD, STE 667
                                                                                DEARBORN, MI 48126




LEANIX, INC.                           LEARNING TREE INTERNATIONAL USA, IN      LEE TAM, WILLIANS
1900 WEST LOOP SOUTH. STE 1550         DEPT. AT 952907                          [ADDRESS ON FILE]
HOUSTON, TX 77027                      ATLANTA, GA 31192




LEE, DOHEON                            LEE, FABIAN                              LEE, JAESEUNG
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]
LEE, MICHAEL               Case 25-10258-TMH      Doc 32
                                         LEESE, DAVID        Filed 02/19/25    Page 88 of
                                                                                 LEGACY   171
                                                                                        COMPONENTS LLC.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        4613 N. CLARK AVE.
                                                                                  TAMPA, FL 33614




LEGAL RESOURCES GROUP LLC                LEGATE, CAMERON                          LEHIGH OUTFITTERS, LLC
2877 GUARDIAN LN, STE 101                [ADDRESS ON FILE]                        39 E CANAL ST
VIRGINIA BEACH, VA 23452                                                          NELSONVILLE, OH 45764-1247




LEIGHA SIMONTON                          LEKSELL, DANIELLE                        LEM USA INC
US ATTORNEYS OFFICE                      [ADDRESS ON FILE]                        BIN 88054
BURNETT PLAZA, STE 1700                                                           MILWAUKEE, WI 53288
801 CHERRY ST, UNIT 4
FT. WORTH, TX 76102-6882



LEMOINE, CHRISTOPHER                     LENOVO GLOBAL TECHNOLOGY                 LENZ, INC
[ADDRESS ON FILE]                        UNITED ST INC.                           1880 GARDEN TRACT RD
                                         8001 DEVELOPMENT DRIVE                   RICHMOND, CA 94801
                                         MORRISVILLE, NC 27560




LEON ESCOBEDO, ALDO                      LEON GUTIERREZ, MIGUEL                   LEON, ALEXIA
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LEONI BORDNETZ-SYSTEME GMBH              LEONI ENGINEERING PRODUCTS & SERVIC      LEPARD CONSULTING LLC
FLUGPLATZSTRASSE 74                      INC                                      9000 OAKMONT VALLEY DRIVE
KITZINGEN 97318                          100 KAY INDUSTRIAL DRIVE                 OKLAHOMA CITY, OK 73131
GERMANY                                  LAKE ORION, MI 48359




LESSNER, JOHN                            LEVEL 3 FINANCING, INC.                  LEVEL 3 FINANCING, INC.
[ADDRESS ON FILE]                        1025 ELDORADO BLVD, STE 4000             PO BOX 910182
                                         BROOMFIELD, CO 80021-8255                DENVER, CO 80291




LEVEL 7 TECHNOLOGIES, LLC                LEVELPATH, INC.                          LEVIATHAN CORPORATION
570 W SOUTHERN AVE                       50 FREMONT ST., STE 2250                 55 WASHINGTON ST., STE 457
TEMPE, AZ 85282                          SAN FRANCISCO, CA 94105                  BROOKLYN, NY 11201




LEW, BRYON                               LEWELLING, WENDY                         LEWIS, ANDREW
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LEWIS, MICHAEL                           LEYLAND HOSE & SILICONE SERVICES         LEYVA, ROMAN
[ADDRESS ON FILE]                        UNIT 3, CENTURION COURT, CENTURION       [ADDRESS ON FILE]
                                         LEYLAND PR25
                                         UNITED KINGDOM
LG ENERGY SOLUTION LTD Case 25-10258-TMH      Doc 32SOLUTIONS,
                                     LHP ENGINEERING    Filed 02/19/25
                                                               LLC          Page   89 of 171
                                                                              LI, LIN
TOWER 1, 108, YEOUI-DAERO, YEONGDEU  305 FRANKLIN ST.                          [ADDRESS ON FILE]
SEOUL 07336                          COLUMBUS, IN 47201
SOUTH KOREA




LI, XIANG                             LI, XIANMING                             LI, YUAN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LIAN, XIAOJIAN                        LIAN-MUELLER ENTERPRISES, INC.           LIBERTY FENCE & SUPPLY, LLC
[ADDRESS ON FILE]                     2020 FIELDSTONE PKWY., SUITE 900-99      2225 S. 15TH PLACE
                                      FRANKLIN, TN 37069                       PHOENIX, AZ 85034




LIBERTY MUTUAL INSURANCE              LIBERTY MUTUAL INSURANCE                 LICANO, STEVE
175 BERKELEY ST                       PO BOX 91012                             [ADDRESS ON FILE]
BOSTON, MA 02116                      CHICAGO, IL 60680




LICARI, SHANE                         LI-CYCLE INC.                            LI-CYCLE U.S. INC.
[ADDRESS ON FILE]                     100 LATONA ROAD, BUILDING 350            55 MCLAUGHLIN RD.
                                      ROCHESTER, NY 14652                      ROCHESTER, NY 14615




LIFE INSURANCE COMPANY OF NORTH AME   LIFTING TECHNOLOGIES LLC                 LIGHTHOUSE DOCUMENT TECHNOLOGIES, I
1601 CHESTNUT DT, TL 09 A             7406 RACETRACK DR                        51 UNIVERSITY STREET, SUITE 400
PHILADELPHIA, PA 19101                MISSOULA, MT 59808                       SEATTLE, WA 98101




LIGHTING UNLIMITED INC                LIGHTNING EMOTORS                        LIGHTNING EMOTORS
1550 E WASHINGTON ST                  FOLEY & LARDNER LLP                      FOLEY & LARDNER LLP
PHOENIX, AZ 85034                     ATTN KELSEY C BOEHM                      ATTN VANESSA MILLER
                                      1400 16TH ST, STE 200                    500 WOODWARD AVE
                                      DENVER, CO 80202                         DETROIT, MI 48226



LINAN SALAZAR, ERIK                   LINDE ENGINEERING NORTH AMERICA LLC      LINDE GAS & EQUIPMENT INC.
[ADDRESS ON FILE]                     1585 SAWDUST RD, STE 100                 PO BOX 120812. DEPT 0812
                                      THE WOODLANDS, TX 77380                  DALLAS, TX 75312




LINDE HYDROGEN FUELTECH GMBH          LINDE INC.                               LINK ENGINEERING COMPANY
ERDBERGSTRASSE 197 – 199              10 RIVERVIEW DR                          401 SOUTHFIELD ROAD
VIENNA 1030                           DANBURY, CT 06810                        DEARBORN, MI 48120
AUSTRIA




LINKAGE DESIGN LLC                    LINKEDIN CORPORATION                     LINKER, DEVEN
306 S WASHINGTON AVE SUITE 221        62228 COLLECTIONS CENTER DRIVE           [ADDRESS ON FILE]
ROYAL OAK, MI 48067                   CHICAGO, IL 60693
LION ELECTRIC COMPANY Case 25-10258-TMH      DocCOMPANY
                                    LION ELECTRIC 32 Filed 02/19/25      Page
                                                                           LION90 of 171COMPANY
                                                                                ELECTRIC
BABST CALLAND CLEMENTS & ZOMNIR PC  BABST CALLAND CLEMENTS & ZOMNIR PC      BLANK ROME LLP
ATTN CASEY ALAN COYLE;, STEFANI     ATTN ERIC MICHAEL SPADA; MARK D         ATTN CHRISTINA MANFREDI MCKINLEY
PITCAVAGE MEKILO                    SHEPARD                                 501 GRANT ST, STE 850
409 N 2ND ST, STE 201               603 STANWIX ST, 6TH FL                  PITTSBURGH, PA 15219
HARRISBURG, PA 17101                PITTSBURGH, PA 15222


LION ELECTRIC COMPANY                LION ELECTRIC COMPANY                  LIONHEART SECURITY SERVICES LLC
SANDERS & PARKS PC                   SHOOK HARDY & BACON LLP                505 S 48TH ST STE 102
ATTN J STEVEN SPARKS                 ATTN ADAM LAURIDSEN; COLM ANTHONY      TEMPE, AZ 85281
3030 N 3RD ST, STE 1300              MORAN;, ROBERT FEYDER
PHOENIX, AZ 85012                    2121 AVE OF THE STARS, STE 1400
                                     LOS ANGELES, CA 90067-3204


LIQUIDITY SERVICES OPERATIONS, LLC   LISSMAC CORPORATION                    LITHION BATTERY INC
6931 ARLINGTON ROAD, STE 460         17 ROUTE 146                           1350 WIGWAM PARKWAY
BETHESDA, MD 20814                   MECHANICVILLE, NY 12118                HENDERSON, NV 89074




LITT, ERIC                           LITTELFUSE, INC.                       LIU, TING-WEI
[ADDRESS ON FILE]                    8755 W HIGGINS RD                      [ADDRESS ON FILE]
                                     CHICAGO, IL 60631-2708




LIU, XUAN                            LIVINGSTON INTERNATIONAL INC.          LIVONIA TECHNICAL SERVICES COMPANY
[ADDRESS ON FILE]                    405 THE WEST MALL, STE 400             14851 CHANCEY STREET
                                     TORONTO, ON M9C 5K7                    ADDISON, TX 75001
                                     CANADA




LLANES VILLEGAS, CARLOS              LLANOS, NESTOR                         LOEW, TERA
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]




LOEWENTHAL, KENNETH                  LOFTIN EQUIPMENT CO                    LOGICMONITOR, INC.
[ADDRESS ON FILE]                    1220 N 52ND ST                         820 STATE ST, FL 5
                                     PHOENIX, AZ 85008                      SANTA BARBARA, CA 93101




LOHSCHELLER, MICHAEL                 LOKE WALSH IMMIGRATION LAW, PC         LOMELI, ANTHONY
[ADDRESS ON FILE]                    10555 JEFFERSON BLVD. STE A            [ADDRESS ON FILE]
                                     CULVER CITY, CA 90232




LOMONT, ED                           LONE WORKER SOLUTIONS                  LONEPEAK VALUATION GROUP
[ADDRESS ON FILE]                    2C CROWN BUSINESS PARK                 36 SOUTH STATE ST SUITE 500
                                     COWP TOP LANE                          SALT LAKE CITY, UT 84111
                                     ROCHDALE, LANCASHIRE OL11 2PU
                                     ENGLAND



LONG, TRAVIS                         LONGE, WADE                            LOOMIS, BRIAN
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]
LOPEZ GARCIA, ALAN      Case 25-10258-TMH      Doc 32
                                      LOPEZ, BENJAMIN      Filed 02/19/25   Page 91 GILBERTO
                                                                              LOPEZ, of 171
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LOPEZ, IAN                            LOPEZ, JESSE                             LOPEZ, JOE
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LOPEZ, LESLI                          LOPEZ, MATHEW                            LOPEZ, MAXIMILIANO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LOPEZ, PEDRO                          LOPEZ, RICHARD                           LOPEZ, SAMUEL
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LOPEZ, SIAS                           LORD ITALIA S.R.L.                       LORENTSEN, ERIN
[ADDRESS ON FILE]                     VIA MOSCATELLO 64                        [ADDRESS ON FILE]
                                      MONZAMBANO (MN) 46040
                                      ITALY




LOS ANGELES DEPARTMENT OF WATER & P   LOSON, KEVIN                             LOSUNG DO BRASIL SISTEMAS INDUSTRIA
111 N HOPE ST                         [ADDRESS ON FILE]                        LTDA
LOS ANGELES, CA 90012                                                          4141 E BROADWAY RD
                                                                               PHOENIX 85040




LOTTE GLOBAL LOGISTICS (NORTH AMERI   LOUDENBECK, ANDREW                       LOVEALL, JOSHUA
INC.                                  [ADDRESS ON FILE]                        [ADDRESS ON FILE]
800 MITTEL DR
WOOD DALE, IL 60191




LOWE, NICHOLAS                        LOYA, MIGUEL                             LOYO PENAFIEL, CINTHIA
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LP STEEL INDUSTRIES                   LRQA INC.                                LRQA, INC
36719 W HWY 84                        1 TRINITY PARK                           P.O. BOX 301030
STANFIELD, AZ 85172                   BICKENHILL LN                            DALLAS, TX 75303
                                      BIRMINGHAM B37 7ES
                                      UNITED KINGDOM



LTD PARTY AND EQUIPMENT RENTALS LLC   LUCERO, TREVOR                           LUCID SOFTWARE INC.
502 S COLLEGE AVE                     [ADDRESS ON FILE]                        10355 SOUTH JORDAN GATEWAY, SUITE 3
TEMPE, AZ 85281                                                                SOUTH JORDAN, UT 84095
LUDECA, INC.             Case 25-10258-TMH     Doc 32 Filed 02/19/25
                                       LUDWIG-BOLKOW-SYSTEMTECHNIK GMBH       Page 92ARTURO
                                                                                LUGO, of 171RAMIREZ
1425 NW 88TH AVENUE                     DAIMLERSTRABE 15                         [ADDRESS ON FILE]
DORAL, FL 33172                         OTTOBRUNN 85521
                                        GERMANY




LUGO, MICHAEL                           LUIS BERRIEL RODRIGUEZ, JOSE             LUIS MIGUEL DE LA ROSA HERNANDEZ
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




LUIS ROBLES VALENZUELA, JORGE           LUMINAR TECHNOLOGIES INC.                LVT, LLC
[ADDRESS ON FILE]                       2603 DISCOVERY DRIVE, SUITE 100          9725 SOUTH 500 WEST
                                        ORLANDO, FL 32826                        SANDY, UT 84070




LYDALL INC.                             LYS FUSION POLAND SP. Z O. O.            M CULINARY CONCEPTS, INC
1245 BUCK SHOALS ROAD                   ISTEBNA 1222                             20645 N 28TH STREET
HAMPTONVILLE, NC 27020                  ISTEBNA 4347                             PHOENIX, AZ 85050
                                        POLAND




M G L S.R.O.                            M.M. NEWMAN CORPORATION                  M1 CONCOURSE
POHOR 54                                24 TIOGA WAY                             1 CONCOURSE DRIVE
ODRY 742 35                             MARBLEHEAD, MA 01945                     PONTIAC, MI 48341
CZECHIA




MA S.R.L.                               MAACK, PAUL                              MAANDI, TARUN
VIA ALESSANDRIA 4                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]
RIVOLI, TO 10098
ITALY




MABEY, WRIGHT & JAMES PLLC              MACALLISTER MACHINERY CO., INC.          MACALLISTER MACHINERY CO., INC.
175 SOUTH MAIN 1330                     DEPT. 78731 P.O. BOX 78000               PO BOX 77000. DEPT 77576
SALT LAKE CITY, UT 84111                DETROIT, MI 48278                        DETROIT, MI 48277




MACBEATH HARDWOOD COMPANY               MACETONIA SA DE CV                       MACK TRUCKS INC
20 N KYLE ST                            ACCESO 1 NO. 128 FRACCIONAMIENTO IN      7900 NATIONAL SERVICE RD
EDINBURGH, IN 46124                     QUERETARO, QE 76150                      GREENSBORO, NC 27409
                                        MEXICO




MACK TRUCKS, INC.                       MACPHERSON WESTERN TOOL & SUPPLY         MACWAY UHL, LLC
1815 ROLLINS ROAD                       CO LLC                                   160 FRONT STREET
BURLINGAME, CA 94010                    DEPT LA, LOCKBOX 22504                   MARBLEHEAD, MA 01945
                                        PASADENA, CA 91185




MADDINENI, YASHWANTH                    MADDOX INDUSTRIAL TRANSFORMER, LLC       MADRID, MIKE
[ADDRESS ON FILE]                       865 VICTOR HILL RD                       [ADDRESS ON FILE]
                                        GREER, SC 29651
MAESTAS, PAUL              Case 25-10258-TMH      Doc 32
                                         MAGEE, JESS            Filed 02/19/25   Page 93GLOVE
                                                                                   MAGID of 171
                                                                                              & SAFETY MANUFACTURING
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          LLC.
                                                                                    1300 NAPERVILLE DR
                                                                                    ROMEOVILLE, IL 60446-1043




MAGID GLOVE AND SAFETY MEG               MAGINOT, MOORE & BECK LLP                  MAGNA LIGHTING - OLSA SPA
1300 NAPERVILLE DR                       1 INDIANA SQUARE SUITE 2200                CORSO ALLAMANO 70
ROMEOVEILLE, IL 60446                    INDIANAPOLOIS, IN 46204                    RIVOLI 10098
                                                                                    ITALY




MAGNA-POWER ELECTRONICS, INC.            MAGOVSKI, STANISLAV                        MAHAFFEY USA LLC
39 ROYAL ROAD                            [ADDRESS ON FILE]                          4201 DELP ST
FLEMINGTON, NJ 08822                                                                MEMPHIS, TN 38118




MAHAMUNI, PRATIK                         MAHLE BEHR GMBH & CO. KG                   MAHLE COMPRESSORS HUNGARY KFT.
[ADDRESS ON FILE]                        MAUSSERSTRASSE 3                           SZUGYI UT, DELI IPARTERULET
                                         STUTTGART 70469                            BALASSAGYARMAT 2660
                                         GERMANY                                    HUNGARY




MAHLE ELECTRONICS S.L.U.                 MAHLE MANUFACTURING MANAGEMENT, INC        MAHYTEC
POLJE155890 SEMPETER PRI GORICI,         23030 MAHLE DRIVE                          6 RUE LEON BEL
NOVA GORICA 5290                         FARMINGTON HILLS, MI 48335                 DOLE 39100
SLOVENIA                                                                            FRANCE




MAIN ELECTRIC SUPPLY COMPANY LLC         MAINFREIGHT INC                            MAINSPRING COTTON CENTER LLC
4226 E LA PALMA AVE                      1400 GLEN CURTISS ST                       8925 E PIMA CENTER PKWYSTE 200
ANAHEIM, CA 92807                        CARSON, CA 90746                           SCOTTSDALE, AZ 85258




MAINSPRING COTTON CENTER, LLC            MAIWALD GMBH                               MAJD, KEYVAN
ATTN MILLS BROWN                         RECHTSANWALTSGESELLSCHAFT MBH              [ADDRESS ON FILE]
8925 E PIMA CENTER PARKWAY., 200         KONIGSALEE 92 A
SCOTTSDALE, AZ 85258, AZ 85258           DUSSELDORF 40212
                                         GERMANY



MAK INDUSTRIES, LLC                      MAKA, LUELENI                              MAKE A WISH FOUNDATION OF ARIZONA,
3380 S POWER RD. STE 114                 [ADDRESS ON FILE]                          2901 N 78TH ST
GILBERT, AZ 85234                                                                   SCOTTSDALE, AZ 85251




MAKO OILFIELD SERVICES, LLC              MALDONADO, ROBERT                          MALLONEE JR., RICHARD
12633 REED RD.                           [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SUGAR LAND, TX 77478




MALONEY, JOHN                            MAMAVA, INC.                               MANAFLEX LLC
[ADDRESS ON FILE]                        180 BATTERY ST. SUITE 210                  36710 MATIZ CMN
                                         BURLINGTON, VT 05401                       FREMONT, CA 94536
                        Case 25-10258-TMH
MANAS TECHNOLOGY SOLUTIONS                    Doc
                                      MANDALIYA,    32 Filed 02/19/25
                                                 MILANKUMAR                 Page 94 of
                                                                              MANGO    171
                                                                                    TECHNOLOGIES, INC.
LIBERTADOR 550 3R FLOORVTE LOPEZ      [ADDRESS ON FILE]                        DEPT LA 22686
BUENOS AIRES B1636                                                             PASADENA, CA 91185
ARGENTINA




MANIFEST EVENTS LLC                   MANN & HUMMEL PUROLATOR FILTERS, LL      MANNHUMMEL FT POLAND SP. Z O.
38A GROVE STREET, SUITE 203           3200 NATAL ST.                           WROCŁAWSKA 145, STREET
RIDGEFIELD, CT 06877                  FAYETTEVILLE, NC 28306                   GOSTYN 63-800
                                                                               POLAND




MANNHUMMEL MEXICO, S.A. DE C.V.       MANN-HUMMEL USA, INC.                    MANNHUMMEL USA, LLC
VIALIDAD EL PUEBLITO 104, PIQ         VIA DRUENTO 34                           6400 S. SPRINKLE ROAD
SANTA ROSA JAUREGUI 76220             SAN GILLIO, TO 10040                     PORTAGE, MI 49002
MEXICO                                ITALY




MANNHUMMEL                            MANNING CURTIS BRADSHAW & BEDNAR PL      MANNING GROUP
UNIT C, VERNON PARK, FEATHERSTONE     136 EAST SOUTH TEMPLE SUITE 1300         75 N 49TH AVE, STE 2
WOLVERHAMPTON WV10                    SALT LAKE CITY, UT 84111                 PHOENIX, AZ 85043
UNITED KINGDOM




MANNING GROUP                         MANPOWER GROUP US INC                    MANSON MANUFACTURING LLC
PO BOX 1234                           29973 NETWORK PLACE                      50853 CENTURY COURT
LITCHFIELD PARK, AZ 85340             CHICAGO, IL 60673                        WIXOM, MI 48393




MANSOORMOAYAD, BORNA                  MANSUETTI, MICHAEL                       MANSUETTI, MIKE
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




MANUFACTURAS METALICAS ALME SA DE C   MANUFACTURERS DISTRIBUTOR INC.           MANZANO, TIMOTHY ALAN
AV. SANTIGO, NO 63. COL. SAN PEDRO    11205 CHALLENGER AVE                     [ADDRESS ON FILE]
IZTACALCO, CM 08220                   ODESSA, FL 33556
MEXICO




MAP COMMUNICATIONS, INC.              MAR FALLORIN, JESSE                      MARBURY, TINA
555 BELAIRE AVE, 6TH FL               [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CHESAPEAKE, VA 23320




MARELLI AUTOMOTIVE LIGHTING           MAREZ, JORDYN                            MARICOPA COUNTY COMMUNITY COLLEGE
ITALY S A SOCIO UNICO                 [ADDRESS ON FILE]                        DIST
VIA CAVALLO 18                                                                 2323 W 14TH ST
VENARIA REALE 10078                                                            TEMPE, AZ 85281
ITALY



MARICOPA COUNTY ENVIRONMENTAL SERVI   MARICOPA COUNTY TREASURER                MARICOPA COUNTY TREASURER
301 W JEFFERSON, STE 170              301 W JEFFERSON STREET,                  301 WEST JEFFERSON ST, STE 100
PHOENIX, AZ 85003                     SUITE 100                                PHOENIX, AZ 85003
                                      PHOENIX, AZ 85003
                      Case 25-10258-TMH
MARICOPA COUNTY TREASURER                   Doc
                                    MARINESCU,    32
                                               ANDREI    Filed 02/19/25   Page 95 of
                                                                            MARJEN   171LLC
                                                                                   SALES
PO BOX 52133                        [ADDRESS ON FILE]                        1413 E. REDFIELD RD
PHOENIX, AZ 85072                                                            GILBERT, AZ 85234




MARK A. TOTTEN                       MARK A. TOTTEN                          MARK A. TOTTEN
UNITED STATES ATTORNEYS OFFICE       UNITED STATES ATTORNEYS OFFICE          UNITED STATES ATTORNEYS OFFICE
FEDERAL COURTHOUSE, RM 209           HUNTINGTON BANK BLDG, 2ND FL            PO BOX 208
315 W. ALLEGAN                       1930 US 41 W                            GRAND RAPIDS, MI 48501-0208
LANSING, MI 48933                    MARQUETTE, MI 49855



MARK THOMAS & COMPANY, INC.          MARKENZY LAPOINTE                       MARKENZY LAPOINTE
2833 JUNCTION AVENUE, SUITE 110      US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE
SAN JOSE, CA 95134                   101 S US 1, STE 3100                    301 SIMONTON ST
                                     FT. PIERCE, FL 34950                    KEY WEST, FL 33040




MARKENZY LAPOINTE                    MARKENZY LAPOINTE                       MARKENZY LAPOINTE
US ATTORNEYS OFFICE                  US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE
500 E BROWARD BLVD                   500 S AUSTRALIAN AVE STE 400            99 NE 4TH ST
FT. LAUDERDALE, FL 33394             W. PALM BEACH, FL 33401                 MIAMI, FL 33132




MARKIEWICZ & SROCZYNSKI              MARKKASSERY, ABHILASH                   MARLEY, WILLIAM
KANCELARIA RADCOW                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]
PRAWNYCH SP.J.UL.SW. TOMASZA 34/1
KRAKOW 3102
POLAND



MARQUEZ, ANGEL                       MARRON SR., THOMAS P.                   MARTHA, RACHANA
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MARTIN, BRYAN                        MARTIN, DEREK                           MARTIN, MARY K.
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MARTINEZ GARDUNO, DANIEL             MARTINEZ MEDINA, ANA                    MARTINEZ VILLARREAL, DAVID
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MARTINEZ, BRAULIO                    MARTINEZ, JOHNNY                        MARTINEZ, JOSE
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MARTINEZ, JOSE                       MARTINEZ, JOSEPH                        MARTINI, AUSTIN
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                       [ADDRESS ON FILE]
MARTORANO, SALVATORE    Case 25-10258-TMH
                                      MARYLANDDoc
                                               DEPT32    Filed 02/19/25
                                                    OF LABOR                Page 96 of 171
                                                                              MARYLAND DEPT OF LABOR
[ADDRESS ON FILE]                      1100 NORTH EUTAW ST                     DIVISION OF LABOR AND INDUSTRY
                                       BALTIMORE, MD 21201                     10946 GOLDEN W DR, STE 160
                                                                               HUNT VALLEY, MD 21031




MARYLAND DEPT OF LABOR                 MARYLAND DEPT OF NATURAL RESOURCES      MARYLAND DEPT OF THE ENVIRONMENT
DIVISION OF UNEMPLOYMENT INSURANCE     580 TAYLOR AVE                          1800 WASHINGTON BLVD
1100 N EUTAW ST                        ANNAPOLIS, MD 21401                     BALTIMORE, MD 21230
BALTIMORE, MD 21201




MARYLAND DEPT. OF TRANSPORTATION       MARYLAND OFFICE OF THE COMPTROLLER      MARYLAND REVENUE ADMIN DIVISION
6601 RITCHIE HIGHWAY                   110 CARROLL ST                          ADMINISTRATION DIVISION
GLEN BURNIE, MD 21062                  BOSTON, MA 02204                        PO BOX 1829
                                                                               ANNAPOLIS, MD 21404




MASKINE LLC                            MASON REFRIGERATION INC                 MASON, BREANNA
1438 W BROADWAY RD. STE 204            2200 N. ARIZONA AVE. STE 18             [ADDRESS ON FILE]
TEMPE, AZ 85282                        CHANDLER, AZ 85225




MASS TRANSPORTATION AUTHORITY          MASSACHUSETTS DEPARTMENT OF             MASSACHUSETTS DEPARTMENT OF
1401 S. DORT HIGHWAY                   REVENUE                                 REVENUE
FLINT, MI 48503                        100 CAMBRIDGE ST                        PO BOX 419257
                                       BOSTON, MA 02204                        BOSTON, MA 02241




MASSACHUSETTS DEPT OF LABOR AND        MASSACHUSETTS EXECUTIVE OFFICE OF       MASSACHUSETTS INSTITUTE OF TECHNOLO
WORKFORCE DEVELOPMENT                  ENERGY AND ENVIRONMENTAL AFFAIRS        600 TECHNOLOGY SQUARE
ONE ASHBURTON PLC, STE 2112            100 CAMBRIDGE ST                        CAMBRIDGE, MA 02139
BOSTON, MA 02108                       9TH FL
                                       BOSTON, MA 02114



MASSACHUSETTS LABOR AND WORKFORCE      MASTER INTERNATIONAL CORPORATION        MATCON MANUFACTURING INC.
DEVT                                   2425 S 21ST ST                          15509 ROUTE 84 N
ONE ASHBURN PLACE, STE 212             PHOENIX, AZ 85034                       CORDOVA, IL 61242
BOSTON, MA 02108




MATE PRECISION TECHNOLOGIES, INC       MATERIAL CONTROL, INC.                  MATIAS CARLOS DAHER
1295 LUND BOULEVARD                    130 SELTZER ROAD                        [ADDRESS ON FILE]
ANOKA, MN 55303                        CROSWELL, MI 48422




MATRIX SERVICE INC                     MATTHEW WARREN, INC.                    MATTHEWS GOLD KENNEDY & SNOW, INC
15 E 5TH ST, STE 1100                  3426 TORINGDON WAY, STE. 100            7600 N 16TH ST. SUITE 240
TULSA, OK 74103                        CHARLOTTE, NC 28277                     PHOENIX, AZ 85020




MAUPIN, JEFFREY                        MAXPRO TECHNOLOGIES, INC.               MAXWELL, JOHN
[ADDRESS ON FILE]                      7728 KLIER DRIVE SOUTH                  [ADDRESS ON FILE]
                                       FAIRVIEW, PA 16415
MAY, GREGORY               Case 25-10258-TMH     Doc 32
                                         MAY, MARSHALL       Filed 02/19/25   Page 97SIMULATION
                                                                                MAYA   of 171 TECHNOLOGIES LTD
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       444 W LAKE ST, STE 1700
                                                                                 CHICAGO, IL 60606




MAYFLOWER TRANSIT, LLC                   MBI INDUSTRIAL MEDICINE INC             MCA CONNECT, LLC
22262 NETWORK PLACE                      PO BOX 29900 DEPT 969                   8055 E. TUFTS AVE, SUITE 1300
CHICAGO, IL 60673                        PHOENIX, AZ 85038                       DENVER, CO 80237




MCCARTHY, ADAM                           MCCARTY, JON                            MCDANIEL, DARRYL
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MCDANIEL, DELSHAWN                       MCDEVITT, JOHN                          MCDONALD, DONALD
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MCDONALD, NATORI                         MCF SAFETY BELTS S.R.L                  MCGOGY, CASEY
[ADDRESS ON FILE]                        VIA PINEROLO, 75                        [ADDRESS ON FILE]
                                         PANCALIERI 10060
                                         ITALY




MCGRATH RENTCORP                         MCGUIREWOODS LLP                        MCIVER, PATRICK
5700 LAS POSITAS RD                      800 EAST CANAL STREET                   [ADDRESS ON FILE]
LIVERMORE, CA 94551-7806                 RICHMOND, VA 23219




MCKAUGHAN, CHRISTOPHER                   MCKEEVER, KENNON                        MCKELLIPS, RYAN
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MCKINNEY VEHICLE SERVICES, INC           MCLAGAN PARTNERS, INC.                  MCLAGAN PARTNERS, INC.
13130 CROSSROADS PKWY S                  320 ATLANTIC AVE, APT D11               PO BOX 100137
CITY OF INDUSTRY, CA 91746               EAST ROCKAWAY, NY 11518-1150            PASADENA, CA 91189




MCMASTER-CARR SUPPLY COMPANY             MCMASTER-CARR SUPPLY COMPANY            MCNICHOLS COMPANY
600 N COUNTY LINE RD                     PO BOX 4355                             2502 N ROCKY POINT DRIVE, SUITE 750
ELMHURST, IL 60126-2081                  CHICAGO, IL 60680                       TAMPA, FL 33607




MCRAE, CHEYANNE                          MDD, INC                                MDG CONNECTED SOLUTIONS, INC.
[ADDRESS ON FILE]                        5000 E 74TH AVE                         220 EXCHANGE DR, SUITE A
                                         COMMERCE CITY, CO 80022                 CRYSTAL LAKE, IL 60014
                       Case 25-10258-TMH
M-DOT-TECH SOLUTIONS LLC             MDT, INC. Doc 32    Filed 02/19/25   Page 98 of SOLUTIONS
                                                                            MECANICA 171       USA INC
300 LENORA ST 1541                   3480 PRESTON RIDGE RD. STE 450          98 SPIT BROOK RD, STE 102
SEATTLE, WA 98121                    ALPHARETTA, GA 30005                    NASHUA, NH 03062




MECHANICAL PRODUCTS SOUTHWEST, LLC    MEDIANT COMMUNICATIONS INC             MEDINA JUAREZ, JULIO
2620 E. ROSE GARDEN LANE, STE 1       55 BROADWAY, 8TH FL                    [ADDRESS ON FILE]
PHOENIX, AZ 85050                     NEW YORK, NY 10006




MEDINA JUAREZ, ROSA                   MEDINA, ANA MARTINEZ                   MEDINA, DIEGO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]




MEDINA, JONATHAN                      MEGMEET USA INC.                       MEI RIGGING & CRATING LLC
[ADDRESS ON FILE]                     4040 MOORPARK AVE, STE 221             421 WATER AVE NE, STE 4300
                                      SAN JOSE, CA 95117                     ALBANY, OR 97321




MEKRA LANG GMBH & CO. KG              MEKRA LANG NORTH AMERICA               MELENDEZ, STEPHANIE NICOLE
BUCHHEIMER STR. 4                     101 TILLESSEN BLVD                     [ADDRESS ON FILE]
ERGERSHEIM 91465                      RIDGEWAY, SC 29130
GERMANY




MELONE, SARAH                         MENDES, CAREY                          MENDIVIL, BRIELLA
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]




MENDIVIL, ERICA                       MENDIVIL, TORI                         MENDOZA ESQUIVEL, JUAN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]




MENDOZA, ADRIAN                       MENDOZA, ANTHONY                       MENDOZA, ORLANDO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]




MENDOZA, RICARDO                      MENSOR LP                              MERAKAI LLC
[ADDRESS ON FILE]                     201 BARNES DRIVE                       118 E ORTEGA ST
                                      SAN MARCOS, TX 78666                   SANTA BARBARA,, CA 93101




MERCADO CHAVEZ, ALBERTO               MERCADO, MICHAEL                       MERIDIAN COMPENSATION PARTNERS, LLC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                      25676 NETWORK PLACE
                                                                             CHICAGO, IL 60673
MERK, ANTHONY           Case 25-10258-TMH      Doc 32 TECHNOLOGIES
                                      MESA INTERNATIONAL Filed 02/19/25      Page 99MECHANICAL
                                                                               MESA  of 171 INC.
[ADDRESS ON FILE]                      2427 S ANNE STREET                      5226 BARKALOO
                                       SANTA ANA, CA 92704                     BAYTOWN, TX 77521




MESA PARTS S.R.O.                      MESSKONZEPT GMBH                        MESTER, JACK
VYSOKOV 112                            NIEDWIESENSTR. 33                       [ADDRESS ON FILE]
VYSOKOV 549 12                         FRANKFURT AM MAIN 60431
CZECHIA                                GERMANY




METALBUILT LLC                         METALCRAFTERS TRANSPARENCIES &          METALSA S.A.P.I DE C.V.
50171 E RUSSELL SCHMIDT BLVD           COMPOSITES INC.                         CARRETERA MIGUEL ALEMAN KM. 16.5 1
CHESTERFIELD, MI 48051                 11161 SLATER AVE                        APODACA 66600
                                       FOUNTAIN VALLEY, CA 92708               MEXICO




METHODE ELECTRONICS INC.               METHODE ELECTRONICS MALTA LTD           METHODICA TECHNOLOGIES LLC
8750 W BRYN MAWR AVE STE 1000          TRIQ L-AWDITURI, ZONE 4. CENTRAL BU     100 W BIG BEAVER RD. STE 200
CHICAGO, IL 60631                      BIRKIRKARA CBD40                        TROY, MI 48084
                                       MALI




METRO FIRE EQUIPMENT INC               METZ & ASSOCIATES PLLC                  METZFAB INDUSTRIES
63 S HAMILTON PLACE                    950 W INDIAN SCHOOL RD                  23012 N 15TH AVENUE
GILBERT, AZ 85233                      PHOENIX, AZ 85013                       PHOENIX, AZ 85027




MEWHERTER, MICHAEL                     MEWHERTER, SABINE                       M-F ATHLETIC CO., INC.
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       1600 DIVISION ROAD
                                                                               WEST WARWICK, RI 02893




MGA RESEARCH CORPORATION               MGFH2, LLC                              MGM TRANSFORMER COMPANY
820 SUBURBAN PARK DRIVE                1655 LOUISIANA ST                       5701 SMITHWAY STREET
GREER, SC 29651                        BEAUMONT, TX 77701                      COMMERCE, CA 90040




MH MAINTENANCE SOLUTIONS               MICHAEL A. BENNETT                      MICHAEL BEST & FRIEDRICH LLP
18 WINTERBERRY LANE                    UNITED STATES ATTORNEYS OFFICE          790 N WATER ST, STE 2500
WATERFORD, ON N0E 1Y0                  241 E MAIN ST                           MILWAUKEE, WI 53202
CANADA                                 BOWLING GREEN, KY 42101




MICHAEL F. EASLEY, JR                  MICHALAK, ASHLYN                        MICHELIN NORTH AMERICA, INC
OFFICE OF THE UNITED STATES ATTORNEY   [ADDRESS ON FILE]                       ONE PARKWAY SOUTH
150 FAYETTEVILLE ST, STE 2100                                                  GREENVILLE, SC 29615-5022
RALEIGH, NC 27601




MICHELLI MEASUREMENT GROUP INC.        MICHIGAN DEPARTMENT OF TREASURY         MICHIGAN DEPARTMENT OF TREASURY
130 BROOKHOLLOW ESPLANADE              AUSTIN BLDG                             BANKRUPTCY UNIT
HARAHAN, LA 70123                      430 W. ALLEGAN STREET                   P.O. BOX 30168
                                       LANSING, MI 48933                       LANSING, MI 48909
MICHIGAN DEPARTMENT OFCase 25-10258-TMH
                      TREASURY      MICHIGANDoc  32 Filed
                                             DEPARTMENT      02/19/25
                                                        OF TREASURY        Page 100 ofDEPARTMENT
                                                                              MICHIGAN 171       OF TREASURY
PO BOX 30774                        UNCLAIMED PROPERTY DIVISION               UNCLAIMED PROPERTY DIVISION
LANSING, MI 48909                   7285 PARSONS DR                           PO BOX 30756
                                    DIMONDALE, MI 48821                       LANSING, MI 48909




MICHIGAN DEPT OF                      MICHIGAN SCIENTIFIC CORPORATION         MICHIGAN UNEMPLOYMENT INSURANCE
ENVIRONMENTAL QUALITY                 730 BELLEVUE AVE                        AGENCY
525 W ALLEGAN ST                      MILFORD, MI 48381                       PO BOX 169
PO BOX 30473                                                                  GRAND RAPIDS, MI 49501-0169
LANSING, MI 48909-7973



MICHIGAN WORKFORCE DEVELOPMENT        MICOM LABORATORIES INC.                 MICRO CONTROL INC
AGENCY                                555 MORGAN BLVD                         9287 RESEARCH DRIVE
PO BOX 30805                          BAIE-DURFE, QC H9X 3T6                  IRVINE, CA 92618
LANSING, MI 48909                     CANADA




MICRO MOTION, INC.                    MICROCHIP TECHNOLOGY INCORPORATED       MICRO-DESIGN, INC.
22737 NETWORK PLACE                   2355 WEST CJANDLER BLVD                 104 INDUSTRIAL BLVD
CHICAGO, IL 60673                     CHANDLER, AZ 85224-6199                 DALLAS, TX 75229




MICRO-DESIGN, INC.                    MICRO-EPSILON AMERICA, LP               MICROFINISH CO. INC.
PO BOX 59449                          33 VIA LAMPARA                          11048 GRAVOIS INDUSTRIAL CT
DALLAS, TX 75229                      SAN CLEMENTE, CA 92673                  SUNSET HILLS, MO 63128




MICRORAM ELECTRONICS INC              MICROSOFT CORPORATION                   MICROSOFT CORPORATION
222 DUNBAR COURT                      7000 SR-161 (GEORGE BUSH TURNPIKE)      BUILDING LC1
OLDSMAR, FL 34677                     DALLAS, TX 75039                        7000 STATE HWY 161
                                                                              IRVING, TX 75039




MID ATLANTIC TRUST COMPANY            MIDWAY CHEVROLET COMPANY 1 LLC          MIDWAY DIESEL LLC.
1251 WATERFRONT PLACESUITE 525        2323 W BELL ROAD                        3995 W HOUSER RD
PITTSBURGH, PA 15222                  PHOENIX, AZ 85023                       ELOY, AZ 85131




MIDWEST COMPOSITE TECHNOLOGIES, LLC   MIDWEST MOTOR SUPPLY CO. INC            MIELKE, DAVID
1050 WALNUT RIDGE DRIVE               4800 ROBERTS ROAD                       [ADDRESS ON FILE]
HARTLAND, WI 53029                    COLUMBUS, OH 43228




MIHALKA, MICHAEL                      MIINALA, SAGA                           MIKALOR CLAMPS LLC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       111 AVALON INDUSTRIAL PARKWAY
                                                                              WENTZVILLE, MO 63385




MIKEL, BENJAMIN                       MILAZZO, LINDSAY ANN                    MILBANK
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       2029 CENTURY PARK EAST 33RD FLOOR
                                                                              LOS ANGELES, CA 90067
                      Case 25-10258-TMH
MILESTONE EQUIPMENT HOLDINGS, LLC            Doc 32
                                    MILLER, MILES         Filed 02/19/25   Page  101 RICHARD
                                                                              MILLER, of 171
710 S. 67TH AVENUE                  [ADDRESS ON FILE]                         [ADDRESS ON FILE]
PHOENIX, AZ 85043




MILLETT, ANTHONY                      MILLIMETER WAVE TECHNOLOGIES, LLC       MILTON, TREVOR R
[ADDRESS ON FILE]                     6501 W. FRYE RD 23                      [ADDRESS ON FILE]
                                      CHANDLER, AZ 85226




MILTON, TREVOR R                      MILTON, TREVOR R                        MILTON, TREVOR R
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MILTON, TREVOR                        MILTON, TREVOR                          MILTON, TREVOR
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




MILTON, TREVOR                        MINAUDO, JUSTIN                         MINER, LTD
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       4040 NW RIVERSIDE ST
                                                                              RIVERSIDE, MO 64150




MINNESOTA DEPARTMENT OF COMMERCE      MINNESOTA DEPARTMENT OF REVENUE         MINNESOTA DEPT OF LABOR AND INDUSTRY
UNCLAIMED PROPERTY DIVISION           600 N. ROBERT ST.                       443 LAFAYETTE RD N
MAIN OFFICE, GOLDEN RULE BLDG         ST. PAUL, MN 55101                      ST PAUL, MN 55155
85 7TH PLACE E, STE 280
ST. PAUL, MN 55101



MINNESOTA DEPT OF                     MINNESOTA POLLUTION CONTROL AGENCY      MINNESOTA UNEMPLOYMENT INSURANCE
NATURAL RESOURCES                     500 LAFAYETTE ROAD                      PO BOX 4629
500 LAFAYETTE ROAD                    ST. PAUL, MN 55155-4194                 ST PAUL, MN 55101-4629
ST. PAUL, MN 55155-4194




MIRANDA LOZA, DULCE                   MIROGLIO & C SPA                        MISRA, AKHILESH K
[ADDRESS ON FILE]                     CORSO ORBASSANO, 402/19                 [ADDRESS ON FILE]
                                      TORINO, TO 10137
                                      ITALY




MISSION PLAZA PROPERTIES, INC.        MISSISSIPPI DEPT OF EMPLOYMENT          MISSISSIPPI DEPT OF EMPLOYMENT
3857 BIRCH STREET, SUITE 482          SECURITY                                SECURITY
NEWPORT BEACH, CA 92660               OFFICE OF THE GOVERNOR                  OFFICE OF THE GOVERNOR
                                      1235 ECHELON PKWY                       1235 ECHELON PKWY
                                      JACKSON, MS 39215-1699                  PO BOX 1699
                                                                              JACKSON, MS 39213


MISSISSIPPI DEPT OF LABOR             MISSOURI DEPT OF NATURAL RESOURCES      MISSOURI DEPT OF NATURAL RESOURCES
MCCOY FEDERAL BUILDING                DIVISION OF ENVIRONMENTAL QUALITY       DIVISION OF ENVIRONMENTAL QUALITY
100 W CAPITAL ST, STE 608             1101 RIVERSIDE DR                       PO BOX 176
JACKSON, MS 39269                     PO BOX 176                              JEFFERSON CITY, MO 65102-0176
                                      JEFFERSON CITY, MO 65102-0176
MISSOURI STATE TREASURERCase 25-10258-TMH     Doc
                                      MITCHELL,    32
                                                HOLDEN     Filed 02/19/25    Page  102
                                                                                MITI LLC of 171
UNCLAIMED PROPERTY DIVISION           [ADDRESS ON FILE]                          4713 S WASHINGTON ST
PO BOX 210                                                                       TACOMA, WA 98409
JEFFERSON CITY, MO 65102




MITSUBISHI CHEMICAL CORPORATION        MITSUBISHI HC CAPITAL AMERICA, INC.       MITSUBISHI HC CAPITAL AMERICA, INC.
1-1, MARUNOUCHI 1-CHOME, CHIYODA-KU    21925 NETWORK PLACE                       800 CONNECTICUT AVE
TOKYO 1008                             CHICAGO, IL 60673                         NORWALK, CT 06854
JAPAN




MJS DESIGNS, INC.                      MMMADDEN CONSULTING LLC                   MOBILEDEMAND, L.C.
4130 E. WOOD STREET, SUITE 100         5451 PROVINCIAL DRIVE                     1501 BOYSON SQUARE DRIVE, SUITE 101
PHOENIX, AZ 85040                      BLOOMFIELD HILLS, MI 48302                HIAWATHA, IA 52233




MODINE MANUFACTURING COMPANY           MODINE PONTEVICO S.R.L.                   MODINE THERMAL SYSTEMS (CHANGZHOU)
1500 DE KOVEN AVE                      VIALE EUROPA 1                            LTD.
RACINE, WI 53403-2552                  PONTEVICO, BS 25026                       NO. 358 HUANGHE ROAD
                                       ITALY                                     CHANGZHOU, JIANGSU 213001
                                                                                 CHINA



MODINE THERMAL SYSTEMS PRIVATE LIMI    MOEHWALD GMBH                             MOFFAT, COLE
K-7 SIPCOT INDUSTRIAL PARK             MICHELINSTR. 21                           [ADDRESS ON FILE]
MAMBAKKAM                              HOMBURG 66424
SUNGUVARCHATRAM, TN 60210              GERMANY
INDIA



MOFID, AMIR ALI                        MOHAMED, MONTASIR                         MOHAMMED, SARFRAZ
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         [ADDRESS ON FILE]




MOLDTECS GMBH                          MOLEX LLC                                 MOLIERI, RACHEL
FRIEDRICH-ENGELS-STR. 157              2222 WELLINGTON COURT                     [ADDRESS ON FILE]
SONNEBERG 96515                        CHARLOTTE, NC 28273
GERMANY




MONARREZ, JOSE                         MONOFLO INTERNATIONAL INC                 MONSERRATE, JUAN
[ADDRESS ON FILE]                      882 BAKER LN                              [ADDRESS ON FILE]
                                       WINCHESTER, VA 22603




MONTANEZ, CRISTINA                     MONTES, ELIZARDO                          MONTGOMERY, SETH
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         [ADDRESS ON FILE]




MONTIEL, RUBEN                         MONTOYA, GLENN                            MOODY PRICE LLC
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         18258 PETROLEUM DR
                                                                                 BATON ROUGE, LA 70809
MORA, ALEXIS              Case 25-10258-TMH    Doc 32
                                        MORA, MARK           Filed 02/19/25    Page 103 of JOSEPH
                                                                                  MORABITO, 171
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




MORABITO, RICHARD                       MORAN AND SONS LUMBER COMPANY INC         MORELLO-RAPP, DEBRA
[ADDRESS ON FILE]                       1551 S. 59TH AVE                          [ADDRESS ON FILE]
                                        PHOENIX, AZ 85043




MORGAN STANLEY DOMESTIC HOLDINGS, I     MORGAN STANLEY                            MORGAN, BRET
1585 BROADWAY                           1585 BROADWAY                             [ADDRESS ON FILE]
NEW YORK, NY 10036                      NEW YORK, NY 10036




MORIN, MCKAYLA                          MORRIS PASQUAL, ACTING                    MORRIS, AUBRIANA
[ADDRESS ON FILE]                       OFFICE OF THE UNITED STATES ATTORNEY      [ADDRESS ON FILE]
                                        N DIST OF ILLINOIS, EASTERN DIVISION
                                        219 S DEARBORN ST, 5TH FL
                                        CHICAGO, IL 60604



MORRIS, ESTHER                          MORRIS, NICHOLS, ARSHT & TUNNELL LL       MORSE MEASUREMENTS LLC
[ADDRESS ON FILE]                       1201 NORTH MARKET ST. 16TH FL             1163 SPEEDWAY BLVD
                                        WILMINGTON, DE 19899                      SALISBURY, NC 28146




MORTON, JACQULYN                        MORVILLO ABRAMOWITZ GRAND LASON & A       MOSAFERI, VAHID
[ADDRESS ON FILE]                       PC                                        [ADDRESS ON FILE]
                                        565 FIFTH AVENUE
                                        NEW YORK, NY 10017




MOSES, JAMAR                            MOTHERSELL, ROBERT                        MOTION & FLOW CONTROL PRODUCTS INC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         8433 SOLUTION CENTER
                                                                                  CHICAGO, IL 60677




MOTION INDUSTRIES, INC.                 MOTIVE ENERGY, INC.                       MOTIVE TECHNOLOGIES, INC.
FILE 57463                              125 E. COMMERCIAL ST. BLDG. B             3500 SOUUTH DUPONT HWY
LOS ANGELES, CA 90074                   ANAHEIM, CA 92801                         DOVER, DE 19901




MOTO TIRE INC                           MOTOR CITY RACKS                          MOUNTAIN REGIONAL EQUIPMENT SOLUTIO
17616 GOTHARD STREET B                  24445 FORTERRA DR.                        3255 W 500 S
HUNTINGTON BEACH, CA 92647              WARREN, MI 48089                          SALT LAKE CITY, UT 84104




MOUNTAIN WEST AGENCY SERVICES, INC.     MOUNTZ INC.                               MOUSER ELECTRONICS, INC
PO BOX 36470. 3030 N 3RD ST             1080 N 11TH ST.                           1000 N MAIN ST
PHOENIX, AZ 85012                       SAN JOSE, CA 95112                        MANSFIELD, TX 76063-1514
MOWATT, JOEL E           Case 25-10258-TMH
                                       MPD INC. Doc 32       Filed 02/19/25   Page 104 ofLUKE
                                                                                 MRZLJAK, 171
[ADDRESS ON FILE]                       1332 E BORCHARD AVE                      [ADDRESS ON FILE]
                                        SANTA ANA, CA 92705




MSA SAFETY INCORPORATED                 MSA SAFETY INCORPORATED                  MSC SOFTWARE CORPORATION
8047 185TH ST                           U23-100 WESTMORE DRIVE                   LILLA BANTORGET 15
TINLEY PARK, IL 60487                   ETOBICOKE, ON M9V 5C3                    STOCKHOLM SE111 23
                                        CANADA                                   SWEDEN




MT SOLAR LLC                            MTA AUTOMOTIVE SOLUTIONS MEXICO, S.      MTA S.P.A. ITALY
54179 HERAK RD                          C.V.                                     VIALE DELLINDUSTRIA, 12
CHARLO, MT 59824                        LOTE 63, MODULO 2, KM. 2.2 CARR. ES      CODOGNO 26845
                                        EL MARQUES, QTO 76246                    ITALY
                                        MEXICO



MTA SLOVAKIA S.R.O                      MTA USA                                  MUBEA PRECISION SPRINGS, INC.
HORNE OZOROVCE, 261                     501 LIVELY BLVD                          8283 DIXIE HIGHWAY
BANOVCE NAD BEBRAVU 957 03              ELK GROVE VILLAGE, IL 60007              FLORENCE, KY 41042
SLOVAKIA




MUCK RACK LLC                           MUDAN, GURVIR                            MUELLER ENGINEERING AND CONSULTING
382 NE 19TH ST                          [ADDRESS ON FILE]                        2223 S. 48TH STR. E
MIAMI, FL 33179                                                                  TEMPE, AZ 85282




MUELLES Y BALLESTAS HISPANO ALEMANA     MULLEN AUTOMOTIVE INC.                   MULLINS, ROBERT
S.L.                                    1405 PIONEER STREET                      [ADDRESS ON FILE]
CAMINO VIEJO DE CASTELLON A ONDA SN     BREA, CA 92821
VILLAREAL, CASTELLON 12540
SPAIN



MULTI DISTRIBUTING LLC                  MULTIVIEW, INC.                          MUNIZ REYES, ADRIANA
3859 S. COX RD                          7701 LAS COLINAS RIDGE STE. 800          [ADDRESS ON FILE]
SPRINGFIELD, MO 65807                   IRVING, TX 75063




MURILLO, RICHARD                        MURPHY, BENJAMIN                         MURRIETA, JOSE
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




MURTHI, VIVEK                           MUSTARD PRESS INC.                       MUTUAL EXPRESS COMPANY
[ADDRESS ON FILE]                       679 BRIAN WAY                            1700 WEST GRAND AVE.
                                        MEDFORD, OR 97501                        OAKLAND, CA 94607




MUVZ, INC                               MVP PLASTICS INC.                        MW COMPONENTS - BENSENVILLE
1247 WRIGHTS LN, STE D                  15005 ENTERPRISE WAY                     733 MAPLE LANE
WEST CHESTER, PA 19380-3438             MIDDLEFIELD, OH 44062                    BENSENVILLE, IL 60106
MWANGI, PETER              Case 25-10258-TMH    Doc WORKS
                                         MY COMPUTER 32 Filed
                                                          INC 02/19/25           Page
                                                                                    MY105 of 171
                                                                                      FANTASY MANUFACTURING
[ADDRESS ON FILE]                        7975 N HAYDEN RD SUITE C-320               1274 W FALLS CANYON DR
                                         SCOTTSDALE, AZ 85258                       CASA GRANDE, AZ 85122




MYERS & SONS HI-WAY SAFETY, INC.         N AMER COUNCIL FOR FREIGHT EFFICIENCY      N H RESEARCH, LLC
13310 5TH STREET                         6041 STELLHORN RD 15935                    16601 HALE AVENUE
CHINO, CA 91710                          FORT WAYNE, IN 46885                       IRVINE, CA 92606




N.C. DEPT OF ENVIRONMENTAL QUALITY       N.C. DEPT OF ENVIRONMENTAL QUALITY         N.F. SMITH & ASSOCIATES, L.P.
1601 MAIL SERVICE CTR                    217 W JONES ST                             5306 HOLLISTER STREET
RALEIGH, NC 27699-1601                   RALEIGH, NC 27603                          HOUSTON, TX 77040




NADEN LLC                                NADY, CREIGHTON J                          NAEF, JASON
503 S ROCKFORD DR                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]
TEMPE, AZ 85281




NAGAFUCHI, HANJI                         NAGAMALLA, KALYANI                         NAGAO, ASA
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




NAGOJI CHAVAN, PRANAV                    NALAKATH, SHAMSUDEEN                       NANOSCIENCE ANALYTICAL LLC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          10008 S 51ST ST. SUITE 100
                                                                                    PHOENIX, AZ 85044




NARDELLO & CO LLC                        NARSA, NINEVEH                             NASCAR ENTERPRISES, LLC
565 FIFTH AVE                            [ADDRESS ON FILE]                          1 DAYTONA BLVD
NEW YORK, NY 10017                                                                  DAYTONA BEACH, FL 32114




NASDAQ, INC                              NATALIE K. WIGHT                           NATALIE K. WIGHT
151 WEST 42ND ST, FL 26, 27, 28          US ATTORNEYS OFFICE                        US ATTORNEYS OFFICE
NEW YORK, NY 10036                       1000 SW THIRD AVE STE 600                  310 W SIXTH
                                         PORTLAND, OR 97204                         MEDFORD, OR 97501




NATALIE K. WIGHT                         NATIONAL ASSOC OF STATE ENERG              NATIONAL CALIBRATION, INC
US ATTORNEYS OFFICE                      OFFICIALS                                  1395 N HAYDEN RD
405 E 8TH AVE, STE 2400                  1300 NORTH 17TH STREET, SUITE 1275         SCOTTSDALE, AZ 85257
EUGENE, OR 97401                         ARLINGTON, VA 22209




NATIONAL CAR RENTAL                      NATIONAL CONSTRUCTION RENTALS, INC.        NATIONAL CORPORATE HOUSING
648 MADRID AVE                           15319 CHATSWORTH ST                        8400 E CRESCENT PKWYSTE 300
KANSAS CITY, MO 64153                    MISSION HILLS, CA 91345                    GREENWOOD VILLAGE, CO 80111
NATIONAL DRUG SCREENING, Case
                          INC. 25-10258-TMH
                                        NATIONALDoc   32 Filed
                                                  INSTRUMENTS    02/19/25
                                                              CORPORATION       Page 106 ofINTEGRATED
                                                                                   NATIONAL  171      SYSTEMS, INC.
129 W HIBISCUS BLVD STE H               11500 N MOPAC EXPRESSWAY                    29241 BECK ROAD
MELBOURNE, FL 32901                     AUSTIN, TX 78759-3504                       WIXOM, MI 48393




NATIONAL UNION FIRE INSURANCE CO       NATL LIABILITY & FIRE INSURANCE CO           NATL STAR ROUTE MAIL CONTRACTOR
1271 AVE OF AMERICAS, FL 37            1314 DOUGLAS STREET, SUITE 1400              ASSOC
NEW YORK, NY 10020                     OMAHA, NB 68102-1944                         8521 LEESBURG PIKE. STE 350
                                                                                    VIENNA, VA 22182




NAUMANN HOBBS MATERIAL HANDLING LLC    NAV ENGINEERING                              NAVARRETTE, RENE
MSC-749 PO BOX 29201                   MILIN KAMAK 7                                [ADDRESS ON FILE]
PHOENIX, AZ 85038                      RAVDA 8238
                                       BULGARIA




NAVARRO, NATHAN                        NAVEX GLOBAL INC.                            NAVIN JAIN, ADITYA
[ADDRESS ON FILE]                      13950 BALLANTYNE CORPORATE PL, STE 300       [ADDRESS ON FILE]
                                       CHARLOTTE, NC 28277




NAVISTAR INC                           NAWALE, SACHIN                               NAYDEN, KONSTANTIN
PO BOX 59007                           [ADDRESS ON FILE]                            [ADDRESS ON FILE]
KNOXVILLE, TN 37950




NEFAB PACKAGING, INC                   NEFAB S.R.L.                                 NEFF POWER, INC.
DEPT LA 22070                          VIA MAGRETTI 22                              675 SPIRIT VALLEY CENTRAL DRIVE
PASADENA, CA 91185                     PADERNO DUGNANO, MI 20037                    CHESTERFIELD, MO 63005
                                       ITALY




NEL HYDROGEN - DENMARK                 NELSON MULLINS RILEY & SCARBOROUGH           NELSON MULLINS RILEY & SCARBOROUGH
2371 VERNA COURT                       LLP                                          PO DRAWER 11009
SAN LEANDRO, CA 94577                  123 N WACKER DRIVE                           COLUMBIA, SC 29211
                                       21ST FLOOR
                                       CHIACGO, IL 60606



NELSON, BRIAN                          NELSON, JEFFREY                              NERHEIM, KNUT ARNE
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                            [ADDRESS ON FILE]




NESS, KYLE                             NET GENERATION TRUCK                         NETBASE SOLUTIONS INC
[ADDRESS ON FILE]                      ATTN: AMIR DELVARANI                         3945 FREEDOM CIRCLE STE 730
                                       14588 VALLEY BLVD                            SANTA CLARA, CA 95054
                                       FONTANA, CA 92335




NETSURIT, INC.                         NETWORK INNOVATIONS, LLC                     NEUMAN & ESSER USA, INC.
1345 FLAGLER DRIVE                     350 N ORLEANS ST 1300N                       1502 EAST SUMMITRY CIRCLE
MAMARONECK, NY 10543                   CHICAGO, IL 60654                            KATY, TX 77449
NEUMAYER TEKFOR GMBH Case 25-10258-TMH
                                   NEUTRONDoc    32 INC.
                                            CONTROLS   Filed 02/19/25   Page 107 of
                                                                           NEVADA   171
                                                                                  DEPT OF EMPLOYMENT,
HINTERER BAHNHOF 17                350 PALLADIUM DRIVE, SUITE 102          TRAINING & REHABILITATION
HAUSACH 77756                      OTTAWA, ON K2V 1A8                      2800 E ST LOUIS AVE
GERMANY                            CANADA                                  LAS VEGAS, NV 89104




NEVADA DEPT OF EMPLOYMENT,            NEVADA OFFICE OF THE LABOR           NEVADA OFFICE OF THE LABOR
TRAINING & REHABILITATION             COMMISSIONER                         COMMISSIONER
6330 W CHARLESTON BLVD                1818 COLLEGE PKWY, STE 102           3340 W SAHARA AVE
LAS VEGAS, NV 89146                   CARSON CITY, NV 89706                LAS VEGAS, NV 89102




NEW JERSEY DEPT OF ENVIRON.           NEW JERSEY DEPT OF LABOR AND         NEW JERSEY DEPT OF LABOR
PROTECTION                            WORKFORCE DEVELOPMENT                AND WORKFORCE DEVELOPMENT
PO BOX 420                            1 JOHN FITCH PLAZA                   1 JOHN FITCH PLAZA
TRENTON, NJ 08625                     TRENTON, NJ 08625                    TRENTON, NJ 08611




NEW JERSEY DEPT OF LABOR              NEW MEXICO DEPT OF WORKFORCE         NEW MEXICO DEPT OF WORKFORCE
DIV OF WAGE AND HOUR COMPLIANCE       SOLUTIONS                            SOLUTIONS
1 JOHN FITCH PLAZA                    401 BROADWAY NE                      PO BOX 1928
TRENTON, NJ 08611                     ALBUQUERQUE, NM 87102                ALBUQUERQUE, NM 87103




NEW MEXICO DEPT OF WORKFORCE          NEW MEXICO DEPT OF WORKFORCE         NEW MOTOR VEHICLE BOARD
SOLUTIONS                             SOLUTIONS                            2415 1ST AVE. MS L242
UNEMPLOYMENT INSURANCE                UNEMPLOYMENT INSURANCE               SACRAMENTO, CA 95818
401 BROADWAY NE                       PO BOX 1928
ALBUQUERQUE, NM 87102                 ALBUQUERQUE, NM 87103



NEW PIG CORPORATION                   NEW VENTURES OF SAN BERNARDINO       NEW YORK CITY DEPT. OF FINANCE
1 PORK AVE                            3200 INLAND EMPIRE BLVD. 250         C/O CORRESPONDENCE UNIT
TIPTON, PA 16684                      ONTARIO, CA 91764                    1 CENTRE ST, 22ND ST
                                                                           NEW YORK, NY 10007




NEW YORK LIFE GROUP INSURANCE COMPA   NEW YORK STATE CORPORATION TAX       NEW YORK STATE DEPT OF
NY                                    ATTN OFFICE OF COUNSEL               ENVIRONMENTAL CONSERVATION
1113 ADMIRAL PEARY WAY, STE A &B      BLDG 9, W A HARRIMAN CAMPUS          625 BRAODWAY
PHILADELPHIA, PA 19112                ALBANY, NY 12227                     ALBANY, NY 12233-1011




NEWARE TECHNOLOGY LIMITED             NEWARK CORPORATION                   NEWEST COMPUTERS INC
F15,TOWER 3,EXCELLENCE CITY,NO.128,   33190 COLLECTION CENTER DRIVE        1880 DONALD ST
SHENZHEN 51804                        CHICAGO, IL 60693                    RENO, NV 89502
CHINA




NEXT GENERATION TRUCK INC             NEXT PROTECTION LLC                  NEXTENERGY CENTER
14578 VALLEY BLVD                     1465 N HAYDEN ROAD, 100              461 BURROUGHS
FONTANA, CA 92335                     SCOTTSDALE, AZ 85257                 DETROIT, MI 48202




NEXUS ELECTRONICS LLC                 NEXUS HOLDING, LLC                   NG, ISAAC
1660 IOWA AVE STE 400                 LB 846952. 3440 FLAIR DRIVE          [ADDRESS ON FILE]
RIVERSIDE, CA 92507                   EL MONTE, CA 91731
NGUYEN, BILL          Case 25-10258-TMH
                                    NGUYEN, Doc
                                            NHA 32        Filed 02/19/25   Page  108
                                                                              NICE   of 171
                                                                                   AMERICA RESEARCH INC.
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                         250 W. TASMAN DR. SUITE 101
                                                                               SAN JOSE, CA 95134




NICHOLAS W. BROWN                    NIKOLA CORPORATION                        NIKON METROLOGY, INC.
UNITED STATES ATTORNEYS OFFICE       4141 E BROADWAY ROAD                      12701 GRAND RIVER RD
700 STEWART ST, STE 5220             PHOENIX, AZ 85040                         BRIGHTON, MI 48116
SEATTLE, WA 98101-1271




NILSON, ERIC CARTER                  NINGBO PEACEPORT IMP.&EXP.CO.,LTD.        NINYO & MOORE GEOTECHNICAL AND
[ADDRESS ON FILE]                    NO.300 LEHAI ROAD                         ENVIRONMENTAL SCIENCES CONSULTANTS
                                     NINGBO CITY 315809                        5710 RUFFIN ROAD
                                     CHINA                                     SAN DIEGO, CA 92123




NISSHA CO., LTD.                     NITTO, INC.                               NITZ, LARRY T
3 MIBU HANAI-CHO                     DEPT CH 10896                             [ADDRESS ON FILE]
NAKAGYO-KU                           PALATINE, IL 60055
KYOTO 604-8551
JAPAN



NIYOGI, ANIRBAN                      NOLASCO, PAUL                             NORBERT HORVAT
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                         [ADDRESS ON FILE]




NORBERT KEMPF CNC-TECHNIK GMBH       NORDSON CORPORATION                       NOR-FAB MANUFACTURING INC.
GEISTKIRCHER STRAßE 9                28601 CLEMENS RD                          3520 SJOQUIST DRIVE
ST INGBERT 66386                     WESTLAKE, OH 44145-4551                   GLADSTONE, MI 49837
GERMANY




NORGREN GMBH                         NORMA GROUP                               NORMA MI, INC.
BRUCKSTRAßE 93                       EDISONSTRABE 4                            2430 EAST WALTON BLVD.
ALPEN 46519                          MAINTAL 63477                             AUBURN HILLS, MI 48326
GERMANY                              GERMANY




NORMA MI, INC.                       NORMAN INDUSTRIAL MATERIALS, INC.         NORRIS, TRAVIS
DEPT CH17380                         8300 SAN FERNANDO ROAD                    [ADDRESS ON FILE]
PALATINE, IL 60055                   SUN VALLEY, CA 91352




NORTH AMERICAN COMMERCIAL VEHICLE    NORTH CAROLINA DEPT OF COMMERCE           NORTH CAROLINA DEPT OF LABOR
SHOW PARTNERSHIP                     301 N WILMINGTON ST                       1101 MAIL SERVICE CTR
8755 W. HIGGINS RD - STE 900         RALEIGH, NC 27601-1058                    RALEIGH, NC 27699-1101
CHICAGO, IL 60631




NORTH CAROLINA DEPT OF LABOR         NORTH CAROLINA DEPT. OF MOTOR VEHIC       NORTH CAROLINA SECRETARY OF STATE
4 W EDENTON ST                       3129 MAIL SERVICE CENTER                  2 SOUTH SALISBURY ST
RALEIGH, NC 27603                    RALEIGH, NC 27697                         RALEIGH, NC 27601
                      Case
NORTH CAROLINA SECRETARY     25-10258-TMH
                         OF STATE             Doc 32STATE
                                      NORTH CAROLINA      Filed 02/19/25
                                                             TREASURER       Page 109SHORE
                                                                                NORTH of 171
                                                                                           COMPONENTS, INC.
POST OFFICE BOX 29622                 UNCLAIMED PROPERTY DIVISION               9 SAWGRASS DRIVE
RALEIGH, NC 27626                     PO BOX 20431                              BELLPORT, NY 11713
                                      RALEIGH, NC 27619-0431




NORTHEAST GREAT DANE OF HILLSBOROUG    NORTHEASTERN UNIVERSITY                  NORTHERN SAFETY CO INC
LLC                                    360 HUNTINGTON AVE, MS 540-177HU         232 INDUSTRIAL PARK DR
315 SUNNYMEADE RD                      BOSTON, MA 02115                         FRANKFORT, NY 13340
HILLSBOROUGH, NJ 08844




NORTHERN SAFETY CO INC                 NORTHERN VALLEY MACHINE INC              NORTHVIEW CAPITAL LLC
PO BOX 4250                            1124 15TH AVE NE                         2516 WAUKEGAN ROAD, SUITE 385
UTICA, NY 13504                        EAST GRAND FORKS, MN 56721               GLENVIEW, IL 60025




NORWOOD EQUIPMENT                      NORZAGARAY, ARNULFO                      NOTARE DR. STEINER & DR. FRONHOFER
511 E MOHAVE STREET                    [ADDRESS ON FILE]                        THEATINERSTRABE 45
PHOENIX, AZ 85004                                                               MUNCHEN 80333
                                                                                GERMANY




NOTIFII LLC                            NOVA WERKE AG                            NOVATRONIC DEUTSCHLAND GMBH
1420 E ROSEVILLE PKWY 140-243          VOGELSANGSTRASSE 24                      KOLNER STRABE 102GERGISCH
ROSEVILLE, CA 95661                    EFFRETIKON 8307                          GLADBACH 51429
                                       SWITZERLAND                              GERMANY




NTS LABS, LLC                          NTS TECHNICAL SYSTEMS, LLC               NUNES, LEONARD
7800 MADISON BLVD                      1500 E VALENCIA DR                       [ADDRESS ON FILE]
HUNTSVILLE, AL 75373                   FULLERTON, CA 92831




NUOVASTA S.R.L.                        NUSSBAUM, NICHOLAS                       NU-STAR INC.
VIA UGO LA MALFA, 30                   [ADDRESS ON FILE]                        1425 STAGECOACH ROAD
PROVAGLIO DISEO BRESCIA 25050                                                   SHAKOPEE, MN 55379
ITALY




NUTMEG CONTAINER CORP                  NUTS AND BOLTS LTD                       NVIDIA CORPORATION
4282 PAYSPHERE CIRCLE                  23 BOLTON STREET                         2788 SAN TOMAS EXPRESSWAY
CHICAGO, IL 60674                      CHORLEY PR7 3                            SANTA CLARA, CA 95051
                                       UNITED KINGDOM




NXP USA, INC.                          NY DEPARTMENT OF TAXATION & FINANCE      NY DEPARTMENT OF TAXATION & FINANCE
LOCKBOX 6477, 400 WHITE CLAY CENTER    PO BOX 15163                             W. A. HARRIMAN CAMPUS
NEW CASTLE, DE 19711                   ALBANY, NY 12212                         ALBANY, NY 12227-0125




NYABELA, KENNETH                       NYHUS ENTERPRISES, LLC                   NYSSEN, VICTOR
[ADDRESS ON FILE]                      911 KURTH ROAD                           [ADDRESS ON FILE]
                                       CHIPPEWA FALLS, WI 54729
OANDA BUSINESS INFORMATION Case 25-10258-TMH
                              AND SERV            DocINC.
                                         OASIS SALES,  32 Filed 02/19/25       Page 110 of ERIN
                                                                                  OCONNOR, 171
INC.                                     20701 N SCOTTSDALE ROAD STE 107-437      [ADDRESS ON FILE]
228 PARK AVE. S., STE 20236              SCOTTSDALE, AZ 85255
NEW YORK, NY 10003




OCULENS LLC                              ODDBOX HOLDINGS INC.                     OESL AUTOMOTIVE USA LLC
410 N SCOTTSDALE RD. STE 1000            16842 HALE AVE                           2044 AUSTIN AVENUE
TEMPE, AZ 85281                          IRVINE, CA 92606                         ROCHESTER HILLS, MI 48309




OFFICE OF SEC. OF STATE OF ALABAMA       OFFICE OF SEC. OF STATE OF ARIZONA       OFFICE OF SEC. OF STATE OF CALIFORNIA
HON. WES ALLEN                           HON. ADRIAN FONTES                       HON. SHIRELY N WEBER
PO BOX 5616                              1700 W WASHINGTON ST, FL 7               1500 11TH ST
MONTGOMERY, AL 36103-5616                PHOENIX, AZ 85007-2808                   SACRAMENTO, CA 95814




OFFICE OF SEC. OF STATE OF COLORADO      OFFICE OF SEC. OF STATE OF CT.           OFFICE OF SEC. OF STATE OF FLORIDA
HON. JENA GRISWOLD                       HON. STEPHANIE THOMAS                    HON. CORD BYRD
1700 BROADWAY, STE 550                   PO BOX 150470                            R.A. GRAY BLDG
DENVER, CO 80290                         STE 1000                                 500 S BRONOUGH ST
                                         HARTFORD, CT 06115-0470                  TALLAHASSEE, FL 32399



OFFICE OF SEC. OF STATE OF GEORGIA       OFFICE OF SEC. OF STATE OF ILLINOIS      OFFICE OF SEC. OF STATE OF INDIANA
HON. BRAD RAFFENSPERGER                  HON. ALEXI GIANNOULIAS                   HON. DIEGO MORALES
214 STATE CAPITOL                        213 STATE CAPITOL                        200 W WASHINGTON ST, ROOM 201
ATLANTA, GA 30334                        SPRINGFIELD, IL 62756                    INDIANAPOLIS, IN 46204




OFFICE OF SEC. OF STATE OF IOWA          OFFICE OF SEC. OF STATE OF KANSAS        OFFICE OF SEC. OF STATE OF KENTUCKY
HON. PAUL D. PATE                        HON. SCOTT SCHWAB                        HON. MICHAEL G ADAMS
LUCAS BLDG, 1ST FL                       MEMORIAL HALL - 1ST FL                   700 CAPITAL AVE, STE 152
321 E 12TH ST                            120 SW 10TH AVE                          FRANKFORT, KY 40601
DES MOINES, IA 50319                     TOPEKA, KS 66612



OFFICE OF SEC. OF STATE OF MA.           OFFICE OF SEC. OF STATE OF MARYLAND      OFFICE OF SEC. OF STATE OF MICHIGAN
HON. WILLIAM FRANCIS GALVIN              HON. SUSAN C LEE                         HON. JOCELYN BENSON
1 ASHBURTON PLACE                        16 FRANCIS ST                            3315 E MICHIGAN AVE
BOSTON, MA 02108                         ANNAPOLIS, MD 21401                      LANSING, MI 48912




OFFICE OF SEC. OF STATE OF MINNESOTA     OFFICE OF SEC. OF STATE OF MISSOURI      OFFICE OF SEC. OF STATE OF N.C.
HON. STEVE SIMON                         HON. JOHN R. ASHCROFT                    HON. ELAINE F. MARSHALL
180 STATE OFFICE BLDG                    600 W MAIN ST                            PO BOX 29622
100 REV DR MLK JR BLVD                   JEFFERSON CITY, MO 65101                 RALEIGH, NC 27626
ST. PAUL, MN 55155-1299



OFFICE OF SEC. OF STATE OF NEW JERSEY    OFFICE OF SEC. OF STATE OF NEW YORK      OFFICE OF SEC. OF STATE OF OREGON
HON. SHEILA Y. OLIVER                    HON. ROBERT J RODRIGUEZ                  HON. SHEMIA FAGAN
LIEUTENANT GOVERNOR -E                   ONE COMMERCE PLAZA                       255 CAPITAL ST NE
PO BOX 001                               99 WASHINGTON AVE, STE1100               STE 151
TRENTON, NJ 08625                        ALBANY, NY 12231                         SALEM, OR 97310-0722



OFFICE OF SEC. OF STATE OF               OFFICE OF SEC. OF STATE OF S.C.          OFFICE OF SEC. OF STATE OF TENNESSEE
PENNSYLVANIA                             HON. MARK HAMMOND                        HON. TRE HARGETT
HON. AL SCHMIDT                          1205 PENDLETON ST, STE 525               STATE CAPITOL
302 N OFFICE BLDG                        COLUMBIA, SC 29201                       NASHVILLE, TN 37243-1102
401 N ST
HARRISBURG, PA 17120
                         Case
OFFICE OF SEC. OF STATE OF     25-10258-TMH
                           TEXAS        OFFICE OFDoc
                                                  SEC.32     Filed
                                                        OF STATE OF02/19/25
                                                                    UTAH       Page 111OF
                                                                                  OFFICE ofSEC.
                                                                                            171OF STATE OF VIRGINIA
HON. JANE NELSON                        HON. DEIDRE HENDERSON                      HON. KAY COLE JAMES
1100 CONGRESS                           350 N STATE ST, STE 220                    PO BOX 1475
CAPITOL BLDG, ROOM 1E.8                 PO BOX 142325                              RICHMOND, VA 23218
AUSTIN, TX 78701                        SALT LAKE CITY, UT 84114-2325



OFFICE OF SEC. OF STATE OF WASHINGTON   OFFICE OF TAX AND REVENUE                  OFFICE OF THE ILLINOIS STATE TREASURER
HON. KIM WYMAN                          1101 4TH ST SW, STE 270                    UNCLAIMED PROPERTY DIVISION
PO BOX 40220                            WASHINGTON, DC 20024                       MARINE BANK BUILDING
OLYMPIA, WA 98504-0220                                                             1 EAST OLD STATE C APITOL PLAZA
                                                                                   SPRINGFIELD, IL 62701



OFFICE OF THE INDIANA ATTORNEY          OFFICE OF THE N.Y. STATE COMPTROLLER       OFFICE OF THE STATE TREASURER (CT.)
GENERAL                                 OFFICE OF UNCLAIMED FUNDS                  UNCLAIMED PROPERTY DIVISION
UNCLAIMED PROPERTY DIVISION             110 STATE ST                               PO BOX 5065
PO BOX 2504                             ALBANY, NY 12236                           HARTFORD, CT 06102
GREENWOOD, IN 46142



OFFICE OF THE UNITED STATES TRUSTEE     OFFICINE METALLURGICHE CORNAGLIA S.        OHDIS INC
J CALEB BOGGS FEDERAL BUILING           STRADA MIRAFIORI N° 31                     650 S. ROCK BLVD 15A
844 KING STREET, SUITE 2207             BEINASCO, TO 10092                         RENO, NV 89502
WILMINGTON, DE 19801                    ITALY




OHIO DEPT OF JOB & FAMILY SERVICES      OHIO DEPT OF JOB AND FAMILY SERVICES       OHIO DEPT OF JOB AND FAMILY SERVICES
4020 EAST 5TH AVENUE                    OFFICE OF UNEMPLOYMENT COMPENSATION        OFFICE OF UNEMPLOYMENT INSURANCE
COLUMBUS, OH 43219                      30 E BROAD ST, 32ND FL                     PO BOX 182212
                                        COLUMBUS, OH 43215                         COLUMBUS, OH 43218-2212




OHIO MACHINERY CO.                      OJEDA ESPINOZA, EDGAR                      OJEDA, HECTOR
3993 E ROYALTON RD                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]
BROADWAY HTS, OH 44147




OKLAHOMA DEPT OF LABOR                  OKLAHOMA SAFETY EQUIPMENT CO, INC.         OKLAND CONSTRUCTION COMPANY, INC
409 NE 28TH ST, 3RD FL                  1701 W. TACOMA STREET                      1700 N MCCLINTOCK
OKLAHOMA CITY, OK 73105                 BROKEN ARROW, OK 74012                     TEMPE, AZ 85281




OKRAY, THOMAS                           OKRAY, THOMAS                              OLD DOMINION FREIGHT LINE INC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          1225 W WASHINGTON BLVD
                                                                                   MONTEBELLO, CA 90640




OLGUIN YANEZ, VICTOR                    OLIN, NAHUI                                OLIVAREZ, MARIO ALBERTO
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




OLMOS, DAVID                            OLS SERVICE INC                            OLVAN S.P.A.
[ADDRESS ON FILE]                       980 N FOREST AVE                           VIA PROVINCIALE PER CASTEL ROZZONE,
                                        RIALTO, CA 92376                           LURANO, BG 24050
                                                                                   ITALY
OMB SALERI SPA          Case 25-10258-TMH    Doc 32 Filed
                                      OMEGA ENGINEERING INC 02/19/25        Page 112
                                                                               OMG    of COMPONENTS
                                                                                   SPAIN 171        S.L.
VIA ROSE DI SOTTO                      26904 NETWORK PLACE                     CALLE ALUMINO,
BRESCIA, BS 25126                      CHICAGO, IL 60673                       VALLADOLID 47012
ITALY                                                                          ITALY




OMG SRL OFFICINE MECCANICHE            OMNI TECHNICAL SERVICES LLC             OMR SPA
STRADA PROVINCIALE FELETTO-AGLIE, K    7211 E LA PLATA                         VIA CARAVAGGIO, 3
LUSIGLIE, TO 10080                     MESA, AZ 85212                          REMEDELLO, BS 25010
ITALY                                                                          ITALY




ONE ONE LAB DESIGN STUDIO              ONEH2, INC.                             ONTARIO MUNICIPAL UTILITIES COMPANY
ST. DUBOIS 114/116                     620 23RD ST. NW                         1425 S BON VIEW AVE
LODZ 9346                              LONGVIEW, NC 28601                      ONTARIO, CA 91761
POLAND




ONTARIO REFRIGERATION                  ONTIC TECHNOLOGIES INC                  ONTRAXSYS LLC
635 S MOUNTAIN AVE                     1005 WEST 38TH ST 300                   603 SW KEATS AVE
ONTARIO, CA 91762                      AUSTIN, TX 78705                        PALM CITY, FL 34990




OPEN GRID EUROPE GMBH                  OPEN MIND TECHNOLOGIES USA INC          OPENSESAME, INC.
KALLENBERGSTRAßE 5                     1492 HIGHLAND AVE UNIT 3                1629 SW SALMON ST
ESSEN 45141                            NEEDHAM, MA 02492                       PORTLAND, OR 97205
GERMANY




OPENTEXT INC                           OPERATION TECHNOLOGY, INC.              OPHIR-SPIRICON LLC
24685 NETWORK PLACE                    17 GOODYEAR                             27631 NETWORK PLACE
CHICAGO, IL 60673                      IRVINE, CA 92618                        CHICAGO, IL 60673




OPTI TEMP INCORPORATED                 OPTRIS IR SENSING                       OPTUM BANK
1500 INTERNATIONAL DRIVE               200 INTERNATIONAL DRIVE, SUITE 130      12921 S VISTA STATIONSTE 200
TRAVERSE CITY, MI 49686                PORTSMOUTH, NH 03801                    DRAPER, UT 84020




OPULENTSOFT LLC                        ORACLE AMERICA, INC.                    ORBIS CORPORATION
3525 QUAKER BRIDGE RD. STE 3600        2300 ORACLE WAY                         1055 CORPORATE CENTER DR
HAMILTON, NJ 08619                     AUSTIN, TX 78741                        OCONOMOWOC, WI 53306-6




OREGON BUREAU OF LABOR AND             OREGON DEPARTMENT OF STATE LANDS        OREGON DEPT OF ENVIRONMENTAL
INDUSTRIES                             UNCLAIMED PROPERTY DIVISION             QUALITY
800 NE OREGON ST                       900 COURT ST NE                         700 NE MULTNOMAH ST, STE 600
SUTIE 1045                             SALEM, OR 97301-1279                    PORTLAND, OR 97232-4100
PORTLAND, OR 97232



OREGON DEPT OF FISH AND WILDLIFE       OREGON DEPT. OF REVENUE                 OREGON EMPLOYMENT DEPT
4034 FAIRVIEW INDUSTRIAL DRIVE, SE     955 CENTER ST NE                        DIV. OF UNEMPLOYMENT INSURANCE
SALEM, OR 97302                        SALEM, OR 97301-2555                    875 UNION ST NE
                                                                               SALEM, OR 97311
ORIHUELA, JORGE           Case 25-10258-TMH    Doc
                                        ORLANDO,    32 Filed 02/19/25
                                                 FRANCO                     Page 113 of
                                                                               ORLOPP,   171
                                                                                       ANDREW
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                      [ADDRESS ON FILE]




OROZCO VARGAS, ARACELI                  OROZCO, GUILLERMO                      ORR SAFETY CORP
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                      1266 RELIABLE PKWY
                                                                               CHICAGO, IL 60686




ORSCHELN PRODUCTS L.L.C.                ORTEGA, DOMINICK                       ORTIZ, LORENZO
1177 NORTH MORLEY ST                    [ADDRESS ON FILE]                      [ADDRESS ON FILE]
MOBERLY, MO 65270




OSBORN MALEDON PA                       OSL TECHNOLOGY SRL                     OSLER, HOSKIN & HARCOURT LLP
2929 N CENTRAL AVE 2000                 VIA PACIFICO CAROTTI 14 BIS            1325 AVE OF THE AMERICAS, FLR 20, S
PHOENIX, AZ 85012                       JESI 60035                             NEW YORK, NY 10019
                                        ITALY




OSORIO, VALERIE                         OTAY TRUCK PARKING, L.P.               OTAY TRUCK PARKING, L.P.
[ADDRESS ON FILE]                       5440 MOREHOUSE DR, STE 4000            ATTN DAVID WICK
                                        SAN DIEGO, CA 92121                    5440 MOREHOUSE DRIVE, SUITE 4000
                                                                               SAN DIEGO, CA 92121




OWENS, CEDRIC                           OXBLUE LLC                             OY AB, K. HARTWALL
[ADDRESS ON FILE]                       1777 ELLSWORTH INDUSTRIAL BLVD NW      [ADDRESS ON FILE]
                                        ATLANTA, GA 30318




OYEN WIGGS GREEN & MUTALA LLP           P&C INVESTMENTS, LLC                   P.C.M. S.R.L.
480 - 601 WEST CORDOVA STREET           1155 E. PALMDALE STREET                VIA ENZO FERRARI 47-49-51
VANCOUVER, BC V6B 1G1                   TUCSON, AZ 85714                       CASTELLALTO, TE 64020
CANADA                                                                         ITALY




PAC PROJECT ADVISORS INTERNATIONAL,     PACE SYSTEMS, INC.                     PACHECO SERVICES, INC.
755 W BIG BEAVER ROADSUITE 1875         2040 CORPORATE LANE                    1100 ALAMEDA ST
TROY, MI 48084                          NAPERVILLE, IL 60563                   WILMINGTON, CA 90744




PACHECO, FRANCISCO                      PACHECO, MICHAEL                       PACIFIC DRAYAGE SERVICES, LLC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                      550 W ARTESIA BLVD
                                                                               COMPTON, CA 90220




PACIFIC GAS AND ELECTRIC COMPANY        PACIFIC INTEGRATED HANDLING INC        PACIFIC OFFICE AUTOMATION, INC.
855 EMBARCADERO DR.                     10215 PORTLAND AVE E STE A             14747 NW GREENBRIER PKWY
WEST SACRAMENTO, CA 95605               TACOMA, WA 98445                       BEAVERTON, OR 97006
PACIFIC WEST LLC           Case 25-10258-TMH    Doc
                                         PACKAGING   32 Filed
                                                   CONCEPTS     02/19/25
                                                            AND DESIGN          Page 114 of 171
                                                                                   PACKAGING ENGINEERING, L.L.C
1555 W 2200 S., STE A                     234 E. MAPLE RD                           2212 GRAND COMMERCE DR.
SALT LAKE CITY, UT 84119                  TROY, MI 48083                            HOWELL, MI 48855




PACWEST RENTALS, LLC                      PAGADALA, SASHI                           PAGE FURA P.C.
3105 N MAPLE ST                           [ADDRESS ON FILE]                         939 W NORTH AVE SUITE 750
MESA, AZ 85215                                                                      CHICAGO, IL 60642




PALMER, SUSAN                             PALOMARES RODRIGUEZ, PEDRO                PALOMO, CESAR
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                         [ADDRESS ON FILE]




PALTIS, ARIADNA                           PANASONIC CORPORATION OF NORTH AMER       PANEL COMPONENTS & SYSTEMS INC
[ADDRESS ON FILE]                         PO 660367CODE 5144                        149 MAIN STREET
                                          DALLAS, TX 75266                          STANHOPE, NJ 07874




PANGOLIN STRUCTURAL LLC                   PAPER DISTRIBUTORS OF ARIZONA INC         PAPPUR, KIRAN KUMAR
1440 E MISSOURI AVE, SUITE C195           11551 E 45TH AVE, STE A                   [ADDRESS ON FILE]
PHOENIX, AZ 85014                         DENVER, CO 80239




PAR.CO SPA                                PARK, KRISTINE                            PARKER HANNIFIN CORPORATION
VIA DELLA RESISTENZA 30/34SCARPER         [ADDRESS ON FILE]                         7851 COLLECTION CENTER DR
FIRENZE 50038                                                                       CHICAGO, IL 60693
ITALY




PARKER HANNIFIN ITALY SRL                 PARKER STEEL INTERNATIONAL INC            PARKER, ANDREW J.
VIA CABOTO 1                              1625 INDIAN WOOD CIRCLE                   [ADDRESS ON FILE]
CORSICO, MI 20094                         MAUMEE, OH 43537
ITALY




PARKER, JASMINE                           PARRA, MANUEL                             PARRISH, JERAD
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                         [ADDRESS ON FILE]




PAR-SEC SOLUTIONS, INC.                   PARTNER ASSESSMENT CORPORATION            PARTSCH, MATTHEW
1340 N. DYNAMICS ST. SUITE F              2154 TORRANCE BLVD, STE 200               [ADDRESS ON FILE]
ANAHEIM, CA 92806                         TORRANCE, CA 90501-2609




PARZYCH, VALERIE                          PAS TECHNOLOGIES INC                      PASSADOR, STEPHEN
[ADDRESS ON FILE]                         1021 N 22ND AVE                           [ADDRESS ON FILE]
                                          PHOENIX, AZ 85009
PASSE, DANIEL           Case 25-10258-TMH     Doc
                                      PASTERICK,   32 Filed 02/19/25
                                                 ANASTASIYA                     Page 115 ofBRANDON
                                                                                   PATACSIL, 171
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]




PATE, STEVEN                              PATEL, DIXIT                             PATEL, NEEL
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]




PATEL, PRACHI                             PATIL, ANGAD                             PATIL, SHRUTI
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]




PATON & ASSOCIATES                        PATRIOT ENGINEERING AND ENVIRONMENT      PATTERSON COMMUNICATIONS, INC
7610 N VIA DE MANANA                      INC.                                     145 SHELDON AVENUE
SCOTTSDALE, AZ 85258                      6150 E. 75TH STREET                      TARRYTOWN, NY 10591
                                          INDIANAPOLIS, IN 46250




PAUL HASTINGS LLP                         PAUL ROGERS & ASSOCIATES LLC             PAUL, FRANKLIN
LOCKBOX 4803, PO BOX 894803               524 WEST VINTAGE DRIVE                   [ADDRESS ON FILE]
LOS ANGELES, CA 90189                     PROVO, UT 84604




PAUL, WEISS, RIFKIND, WHARTON & GAR LLP   PAVCANADA INC.                           PAYAN, LOURDES
1285 AVENUE OF THE AMERICAS               12872 141ST NW                           [ADDRESS ON FILE]
NEW YORK, NY 10019                        EDMONTON, AB T5L 4S3
                                          CANADA




PAYDARFAR INDUSTRIES INC.                 PAYLOCITY                                PAYNTER, MARK
32932 PACIFIC COAST HWY 14-429            1400 AMERICAN LANE                       [ADDRESS ON FILE]
DANA POINT, CA 92629                      SCHAUMBURG, IL 60173




PAYSCALE INC                              PB ELEKTRO VERTRIEBS-GMBH                PBL ENGINEERING, INC.
75 REMITTANCE DR. DEPT 1343               ROBERT-BOSCH-STRAßE 16                   4590 MACARTHUR BLVD
CHICAGO, IL 60675                         GROß-UMSTADT 64823                       NEWPORT BEACH, CA 92660
                                          GERMANY




PCB LIBRARIES, INC.                       PCB PIEZOTRONICS, INC.                   PDC MACHINES, LLC.
24654 N LAKE PLEASANT PKWY 103-271        3425 WALDEN AVENUE                       30 FRETZ ROAD
PEORIA, AZ 85383                          DEPEW, NY 14043                          SOUDERTON, PA 18964




PEARSON, THOMAS                           PEC OF AMERICA CORPORATION               PECOL AUTOMOTIVE, S.A.
[ADDRESS ON FILE]                         39555 ORCHARD HILL PLACE SUITE 220       APARTADO 3156, RASO DE PAREDES
                                          NOVI, MI 48275                           AGUERA, AVEIRO 3750-901
                                                                                   PORTUGAL
PEDERSON, MITCHELL PAULCase 25-10258-TMH     Doc 32
                                     PEEL, DAVID          Filed 02/19/25   Page 116 ofMAINTENANCE
                                                                              PEERLESS 171        SERVICE, INC
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                        1100 S EUCLID ST
                                                                              LA HABRA, CA 90631




PEKTRON SEV LIMITED                   PELLHAM, KYLE                           PELOTON INTERACTIVE INC
ALFRETON ROAD                         [ADDRESS ON FILE]                       441 9TH AVE
DERBY DE21 4AP                                                                NEW YORK, NY 10001
UNITED KINGDOM




PENINGTON PAINTING COMPANY            PENNSYLVANIA DEPARTMENT OF REVENUE      PENNSYLVANIA DEPARTMENT OF REVENUE
6313 W COMMONWEALTH PLACE             LOBBY STRAWBERRY SQ                     PO BOX 280905
CHANDLER, AZ 85226                    HARRISBURG, PA 17128-0101               HARRISBURG, PA 17128




PENNSYLVANIA DEPT OF LABOR AND        PENNSYLVANIA DEPT OF                    PENNSYLVANIA STATE TREASURY
INDUSTRY                              ENVIRONMENTAL PROTECTION                UNCLAIMED PROPERTY DIVISION
1700 LABOR & INDUSTRY BLDG            RACHEL CARSON STATE OFFICE BLDG         4TH FL, RIVERFRONT OFFICE CTR
HARRISBURG, PA 17120                  400 MARKET ST                           1101 SOUTH FRONT ST
                                      HARRISBURG, PA 17101                    HARRISBURG, PA 17104-2516



PENSKE TRUCK LEASING CO., L.P.        PENTALIFT EQUIPMENT CORPORATION         PEPES INC
2675 MORGANTOWN RD                    21 NICHOLAS BEAVER RD                   918 S BOYLE AVE
READING, PA 19607                     PUSLINCH, ON N0B 2J0                    LOS ANGELES, CA 90023
                                      CANADA




PEPPERLFUCHS, INC                     PEREGRINE INTEGRITY MANAGEMENT          PEREHODNIK, YULIA
1600 ENTERPRISE PKWY                  406, 11979 - 40TH STREET SE             [ADDRESS ON FILE]
TWINSBURG, OH 44087                   CALGARY, AB T2Z 4M3
                                      CANADA




PEREIRA, PREM                         PEREZ DIARTE, SAMUEL                    PEREZ NUNEZ, VICENTE
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




PEREZ OCHOA, OLIVIA                   PEREZ VELASCO, CARLOS                   PEREZ, JUAN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




PEREZ, JULIO                          PEREZ, LUIS                             PEREZ, NANCY
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]




PERFORMANCE ASSESSMENT NETWORK,       PERFORMANCE COURT QOZB LLC              PERFORMANCE COURT QOZB, LLC
INC                                   ATTN TIMOTHY SCHAEDLER                  920 PERFORMANCE DR
11590 N MERIDIAN STREET, SUITE 200    400 CAPITOL MALL, SUITE 2040            STOCKTON, CA 95206
CARMEL, IN 46032                      SACRAMENTO, CA 95814
PERICHERLA, TULASI    Case 25-10258-TMH     DocLLP
                                    PERKINS COIE 32          Filed 02/19/25   Page 117 ofJONATHAN
                                                                                 PERKINS,  171 W.
[ADDRESS ON FILE]                     1201 THIRD AVE, STE 4900                   [ADDRESS ON FILE]
                                      SEATTLE, WA 98101




PERKINS, KRISTOPHER                   PERLA INVESTMENTS                          PERSEFONI AI INC
[ADDRESS ON FILE]                     3302 E. ATLANTA AVE.                       2415 W BROADWAY RD 41022
                                      PHOENIX, AZ 85040                          MESA, AZ 85274




PERTCHIK, JONATHAN                    PESC INC.                                  PESCI ATTREZZATURE SRL
[ADDRESS ON FILE]                     PATRICK A. OGORMAN                         VIA LOUIS BLERIOT, 2
                                      766 GRETNA GREEN WAY                       MONTICHIARI 25018
                                      ESCONDIDO, CA 92025                        ITALY




PETER D. LEARY                        PETER D. LEARY                             PETER D. LEARY
UNITED STATES ATTORNEYS OFFICE        UNITED STATES ATTORNEYS OFFICE             US ATTORNEYS OFFICE
PO BOX 1702                           PO BOX 2568                                CB KING UNITED STATES COURTHOUSE
MACON, GA 31202-1702                  COLUMBUS, GA 31902-2568                    201 W BROAD AVE, 2ND FL
                                                                                 ALBANY, GA 31701



PETERS, TYRONE                        PETERSON, BRADLEY                          PETERSON, CARLTON
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




PETHACHI MOHAN, RAMASUWAMEE           PETRILLO, ADAM                             PETROVICH, MARY
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




PETROVICH, MARY                       PFEIFFER VACUUM INC.                       PGT TRUCKING, INC.
[ADDRESS ON FILE]                     24 TRAFALGAR SQUARE                        4200 INDUSTRIAL BLVD
                                      NASHUA, NH 03063                           ALIQUIPPA, PA 15001




PHAM, THOMPSON                        PHIARO , INCORPORATED                      PHILIP R. SELLINGER
[ADDRESS ON FILE]                     9016 RESEARCH DR                           US ATTORNEYS OFFICE
                                      IRVINE, CA 92618                           970 BROAD ST, 7TH FL
                                                                                 NEWARK, NJ 07102




PHILIP R. SELLINGER                   PHILLIP A. TALBERT                         PHILLIPS ADR ENTERPRISES PC
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE                        2101 EAST COAST HIGHWAY, SUITE 250
CAMDEN FEDERAL BLDG & US COURTHOUSE   501 I ST, STE 10-100                       CORONA DEL MAR, CA 92625
PO BOX 2098, 401 MARKET ST, 4TH FL    SACRAMENTO, CA 95814
CAMDEN, NJ 08101



PHILLIPS, DAVID                       PHOENIX CHILDRENS HOSPITAL FOUNDAT         PHOENIX CONTACT E-MOBILITY GMBH
[ADDRESS ON FILE]                     2929 CAMELBACK ROAD, SUITE 122             HAINBERGSTRABE 2
                                      PHOENIX, AZ 85016                          SCHIEDER-SCHWALENBERG 32816
                                                                                 GERMANY
PHOENIX JEWISH NEWS, LLCCase 25-10258-TMH
                                      PHOENIX Doc  32
                                               METRO      Filed SPECIALISTS
                                                     RECOVERY   02/19/25      Page 118 of
                                                                                 PHOENIX   171 LABORATORIES, INC.
                                                                                         NATIONAL
12701 N SCOTTSDALE RD, STE 201        2244 W APACHE TRAIL                        941 S. PARK LANE
SCOTTSDALE, AZ 85254                  APACHE JUNCTION, AZ 85120                  TEMPE, AZ 85281




PHOENIX STAFF, INC                      PHOENIX WINSUPPLY CO.                    PHX 48TH BROADWAY, LLC
4611 E CHANDLER BLVD, STE 112-101       1045 S EDWARD DR                         4725 E BROADWAY ROAD
PHOENIX, AZ 85048                       TEMPE, AZ 85281                          PHOENIX, AZ 85040




PHYTOOLS, LLC                           PICKERING INTERFACES INC                 PICO MES INC.
900 WINSLOW WAY E, STE 120              221 CHELMSFORD STREET, SUITE 6           303 TWIN DOLPHIN DRIVE, SUITE 600
BAINBRIDGE ISLAND, WA 98110             CHELMSFORD, MA 01824                     REDWOOD CITY, CA 94065




PIERCE, MARK                            PIERCY, MICHAEL                          PIERSON, LUCAS
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




PIETZ, DANIEL                           PIKE, JOSEPH                             PIKE, JOSEPH
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




PILKINGTON AUTOMOTIVE INDIA PVT.LTD     PILKINGTON AUTOMOTIVE LIMITED            PILOT TRAVEL CENTERS LLC
D NO 39 27 44/5 VUDA COLONY MADHAVA     HALL LANE, L40 5UF LATHOM (UK)           5508 LONAS DRIVE
ANAKAPALLE 53101                        LATHOM L40 5                             KNOXVILLE, TN 37939
INDIA                                   UNITED KINGDOM




PIMA INDUSTRIES LLC                     PINAL COUNTY - AIR QUALITY               PINAL COUNTY - TREASURER
11394 JAMES WATT DR. STE 805            85 N FLORENCE ST                         31 N PINAL ST, BLDG E
EL PASO, TX 79936                       FLORENCE, AZ 85132                       FLORENCE, AZ 85132




PINAL COUNTY TREASURER                  PINAL COUNTY TREASURER                   PINON, MAX
31 N PINAL ST E                         COUNTY TREASURER                         [ADDRESS ON FILE]
FLORENCE, AZ 85132                      PO BOX 729
                                        FLORENCE, AZ 85132




PIONEER DISTRIBUTING COMPANY INC        PIONEER EQUIPMENT INC                    PIPELINE VIDEO INSPECTION, LLC
1300 N 24TH AVENUE                      3738 E MIAMI AVE                         9304 EAST VERDE GROVE VIEW
PHOENIX, AZ 85009                       PHOENIX, AZ 85040                        SCOTTSDALE, AZ 85255




PITTSBURGH SPRAY EQUIPMENT CO.          PLANT SOLUTIONS INC                      PLANTHARAN, EDWIN
3601 LIBRARY RD.                        7255 E ADOBE DR 101                      [ADDRESS ON FILE]
PITTSBURGH, PA 15234                    SCOTTSDALE, AZ 85255
                       Case INC.
PLASMA RUGGEDIZED SOLUTIONS, 25-10258-TMH      Doc 32 Filed
                                      PLASTIC COMPONENTS SRL 02/19/25       Page 119 of
                                                                               PLASTIC   171 AUTOMOTIVE ESPANA S.
                                                                                       OMNIUM
5452 BUSINESS DR.                     VIA POIRINO, 26                          32 PARQUE INDUSTRIAL JUAN CARLOS I,
HUNTINGTON BEACH, CA 92649            PRALORMO, TO 10040                       ALMUSSAFES 46440
                                      ITALY                                    SPAIN




PLASTIC OMNIUM EQUIPAMIENTOS EXTERI   PLASTICOS AUTOMOTRICES DE                PLEGER, JAMES
SA                                    SAHAGUN S.A. DE C.V.                     [ADDRESS ON FILE]
AV. DE LA FOIA, 32 PARQUE INDUSTRI    CORREDOR INDUSTRIAL S/N ZONA INDUST
ALMUSSAFES 46440                      CIUDAD SAHAGUN, HG 43990
SPAIN                                 MEXICO



PLEMON, BRANDON                       PLEXIM GMBH                              PLM FLEET, LLC
[ADDRESS ON FILE]                     TECHNOPARKSTRASSE 1                      3 GATEWAY CENTER, 100 MULBERRY STRE
                                      ZURICH 8005                              NEWARK, NJ 07102
                                      SWITZERLAND




PLUG POWER INC                        PLUSAI, INC.                             PMC ENGINEERING LLC
968 ALBANY SHAKER RD                  3315 SCOTT BLVD. STE 300                 11 OLD SUGAR HOLLOW ROAD
LATHAM, NY 12110                      SANTA CLARA, CA 95054                    DANBURY, CT 06810




PNY TECHNOLOGIES, INC.                POHLE NV CENTER, INC.                    POLIRIM S.R.L.
100 JEFFERSON ROAD                    9922 W SANTA FE DRIVE                    VIA F.LLI KENNEDY 28/A
PARSIPPANY, NJ 07054                  SUN CITY, AZ 85351                       CASSINONE,BA 24060
                                                                               ITALY




PONCE, JEFF                           PONDER ENVIRONMENTAL SERVICES, INC.      PONKALA, JUHA
[ADDRESS ON FILE]                     4563 EAST SECOND ST                      [ADDRESS ON FILE]
                                      BENICIA, CA 94510




PONNUSAMY ILANGOVAN, SIDDHARTH        POPPELMANN GMBH & CO. KG                 PORRAS, LEAH
[ADDRESS ON FILE]                     BAKUMER STR. 73                          [ADDRESS ON FILE]
                                      LOHNE 49393
                                      GERMANY




PORTABLE PIPE HANGERS                 PORTER HEDGES LLP                        POSTINS, CHARLIE
5534 HARVEY WILSON DR                 DEPT. 510, P.O. BOX 4346                 [ADDRESS ON FILE]
HOUSTON, TX 77020                     HOUSTON, TX 77210




POTLABATHINI, SRIHARI                 POW SPECIALTY EQUIPMENT INC              POWELL, TOMASENA
[ADDRESS ON FILE]                     50 SAMNAH CRESCENT                       [ADDRESS ON FILE]
                                      INGERSOLL, ON N5C 3J7
                                      CANADA




POWER ELECTRONICS USA INC             POWER HOLDINGS LLC                       POWER HOLDINGS, LLC
1510 N HOBSON ST                      ATTN SUNNY NAIDU                         9905 CHERRY AVE
GILBERT, AZ 85233                                                              FONTANA, CA 92335
POWER SOL INCORPORATED   Case 25-10258-TMH     DocINC.
                                       POWER TEST,   32 Filed 02/19/25      Page 120 of 171
                                                                               POWERBUILT MATERIAL HANDLING SOLUTI
2361 CARINGA WAY, UNIT 2               N60 W22700 SILVER SPRING DR.             LLC.
CARLSBAD, CA 92009                     SUSSEX, WI 53089                         230 REYNOLDS AVE.
                                                                                BELLEFONTAINE, OH 43311




POWERCELL SWEDEN AB                   POWER-PACKER EUROPE BV                    POWERSIM INC
RUSKVADERSGATAN 12                    EDISONSTRAAT 2                            ATTN: JESSICA ANDERSON1820 E BIG
GOTEBORG 418 3                        OLDENZAAL 7575 AT                         TROY, MI 48083
SWEDEN                                NETHERLANDS




POWERTECH LABS INC.                   POWILL MANUFACTURING & ENGINEERING,       PPA ENGINEERING TECHNOLOGIES INC.
12388 88TH AVE                        21039 N. 27TH AVE.                        50 SAMNAH CRESCENT
SURREY, BC V3W 7R7                    PHOENIX, AZ 85027                         INGERSOLL, ON N5C 3J7
CANADA                                                                          CANADA




PPAP MGR CORP                         PPG INDUSTRIES INC.                       PRABHAKARAN, SUDHARSAN
651 N BROAD STSUITE 206               PO BOX 121070, DEPT 1070                  [ADDRESS ON FILE]
MIDDLETOWN, DE 19709                  DALLAS, TX 75312




PRABHU, OMKAR                         PRADO DAVILA, RODOLFO                     PRATT & MILLER ENGINEERING & FABRIC INC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         29600 WK SMITH DRIVE
                                                                                NEW HUDSON, MI 48165




PRAVINBHAI SORATHIA, JAY              PRECISION DIE & STAMPING INC.             PREFERRED INSULATION CONTRACTORS, I
[ADDRESS ON FILE]                     1704 W 10TH STREET                        7225 W ROOSEVELT STE 180
                                      TEMPE, AZ 85281                           PHOENIX, AZ 85043




PREFERRED PRECISION GROUP, LLC.       PREMIER PLASTIC RESINS INC                PREMIER PLASTIC RESINS, INC.
1310 COMER AVE                        189 W. CLARKSTON RD, STE 203              189 W. CLARKSTON RD. B203
PELL CITY, AL 35125                   LAKE ORION, MI 48362                      LAKE ORION, MI 48362




PREMIER ROOFING AND WATERPROOFING     PREMIER TRAILERS LLC                      PREMIUM TRANSPORTATION SERVICES
CO                                    5201 TENNYSON PARKWAY, STE 250            IN TOTAL TRANSPORTATION SERVICES
4600 EAST WASHINGTON STREET, SUITE    PLANO, TX 75024                           4811 AIRPORT PLAZA DR. 4TH FL.
PHOENIX, AZ 85034                                                               LONG BEACH, CA 90815




PRE-PAID LEGAL SERVICES, INC.         PREPASS SAFETY ALLIANCE                   PRESIDIO HOLDINGS INC.
PO BOX 2629                           2929 N. CENTRAL AVE. STE 1500             13893 S MINUTEMAN DR 100
ADA, OK 74821                         PHOENIX, AZ 85018                         DRAPER, UT 84020




PRESTIGE ADVANCED, INC.               PREUSS, NICKOLAS                          PRICE, CHET
30031 STEPHENSON HWY.                 [ADDRESS ON FILE]                         [ADDRESS ON FILE]
MADISON HEIGHTS, MI 48071
                     Case
PRICEWATERHOUSECOOPERS AS 25-10258-TMH      Doc 32
                                   PRIETO, JOHNNY        Filed 02/19/25     Page 121
                                                                               PRIM    of 171
                                                                                    F ESCALONA
POSTBOKS 748 SENTRUM               [ADDRESS ON FILE]                           US ATTORNEYS OFFICE
OSLO 0106                                                                      1801 4TH AVE NORTH
NORWAY                                                                         BIRMINGHAM, AL 35203




PRIMA SOLE COMPONENTS S.P.A           PRINT SERVICE BUREAU LLC                 PRIORITY-1, INC.
VIA G. VERDI N. 30                    804 S REDLANDS AVE                       1800 E ROOSEVELT RD
ODERZO (TREVISO) 31046                PERRIS, CA 92570                         LITTLE ROCK, AR 72206
ITALY




PRO BOX PORTABLE STORAGE, LLC         PRO LUXURY CLEANING SERVICES LLC         PRO TOOL WAREHOUSE LLC
4150 E MAGNOLIA ST.                   2655 S. 89TH AVE                         1685 TERRELL MILL ROAD SE, SUITE 20
PHOENIX, AZ 85034                     TOLLESON, AZ 85353                       MARIETTA, GA 30067




PROAUTOMATION                         PRODIGY PROMOS, LC                       PRODUCTION SERVICES MANAGEMENT, INC
3111 N CENTRAL AVE SUITE A223         123 S 1380 W                             1255 BEACH CT
PHOENIX, AZ 85012                     LINDON, UT 84042                         SALINE, MI 48176




PRODUCTION TOLL COMPANY OF CLEVELAN   PRODUCTOS ESPECIALIZADOS DE ACERO        PROFESSIONAL PIPING SYSTEMS LLC
9002 DUTTON DRIVE                     DE CV                                    319 E PIONEER ST
TWINSBURG, OH 44087                   PONIENTE 134, NO. 854, INDUSTRIAL V      PHOENIX, AZ 85040
                                      AZCAPOTZALCO, CM 02300
                                      MEXICO



PROFESSIONAL PLASTICS                 PROFESSIONAL SERVICE INDUSTRIES, IN      PROFORMANCE VEND USA INC
DEPT LA 23218                         545 E ALGONQUIN ROAD                     2323 N 27TH AVE
PASADENA, CA 91185                    ARLINGTON HEIGHTS, IL 60005              PHOENIX, AZ 85009




PROGRAMMING RESEARCH LTD.             PROGRESSIVE SERVICES INC                 PROGRESS-WERK OBERKIRCH AG
THE CAPITAL BUILDING, 2ND FLR STE 3   23 N 35TH AVE                            INDUSTRIESTRAßE 8
BRACKNELL, BERKSHIRE RG12 8FZ         PHOENIX, AZ 85009                        OBERKIRCH 77704
UNITED KINGDOM                                                                 GERMANY




PROJECT CLEAN AIR, INC                PROMARK ELECTRONICS INC                  PROMENS A.S.
4949 BUCKLEY WAY, STE 206             215 AV VOYAGEUR                          CECILKA 38
BAKERSFIELD, CA 93309                 POINTE-CLAIRE, QC H9R 6B1                ZLIN 760 0
                                      CANADA                                   CZECHIA




PROMETEON TYRE GROUP COMMERCIAL       PROPLANNER INC                           PROSERV CRANES WEST, LLC
SOLUTIONS, LLC                        2321 NORTH LOOP DRIVE, SUITE 104         455 ALDINE BENDER
ONE CHASE MANHATTAN PLAZA             AMES, IA 50010                           HOUSTON, TX 77060
NEW YORK, NY 10004




PROTERRA, INC                         PROTIVITI INC.                           PROTO LABS INC
1815 ROLLINS RD                       12269 COLLECTIONS CENTER DRIVE           5540 PIONEER CREEK DRIVE
BURLINGAME, CA 94010                  CHICAGO, IL 60693                        MAPLE PLAIN, MN 55359
                      Case 25-10258-TMH
PROTOTRON CIRCUITS SOUTHWEST, INC.  PROVITESDocGEAR32     Filed
                                                    SYSTEMS      02/19/25
                                                               INC.          Page 122 of 171
                                                                                PROWIREUSA, LLC
3760 E. 43RD. PLACE                 6200 DIXIE RD. UNIT 7-8, REAR DOOR          22230 S SCOTLAND CT STE 102
TUCSON, AZ 85713                    MISSISSAUGA, ON L5T 2E1                     QUEEN CREEK, AZ 85142
                                    CANADA




PTC INC.                               PTS ADVANCE                              PTW CANADA LTD.
121 SEAPORT BLVD                       1775 FLIGHT WAYSTE 100                   285188 FRONTIER ROAD
BOSTON, MA 02210                       TUSTIN, CA 92782                         ROCKYVIEW COUNTY, AB T1X 0N2
                                                                                CANADA




PUB COMPANY ACCOUNTING OVERSIGHT       PUMP DYNAMICS, LLC                       PUNDLIKRAO BHAGAT, ADITYA
BOARD                                  5508 NE CLARA LANE                       [ADDRESS ON FILE]
1666 K STREET NW, STE 300              HILLSBORO, OR 97124
WASHINGTON, DC 20006-2803




PURANIA, NARENDRA                      PURCELL TIRE & RUBBER COMPANY            PUSHPITHA VUDATA, SAI
[ADDRESS ON FILE]                      300 N MAIN ST                            [ADDRESS ON FILE]
                                       DE SOTO, MO 63020




Q-LAB CORPORATION                      QTAC, LLC                                QUADIENT FINANCE USA, INC
800 CANTERBURY RD                      4775 PROGRESS DRIVE                      478 WHEELERS FARMS RD
WESTLAKE, OH 44145                     COLUMBUS, IN 47201                       MILFORD, CT 06461




QUADIENT FINANCE USA, INC              QUADRI, BRUNO                            QUALITY ASSOCIATES INTERNATIONAL, I
PO BOX 6813                            [ADDRESS ON FILE]                        1333 ANDERSON ROAD
CAROL STREAM, IL 60197                                                          CLAWON, MI 48017




QUALITY CONTAINER BROKERS INC          QUALITY LIAISON SERVICES OF              QUALITY MACHINING & AUTOMATION INC
1070A FLYNN ROAD                       NORTH AMERICA, INC.                      335 NUGGET AVE UNIT 1-3
CAMARILLO, CA 93012                    100 BLUEGRASS COMMONS BLVD., STE 33      SCARBOROUGH, ON M1S 4J3
                                       HENDERSONVILLE, TN 37075                 CANADA




QUALITY METALCRAFT INC                 QUALITY TOOL & EQUIPMENT, INC.           QUALTRICS LLC
28101 SCHOOLCRAFT                      42660 RIO NEDO                           DEPT 880102
LIVONIA, MI 48150                      TEMECULA, CA 92590                       PHOENIX, AZ 85038




QUANCE, CHRISTOPHER                    QUANTA COMPUTER INC                      QUANTUM FUEL SYSTEMS LLC
[ADDRESS ON FILE]                      211, WEN HWA 2ND RD                      25372 COMMERCENTRE DRIVE
                                       YUAN 33377                               LAKE FOREST, CA 92630
                                       TAIWAN




QUEUE SOLUTIONS                        QUEZADA GRAJEDA, ARMANDO                 QUIK TEK ASSEMBLY
155 KNICKERBOCKER AVE                  [ADDRESS ON FILE]                        1555 W ELNA RAE
BOHEMIA, NY 11716                                                               TEMPE, AZ 85281
                       Case
QUILL SECURITY TECHNOLOGY LLC 25-10258-TMH      Doc 32 Filed 02/19/25
                                       QUINN COMPANY                      Page 123COMPANY
                                                                             QUINN of 171
2545 COLFAX AVE S                      10006 ROSE HILLS RD                   PO BOX 849665
MINNEAPOLIS, MN 55405                  CITY OF INDUSTRY, CA 90601            LOS ANGELES, CA 90084




QUINN                                  QUORUM ANALYTICS LLC                  QUORUM GROUP LLC
ATTN: KEVIN STRATTON                   1 THOMAS CIRCLE NW FL 6               11601 MAPLE RIDGE ROAD
10006 ROSE HILLS RD                    WASHINGTON, DC 20005                  MEDINA, NY 14103
CITY OF INDUSTRY, CA 90601




R & L CARRIERS INC                     R M YOUNG COMPANY INC                 R SYSTEMS INTERNATIONAL LIMITED
600 GILLAM RD                          2801 AERO PARK DR                     5000 WINDPLAY DRIVE SUITE 5
WILMINGTON, OH 45177                   TRAVERSE CITY, MI 49686               EL DORADO HILLS, CA 95762




R&A ELECTRONICS CO. LIMITED            R&J MANUFACTURING INC.                R.A. PHILLIPS INDUSTRIES INC.
ROOM 1450. 14/F, ETON TOWER, 8 HYSA    1230 W GILA BEND HWY                  5231 CALIFORNIA AVE
WAN CHAI DISTRICT Wan                  CASA GRANDE, AZ 85122                 IRVINE, CA 92617-3235
HONG KONG




R.L. POLK & CO                         R.S. HUGHES COMPANY, INC.             RACCORDERIE TAA SPA
26533 EVERGREEN RD, STE 1100           10639 GLENOAKS BLVD                   VIA BARRRO 52-54
SOUTHFIELD, MI 48076-4249              PACOIMA, CA 91331                     INVORIO, NO 28045
                                                                             ITALY




RACELOGIC USA                          RACHAEL S. ROLLINS                    RACHAEL S. ROLLINS
27260 HAGGERTY, SUITE A2               JOHN JOSEPH MOAKLEY                   OFFICE OF THE UNITED STATES ATTORNEY
FARMINGTON, MI 48331                   UNITED STATES FEDERAL COURTHOUSE      DONOHUE FEDERAL BLDG
                                       1 COURTHOUSE WAY, STE 9200            595 MAIN ST, ROOM 206
                                       BOSTON, MA 02210                      WORCESTER, MA 01608



RACHAEL S. ROLLINS                     RADIANT GLOBAL LOGISTICS, INC.        RADMALL, GARRETT
OFFICE OF THE UNITED STATES ATTORNEY   TRITON TOWERS TWO                     [ADDRESS ON FILE]
FEDERAL BLDG AND COURTHOUSE            700 S RENTON VILLAGE PL, 7TH FL
300 STATE ST, STE 230                  RENTON, WA 98057
SPRINGFIELD, MA 01105



RADWELL INTERNATIONAL LLC              RAFAEL TORRES PEREZ, EDGAR            RAHIMI BOLDAJI, MOZHGAN
1 MILLENNIUM DRIVE                     [ADDRESS ON FILE]                     [ADDRESS ON FILE]
WILLINGBORO, NJ 08046




RAHIMIAN, ABDOLREZA                    RAIL PROP LLC                         RAJKUMAR NATARAJAN, SUDHAN
[ADDRESS ON FILE]                      2201 HERCULES DR                      [ADDRESS ON FILE]
                                       LOS ANGELES, CA 90046




RALF KAISER                            RAM PRECISION                         RAM SUBRAMANIAN, VENKAT
[ADDRESS ON FILE]                      405 CAREDEAN DRIVE                    [ADDRESS ON FILE]
                                       HORSHAM, PA 19044
                     Case 25-10258-TMH
RAMACHANDRAN, SIDDDHARTH                   Doc 32 DE Filed
                                   RAMCO STAMPING    MEXICO,02/19/25
                                                              S.A. DE C      Page 124 ofDANIEL
                                                                                RAMIREZ, 171 SUAREZ
[ADDRESS ON FILE]                  CALZADA SAN MATEO NO. 40 COLONIA SA          [ADDRESS ON FILE]
                                   ATIZAPAN DE ZARAGOZA, EM 52946
                                   MEXICO




RAMIREZ, DANIEL                       RAMIREZ, JAIME                            RAMOS, GERARDO PAYAN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         [ADDRESS ON FILE]




RAMOS, GUADALUPE                      RAMOS-GUNN, CESAR                         RAMPF GROUP, INC.
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                         49037 WIXOM TECH DR
                                                                                WIXOM, MI 48393




RANDALL LAW PLLC                      RANDALL, JUSTIN                           RANDALL-REILLY, LLC
20822 W PROSPECTOR WAY                [ADDRESS ON FILE]                         1460 NORTHBANK PKWY, STE 100
BUCKEYE, AZ 85396                                                               TUSCALOOSA, AL 35406




RANDOLPH, CORY                        RANDY S. GROSSMAN                         RANDY S. GROSSMAN
[ADDRESS ON FILE]                     OFFICE OF THE UNITED STATES ATTORNEY      US ATTORNEYS OFFICE
                                      IMPERIAL COUNTY OFFICE                    880 FRONT ST, ROOM 6293
                                      516 INDUSTRY WAY, STE C                   SAN DIEGO, CA 92101-8893
                                      IMPERIAL, CA 92251-7501



RANSOM, LASHAUN                       RAPID FIT NV                              RAPID GLOBAL BUSINESS SOLUTIONS INC
[ADDRESS ON FILE]                     TECHNOLOGIELAAN 15                        1200 STEPHENSON HWY
                                      LEUVEN 3001                               TROY, MI 48083
                                      BELGIUM




RAPID RESPONSE INDUSTRIAL GROUP LTD   RAUTIO, JOSHUA                            RAVIKUMAR, MURALI
397-52458 RANGE RD. 223               [ADDRESS ON FILE]                         [ADDRESS ON FILE]
SHERWOOD PARK, AB T8A 5V1
CANADA




RAVIPATI, SREENIVASA                  RAYCONNECT INC.                           RAYCONNECT INC.
[ADDRESS ON FILE]                     2350 AUSTIN AVE, STE 100                  PO BOX 674798
                                      ROCHESTER HILLS, MI 48309-3679            DETROIT, MI 48267




RAYMOND HANDLING SOLUTIONS, INC.      RCO ENGINEERING INC                       REACTION MANAGEMENT, INC.
9939 NORWALK BLVD.                    29200 CALAHAN ROAD                        809 W. RIORDAN ROAD, SUITE 100 - 34
SANTA FE SPRINGS, CA 90670            ROSEVILLE, MI 48066                       FLAGSTAFF, AZ 86001




READYSPACES SNA LLC                   REASNER, ROD                              RECYCLE AWAY LLC
3731 WARNER AVE                       [ADDRESS ON FILE]                         35 FROST STREET
SANTA ANA, CA 92704                                                             BRATTLEBORO, VT 05301
RED DOOR INTERACTIVE INCCase 25-10258-TMH
                                      REDDAWAYDoc 32 Filed 02/19/25     Page 125 of
                                                                           REDDER,   171
                                                                                   TIMM
2436 MARKET ST                        26401 NETWORK PLACE                  [ADDRESS ON FILE]
SAN DIEGO, CA 92102                   CHICAGO, IL 60673




REDDY CHALLA, TARUN                     REDDY DASARI, KOVIDHA              REDDY PINNEPUREDDY, ABHIJITH
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                  [ADDRESS ON FILE]




REDLINE FIRE PREVENTION LLC             REDWOOD MATERIALS, INC             REED, AMELIA
20403 N LAKE PLEASANT RD STE 117-51     2801 LOCKHEED WAY                  [ADDRESS ON FILE]
PEORIA, AZ 85382                        CARSON CITY, NV 89706




REED, JOHN                              REEYA ENTERPRISES, LLC             REFLEXALLEN USA, INC.
[ADDRESS ON FILE]                       1938 ELLIOTT DR.                   2655 FORTUNE CIRCLE WEST, UNIT A
                                        YUBA CITY, CA 95993                INDIANAPOLIS, IN 46241




REGENTS OF THE UNIV OF CALI RIVERSIDE   REGIONAL REPORT INC                REHALL, JOSEPH
1084 COLUMBIA AVE                       495A HENRY ST, 156                 [ADDRESS ON FILE]
RIVERSIDE, CA 92507                     BROOKLYN, NY 11231




REICH USA CORPORATION                   REICHARD, SCOTT                    REIDHEAD, PAUL
300 ROUTE 17 S. UNIT H                  [ADDRESS ON FILE]                  [ADDRESS ON FILE]
MAHWAH, NJ 07430




RELEVANT INDUSTRIAL LLC                 RELEVANT POWER SOLUTIONS, LLC      RELIABLE CARRIERS INC
2010 MCALLISTER RD                      20120 E HARDY ROAD                 41555 KOPPERNICK RD
HOUSTON, TX 77092                       HOUSTON, TX 77073                  CANTON, MI 48187




RELIANCE STANDARD LIFE INSURANCE CO     RELIANCE STEEL & ALUMINUM CO.      RELIANCE WORLDWIDE DISTRIBUTION (EU
1700 MARKET ST, STE 1200                1107 E JACKSON ST                  LTD
PHILADELPHIA, PA 19103                  PHOENIX, AZ 85034                  LUDWIG-ERHARD-ALLEE 30
                                                                           BIELEFELD 33719
                                                                           GERMANY



REMA GMBH                               RENEWABLE HYDROGEN ALLIANCE        RENGARAJAN, SARADHI
385 SOUTH WOODS DRIVE                   3519 NE 15TH AVENUE, 227           [ADDRESS ON FILE]
FOUNTAIN INN, SC 29644                  PORTLAND, OR 97212




RENHAO WEIYE TECHNOLOGY (WUHAN) CO.     RENTOKIL NORTH AMERICA, INC.       REO USA INC.
NO 555 WENHAU AVENUE                    1125 BERKSHIRE BLVD, STE 150       8450 E 47TH STREET
WUHAN CITY 430074                       READING, PA 19610-1218             INDIANAPOLIS, IN 46226
CHINA
REPPERT, JENNIFER         Case 25-10258-TMH
                                        REPUBLICDoc  32 INC.
                                                 SERVICES, Filed 02/19/25   Page 126 ofSERVICES,
                                                                               REPUBLIC 171      INC.
[ADDRESS ON FILE]                         18500 N ALLIED WAY                    18500 N. ALLIED WAY
                                          PHOENIX, AZ 85054                     PHOENIX, AZ 85054




REPUBLIC SERVICES, INC.                   REQUEST MANUFACTURING, INC.           RESCALE, INC.
P.O. BOX 78829                            2540 N 35TH AVE 20                    33 NEW MONTGOMERY ST. STE 950
PHOENIX, AZ 85062-8829                    PHOENIX, AZ 85009                     SAN FRANCISCO, CA 94105




RESEARCH DATA GROUP                       RESENDIZ YANEZ, OSWALDO               RESH, THOMAS
816 ROANOKE BLVD                          [ADDRESS ON FILE]                     [ADDRESS ON FILE]
SALEM, VA 24153




RESIDENCE REGINA                          RESSLER, ERIC                         RESTORATIONHQ, LLC
CORSO PRIMO LEVI, 150                     [ADDRESS ON FILE]                     3650 E WIER AVE
RIVOLI, TORINO 10098                                                            PHOENIX, AZ 85040
ITALY




RETAIL ORGANIZATION GROUP LLC             RETALLACK, CHARLES                    RETROFIT SERVICE COMPANY, INC.
551 SOUTH WEST 109TH AVE. SUITE 207       [ADDRESS ON FILE]                     8656 UTICA AVE. SUITE 300
PEMBROKE PINES, FL 33025                                                        RANCHO CUCAMONGA, CA 91730




REUSCH RECHTSANWALTSGESELLSCHAFT          REV1 OIL & GAS, LLC                   REVOLUTION INDUSTRIAL LLC
MB                                        100 N TAMPA ST. STE 2300              5858 W RIGGS RD
JOACHIMSTHALER STRAßE 34                  TAMPA, FL 33602                       CHANDLER, AZ 85226
BERLIN 10719
GERMANY



REYES, CHRISTOPHER                        REYES, WILL                           REYNAGA, RICHARD
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                     [ADDRESS ON FILE]




RHODES, BARBARA                           RHODES, BARBARA                       RHODES, BARBARA
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                     [ADDRESS ON FILE]




RHODES, BARBARA                           RHODES, BARBARA                       RHOMBUS ENERGY SOLUTIONS, INC.
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                     10915 TECHNOLOGY PLACE
                                                                                SAN DIEGO, CA 92127




RIBERMOLD, LDA                            RIBV HOLDINGS, LLC                    RICARDO US HOLDINGS, INC.
R. DA M.NHA PEQUENA 22                    4055 EMBASSY PARKWAYSTE 100           40000 RICARDO DRIVE
MARINHA GRANDE 2430                       FAIRLAWN, OH 44333                    VAN BUREN TOWNSHIP, MI 48111
PORTUGAL
RICE, DAVID             Case 25-10258-TMH      Doc 32
                                      RICH, JORDAN         Filed 02/19/25    Page  127 of
                                                                                RICHARD D. 171
                                                                                           WESTPHAL
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        US COURTHOUSE ANNEX
                                                                                110 E COURT AVE, STE 286
                                                                                DES MOINES, IA 50309-2053




RICHARD D. WESTPHAL                    RICHARD D. WESTPHAL                      RICHARD, CLAYTON
US COURTHOUSE                          US COURTHOUSE                            [ADDRESS ON FILE]
131 E 4TH ST, STE 310                  2146 27TH AVE, STE 400
DAVENPORT, IA 52801                    COUNCIL BLUFFS, IA 51501




RICHARDS INDUSTRIALS, INC.             RICHARDS, LAYTON & FINGER, P.A.          RICKER ATKINSON MCBEE
320 RUTLEDGE RD.                       920 N. KING STREET, ONE RODNEY SQUA      MORMAN & ASSOCIATES, INC.
FLETCHER, NC 28732                     WILMINGTON, DE 19801                     2105 SOUTH HARDY DRIVE, SUITE 13
                                                                                TEMPE, AZ 85282




RIJAL, MEHUL                           RILEY, COREY                             RILEY, ERIN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




RING POWER CORPORATION                 RIOS, RICO                               RISING CREEK ENTERPRISES, INC.
500 WORLD COMMERCE PKWY                [ADDRESS ON FILE]                        21900 COUNTRY RD 15/21
SAINT AUGUSTINE, FL 32092                                                       ELBERT, CO 80106




RITRAMA                                RITZ SAFETY                              RIVARD, FRANCOIS
VIA SENATORE SIMONETTA 24              7725 PARAGON RD                          [ADDRESS ON FILE]
CAPONAGO 20867                         DAYTON, OH 45459
ITALY




RIVARD, SAU                            RIVERA, BORIS                            RIVERA, DAVID
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




RIVERA, EDDIE                          RIVERA, GONSALO                          RIVERA, KAINOA
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




RIVERA, ROSE                           RIVERSTONE PRESSURE SYSTEMS LTD          RIVKIN, CARL H.
[ADDRESS ON FILE]                      6231 - 41ST ST                           [ADDRESS ON FILE]
                                       LEDUC, AB T9E 0V7
                                       CANADA




RIVKIN, CARL                           RJ ACQUISITION CORP                      RJ S.R.L.
[ADDRESS ON FILE]                      5585 GATEWOOD DRIVE                      VIA PER CALUSO, 31
                                       STERLING HEIGHTS, MI 48310               SAN GIORGIO CANAVESE, TO 10090
                                                                                ITALY
RM PRECAST LTD.         Case 25-10258-TMH     DocLLC
                                      RMS RIGGING, 32      Filed 02/19/25   Page 128 KATHRYN
                                                                               ROACH, of 171
350, 104030 - 172 ST.                  1961 E 64TH AVE                         [ADDRESS ON FILE]
EDMONTON, AB T5S 1K9                   DENVER, CO 80229
CANADA




ROAD MASTER, INC.                      ROADEX CY INC.                          ROBAR PUBLIC RELATIONS
6110 NE 127TH AVE                      2132 E DOMINGUEZ ST. BLDG B             1600 E GRAND BLVD 300
VANCOUVER, WA 98682                    CARSON, CA 90810                        DETROIT, MI 48211




ROBERT BOSCH AUTOMOTIVE STEERING,      ROBERT BOSCH BATTERY SYSTEMS LLC        ROBERT BOSCH GMBH
LLC                                    38000 HILLS TECH DR                     ROBERT-BOSCH-PLATZ 1
7639 TURFWAY RD                        FARMINGTON HILLS, MI 48331-3418         70839 GERLINGEN
FLORENCE, KY 41042-1336                                                        GERLINGEN-SCHILLERHOHE 70839
                                                                               GERMANY



ROBERT BOSCH LLC                       ROBERT BOSCH LLC                        ROBERT BOSCH LLC
1124 NEWTON WAY                        38000 HILLS TECH DR                     38000 HILLS TECH DR
SUMMERVILLE, SC 29483                  FARMINGTON HILLS, MI 48331              FARMINGTON HILLS, MI 48336




ROBERT BOSCH LLC                       ROBERT BOSCH NORTH AMERICA CORP         ROBERT BOSCH NORTH AMERICA CORP
BOX 95092                              1 TOWER LN, STE 3100                    8101 DORCHESTER RD. PO BOX 2609
CHICAGO, IL 95092                      OAKBROOK TERRACE, IL 60181-4638         CHARLESTON, SC 29418




ROBERT BOSCH S DE RL DE CV             ROBERTO CANTU DELGADO, LUIS             ROBERTS TIRE SALES INC
ROBERT BOSCH 405, ZONA INDUSTRIAL T    [ADDRESS ON FILE]                       4747 SOUTH POWER ROAD
TOLUCA, EM 50070                                                               MESA, AZ 85212
MEXICO




ROBERTS, DAVID MASON                   ROBERTSHAW CONTROLS COMPANY             ROBERTSHAW CONTROLS COMPANY
[ADDRESS ON FILE]                      1222 HAMILTON PKWY                      PO BOX 74007322
                                       ITASCA, IL 60143                        CHICAGO, IL 60674




ROBINHOOD MARKETS INC                  ROBINSON, DANIEL                        ROBLEDO AGUILAR, ERAY
85 WILLOW RD                           [ADDRESS ON FILE]                       [ADDRESS ON FILE]
MENLO PARK, CA 94025




ROBLES, DENISE                         ROBLES, JOSE                            ROBLES, JOSHUA
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]




ROBLES, MANUEL                         ROCHA, DOMINIQUE                        ROCHESTER ELECTRONICS, LLC.
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       16 MALCOLM HOYT DRIVE
                                                                               NEWBURYPORT, MA 01950
                      Case 25-10258-TMH
ROCK POINT APPAREL COMPANY          ROCKFORDDoc   32 Filed 02/19/25
                                              CORPORATION             Page 129 of AUTOMATION
                                                                         ROCKWELL 171        INC
9925 ALDINE WESTFIELD               6 HORIZON CT, STE 200                1201 S 2ND ST
HOUSTON, TX 77093                   HEATH, TX 75032                      MILWAUKEE, WI 53204




RODRIGUEZ ARAUZ, PEDRO              RODRIGUEZ TRANSPORTATION             RODRIGUEZ, ADAM
[ADDRESS ON FILE]                   13312 RANCHERO RD. STE 18-172        [ADDRESS ON FILE]
                                    OAK HILLS, CA 92344




RODRIGUEZ, JONATHAN                 RODRIGUEZ, JULIO                     RODRIGUEZ, MARLON
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                    [ADDRESS ON FILE]




RODRIGUEZ, MICHAEL                  RODRIGUEZ, SAMANTHA                  RODRIGUEZ, SAMUEL
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                    [ADDRESS ON FILE]




RODRIGUEZ-KNIGHT, ELIZABETH         ROGER B. HANDBERG                    ROGER B. HANDBERG
[ADDRESS ON FILE]                   US ATTORNEYS OFFICE                  US ATTORNEYS OFFICE
                                    2110 FIRST ST, STE 3-137             300 N HOGAN ST, STE 700
                                    FT. MYERS, FL 33901                  JACKSONVILLE, FL 32202




ROGER B. HANDBERG                   ROGER B. HANDBERG                    ROGER B. HANDBERG
US ATTORNEYS OFFICE                 US ATTORNEYS OFFICE                  US ATTORNEYS OFFICE
35 SE 1ST AVE, STE 300              400 N TAMPA ST, STE 3200             400 W WASHINGTON ST, STE 3100
OCALA, FL 34471                     TAMPA, FL 33602                      ORLANDO, FL 32801




ROGERS LUXEMBOURG                   ROGUE FABRICATION, LLC               ROHDE & SCHWARZ USA, INC.
NOORWEGENSTRAAT 3                   42335 SE MARMOT RD                   6821 BENJAMIN FRANKLIN DR.
EVERGEM 9940                        SANDY, OR 97055                      COLUMBIA, MD 21046
BELGIUM




ROHIT KOPPANA, VENKAT               ROJANO, JORDAN                       ROJAS, MANUEL
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                    [ADDRESS ON FILE]




ROJO, ADRIAN                        ROLAND, DELIA                        ROLDAO ANTONIAZZI, JESSICA
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                    [ADDRESS ON FILE]




ROLLINGS, JACOB                     ROMAX TECHNOLOGY INC                 ROMEC SRL
[ADDRESS ON FILE]                   1050 WILSHIRE DRIVESUITE 280         VIA CAMPAGNA, 24
                                    TROY, MI 48084                       BERLINGO, BS 25030
                                                                         ITALY
ROMEO SYSTEMS INC         Case 25-10258-TMH    Doc 32ANNEY
                                        ROMO HERRERA,   Filed 02/19/25         Page 130
                                                                                  RON    of 171
                                                                                      TRANSATLANTIC ADVISORS LLC
5560 KATELLA AVE                         [ADDRESS ON FILE]                        601 13TH ST NW 11TH FLOOR SOUTH
CYPRESS, CA 90630                                                                 WASHINGTON, DC 20005




RONALDS, ADAM                            RONDEUX RELOCATION SERVICES, INC.        ROONEY, JENNIFER
[ADDRESS ON FILE]                        1515 W. MABLE STREET                     [ADDRESS ON FILE]
                                         ANAHEIM, CA 92802




ROSAS, VICTOR                            ROSE PAVING LLC                          ROSE, JIMMY
[ADDRESS ON FILE]                        7300 W. 100TH PL.                        [ADDRESS ON FILE]
                                         BRIDGEVIEW, IL 60455




ROSE, NICOLE                             ROSEMOUNT INC.                           ROSENBERGER HOCHFREQUENZTECHNIK
[ADDRESS ON FILE]                        22737 NETWORK PLACE                      GMB & CO KG
                                         CHICAGO, IL 60673                        HAUPTSRASSE 1
                                                                                  FRIDOLFING 83413
                                                                                  GERMANY



ROSENBERGER HOCHFREQUENZTECHNIK          ROSENBERGER NORTH AMERICA AKRON, LL      ROSS ARONSTAM & MORITZ LLP
GMB & CO KG                              309 COLONIAL DRIVE                       1313 NORTH MARKET ST. STE 1001
PO BOX 1260                              AKRON, PA 17501                          WILMINGTON, DE 19801
TITTMONING 84526
GERMANY



ROSS, CLINT                              ROTALOC INTERNATIONAL                    ROTOR CLIP COMPANY INC
[ADDRESS ON FILE]                        9903 TITAN CT 15                         7412 OAK GROVE ROAD
                                         LITTLETON, CO 80125                      FORT WORTH, TX 76140




ROTRONIC INSTRUMENT CORP                 ROUNTREE, GREGORY                        ROUNTREE, MICHELLE
135 ENGINEERS ROAD, SUITE 150            [ADDRESS ON FILE]                        [ADDRESS ON FILE]
HAUPPAUGE, NY 11788




ROUSH INDUSTRIES, INC.                   ROX RENT A CAN LLC                       ROY, ANAND
34300 WEST NINE MILE RD                  442 W KORTSEN RD, STE 101                [ADDRESS ON FILE]
FARMINGTON, MI 48335                     CASA GRANDE, AZ 85122




ROYCHT, JASON                            RPK SOCIEDAD COOPERATIVA INDUSTRIAL      RPT ALLIANCE LLC
[ADDRESS ON FILE]                        PORTAL DE GAMARRA 34                     10344 SAM HOUSTON PARK DR, STE 100
                                         ARABA 01013                              HOUSTON, TX 77064
                                         SPAIN




RS AMERICAS, INC.                        RSG SPECIALTY, LLC                       RSM US LLP
7151 JACK NEWELL BLVD S                  ATTN SCOTT SHAPIRO                       5155 PAYSPHERE CIRCLE
FORT WORTH, TX 76118                     540 WEST MADISON ST, 9TH FL              CHICAGO, IL 60674
                                         CHICAGO, IL 60661
RT SPECIALTY            Case 25-10258-TMH     Doc 32
                                      RTS HOLDINGS, LLC Filed 02/19/25      Page 131
                                                                               RUAN   of 171 CORPORATION
                                                                                    TRANSPORT
180 N. STETSON AVENUE, SUITE 4600     1 KELLAWAY DRIVE                         666 GRAND AVE. STE 3100
CHICAGO, IL 60601                     RANDOLPH, MA 02368                       DES MOINES, IA 50309




RUDICK, JUSTIN                        RUFLE, STEPHEN                           RUGGED SOLUTIONS AMERICA, LLC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        DEPT 730088. PO BOX 660919
                                                                               DALLAS, TX 75266




RUGGIERO, DAVID                       RUIZ BALLEZA, GEMMA                      RUIZ PEREZ, FRANCISCO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




RUIZ, HENRY                           RUIZ, JONATHON                           RUIZESPARZA, MANUEL BENJAMIN
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




RUIZESPARZA, MANUEL                   RUSH TRUCK CENTERS OF COLORADO, INC      RUSH, CARSON
[ADDRESS ON FILE]                     6800 E 50TH AVE                          [ADDRESS ON FILE]
                                      COMMERCE CITY, CO 80022




RUSSELL REYNOLDS ASSOCIATES, INC.     RUSSELL SIGLER INC                       RUSSELL SIGLER INC
277 PARK AVE, STE 3800                9702 W TONTO ST                          PO BOX 749472
NEW YORK, NY 10172                    TOLLESON, AZ 85353                       LOS ANGELES, CA 90074




RUSSELL, MARK                         RUSSELL, MARK                            RYAN LLC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        3 GALLERIA TOWER
                                                                               13155 NOEL RD, STE 100
                                                                               DALLAS, TX 75240-5090




RYAN, NICHOLAS                        RYDER SYSTEM INC                         RYEL KIM, JONG
[ADDRESS ON FILE]                     11690 NW 105 STREET                      [ADDRESS ON FILE]
                                      MIAMI, FL 33178




RYSTAD ENERGY INC                     S&B ENGINEERS AND CONSTRUCTORS, LTD      S&P GLOBAL MARKET INTELLIGENCE LLC
900 THIRD AVENUE, 17TH FLOOR          15150 MEMORIAL DRIVE                     33356 COLLECTION CENTER DRIVE
NEW YORK, NY 10022                    HOUSTON, TX 77079                        CHICAGO, IL 60693




S&S TOOL & SUPPLY, INC.               S.A.R.A. ING. SANDRO BENUSSI S.R.L.      S.C. DEPT OF NATURAL RESOURCES
2700 MAXWELL WAY                      VIA DELLA MUSIA, 72                      1000 ASSEMBLY ST
FAIRFIELD, CA 94534                   BRESCIA 25135                            COLUMBIA, SC 29201
                                      ITALY
                        Case 25-10258-TMH
S.C. DEPT OF NATURAL RESOURCES        S.R. BRAYDoc
                                                LLC 32    Filed 02/19/25   Page  132
                                                                              S.T.A.   of 171
                                                                                     SRL
PO BOX 11710                          5500 E LA PALMA AVE                      VIA ABBEG 36
COLUMBIA, SC 29211-1710               ANAHEIM, CA 92807                        SANT’ANTONIO DI SUSA, TO 10050
                                                                               ITALY




SABIC US HOLDINGS LP                   SADA SYSTEMS LLC                        SAE INTERNATIONAL
24481 NETWORK PLACE                    5250 LANKERSHIM BLVD, SUITE 620         400 COMMONWEALTH DR
CHICAGO, IL 60673                      NORTH HOLLYWOOD, CA 91601               WARRENDALE, PA 15096




SAEID EMAMI NAEINI, MOHAMMAD           SAELEE, CHIAM                           SAFETY-KLEEN SYSTEMS INC
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       42 LONGWATER DR
                                                                               NORWELL, MA 02061




SAGAR AVADUTALA, VIDYA                 SAGINOMIYA AMERICA INC.                 SAGOM RUBBER S.R.L.
[ADDRESS ON FILE]                      655 METRO PLACE SOUTH, STE. 220         VIA PILASTRINO 5/B
                                       DUBLIN, OH 43017                        COTIGNOLA 48033
                                                                               ITALY




SAIA MOTOR FREIGHT LINE, LLC           SAINT JEAN, MICHELANGE                  SAINT-GOBAIN PERFORMANCE PLASTICS
11465 JOHNS CREEK PKWY                 [ADDRESS ON FILE]                       CORP
JOHNS CREEK, GA 30097                                                          9 GODDARD RD
                                                                               NORTHBOROUGH, MA 01532




SALAS, CHRISTOPHER                     SALAZAR, JOSE                           SALDIVAR, DAVID
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]




SALEAE, INC.                           SALGOMMA SRL                            SALGOMMA SRL
408 N CANAL STREET, SUITE A            STRADA CUORGNE 123                      STRADA CUORGNE, 123
SOUTH SAN FRANCISCO, CA 94080          MAPPANO, TO 10079                       MAPPANO, TO 10079
                                       ITALY                                   ITALY




SALGUOCAR, PRAHANT                     SALT RIVER PROJECT                      SALT RIVER PROJECT
[ADDRESS ON FILE]                      1500 N MILL AVE                         CUSTOMER CONSTRUCTION PAYMENT
                                       TEMPE, AZ 85288                         PO BOX 52025
                                                                               PHOENIX, AZ 85072




SALTWICK, IAN                          SAMAD MOHAMMED, ABDUL                   SAMARAS, NICHOLAS
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]




SAMMY V TRUCKING                       SAMSARA INC.                            SAMSARA INC.
17875 ORCHARD PL.                      1 DE HARO ST                            PO BOX 735462
APPLEGATE, CA 95703                    SAN FRANCISCO, CA 94107                 DALLAS, TX 75373
SAMSUNG SDI CO LTD      Case 25-10258-TMH      Doc 32
                                      SAN BERNADINO        Filed
                                                      COUNTY  TAX02/19/25
                                                                  COLLECTOR   Page 133
                                                                                 SAN    of 171COUNTY TAX COLLECTOR
                                                                                     BERNADINO
150-20, GONGSE-RO, GIHEUNG-GU         268 W. HOSPITALITY LANE, 1ST FL            268 W. HOSPITALITY LANE, 1ST FLOOR
YONGIN-SI 99999                       SAN BERNARDINO, CA 92415                   SAN BERNARDINO, CA 92415
SOUTH KOREA




SAN BERNARDINO CO FIRE PROTECTION       SAN GABRIEL VALLEY WATER COMPANY         SAN GABRIEL VALLEY WATER COMPANY
DIST                                    11142 GARVEY AVE                         PO BOX 5970
157 W 5TH STREET, 2ND FLOOR             EL MONTE, CA 91733                       EL MONTE, CA 91734
SAN BERNARDINO, CA 92415




SANAVANDI, HAMID                        SANCHEZ BRISENO, IRVING                  SANCHEZ, ALEJANDRO
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SANCHEZ, CARMELO                        SANCHEZ, GEORGE                          SANCHEZ, JOEY
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SANCHEZ, ROBERT                         SANDHU, DHILLON                          SANDLINE DISCOVERY, LLC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        105 N VIRGINIA AVE, SUITE 302
                                                                                 FALLS CHURCH, VA 22046




SANDOVAL, GABRIEL                       SANDRA J STEWART                         SANDRA J. HAIRSTON
[ADDRESS ON FILE]                       US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE
                                        131 CLAYTON ST                           101 S EDGEWORTH ST, 4TH FL
                                        MONTGOMERY, AL 36104                     GREENSBORO, NC 27401




SANDVIK, INC. AND SUBSIDIARIES          SANG PARK, JONG                          SANHUA INTERNATIONAL INC
9600 SW BOECKMAN ROAD                   [ADDRESS ON FILE]                        3729 AUBURN RD
WILSONVILLE, OR 97070                                                            AUBURN HILLS, MI 48326




SANTOME MENA, ADOLFO                    SANTOS, JOSHUA                           SAP AMERICA, INC.
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        3999 WEST CHESTER PIKE
                                                                                 NEWTOWN SQUARE, PA 19073




SARASWAT, KAVISHA                       SARGOMMA S.R.L SB                        SARIGOZOGLU HIDROLIK MAKINA VE
[ADDRESS ON FILE]                       VIA G.B. FEROGGIO, 41                    KALL SANAYI VE TICARET ANONIM SIRKETI
                                        TURIN 10151                              MANISA ORGANIZE SANAYI BOLGESI MUST
                                        ITALY                                    MANISA 45030
                                                                                 TURKEY



SASKEN INC                              SATYA JAGANNAYAKAMMA                     SAUL EWING ARNSTEIN & LEHR LLP
710 LAKEWAY DR, STE 270                 [ADDRESS ON FILE]                        ATTN JAMES SHULMAN
SUNNYVALE, CA 94085                                                              131 DARTMOUTH STREET, SUITE 501
                                                                                 BOSTON, MA 02116
SAV S.R.L.                Case 25-10258-TMH     Doc 32
                                        SAV-ON PLATING     Filed 02/19/25
                                                       INCORPORATED             Page 134 ofCHRISTOPHER
                                                                                   SAWYER,   171
VIA MADRID, 3                             25 W WATKINS RD                          [ADDRESS ON FILE]
CISERANO 24040                            PHOENIX, AZ 85003
ITALY




SAY TECHNOLOGIES LLC                      SAYLER L. FLEMING                        SBA SERVICE BY AIR INC
DEPT CH 18087                             UNITED STATES ATTORNEYS OFFICE           222 CROSSWAYS PARK DR
PALATINE, IL 60055                        THOMAS EAGLETON US COURTHOUSE            WOODBURY, NY 11797
                                          111 S 10TH ST, 20TH FL
                                          ST. LOUIS, MO 63102



SBE-VARVIT S.P.A.                         SC COMMERCIAL, LLC                       SCALE MODEL TECHNICAL SERVICES LTD.
VIA LAZZARETTI, 2/A                       1800 W KATELLA AVE SUITE 400             10 MOORHURST ROAD
REGGIO EMILIA, RE 42122                   ORANGE, CA 92867                         HASTINGS
ITALY                                                                              ST. LEONARDS ON SEA TN38 9NA
                                                                                   UNITED KINGDOM



SCHAEFER SYSTEMS INTERNATIONAL, INC       SCHAFER, MICHAEL                         SCHALTBAU NORTH AMERICA
10021 WESTLAKE DRIVE                      [ADDRESS ON FILE]                        225 OSER AVE
CHARLOTTE, NC 28273                                                                HAUPPAUGE, NY 11788




SCHENCK USA CORP.                         SCHILLER, WANDA                          SCHLAMP, THOMAS
1846 RELIABLE PARKWAY                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]
CHICAGO, IL 60686




SCHLENKER, KEVIN                          SCHLENKER, TREVOR                        SCHMITT, THOMAS
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SCHMITT, THOMAS                           SCHNEIDER INDUSTRIES, INC.               SCHNEIDER NATIONAL CARRIERS, INC.
[ADDRESS ON FILE]                         121 HUNTER AVE. STE 204                  2567 PAYSPHERE CIRCLE
                                          ST. LOUIS, MO 63124                      CHICAGO, IL 60674




SCHONHERR RECHTSANWALTE GMBH              SCHRADER ELECTRONICS LTD.                SCHUETZ CONTAINER SYSTEMS, INC.
A-1010 WIEN                               11 TECHNOLOGY PARK - BELFAST ROAD A      200 ASPEN HILL ROAD
VIENNA 1010                               MUCKAMORE BT41                           NORTH BRANCH, NJ 08876
AUSTRALIA                                 IRELAND




SCHULTE CORPORATION                       SCHULTE, ANDREW                          SCHUTTE, BRANDON
1005 CALLE SOMBRA                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]
SAN CLEMENTE, CA 92673




SCHWAB INDUSTRIES, INC                    SCIOSENSE B.V                            SCOOTER SOFTWARE, INC.
50850 RIZZO DRIVE                         HIGH TECH CAMPUS 10                      625 N SEGOE RD 104
SHELBY TOWNSHIP, MI 48315                 EINDHOVEN 5656                           MADISON, WI 53705
                                          NETHERLANDS
SCOTT, CODY JOSEPH       Case 25-10258-TMH     Doc 32
                                       SCOTT, JAMES           Filed 02/19/25   Page 135 of 171INC
                                                                                  SCREENCLOUD
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        4470 W SUNSET BLVD 92737
                                                                                  LOS ANGELES, CA 90027




SCREENFLEX PORTABLE PARTITIONS, INC      SCUFFHAM, ALIVIA                         SDF TRANSPORTATION LLC.
585 CAPITAL DRIVE                        [ADDRESS ON FILE]                        7245 TRADEWIND
LAKE ZURICH, IL 60047                                                             AMARILLO, TX 79118




SDF TRANSPORTATION LLC.                  SEA LTD                                  SEABOARD CONTROLS, LLC
PO BOX 8965                              7001 BUFFALO PKWY                        4807 HWY 90
AMARILLO, TX 79114                       COLUMBUS, OH 43229                       CROSBY, TX 77532




SEACLIFF QUATRO LLC                      SEAGRAVES, LUCIAN                        SEAL METHODS, INC.
2480 NATOMAS PARK DRIVE, STE 100         [ADDRESS ON FILE]                        11915 SHOEMAKER AVE.
SACRAMENTO, CA 95833                                                              SANTS FE SPRINGS, CA 90670




SEAN P COSTELLO                          SEARCH CONSULTING NETWORK                SEARCY TRUCKING LTD
US ATTORNEYS OFFICE                      41875 W. 11 MILE RD. STE 202             1470 CHEVRIER BLVD
63 S ROYAL ST, STE 600                   NOVI, MI 48375                           WINNIPEG, MB R3T 1Y6
MOBILE, AL 36602                                                                  CANADA




SECEANSCHI, ZAMFIR                       SECRETARY OF STATE OF ILLINOIS           SECURADYNE SYSTEMS INTERMEDIATE, LL
[ADDRESS ON FILE]                        213 STATE CAPITOL                        3440 SOJOURN DRIVE, STE 220
                                         SPRINGFIELD, IL 62756                    CARROLLTON, TX 75006




SECURITIES & EXCHANGE COMMISSION         SECURITIES AND EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION
100 F STREET, NE                         100 F STREET, NE                         100 F STREET, NE
WASHINGTON, DC 20549                     MAIL STOP 5631                           MAIL STOP 5631
                                         WASHINGTON, DC 20002                     WASHINGTON, DC 20549




SECURITIES AND EXCHANGE COMMISSION       SECURITY 101 PHOENIX                     SEDLAK, TREY
LOS ANGELES REGIONAL OFFICE              2338 W ROYAL PALM ROAD, SUITE I          [ADDRESS ON FILE]
ATTN: MICHELE WEIN LAYNE, REGIONAL DIR   PHOENIX, AZ 85021
444 S FLOWER ST, STE 900
LOS ANGELES, CA 90071



SEDONA INTERMEDIATE, INC.                SEEGANAHALLI, KARTHIK                    SEGALL, SAMUEL ZANGWELL
7350 N DOBSON RD, STE 130                [ADDRESS ON FILE]                        [ADDRESS ON FILE]
SCOTTSDALE, AZ 85256




SEGARRA PEREZ, MARIO                     SEKO WORLDWIDE, LLC                      SEKONIX CO LTD
[ADDRESS ON FILE]                        1501 E WOODFIELD RD, STE 210 E           28 PYEONGHWA-RO 286BEON-GIL
                                         SCHAUMBURG, IL 60173                     DONGDUCHEON-SI 11307
                                                                                  SOUTH KOREA
SELF-DE LA ROSA, SETH    Case 25-10258-TMH     DocLORENZEN-FAN
                                       SELOW, TAMI  32 Filed 02/19/25     Page 136 of 171
                                                                             SEMATICON AG
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                    SCHATZBOGEN 56
                                                                             MUNCHEN 81829
                                                                             GERMANY




SEMCO CONSULTANTS, INC.                 SEMIKRON DANFOSS INC                 SEMRUSH INC.
5231 SW 28TH PLACE                      11 EXECUTIVE DR                      800 BOYLSTON ST, STE 2475
CAPE CORAL, FL 33914                    HUDSON, NH 03051-4914                BOSTON, MA 02199




SENDYNE CORP.                           SENGUPTA, SYAMANTAK                  SENSATA TECHNOLOGIES INC
250 WEST BROADWAY6TH FLOOR              [ADDRESS ON FILE]                    11 TECHNOLOGY PARK
NEW YORK, NY 10013                                                           BELFAST RD, ANTRIM
                                                                             N IRELAND BT41 1QS
                                                                             UNITED KINGDOM



SENTEK DYNAMICS, INC                    SENTIENT INVESTMENT CORPORATION      SENVIAS, INC.
2090 DUANE AVE                          388 SERVIDEA DRIVE. PO BOX 194       373 MARKET STREET
SANTA CLARA, CA 95054                   RIDGWAY, PA 15853                    WARREN, RI 02285




SEPURI, KEERTHI                         SERIFOTO SRL                         SERINTEMP S. DE R.L. DE C.V.
[ADDRESS ON FILE]                       PIAZZA DELLA REPUBBLICA N. 9         IND. TEXTIL 32, COL. IND TLATILCO
                                        MILANO, MI 20121                     NAUCALPAN 53529
                                        ITALY                                MEXICO




SERRALA AMERICAS, INC.                  SERVICE OKLAHOMA                     SERVICIO DE INGENIERIA INDUSTRIAL
200 N LASALLE ST. STE 2460              824 S ELM PL                         Y OUTSOURCING SA DE CV
CHICAGO, IL 60601                       BROKEN ARROW, OK 74012               AV. MEXICO JAPON 309, CIUDAD INDUST
                                                                             CELAYA, GT 38010
                                                                             MEXICO



SERVICIOS INTEGRALES ALME               SERVIN MILLAN, JUAN                  SERVIN, JOSE
AV. SANTIAGO 63 COL. SAN PEDRO          [ADDRESS ON FILE]                    [ADDRESS ON FILE]
IZTACALCO, CM 08220
MEXICO




SERV-I-QUIP, INC.                       SESSER, JOHN                         SETRA SYSTEMS INC
127 WALLACE AVE                         [ADDRESS ON FILE]                    159 SWANSON ROAD
DOWNINGTOWN, PA 19335                                                        BOXBOROUGH, MA 01719




SEVEN CS MANUFACTURING INC              SEWS CABIND S.P.A.                   SEXTANT LLC
3895 CORSAIR STSUITE D                  C.SO PASTRENGO, 40                   2875 STRATTON WOODS VIEW
RENO, NV 89502                          COLLEGNO, TO 10093                   COLORADO SPRINGS, CO 80906
                                        ITALY




SEYBURN KAHN PC                         SFC SOLUTIONS ITALY SRL              SFS HERITAGE PARK LLC
2000 TOWN CENTER SUITE 1500             VIA TORINO 144                       ATTN DAVID ALCHALEL
SOUTHFIELD, MI 48075                    TORINO 10073                         12215 TELEGRAPH RD, SUITE 210-B,
                                        ITALY                                SANTA FE SPRINGS, CA 90670
SFS HERITAGE PARK, LLC Case 25-10258-TMH    Doc
                                     SHAEFFER,    32
                                               ZACH       Filed 02/19/25    Page 137 of ASHFAQUE
                                                                               SHAFIQUE, 171
12631 IMPERIAL HWY STE F-232-1       [ADDRESS ON FILE]                         [ADDRESS ON FILE]
SANTA FE SPRINGS, CA 90670




SHAIKH VEEDU, MISHFAD                 SHAMSUDDEEN NALAKATH                     SHANDONG HAOXIN HAODE PRECISION
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        MACHINERY CO., LTD.
                                                                               WEIZI TOWN
                                                                               CHANGYI CITY 26130
                                                                               CHINA



SHANMUGANATHAN, PALANIRAJAN           SHARIKOV, GLEB                           SHARIKOV, PHILIPP
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SHARMA, ASHISH                        SHARMA, PRAKHAR                          SHARMA, SHUBHA
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SHARPLINE CONVERTING, INC             SHASTRULA, SHAILENDRA                    SHAW, MICHAEL
1520 S TYLER RD                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]
WICHITA, KS 67209




SHEA, STEPHEN                         SHEARMAN & STERLING LLP                  SHEETS, ROBERT
[ADDRESS ON FILE]                     599 LEXINGTON AVENUE                     [ADDRESS ON FILE]
                                      NEW YORK, NY 10022




SHELTERVISION LLC                     SHENZHEN DAYUN HONGDA TECHNOLOGY         SHENZHEN FORIPOWER ELECTRIC CO., LT
03584 MERCER AUGLAIZE LINE ROAD       CO LTD                                   BLDG B, DEJIN 2ND IND. PK, FUYUAN 1
MINSTER, OH 45865                     LONG GANG AVENUE 7108, LONG GANG DI      SHENZHEN 518000
                                      SHENZHEN 51810                           CHINA
                                      CHINA



SHENZHEN GOING RAPID PROTOTYPE CO.,   SHENZHEN JOINWIN TECHNOLOGY LIMITED      SHENZHEN SETEC POWER CO., LTD
BUILDING B, NO 606, NANMEI RD, XINQ   ROOM 1610 BLOCK A, DECORATION BUILD      199, SETEC INDUSTRIAL PARK, DAKAN,
SHENZHEN 51812                        SHENZHEN 51800                           SHENZHEN 51800
CHINA                                 CHINA                                    CHINA




SHENZHEN UNICONN TECHNOLOGY CO., LT   SHEOREY, ANUYA                           SHEPARD, DYLAN
NO.1 BUILDING OF DAHUA ROAD, YANCHU   [ADDRESS ON FILE]                        [ADDRESS ON FILE]
SONGGANG, GUANGDONG 518105
CHINA




SHEPHERD, KARSON                      SHEPHERD, TYLER                          SHERBAF BEHTASH, MOHAMMAD
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                        [ADDRESS ON FILE]
                        Case 25-10258-TMH
SHERITIN INVESTMENTS, INC.            SHERLOCKDoc   32 Filed INC.
                                                INVESTIGATIONS,  02/19/25     Page 138 ofJESSICA
                                                                                 SHERMAN, 171
2210 E MAGNOLIA ST                    42815 GARFIELD RDSUITE 208                 [ADDRESS ON FILE]
PHOENIX, AZ 85034                     CLINTON TOWNSHIP, MI 48038




SHETTY, RAHUL                          SHILLING, ANDREW                          SHIN, KEIRA
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         [ADDRESS ON FILE]




SHIN, SOEI                             SHINABARGER, BRIAN K                      SHINDE, SAMRAT
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         [ADDRESS ON FILE]




SHINDLER, STEVE                        SHINDLER, STEVEN                          SHINHO INDUSTRY LLC
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                         400 S BROADWAY ST
                                                                                 LAKE ORION, MI 48360




SHOWDOGS INC.                          SHUBHA PRIYA SHARMA, FNU                  SIBER CIRCUITS, INC.
168 S. PACIFIC ST.                     [ADDRESS ON FILE]                         145 RIVIERA DR.
SAN MARCOS, CA 92078                                                             MARKHAM, ON L3R 5J6
                                                                                 CANADA




SIBROS TECHNOLOGIES INC                SICHUAN YONGGUI SCIENCE & TECHNOL CO      SICRE, CAROLINA
2580 N 1ST ST SUITE 290                LTD                                       [ADDRESS ON FILE]
SAN JOSE, CA 95131                     NO.68,JIN JIALIN STREET
                                       MIANYANG, SICHUAN 621000
                                       CHINA



SID TOOL CO., INC.                     SID TOOL CO., INC.                        SIEMENS INDUSTRY INC
515 BROADHOLLOW RD, STE 1000           953635                                    1000 E DEERFIELD PKWY
MELVILLE, NY 11747                     SAINT LOUIS, MO 63195                     BUFFALO GROVE, IL 60089-4547




SIEMENS INDUSTRY INC                   SIEMENS INDUSTRY SOFTWARE INC             SIEMENS INDUSTRY SOFTWARE INC
PO BOX 2134                            5800 GRANITE PKWY, STE 600                PO BOX 2168
CAROL STREAM, IL 60132                 PLANO, TX 75024                           CAROL STREAM, IL 60132




SIERRA CIRCUITS INC                    SIGNA SERVICES, INC.                      SIILI AUTO OY
1108 WEST EVELYN AVE                   1615 MONROVIA AVE                         RUOHOLAHDENKATU 21
SUNNYVALE, CA 94086                    COSTA MESA, CA 92627                      HELSINKI 00180
                                                                                 FINLAND




SIKA CORPORATION                       SILICON DESIGNS, INC.                     SILICON VALLEY DISPOSITION, INC
30800 STEPHENSON HIGHWAY               13905 NE 128TH ST                         381 BEACH RD
MADISON HEIGHTS, MI 48071              KIRKLAND, WA 98034                        BURLINGAME, CA 94010
                      CaseINC.
SILICONEXPERT TECHNOLOGIES, 25-10258-TMH
                                     SIMMONS,Doc  32J
                                              LARKIN      Filed 02/19/25   Page  139 of
                                                                              SIMPPLR   171
                                                                                      INC.
9151 E PANORAMA CIR                  [ADDRESS ON FILE]                        3 TWIN DOLPHIN DR. STE 160
CENTENNIAL, CO 80112                                                          REDWOOD CITY, CA 94065




SINE GROUP PTY LTD                    SINFOTECH LLC                           SINGH, ASHUTOSH
65 MAGILL ROAD                        APT A 2872 UNIVERSITY AVE.              [ADDRESS ON FILE]
STEPNEY 5069                          MORGANTOWN, WV 26505
AUSTRALIA




SINGH, ONKAR                          SINGH, RAJAT                            SINO STAR (WUXI) AUTO EQUIPMENT CO,
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       LTD.
                                                                              8 SHENTON WAY, 45-01, AXA TOWER
                                                                              SIGNAPORE 06881
                                                                              SINGAPORE



SIROCO                                SISFLEX, SA DE CV                       SKEA, RYAN
ZI 10 RUE JEAN ROSTAND                RAUL SOLIS 201, AGRUP. LAZARO CARD      [ADDRESS ON FILE]
ROSTAND 69740                         GENERAL ESCOBEDO, NL 66053
FRANCE                                MEXICO




SKF USA INC                           SKURKA, JULIE                           SKY PROTOTYPING AND TOOLING CO., LI
801 LAKEVIEW DR, STE 120              [ADDRESS ON FILE]                       NO.26, 3RD INDUSTRIAL PARK OF DAWAN
BLUE BELL, PA 19422-1961                                                      SHENZHEN 51810
                                                                              CHINA




SKYLINE SALES, INC                    SKYTEK, LLC                             SLACK TECHNOLOGIES INC
2510 COMMERCIAL ST SE                 1900 E HALE ST                          500 HOWARD ST, STE 100
SALEM, OR 97302                       MESA, AZ 85203                          SAN FRANCISCO, CA 94105-3031




SLACK TECHNOLOGIES INC                SLALOM, INC.                            SLE TECHNOLOGIES, INC.
PO BOX 207795                         255 S KING ST, STE 1800                 212 N MAIN STREET
DALLAS, TX 75320                      SEATTLE, WA 98104-3320                  MAXWELL, IN 46154




SLIDING SYSTEMS, INC.                 SLOAN, ISAAC                            SLONE, DAWN
8080 E. OLD M-78                      [ADDRESS ON FILE]                       [ADDRESS ON FILE]
HASLETT, MI 48840




SMART CHEMISTRY CORPORATION           SMART EYE AB                            SMARTSHEET INC.
3401 LA GRANDE BLVD                   FORSTA LANGGATAN 28B                    PO BOX 123421. DEPT 3421
SACRAMENTO, CA 95823                  GOTHENBURG 413 2                        DALLAS, TX 75312
                                      SWEDEN




SMITH , BRUCE                         SMITH, ALEX                             SMITH, ARTHUR
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]
SMITH, BRUCE              Case 25-10258-TMH     Doc 32
                                        SMITH, COREY          Filed 02/19/25   Page 140DONLEON
                                                                                  SMITH, of 171
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SMITH, DONNIE R                          SMITH, KATZENSTEIN & JENKINS LLP         SMITH, KATZENSTEIN & JENKINS LLP
[ADDRESS ON FILE]                        1000 WEST ST, STE 1501                   PO BOX 410
                                         WILMINGTON, DE 19801                     WILMINGTON, DE 19899




SMITH, SEAN                              SMITHERS TIRE & AUTOMOTIVE TESTING       SMOAK, BARBARA
[ADDRESS ON FILE]                        121 S MAIN ST, STE 300                   [ADDRESS ON FILE]
                                         AKRON, OH 44308




SMP AUTOMOTIVE TECHNOLOGY IBERICA S      SNELL & WILMER L.L.P.                    SNYDER, MATTHEW
CTRA.B-142 A SENTMENAT 18-20             1 EAST WASHINGTON ST. STE 2700           [ADDRESS ON FILE]
POLINYA, BARCELONA 08213                 PHOENIX, AZ 85004
SPAIN




SNYDERS, JEFFERY                         SOCAL BIOMED                             SOCIAL NAVIGATOR INC.
[ADDRESS ON FILE]                        20914 BAKE PARKWAY UNIT 110              155 CHAIN LAKE DRIVE, UNIT 8
                                         LAKE FOREST, CA 92630                    HALIFAX, NS B3S 1B3
                                                                                  CANADA




SOCRATES.AI, INC.                        SOCRATES.AI, INC.                        SODANO, JOHN
50 FOX HILL RD                           PO BOX 620506                            [ADDRESS ON FILE]
REDWOOD CITY, CA 94062-4825              WOODSIDE, CA 94062




SOFT CELL L-FORM LABORATORIES LLC        SOFTCHOICE CORPORATION                   SOFTREL LLC
4616 S BEEHIVE DRIVEUNIT 4               16609 COLLECTIONS CENTER DRIVE           20 TOWNE DRIVE 130
SAINT GEORGE, UT 84790                   CHICAGO, IL 60693                        BLUFFTON, SC 29910




SOF-XII U.S. NRE HOLDINGS, L.P.          SOINMMAT LOGISTICS & MATERIAL HANDL      SOKOLOWSKI, MICHAEL
591 W PUTNAM AVE                         LLC                                      [ADDRESS ON FILE]
GREENWICH, CT 06830                      3042 NW PARKHURST TERRACE
                                         PORTLAND, OR 97229




SOLAR ENERGY TRADE SHOWS, LLC            SOLAS ENERGY CONSULTING INC.             SOLAS SCIENCE & ENGINEERING CO LTD
225 REINEKERS LANE, SUITE 680            SUITE 282, 1721 - 29 AVE S.W.            37, 35TH ROADTAICHUNG INDUSTRIAL
ALEXANDRIA, VA 22314                     CALGARY, AB T2T 6T7                      TAICHUNG CITY 407 T
                                         CANADA                                   TAIWAN




SOLERA-THERMOFORM GROUP SPA              SOLIGENT DISTRIBUTION LLC                SOLUCIONES DE MEDICION TRIDIMENCION
VIA MARTIRI DELLA LIBERTA, 21            400 S RECORD ST, STE 1500                CALLE VILLA DE LAS PUENTES 104
FUCECCHIO 50054                          DALLAS, TX 75202                         GENERAL ESCOBEDO, NL 66070
ITALY                                                                             MEXICO
SOMAN, SAURABH            Case 25-10258-TMH    Doc 32
                                        SOMEL SPA           Filed 02/19/25   Page 141 of EQUIPMENT
                                                                                SOMERSET 171       SALES, INC.
[ADDRESS ON FILE]                       VIA ROMA 27                              612 WHEELERS FARMS RD
                                        LEVONE, TO 10070                         MILFORD, CT 06461
                                        ITALY




SOMERSET TECHNOLOGY SALES, INC.         SOMPO INTERNATIONAL HOLDINGS LTD.        SONICS & MATERIALS, INC.
612 WHEELERS FARMS ROAD                 ATTN ANNA PALERMINI                      53 CHURCH HILL ROAD
MILFORD, CT 06460                       155 N WACKER DRIVE, SUITE 3700           NEWTOWN, CT 06470
                                        CHICAGO, IL 60606




SONTCHI, CHRISTOPHER S.                 SOPHA, COLTON                            SOUTH CAROLINA DEPARTMENT OF REVENU
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        300A OUTLET POINTE BLVD
                                                                                 COLUMBIA, SC 29210




SOUTH CAROLINA DEPT OF REVENUE          SOUTH CAROLINA DEPT OF REVENUE           SOUTH CAROLINA STATE TREASURY
300A OUTLET POINTE BLVD                 PO BOX 100153                            UNCLAIMED PROPERTY PROGRAM
COLUMBIA, SC 29210                      COLUMBIA, SC 29202                       1200 SENATE ST, ROOM 214
                                                                                 COLUMBIA, SC 29201




SOUTH FORK INSTRUMENTS INC              SOUTH, TYLER                             SOUTHARDS, MICHAEL
3845 BUFFALO RD                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]
AUBURN, CA 95602




SOUTHCO, INC.                           SOUTHERN CALIFORNIA EDISON COMPANY       SOUTHERN, HEIDI
210 N BRINTON LAKE RD                   2244 WALNUT GROVE AVE                    [ADDRESS ON FILE]
CONCORDVILLE, PA 19331                  ROSEMEAD, CA 91770-3714




SOUTHICHACK, CHRISTOPHER                SOUTH-TEK SYSTEMS, LLC                   SOUTHWEST BATTERY COMPANY
[ADDRESS ON FILE]                       3700 US HIGHWAY 421 N.                   4320 S 43RD PL
                                        WILMINGTON, NC 28401                     PHOENIX, AZ 85040




SOUTHWEST GAS CORPORATION               SOUTHWEST GAS CORPORATION                SOUTHWEST GAS CORPORATION
8360 S DURANGO DR                       8360 S. DURANGO DRIVE                    PO BOX 24531
LAS VEGAS, NV 89113                     LAS VEGAS, NV 89113                      OAKLAND, CA 94623




SOUTHWEST LIFT & EQUIPMENT INC          SOUTHWEST RESEARCH INSTITUTE             SOUTHWEST TRUCK DRIVER TRAINING, IN
254 E VALLEY ST                         6220 CULEBRA ROAD                        2323 S 51ST AVENUE
SAN BERNARDINO, CA 92408                SAN ANTONIO, TX 78238                    PHOENIX, AZ 85043




SOUTHWESTERN SCALE COMPANY INC          SP CONTROL TECHNOLOGIES SL               SPADE, TIMOTHY
2320 E JONES AVE                        580 CALIFORNIA STREET, SUITE 1200        [ADDRESS ON FILE]
PHOENIX, AZ 85066                       SAN FRANCISCO, CA 94104
SPEARS, CADEN            Case 25-10258-TMH     Doc 32
                                       SPEARS, COOPER       Filed 02/19/25   Page 142 of EQUIPMENT
                                                                                SPECIALTY 171      MARKET ASSOCIAT
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                       1575 SOUTH VALLEY DRIVE
                                                                                DIAMOND BAR, CA 91765




SPECIALTY STORE SERVICES                SPECTRUM ENGINEERS INC                  SPEEDGOAT INC
454 JARVIS AVENUE                       324 S STATE STREET SUITE 400            209 WEST CENTRAL STREET, SUITE 215
DES PLAINES, IL 60018                   SALT LAKE CITY, UT 84111                NATICK, MA 01760




SPEEDY, JUSTIN                          SPENCER INDUSTRIES INCORPORATED         SPIES, STEPHEN
[ADDRESS ON FILE]                       902 BUFFALOVILLE ROAD                   [ADDRESS ON FILE]
                                        DALE, IN 47523




SPILMAN THOMAS & BATTLE PLLC            SPIR STAR LTD                           SPITZER, BRIAN
300 KANAWHA BOULEVARD, EAST             10002 SAM HOUSTON CENTER DR.            [ADDRESS ON FILE]
CHARLESTON, WV 25321                    HOUSTON, TX 77064




SPRUSON & FERGUSON PTY LIMITED          SRAX, INC.                              SSAB INC
DARLING PARK TOWER 2, LEVEL 24, 201     1014 S WESTLAKE BLVD. STE 14-299        300 CORPORATE CENTER DR, STE 010
SYDNEY, NSW 2000                        WESTLAKE VILLAGE, CA 91361              MOON TOWNSHIP, PA 15108
AUSTRALIA




SSOE INC                                STABILUS GMBH                           STACK EXCHANGE INC
1001 MADISON AVENUE                     WALLERSHEIMER WEG 100                   DEPT CH 10848
TOLEDO, OH 43604                        KOBLENZ 56070                           PALATINE, IL 60055
                                        GERMANY




STACKADAPT INC.                         STAEDTLER INC                           STAGE 3 PRINTING, INC.
100 UNIVERSITY AVENUE, FLOOR 5          8335 WINNETKA AVE, 7                    5002 S 40TH ST. STE M
TORONTO, ON M5J 1V6                     CANOGA PARK, CA 91306                   PHOENIX, AZ 85040
CANADA




STAIGER GMBH & CO. KG                   STALKER, YONGMI                         STAND STEADY
JOHANNES-BIEG-STRAßE 8                  [ADDRESS ON FILE]                       8315 LEE HIGHWAY SUITE 350
ERLIGHEIM 74391                                                                 FAIRFAX, VA 22031
GERMANY




STANDARD PLAQUE, INC                    STANLEY, ED                             STANTEC CONSULTING SERVICES INC.
17271 FRANCIS ST.                       [ADDRESS ON FILE]                       100 NORTH TRYON STREET
MELVINDALE, MI 48122                                                            CHARLOTTE, NC 28202




STANTON WORLDWIDE, LLC                  STAPLES, INC.                           STAPLETON, TIMOTHY
45 HILLSIDE LN                          500 STAPLES DR                          [ADDRESS ON FILE]
SYOSSET, NY 11791                       FRAMINGHAM, MA 01702
STAR 7 SPA                Case 25-10258-TMH      Doc
                                        STAR GLASS    32 Filed
                                                   COMPANY, INC. 02/19/25   Page 143
                                                                               STAR   of 171
                                                                                    METAL FLUIDS LLC
VIA ALESSANDRIA, 37B - FRAZ. VALLE      4022 E BROADWAY 120                     5143 W ROOSEVELT ST
ALESSANDRIA 15122                       PHOENIX, AZ 85040                       PHOENIX, AZ 85043-2717
ITALY




STAR RIVER TECH CO. LTD.               STAR USA LLC                             STAR7 LLC
9/F, WORKINGBERG COMMERCIAL BLDG, N    1601 STAR BATT DR                        1601 STAR BATT DR.
HONG KONG 99907                        ROCHESTER HILLS, MI 48309                ROCHESTER HILLS, MI 48309
CHINA




STARK AREA REGIONAL TRANSIT AUTHORI    STARLING MADISON LOFQUISH INC            STARR INDEMNITY & LIABILITY COMPANY
1600 GATEWAY BLVD SE                   3600 E UNIVERSITY DRIVE SUITE 100        399 PARK AVE. 3RD FLOOR
CANTON, OH 44707                       PHOENIX, AZ 85034                        NEW YORK, NY 10022




STATE BAR OF ARIZONA                   STATE OF ALABAMA ATTORNEY GENERAL        STATE OF ALABAMA ATTORNEY GENERAL
4201 N 24TH ST 100                     ATTN: STEVE MARSHALL                     ATTN: STEVE MARSHALL
PHOENIX, AZ 85016                      501 WASHINGTON AVE                       PO BOX 300152
                                       MONTGOMERY, AL 36104                     MONTGOMERY, AL 36130-0152




STATE OF ALABAMA                       STATE OF ARIZONA ATTORNEY GENERAL        STATE OF ARIZONA
600 DEXTER AVE                         ATTN: KRIS MAYES                         1110 W WASHINGTON ST SUITE 310
MONTGOMERY, AL 36130                   2005 NORTH CENTRAL AVENUE                PHOENIX, AZ 85007
                                       PHOENIX, AZ 85004-2926




STATE OF CALIFORNIA ATTORNEY GEN       STATE OF CALIFORNIA ATTORNEY GEN         STATE OF CALIFORNIA LABOR AND
ATTN: ROB BONTA                        CONSUMER PROTECTION SECTION              WORKFORCE DEVELOPMENT AGENCY
1300 "I" ST                            ATTN: BANKRUPTCY NOTICES                 800 CAPITOL MALL
SACRAMENTO, CA 95814-2919              455 GOLDEN GATE AVE, STE 11000           STE 5000 (MIC 55)
                                       SAN FRANCISCO, CA 94102-7004             SACRAMENTO, CA 95814



STATE OF COLORADO ATTORNEY GENERAL     STATE OF CONNECTICUT ATTORNEY GEN        STATE OF FLORIDA ATTORNEY GENERAL
ATTN: PHIL WEISER                      ATTN: WILLIAM TONG                       ATTN: ASHLEY MOODY
RALPH L CARR COLORADO JUDICIAL BLDG    165 CAPITOL AVENUE                       PL 01 THE CAPITOL
1300 BROADWAY, 10TH FL                 HARTFORD, CT 06106                       TALLAHASSEE, FL 32399-1050
DENVER, CO 80203



STATE OF FLORIDA                       STATE OF GEORGIA ATTORNEY GENERAL        STATE OF ILLINOIS ATTORNEY GENERAL
DEPARTMENT OF ECONOMIC OPPORTUNITY     ATTN: CHRIS CARR                         ATTN: KWAME RAOUL
107 E MADISON ST                       40 CAPITOL SQUARE, SW                    100 W RANDOLPH ST
CALDWELL BLDG                          ATLANTA, GA 30334                        CHICAGO, IL 60601
TALLAHASSEE, FL 32399-4120



STATE OF INDIANA ATTORNEY GENERAL      STATE OF IOWA ATTORNEY GENERAL           STATE OF KANSAS ATTORNEY GENERAL
ATTN: TODD ROKITA                      ATTN: BRENNA BIRD                        ATTN: KRIS W. KOBACH
INDIANA GOVERNMENT CENTER SOUTH        HOOVER STATE OFFICE BUILDING             120 SW 10TH AVE, 2ND FL
302 W WASHINGTON ST, 5TH FL            1305 E WALNUT ST                         TOPEKA, KS 66612
INDIANAPOLIS, IN 46204                 DES MOINES, IA 50319



STATE OF KENTUCKY ATTORNEY GENERAL     STATE OF MARYLAND ATTORNEY GENERAL       STATE OF MASSACHUSETTS ATTORNEY GEN
ATTN: DANIEL CAMERON                   ATTN: ATHONY G. BROWN                    ATTN: ANDREA JOY CAMPBELL
700 CAPITOL AVE, STE 118               200 ST PAUL PLACE                        1 ASHBURTON PLACE, 20TH FL
FRANKFORT, KY 40601-3449               BALTIMORE, MD 21202                      BOSTON, MA 02108-1518
                        Case
STATE OF MICHIGAN ATTORNEY     25-10258-TMH
                             GENERAL    STATE OFDoc   32 Filed 02/19/25
                                                 MICHIGAN                   Page 144OFofMINNESOTA
                                                                               STATE     171      ATTORNEY GENERAL
ATTN: DANA NESSEL                       INTERNAL SERVICES SECTION              ATTN: KEITH ELLISON
G. MENNEN WILLIAMS BLDG                 LANSING, MI 48918                      445 MINNESOTA ST STE 1400
525 W OTTAWA ST - PO BOX 30212                                                 ST. PAUL, MN 55101-2131
LANSING, MI 48909



STATE OF MISSOURI ATTORNEY GENERAL    STATE OF NEW JERSEY ATTORNEY GEN         STATE OF NEW JERSEY
ATTN: ANDREW BAILEY                   ATTN: MATTHEW J. PLATKIN                 3 JOHN FITCH WAY
SUPREME CT BLDG, 207 W HIGH ST        RJ HUGHES JUSTICE COMPLEX                TRENTON, NJ 08695
PO BOX 899                            25 MARKET ST - PO BOX 080
JEFFERSON CITY, MO 65102              TRENTON, NJ 08625-0080



STATE OF NEW JERSEY                   STATE OF NEW YORK ATTORNEY GENERAL       STATE OF NORTH CAROLINA ATT GENERAL
UNCLAIMED PROPERTY ADMINISTRATION     ATTN: LETITIA A. JAMES                   ATTN: JOSH STEIN
PO BOX 214                            DEPT. OF LAW                             9001 MAIL SERVICE CTR
TRENTON, NJ 08635-0214                THE CAPITOL, 2ND FL                      RALEIGH, NC 27699-9001
                                      ALBANY, NY 12224-0341



STATE OF NORTH CAROLINA ATT GENERAL   STATE OF OREGON ATTORNEY GENERAL         STATE OF PENNSYLVANIA ATTORNEY GEN
ATTN: JOSH STEIN                      ATTN: ELLEN F. ROSENBLUM                 ATTN: MICHELLE HENRY
PO BOX 629                            1162 COURT ST, NE                        STRAWBERRY SQ
RALEIGH, NC 27602-0629                SALEM, OR 97301-4096                     16TH FLR
                                                                               HARRISBURG, PA 17120



STATE OF SOUTH CAROLINA ATT GENERAL   STATE OF SOUTH CAROLINA ATT GENERAL      STATE OF TENNESSEE ATTORNEY GENERAL
ATTN: ALAN WILSON                     ATTN: ALAN WILSON                        ATTN: JONATHAN SKRMETTI
PO BOX 11549                          REMBERT C. DENNIS OFFICE BLDG            PO BOX 20207
COLUMBIA, SC 29211-1549               1000 ASSEMBLY ST, ROOM 519               NASHVILLE, TN 37202-0207
                                      COLUMBIA, SC 29201



STATE OF TENNESSEE                    STATE OF TEXAS ATTORNEY GENERAL          STATE OF TEXAS ATTORNEY GENERAL
UNCLAIMED PROPERTY DIVISION           ATTN: KEN PAXTON                         ATTN: KEN PAXTON
PO BOX 190693                         300 W 15TH ST                            PO BOX 12548
NASHVILLE, TN 32719-0693              AUSTIN, TX 78701                         AUSTIN, TX 78711-2548




STATE OF UTAH ATTORNEY GENERAL        STATE OF UTAH ATTORNEY GENERAL           STATE OF VIRGINIA ATTORNEY GENERAL
ATTN: SEAN D. REYES                   ATTN: SEAN D. REYES                      ATTN: JASON MIYARES
350 N STATE ST, STE 230               PO BOX 142320                            202 N NINTH ST
SALT LAKE CITY, UT 84114-2320         SALT LAKE CITY, UT 84114-2320            RICHMOND, VA 23219




STATE OF WASHINGTON ATTORNEY GEN      STATE OF WASHINGTON ATTORNEY GEN         STATE TREASURER OF IOWA
ATTN: BOB FERGUSON                    ATTN: BOB FERGUSON                       UNCLAIMED PROPERTY COMPLIANCE
1125 WASHINGTON ST SE                 PO BOX 40100                             GREATER IOWA TREASURE HUNT, LUCAS
OLYMPIA, WA 98504-0100                OLYMPIA, WA 98504-0100                   STATE OFFICE BLDG
                                                                               321 E 12TH ST, 1ST FL
                                                                               DES MOINES, IA 50319


STATEWIDE ROAD SOLUTIONS LLC          STAUBLI ELECTRICAL CONNECTORS, INC.      STAWARZ, DAVID
190 N MAIN ST                         100 MARKET ST.                           [ADDRESS ON FILE]
RIVERSIDE, CA 92501                   WINDSOR, CA 95492




STEARNS EXCAVATING INC.               STEARNS, CONRAD & SCHMIDT                STELEA, VITALIE
6761 W GELDING DRIVE                  CONSULT ENGINEERS INC                    [ADDRESS ON FILE]
PEORIA, AZ 85381                      3900 KILROY AIRPORT WAY SUITE 100
                                      LONG BEACH, CA 90806
STELLAR STRATEGY LLC    Case 25-10258-TMH
                                      STELLAR Doc  32 Filed 02/19/25
                                              TECHNOLOGY               Page 145 ofINFOSYSTEMS,
                                                                          STERLING  171        INC.
8973 WHISPER CREEK TRAIL              237 COMMERCE DRIVE                   6150 OAK TREE BLVD, STE 490
GREENFIELD, MN 55373                  AMHERST, NY 14228                    INDEPENDENCE, OH 44131




STERLING PERFORMANCE, INC.           STERTIL-KONI USA INCORPORATED         STEVE BAST LLC
54392 PONTIAC TRAIL                  200 LOG CANOE CIRCLE                  11811 NORTH TATUM BLVD., SUITE 1065
MILFORD, MI 48381                    STEVENSVILLE, MD 21666                PHOENIX, AZ 85028




STEVENS, JAMES                       STEWART, KEVIN                        STEYER LOWENTHAL BOODROOKAS
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     ALVAREZ SMITH LLP
                                                                           235 PINE STREET15TH FLOOR
                                                                           SAN FRANCISCO, CA 94104




STEYN, JULIA                         STIG INVESTMENTS INC                  STINNETT, WILLIAM
[ADDRESS ON FILE]                    20000 S MARICOPA RD GATE 3            [ADDRESS ON FILE]
                                     CHANDLER, AZ 85226




STL SEDUCTION MEDIA LLC              STOCK FIVE DEVELOPMENT INC.           STOCK FIVE DEVELOPMENT INC.
6625 MALL DRIVE                      2972 LARKIN AVE                       PO BOX 3736
CEDAR HILL, MO 63016                 CLOVIS, CA 93612                      CLOVIS, CA 93613




STODIA GMBH                          STOKES, IRA                           STONINGTON, IAN
IM FREITAGSMOOR 45                   [ADDRESS ON FILE]                     [ADDRESS ON FILE]
GIFHORN 38518
GERMANY




STORAGE EQUIPMENT SYSTEMS INC        STORE CAPITAL LLC                     STORE MASTER FUNDING XXXII LLC
1475 E ELWOOD ST                     8377 E HARTFORD DR, STE 100           ATTN ASSET MANAGEMENT
PHOENIX, AZ 85040                    SCOTTSDALE, AZ 85255                  8377 E. HARTFORD DRIVE, SUITE 100
                                                                           SCOTTSDALE, AZ 85255




STOUT, CHARLENE                      STP SPECIALTY TURN PRODUCTS INC       STRAKER, RYAN
[ADDRESS ON FILE]                    3020 SOUTH PARK DRIVE                 [ADDRESS ON FILE]
                                     TEMPE, AZ 85282




STRANO, MARIO                        STRATASYS, INC.                       STRATEGIC ESTIMATING SYSTEMS, LLC
[ADDRESS ON FILE]                    28043 NETWORK PLACE                   1200 SOLDIERS FIELD DR., STE 300
                                     CHICAGO, IL 60673                     SUGAR LAND, TX 77479




STRATOSFUEL INC.                     STRCIC, DAVID                         STRONGHOLD ITALY SRL
3550 VINE ST. SUITE 220              [ADDRESS ON FILE]                     VIA LUIGI ABBIATI 39
RIVERSIDE, CA 92507                                                        BRESCIA, BS 25134
                                                                           ITALY
                       Case
STRUCTURED COMMUNICATION       25-10258-TMH
                           SYSTEMS IN          DocGMBH
                                        STRUEBER-IT 32 Filed 02/19/25      Page 146
                                                                              STS    of 171INC.
                                                                                  OPERATING
9200 SE SUNNYBROOK BLVD, STE 300        EHLERSHAEUSER WEG 6D                  2301 W WINDSOR CT
CLACKAMAS, OR 97015                     BURGDORF 31303                        ADDISON, IL 60101-1460
                                        GERMANY




STUDIO TORTA S.P.A.                   SUBURBAN AUTO SEAT, CO. INC.            SUDHOFF TECHNIK GMBH
VIA VIOTTI 9                          35 INDUSTRIAL RD                        AUGUST-NAGEL-STR. 1
TORINO, TO 10121                      LODI, NJ 07644                          ULM-EINSINGEN 89079
ITALY                                                                         GERMANY




SUKHENA TECHNOLOGIES PVT LTD          SULEJMANI, ELVIS                        SULLIVAN, GARY
36, 2ND FLOOR, 11TH CROSS, 1ST BLOC   [ADDRESS ON FILE]                       [ADDRESS ON FILE]
BENGALURU, KA 56001
INDIA




SULLIVAN, GARY                        SUMIRIKO AVS CZECH S.R.O.               SUMIRIKO AVS GERMANY GMBH
[ADDRESS ON FILE]                     DRNOVICE 146                            KARL-WINNACKER STRAßE 19
                                      DRNOVICE 683 04                         STEINAU AN DER STRAßE 36396
                                      CZECHIA                                 GERMANY




SUMIT ENTERPRISES, INC.               SUMMIT ELECTRIC SUPPLY CO., INC         SUN DEVIL HOOD & EXHAUST CLEANING I
1837 N 23RD AVE., STE A               2900 STANDFORD NE                       3040 W WELDON AVE
PHOENIX, AZ 85009                     ALBUQUERQUE, NM 87107                   PHOENIX, AZ 85017




SUN EQUIPMENT, INC                    SUN VALLEY MARINA DEVELOPMENT CORP      SUN, SABRINA
3517 CANTWELL BLVD                    20000 S MARICOPA ROAD                   [ADDRESS ON FILE]
FT WAYNE, IN 46814                    CHANDLER, AZ 85226




SUNBELT RENTALS INC                   SUNBELT RENTALS INC                     SUNDBERG-FERAR, INC.
2341 DEERFIELD DR                     PO BOX 30384                            4359 PINEVIEW DR.
FORT MILL, SC 29715                   ATLANTA, GA 30384                       WALLED LAKE, MI 48390




SUNDT CONSTRUCTION INC.               SUNIL BHOR, SONAL                       SUNSHINE MARKETING OPPORTUNITIES, L
2015 W RIVER RD STE 101               [ADDRESS ON FILE]                       11425 RUSTIC PINE COURT
TUCSON, AZ 85704                                                              RIVERVIEW, FL 33569




SUNSTATE EQUIPMENT CO., LLC           SUNSTATE EQUIPMENT CO., LLC             SUNSTONE ENGINEERING, LLC
5552 E WASHINGTON ST                  PO BOX 208439                           1693 AMERICAN WAY, STE 5
PHOENIX, AZ 85034                     DALLAS, TX 75320                        PAYSON, UT 84651




SUNTEC CONCRETE, INC                  SUNTECH CIRCUITS, INC.                  SUPERATV LLC
23751 N 23RD AVE. STE 175             2040 S. ALMA SCHOOL RD. STE 1           2753 MICHIGAN RD
PHOENIX, AZ 85085                     CHANDLER, AZ 85286                      MADISON, IN 47250-1812
                       CaseINC
SUPPLIER INSPECTION SERVICES 25-10258-TMH
                                      SUPRAJITDoc   32 Filed
                                                BROWNSVILLE,  LLC 02/19/25    Page 147
                                                                                 SURE   of 171
                                                                                      POWER INC
2941 S GETTYSBURG AVE                 1931 ANEI CIRCLE, SUITE A                  28369 NETWORK PLACE
MORAINE, OH 45439                     BROWNSVILLE, TX 78521                      CHICAGO, IL 60673




SURFACE PREPARATION SOLUTIONS LLC       SUSTAINABILITY ENGINEERING GROUP, L      SUSTAINABLE BRANDS, PBC
3131 N FRANKLIN RD, STE D               8280 E. GELDING DR. SUITE 101            1559 B SLOAT BLVD., 140
INDIANAPOLIS, IN 46226                  SCOTTSDALE, AZ 85260                     SAN FRANCISCO, CA 94132




SUSTAINABLE SUPPLY LLC                  SUTTON, BRADLEY S                        SUZHOU WELDEN INTELLIGENT TECH CO.,
8810 W 116TH CIRCLE,UNIT B              [ADDRESS ON FILE]                        55 PUXING ROAD, LINHU TOWN, SUZHOU
BROOMFIELD, CO 80021                                                             JIANGSU 21510
                                                                                 CHINA




SWAGELOK NETHERLANDS                    SWAGELOK STUTTGART                       SWELL STEEL, LLC
COENECOOP19                             STEIGAECKERSTRASSE 13                    124 S 600 E
WADDINXVEEN 2741                        REUTLINGEN 72768                         SALT LAKE CITY, UT 84121
NETHERLANDS                             GERMANY




SWIRE PACIFIC HOLDINGS, INC.            SWORDS, NICOLE                           SYED, ILYASUDDIN
1850 W ELLIOT RD                        [ADDRESS ON FILE]                        [ADDRESS ON FILE]
TEMPE, AZ 85284-1004




SYED, ZAKER                             SYLVESTER, MAXWELL                       SYMCOX, TIM
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




SYNTAX SYSTEMS USA, LP                  SYSGRATION LTD                           SYSTEM LEVEL SIMULATION
123 COMMERCE VALLE DRIVE E, SUITE 5     6 FLOOR., NO.1, SEC. 1, TIDING BLVD      6855 COMMERCE BLVD
THORNHILL, ON L3T 7W8                   NEIHU DIST.                              CANTON, MI 48187
CANADA                                  TAIPEI CITY 11494
                                        TAIWAN



SYSTEMS INTEGRATORS LLC                 SZYMANSKI, STEPHEN                       T&M USA LLC
23630 N 35TH DRIVE SUITE 1              [ADDRESS ON FILE]                        230 PARK AVENUE, STE 440
GLENDALE, AZ 85310                                                               NEW YORK, NY 10169




T.D.S. S.P.A.                           T.ERRE S.R.L                             T.H.T MACHINING, INC.
VIA LANDO CONTI 23/25.                  VIA F.LLI MONTANARI,89                   7902 NORTH GLEN HARBOR BLVD. 2
NICHELINO, TO 10042                     RAVARINO (MO) 41017                      GLENDALE, AZ 85307
ITALY                                   ITALY




TABASI NEJAD, JALAL                     TAG-CONNECT, LLC                         TAILORED LABEL PRODUCTS, INC
[ADDRESS ON FILE]                       433 AIRPORT BLVD, STE 323                N72W12565 GOOD HOPE RD
                                        BURLINGAME, CA 94010                     MENOMONEE FALLS, WI 53051
TAIT LAND, INC.          Case 25-10258-TMH    DocJR.,
                                       TALAMANTES 32SEFERINO
                                                       Filed 02/19/25          Page 148 of
                                                                                  TALENTA   171
                                                                                          LLC
701 N. PARKCENTER DR.                   [ADDRESS ON FILE]                         9024 US-175
SANTA ANA, CA 92705                                                               ATHENS, TX 75751




TALOGY, INC.                            TALON LOGISTICS INC.                      TAMESON B.V.
611 N. BRAND BLVD.                      12523 LIMONITE AVE 440-279                TORENALLEE 20
GLENDALE, CA 91203                      EASTVALE, CA 91752                        EINDHOVEN 5617 BC
                                                                                  NETHERLANDS




TAMEZ, JORGE                            TANAKA KIKINZOKU INTL (AMERICA), INC      TANDEM TECHNOLOGIES LTD
[ADDRESS ON FILE]                       425 N MARTINGALE ROAD SUITE 1550          912 5TH STREET
                                        SCHAUMBURG, IL 60173                      NEW WESTMINSTER, BC V3L 2Y4
                                                                                  CANADA




TANGERINE PROMOTIONS WEST, INC          TANGO ANALYTICS, LLC                      TANICO, ALICIA
3303 HARBOR BLVD, STE G7                9797 ROMBAUER RD, STE 450                 [ADDRESS ON FILE]
COSTA MESA, CA 92626                    DALLAS, TX 75019




TANK N BARREL WATER SOLUTIONS LLC       TANKESLY, WILLIAM                         TAOGLAS LIMITED
2723 W PETERSON DRIVE                   [ADDRESS ON FILE]                         DCU ALPHA INNOVATION CAMPUS, OLD FI
APACHE JUNCTION, AZ 85120                                                         GLASNEVIN
                                                                                  DUBLIN D11 KXN4
                                                                                  IRELAND



TAPIA, FEDERICO                         TARLETON, ADAM                            TARNOWSKY, STEVEN ADAM
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




TASKING US OPERATIONS, INC.             TASS INTERNATIONAL B.V.                   TATA TECHNOLOGIES, INC.
22260 HAGGERTY RD, STE 170              AUTOMOTIVE CAMPUS 15 5708 JZ              DEPT 78288 PO BOX 78000
NORTHVILLE, MI 48167                    HELMOND 5708                              DETROIT, MI 48278
                                        NETHERLANDS




TATSUNO NORTH AMERICA INC               TAURIX LLC                                TAVARES, JESUS
729 HIGH DR                             4400 ROUTE 9 SOUTH, SUITE 1000            [ADDRESS ON FILE]
LAGUNA BEACH, CA 92651                  FREEHOLD, NJ 07728




TAYLOR, CASEY                           TAYLOR-WHARTON AMERICA INC.               TCF NATIONAL BANK
[ADDRESS ON FILE]                       1411 TRANSPORT DR                         800 BURR RIDGE PKWY
                                        BAYTOWN, TX 77523                         BURR RIDGE, NY 11232




TCG1                                    TCW SERVICES CANADA INC                   TE CONNECTIVITY CORPORATION
2720 S HARDY DRIVE, SUITE 1             181 BAY STREET. STE 4400                  24627 NETWORK PLACE
TEMPE, AZ 85282                         TORONTO, ON M5J 2T3                       CHICAGO, IL 60673
                                        CANADA
                      Case 25-10258-TMH
TE CONNECTIVITY CORPORATION                 Doc 32SOLUTIONS
                                    TE CONNECTIVITY  Filed 02/19/25
                                                            GMBH          Page 149
                                                                             TECH   of 171 LIMITED
                                                                                  MAHINDRA
26449 NETWORK PLACE                 AMPERESTRASSE 3                          HSBC BANK USA, N.A. 452 FIFTH AVENU
CHICAGO, IL 60673                   STEINACH 9323                            NEW YORK, NY 10018
                                    SWITZERLAND




TECHLAW VENTURES PLLC               TECHMOR INC.                             TECHNIA INC.
3290 W MAYFLOWER WAY                11148 TREYNORTH DRIVE, SUITE A           6300 WEST LOOP SOUTH 125
LEHI, UT 84043                      CORNELIUS, NC 28031                      BELLAIRE, TX 77401




TECHNICA ENGINEERING, INC.          TECHNICAL PROFESSIONALS GROUP LLC        TECHNIP ENERGIES USA INC
1660 AIRPORT ROAD                   929 S HIGH STREET SUITE 140              11720 KATY FREEWAY, SUITE 150
WATERFORD, MI 48327                 WEST CHESTER, PA 19382                   HOUSTON, TX 77079




TECHNIP STONE & WEBSTER INC         TECHNIQUE INC                            TECHNOLOGY & MAINTENANCE COUNCIL
11720 KATY FREEWAY                  1500 TECHNOLOGY DRIVE                    950 N GLEBE RD SUITE 210
HOUSTON, TX 77079                   JACKSON, MI 49201                        ARLINGTON, VA 22203




TECHNOLOGY RECOVERY GROUP LTD       TECHNOSPORTS INC                         TECHSMITH CORPORATION
31390 VIKING PARKWAY                34075 AUTRY ST                           14 CRESCENT RD
WESTLAKE, OH 44145                  LIVONIA, MI 48150                        EAST LANSING, MI 48823-5708




TECHSO SOLUTIONS INC                TECHSYSTEMS LLC                          TECNOMEC SRL
60 RUE SAINT-JACQUES SUITE 902      242 W. VAUGHN STREET                     VIA NAZIONALE 11
MONTREAL QUEBEC H2Y 1               TEMPE, AZ 85283                          ARNAD 11020
CANADA                                                                       ITALY




TECVOX EUROPE S.R.L.                TEDS TOWING SERVICE, INC.                TEKTRONIX INC
CORSO RE UMBERTO, 110121 TORINO (   4920 HAZELWOOD AVE                       1411 N GRAND AVE, STE 300
TORINO 10121                        BALTIMORE, MD 21206                      COVINA, CA 91724
ITALY




TELLINGHUISEN, ROBERT               TEMPORARY WAREHOUSE STRUCTURES,          TEMPREL INC
[ADDRESS ON FILE]                   LLC                                      206 INDUSTRIAL PKWY DR
                                    5911 CHIPPEWA BLVD.                      BOYNE CITY, MI 49712
                                    HOUSTON, TX 77086




TENA, ALEJANDRA                     TENNANT SALES AND SERVICE COMPANY        TENNESSEE DEPARTMENT OF LABOR
[ADDRESS ON FILE]                   10400 CLEAN ST                           AND WORKFORCE DEVELOPMENT
                                    EDEN PRAIRIE, MN 55344-2650              220 FRENCH LANDING DR
                                                                             NASHVILLE, TN 37243




TENNESSEE DEPARTMENT OF REVENUE     TENNESSEE DEPARTMENT OF REVENUE          TENNESSEE DEPT OF LABOR AND
500 DEADERICK STREET                ANDREW JACKSON STATE OFFICE BUILDIN      WORKFORCE DEVELOPMENT
NASHVILLE, TN 37242                 NASHVILLE, TN 37242                      220 FRENCH LANDING DR
                                                                             NASHVILLE, TN 37243
TENNESSEE DEPT OF LABORCase
                         AND 25-10258-TMH     Doc
                                      TENNESSEE     32OF Filed 02/19/25
                                                  DEPT                     Page 150 of 171
                                                                              TENNESSON, JOHN
WORKFORCE DEVELOPMENT                 ENVIRONMENT & CONSERVATION              [ADDRESS ON FILE]
220 FRENCH LANDING DRIVE              312 ROSA L PARK AVE
NASHVILLE, TN 37243                   NASHVILLE, TN 37243




TENNESSON, JOHN                       TERESA A. MOORE                         TERESA A. MOORE
[ADDRESS ON FILE]                     CHARLES EVANS WHITTAKER COURTHOUSE      US ATTORNEYS OFFICE
                                      US ATTORNEYS OFFICE, ROOM 5510          80 LAFAYETTE ST, STE 2100
                                      400 E 9TH ST                            JEFFERSON CITY, MO 65101
                                      KANSAS CITY, MO 64106



TERESA A. MOORE                       TERLUIN, ERICA                          TERMAX COMPANY
US ATTORNEYS OFFICE                   [ADDRESS ON FILE]                       1155 ROSE RD
HAMMONS TOWER, STE 500                                                        LAKE ZURICH, IL 60047
901 ST LOUIS
SPRINGFIELD, MO 65806-2511



TERMINAL SUPPLY INC                   TERRACON CONSULTANTS, INC.              TERRAZAS, TONY
1800 THUNDERBIRD DR                   10841 S RIDGEVIEW RD                    [ADDRESS ON FILE]
TROY, MI 48084                        OLATHE, KS 66061




TESCOM CORPORATION                    TESTEQUITY LLC                          TESTFORCE USA, INC.
12616 INDUSTRIAL BLVD.                9151 BLVD 26, BLDG A, FL 4              4552 SUNBELT DRIVE
ELK RIVER, MN 55330                   NORTH RICHLAND HILLS, TX 76180          ADDISON, TX 75001




TESTNET CANADA INC                    TESTNET ENGINEERING GMBH                TETRA TECH, INC.
9669 201 STREET                       ESCHENALLE 11                           1560 BROADWAY, STE 1400 & 1450
LANGLEY, BC V1M 3E7                   SCHWAIG 85445                           DENVER, CO 80202
CANADA                                GERMANY




TETRA TECH, INC.                      TEUSCH, GREGOR                          TEXAS AUTO CARRIERS, INC.
3475 E FOOTHILL BLVD                  [ADDRESS ON FILE]                       5765 BICENTENNIAL ST.
PASADENA, CA 91107-6024                                                       SAN ANTONIO, TX 78219




TEXAS COMMISSION ON                   TEXAS COMMISSION ON                     TEXAS COMPTROLLER - PUBLIC ACCOUNTS
ENVIRONMENTAL QUALITY                 ENVIRONMENTAL QUALITY                   LYNDON B JOHNSON STATE OFFICE BLDG
BUILDING LETTER TCEQ                  MAIL CODE TCEQ                          111 E 17TH ST
12100 PARK 35 CIRCLE                  PO BOX 13087                            AUSTIN, TX 78774
AUSTIN, TX 78753                      AUSTIN, TX 78711-3087



TEXAS COMPTROLLER - PUBLIC ACCOUNTS   TEXAS COMPTROLLER OF PUBLIC             TEXAS COMPTROLLER OF PUBLIC
P.O. BOX 13528, CAPITOL STATION       ACCOUNTS                                ACCOUNTS
AUSTIN, TX 78714                      UNCLAIMED PROPERTY CLAIMS SECTION       UNCLAIMED PROPERTY CLAIMS SECTION
                                      LBJ BLDG                                PO BOX 12046
                                      111 E 17TH ST                           AUSTIN, TX 78711-2046
                                      AUSTIN, TX 78711


TEXAS HYDROGEN ALLIANCE               TEXAS INE INC.                          TEXAS WORKFORCE COMMISSION
8120 RESEARCH BLVD 216                6438 LONG DR.                           101 E 15TH ST
AUSTIN, TX 78758                      HOUSTON, TX 77087                       AUSTIN, TX 78778
                      Case 25-10258-TMH
TEXAS WORKFORCE COMMISSION                  DocI, LLC
                                    TFC HOLDCO    32 Filed 02/19/25      Page
                                                                            TFI151 of 171
                                                                               PROPERTIES
PO BOX 149137                       6555 W SUNSET RD                        ATTN REAL ESTATE DEPARTMENT
AUSTIN, TX 78714-9137               LAS VEGAS, NV 89118                     6600 CHEMIN SAINT-FRANCOIS, SUITE 100
                                                                            SAINT-LAURENT, QC H4S 1B7
                                                                            CANADA



TFORCE FREIGHT, INC.                 THACKERAY, MARK                        THALES DIS USA, INC
1000 SEMMES AVE                      [ADDRESS ON FILE]                      9442 CAPITAL OF TEXAS HWY. N. STE 4
RICHMOND, VA 23224                                                          AUSTIN, TX 78759




THATCHER, JARED YOUNG                THE BOLER COMPANY                      THE BOSTON CONSULTING GROUP, INC.
[ADDRESS ON FILE]                    2021 PARKSIDE DR                       200 PIER 4 BLVD
                                     SCHAUMBURG, IL 60173-5913              BOSTON, MA 02210




THE BRATTLE GROUP, INC.              THE CHEMOURS COMPANY                   THE CONTINENTAL INSURANCE COMPANY
ONE BEACON STREET, STE 2600          1007 MARKET STREET                     151 N FRANKLIN ST
BOSTON, MA 02108                     WILMINGTON, DE 19801                   CHICAGO, IL 60606




THE CREW TRANSPORTATION INC.         THE FIREMAN EQUIPMENT COMPANY LLC      THE FOCUS GROUP LTD
1300 CLAY ST. STE 600                3815 E INDIAN SCHOOL RD                7 AVENIDA VISTA GRANDE B7 249
OAKLAND, CA 94612                    PHOENIX, AZ 85018                      SANTA FE, NM 87508




THE GOODYEAR TIRE & RUBBER COMPANY   THE HILLER COMPANIES, LLC              THE HILLER COMPANIES, LLC
PO BOX 277808, 6000 FELDWOOD ROAD    1601 W ORANGEWOOD AVE                  3751 JOY SPRINGS DR
COLLEGE PARK, GA 30349               ORANGE, CA 92868                       MOBILE, AL 36693




THE KENNEDY GROUP, INC.              THE MATHWORKS, INC.                    THE MICROSTAR LAB
38601 KENNEDY PARKWAY                1 APPLE HILL DR                        130 ERICK STREET
WILLOUGHBY, OH 44094                 NATICK, MA 01760-2098                  CRYSTAL LAKE, IL 60014




THE MODAL SHOP, INC                  THE PENNSYLVANIA STATE UNIVERSITY      THE PUMP COMPANY PARTNERSHIP, LLC
10310 AEROHUB BLVD                   227 W BEAVER AVENUE. SUITE 401         25212 W EDISON, BLDG B
CINCINNATI, OH 45215                 STATE COLLEGE, PA 16801                BUCKEYE, AZ 85326




THE QT COMPANY                       THE SMART CUBE, INC.                   THE TOLL ROADS VIOLATION DEPT
3031 TISCH WAY, 110 PLAZA WEST       1 S DEARBORN, 20TH FL. 20-105          125 PACIFICA
SAN JOSE, CA 95128                   CHICAGO, IL 60603                      IRVINE, CA 92618




THE TOOL HOUSE LLC                   THE TRANSITION ACCELERATOR             THE TRUCK PEOPLE, INC.
5205 S EMMER DRIVE                   225 SUPERIOR AVE SW                    313 N TENNESSEE ST
NEW BERLIN, WI 53151                 CALGARY T3C 2                          CARTERSVILLE, GA 30120
                                     CANADA
THE TRUCK SHOP          Case 25-10258-TMH     Doc 32
                                      THE TRUSTEES      FiledUNIVERSITY
                                                   OF PURDUE  02/19/25    Page 152
                                                                             THE     of 171OF ARIZONA
                                                                                 UNIVERSITY
ATTN: DOUG SMALL                        23510 NETWORK PLACE                  RM 510
1702 E STREET NE                        CHICAGO, IL 60673                    TUCSON, AZ 85721
AUBURN, WA 98002




THE UNIVERSITY OF TEXAS AT AUSTIN       THE W.W. WILLIAMS COMPANY, LLC       THE WE COMPANY MANAGEMENT HOLDINGS
110 INNER CAMPUS DR, K5300              4040 METRO PLACE N, STE 201          1619 BROADWAY 11TH FLOOR
AUSTIN, TX 78712                        DUBLIN, OH 43017                     NEW YORK, NY 10019




THE ZIPPERTUBING COMPANY                THERMOFIN GMBH                       THERM-X OF CALIFORNIA, INC.
2122 W 5TH PL                           AM FUCHSBOGEN 7                      3200 INVESTMENT BLVD
TEMPE, AZ 85281                         FURSTENFELDBRUCK 82256               HAYWARD, CA 94545
                                        GERMANY




THIELE, SUSAN                           THIERRY CORPORATION                  THK RHYTHM AUTOMOTIVE GMBH
[ADDRESS ON FILE]                       4319 NORMANDY COURT                  HEIDBERGSWEG 100
                                        ROYAL OAK, MI 48073                  KREFELD 47809
                                                                             GERMANY




THK RHYTHM AUTOMOTIVE MICHIGAN CORP     THOMAS CONVEYOR & EQUIPMENT          THOMAS, SCOTT
28442 NETWORK PLACE                     COMPANY                              [ADDRESS ON FILE]
CHICAGO, IL 60673                       1S450 SUMMIT AVE SUITE 175
                                        OAKBROOK TERRACE, IL 60181




THOMAS, STEVEN                          THOMAS, VONTAY                       THOMPSON ENERGY SOLUTIONS
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                    1255 BRIDGESTONE BLVD
                                                                             LA VERGNE, TN 37086




THOMPSON HINE LLP                       THOMPSON MACHINERY COMMERCE          THOMPSON MACHINERY
3900 KEY CENTER, 127 PUBLIC SQUARE      CORPORA                              COMMERCE CORPORATION
CLEVELAND, OH 44114                     1245 BRIDGESTONE BLVD                ATTN: JODY CARTWRIGHT
                                        LA VERGNE, TN 37086                  1245 BRIDGESTONE BLVD
                                                                             LA VERGNE, TN 37086



THOMPSON POWER                          THOMPSON SOLUTIONS LLC               THOMPSON TRACTOR CO INC
1291 CORPORATE AVENUE                   7845 SOUTH KEARNEY COURT             2401 PINSON HWY
MEMPHIS, TN 38132                       ENGLEWOOD, CO 80112                  BIRMINGHAM, AL 35217




THOMPSON TRUCK CENTER, LLC              THOMPSON, ANDREW                     THOMPSON, STEPHEN
1255 BRIDGESTONE PKWY.                  [ADDRESS ON FILE]                    [ADDRESS ON FILE]
LA VERGNE, TN 37086




THOMSON, RYAN                           THOR EUROPE S.R.L.                   THORNTON, DAIDRAN
[ADDRESS ON FILE]                       VIA TRENTO 135                       [ADDRESS ON FILE]
                                        VOLPIANO 10088
                                        ITALY
                       Case
THREEBOND INTERNATIONAL, INC. 25-10258-TMH     Doc GOKUL
                                       THULASIDHAS, 32 Filed 02/19/25        Page 153 of 171
                                                                                THUMMALA, HARSHITH
6184 SCHUMACHER PARK DRIVE             [ADDRESS ON FILE]                        [ADDRESS ON FILE]
WEST CHESTER, OH 45040




THYSSENKRUPP BILSTEIN OF AMERICA IN    THYSSENKRUPP ELEVATOR CORPORATION        THYSSENKRUPP ONLINE METALS, LLC
8685 BILSTEIN BLVD                     788 CIRCLE 75 PKWY SE, STE 500           13338 ORDEN DR
HAMITON, OH 45018                      ATLANTA, GA 30339-4454                   SANTA FE SPRINGS, CA 90670




THYSSENKRUPP PRESTA NORTH AMERICA,     THYSSENKRUPP SUPPLY CHAIN SERVICES,      TIDWELL, CHRISTOPHER
3331 W BIG BEAVER ROAD SUITE 300       INC                                      [ADDRESS ON FILE]
TROY, MI 48084                         7100 15 MILE RD
                                       STERLING HEIGHTS, MI 48310




TIGHT FIT COVERS COMPANY               TILSON, NIAL                             TIMOFEEV, NIKITA
1200 NORTH WILLOW RD. SUITE 100        [ADDRESS ON FILE]                        [ADDRESS ON FILE]
EVANSVILLE, IN 47711




TINSLEY BRIDGE LIMITED                 TIPPIT, NICHOLAS                         TIPPIT, RYAN
335 SHEPCOTE LANE                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]
SHEFFIELD S9 1T
UNITED KINGDOM




TITAN ATLAS GROUP, INC.                TITAN INDUSTRIAL METAL CORP              TITIAN CLEANING LLC
13 WASHINGTON STREET. STE 3            10017 LIVE OAK AVE                       537 S 48TH ST STE 104
BEVERLY, MA 01915                      FONTANA, CA 92335                        TEMPE, AZ 85281




TJONNELAND, FREDERIK                   TLC ELECTRONICS, INC.                    TLM ONE INC.
[ADDRESS ON FILE]                      18 LONG LAKE ROAD                        909 N. ALAMEDA ST.
                                       ST. PAUL, MN 55115                       COMPTON, CA 90220




TLM, INC.                              T-MOBILE USA INC.                        TO THE MOON VENTURES, INC
3670 WOODLAND PARK AVE NORTH           12920 SE 38TH ST                         26 PLAINFIELD AVE
SEATTLE, WA 98103                      BELLEVUE, WA 98006-1350                  WARREN, NJ 07059




TODOROVIC, JELENA                      TOFAZZEL HOSSAIN, SHAIKH                 TOLIVER, RYAN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




TOM’S TRUCK CENTER NORTH COUNTY, LLC   TOMEI, PAUL J.                           TOMS TRUCK CENTER NORTH COUNTY, LL
ATTN KC HEIDLER                        [ADDRESS ON FILE]                        13443 E FREEWAY DRIVE
13443 FREEWAY DRIVE                                                             SANTA FE SPRINGS, CA 90670
SANTA FE SPRINGS, CA 90670
TOMS TRUCK CENTER       Case 25-10258-TMH     DocCENTER,
                                      TOMS TRUCK   32 Filed
                                                          INC 02/19/25   Page 154JASON
                                                                            TOMS,  of 171
ATTN: KEVIN C. HEIDLER                909 N GRAND AVE                       [ADDRESS ON FILE]
13443 E. FREEWAY DRIVE                SANTA ANA, CA 92701
SANTA FE SPRINGS, CA 90670




TONG, ETHAN                           TOO CORPORATION AMERICAS              TOP GOLF USA, INC.
[ADDRESS ON FILE]                     1111 BROADWAY FL 3                    9500 E TALKING STICK WAY
                                      OAKLAND, CA 94607                     SCOTTSDALE, AZ 85256




TOP OF THE LINE DESIGN, LLC           TOPPAN MERRILL USA INC.               TOPPER INC.
26801 FRONTIER WAY                    747 3RD AVE, FL 7                     1729 EAST FRONTAGE RD.
TEHACHAPI, CA 93561                   NEW YORK, NY 10017-2821               STURTEVANT, WI 53177




TOR ENGINEERING CORPORATION           TORADEX, INC.                         TORCHSTONE GLOBAL LLC
4320 E COTTON CENTER BLVD STE 106     719 2ND AVE, SUITE 850                1997 ANNAPOLIS EXCHANGE PARKWAY SUI
PHOENIX, AZ 85040                     SEATTLE, WA 98104                     ANNAPOLIS, MD 21401




TORRENT RESOURCES, INC.               TORRES JR, MARCO                      TORRES VIDAL, GERMAN
1509 EAST ELWOOD STREET               [ADDRESS ON FILE]                     [ADDRESS ON FILE]
PHOENIX, AZ 85040




TORRES, NELVIN                        TORRES, OSCAR                         TOSCA, ERNESTO
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                     [ADDRESS ON FILE]




TOSCANO, CARLOS                       TOSH, RANDY                           TOTAL QUALITY SYSTEMS, INC.
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                     1783 W. UNIVERSITY DR. STE: 135
                                                                            TEMPE, AZ 85281




TOTALLY LEGITIMATE PRINTING LLC       TOTAL-WESTERN, INC                    TOWNLEY, TYLER
705 N 7TH AVE                         8049 SOMERSET BLVD.                   [ADDRESS ON FILE]
PHOENIX, AZ 85007                     PARAMOUNT, CA 90723




TOYOTA FINANCIAL SERVICES             TOYOTA FINANCIAL SERVICES             TOYOTA TSUSHO AMERICA, INC.
1650 S PRICE RD, 200                  PO BOX 5855                           825 THIRD AVE, 10TH FL
CHANDLER, AZ 85286-6614               CAROL STREAM, IL 60197-5855           NEW YORK, NY 10022




TOYOTALIFT OF ARIZONA, INC            TOYOTALIFT OF ARIZONA, INC            TPI MEXICO, LLC
1445 N 26TH AVE                       266 E MISSOURI ST                     8501 SCOTTSDALE ROAD, SUITE 100
PHOENIX, AZ 85009                     TUCSON, AZ 85714                      SCOTTSDALE, AZ 85253
TQI EXCHANGE, LLC      Case 25-10258-TMH     Doc 32
                                     TRABUE, KYLE          Filed 02/19/25       Page 155RENEWABLE
                                                                                   TRACY of 171 ENERGY LLC
19001 SOUTH WESTERN AVENUE           [ADDRESS ON FILE]                             20500 S. HOLLY DRIVE
TORRANCE, CA 90501                                                                 TRACY, CA 95304




TRAINING CONCEPTS, INC                TRAMEN SLOAN LLC                             TRAN, DANIEL
2507 W VILLA RITA DR                  2502 N. STATE STREET                         [ADDRESS ON FILE]
PHOENIX, AZ 85023                     IOLA, KS 66749




TRAN, DUY                             TRAN, TUAN                                   TRANSCAT INC
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                            35 VANTAGE POINT DRIVE
                                                                                   ROCHESTER, NY 14624




TRANSCEND SECURITY SOLUTIONS, LLC     TRANSCENDA CONSULTING INC                    TRANSFORCE INC.
4020 N 20TH ST STE 200                330 HAMILTON ROW STE 300                     2200 BROENING HWY, 225
PHOENIX, AZ 85016                     BIRMINGHAM, MI 48009                         BALTIMORE, MD 21224




TRANSPARENTC                          TRANSPERFECT HOLDINGS, LLC                   TRANSPORT TOPICS
808 CARMICHAEL ROAD 248               1250 BROADWAY, 32ND FLR                      80 M ST SE, STE 800
HUDSON, WI 54016                      NEW YORK, NY 10001                           WASHINGTON, DC 20003




TRANSPORTATION RESEARCH CENTER INC.   TRANSPORTATION RESEARCH CENTER, INC.         TRASNFR INC.
10820 STATE ROUTE 347                 ATTN ROBERT BEVIS                            2196 THIRD AVE., PMB 20026
EAST LIBERTY, OH 43319                RESIDENT BAY 2, BUILDING B, TRC COMPLEX      NEW YORK, NY 10035
                                      10820 OH-347
                                      EAST LIBERTY, OH 43319



TRAUERNICHT, JARED                    TRC CA LLC                                   TRC ENVIRONMENTAL CORPORATION
[ADDRESS ON FILE]                     10820 STATE ROUTE 347                        21 GRIFFIN ROAD NORTH
                                      EAST LIBERTY, OH 43319                       WINDSOR, CT 06095




TRC SPACE LIMITED                     TREAT, PAULA                                 TRELLEBORG SEALING SOLUTIONS US, IN
119 MARYLEBONE ROAD                   [ADDRESS ON FILE]                            DEPT. CH 10999
LONDON NW1 5PU                                                                     PALATINE, IL 60055
UNITED KINGDOM




TRELLEBORG SLOVENIJA D.O.O.           TRELLIS GROUP, INC                           TRICOR DIRECT INC
ŠKOFJELOŠKA CESTA 6                   440 25TH STREET                              2491 WEHRLE DRIVE
KRANJ 4000                            OAKLAND, CA 94612                            WILLIAMSVILLE, NY 14221
SLOVENIA




TRIDENT TRANSPORT LLC                 TRILOGIQ USA CORPORATION                     TRIMARK CORPORATION
505 RIVERFRONT PKWY                   31805 GLENDALE STREET                        500 BAILEY AVENUE
CHATTANOOGA, TN 37402                 LIVONIA, MI 48150                            NEW HAMPTON, IA 50659
TRINA A. HIGGINS          Case 25-10258-TMH      Doc 32 Filed 02/19/25
                                        TRINA A. HIGGINS                    Page 156A. of
                                                                               TRINA      171
                                                                                       HIGGINS
US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE                     US DISTRICT COURTHOUSE
111 SOUTH MAIN ST, SUITE 1800           20 N MAIN ST, STE 208                   351 S WESTTEMPLE, ROOM 3.200
SALT LAKE CITY, UT 84111-2176           ST. GEORGE, UT 84770                    SALT LAKE CITY, UT 84101




TRINI E. ROSS                         TRINI E. ROSS                             TRINITY SAFETY COMPANY
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE                       7501 MEANY AVE
100 STATE ST, STE 500                 138 DELAWARE AVE                          BAKERSFIELD, CA 93308
ROCHESTER, NY 14614                   BUFFALO, NY 14202




TRIPLE S FENCE & RENTALS LTD.         TRI-STATE EQUIP CO INC                    TRITIUM TECHNOLOGIES LLC
15 HERTIGAE TERRACE                   4000 FEE FEE RD                           20000 S VERMONT AVE
STONY PLAIN, AB T7Z 2J8               BRIDGETON, MO 63044                       TORRANCE, CA 90502
CANADA




TRITON PLUMBING LLC                   TRI-VALLEY FIRE EQUIPMENT                 TRONCA, MICHAEL
119 N EXTENSION RD                    575 N MARSHALL ST                         [ADDRESS ON FILE]
MESA, AZ 85201                        CASA GRANDE, AZ 85122




TROPEA, DOMINIC                       TRU-CUT LLC                               TRUE NORTH AIR CONDITIONING LLC
[ADDRESS ON FILE]                     3045 W DIRECTORS ROW UNIT B               511 WEST GUADALUPE ROAD, SUITE 7
                                      SALT LAKE CITY, UT 84104                  GILBERT, AZ 85233




TRUECOMMERCE INC                      TRUIST BANK                               TRUJILLO, EDUARDO
210 W KENSINGER DR, STE 100           200 W 2ND ST, 6TH FL                      [ADDRESS ON FILE]
CRANBERRY TOWNSHIP, PA 16066          WINSTON SALEM, NC 27101




TRUMPF, INC.                          TRUST, GEORGE FAMILY                      TRUSTOP INC.
DEPARTMENT 135, PO BOX 150473         [ADDRESS ON FILE]                         1725 W 10TH PL
HARTFORD, CT 06115                                                              TEMPE, AZ 85281




TRYGVE ENTERPRISES, LLC               TRYSPARROW.COM, INC                       TTI INC
1902 PINON DR, SUITE B                548 MARKET ST 73767                       PO DRAWER 99111
COLLEGE STATION, TX 77845             SAN FRANCISCO, CA 94104                   FORT WORTH, TX 76199




TTI, INC.                             TUBE SPECIALTIES INC                      TUBI GOMMA TORINO S.P.A.
2441 NORTHEAST PARKWAY                1721 W 10TH STREET                        STRADA STATALE 31, KM 39,4, 42
FORT WORTH, TX 76106                  TEMPE, AZ 85281                           MIRABELLO MONFERRATO 15040
                                                                                ITALY




TUCKER, ALBIN AND ASSOCIATES, INC     TUFF SHED INC.                            TULL, CARL
1702 N COLLINS BLVD. STE 100          1777 SOUTH HARRISON STREET SUITE 60       [ADDRESS ON FILE]
RICHARDSON, TX 75080                  DENVER, CO 80210
TULLY, CARLA              Case 25-10258-TMH     Doc 32
                                        TULLY, CARLA         Filed 02/19/25   Page 157IORGA,
                                                                                 TURCU of 171MIRCEA
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       [ADDRESS ON FILE]




TURLOCK TRACTOR, INC.                    TUSIMPLE INC.                           TUV RHEINLAND MOBILITY INC
1215 W GLENWOOD AVE                      9191 TOWNE CENTRE DR. STE 150           295 FOSTER STREET SUITE 100
TURLOCK, CA 95380                        SAN DIEGO, CA 92122                     LITTLETON, MA 01460




TUV RHEINLAND OF NORTH AMERICA INC.      TUV SUD AMERICA INC                     TVS SUPPLY CHAIN SOLUTIONS, N AMER, INC
400 BEAVER BROOK RD                      401 EDGEWATER PL, STE 500               12900 SIMMS AVE
BOXBOROUGH, MA 01719                     WAKEFIELD, MA 01880                     HAWTHORNE, CA 90250




TWAICE NORTH AMERICA, INC.               TWEDDLE GROUP INC                       TWO B ENTERPRISES, INC.
150 NORTH MICHIGAN AVE, 35TH FL          24700 MAPLEHURST                        6909 QUEMETCO CT.
CHICAGO, IL 60601                        CLINTON TOWNSHIP, MI 48036              FORT WAYNE, IN 46803




TYCO FIRE & SECURITY (US) MANAGEMEN      TYMOSIAK, HUBERT                        U.S. DEPT OF STATE
INC.                                     [ADDRESS ON FILE]                       DIRECTORATE OF DEFENCE TRADE
701 S CARSON ST, STE 200                                                         CONTROLS
CARSON CITY, NV 89701                                                            COMPLIANCE & REGISTRATION DIV
                                                                                 2401 E STREET NW, SA-1, RM H1200
                                                                                 WASHINGTON, DC 20037


U.S. BANK TRUST COMPANY, NATIONAL        U.S. CUSTOMS AND BORDER PROTECTION      U.S. DEPARTMENT OF ENERGY
ASSOC                                    1300 PENNSYLVANIA AVENUE, NW            200 ADMINISTRATION ROAD
CM-9690 PO BOX 70870                     WASHINGTON, DC 20229                    OAK RIDGE, TN 37830
ST. PAUL, MN 55170




U.S. DEPARTMENT OF JUSTICE               U.S. DEPT OF TREASURY                   U.S. ENVIRONMENTAL PROTECTION AGENCY
950 PENNSYLVANIA AVENUE, NW              U.S. ARMY CCDC-GVSC                     OFFICE OF GENERAL COUNSEL 2310A
WASHINGTON, DC 20530                     6501 EAST 11 MILE ROAD                  1200 PENNSYLVANIA AVENUE, NW
                                         WARREN, MI 48397                        WASHINGTON, DC 20004




UBBEN, JEFF                              UBS AG STAMFORD BRANCH                  UBS BANK
[ADDRESS ON FILE]                        600 WASHINGTON BLVD                     ATTN HITESH HARNAL
                                         STAMFORD, CT 06901                      1285 AVE OF THE AMERICAS, 8TH FLOOR
                                                                                 NEW YORK, NY 10019




UC REGENTS LAWRENCE BERKELEY NATION      UCHICAGO ARGONNE LLC                    UCHICAGO ARGONNE LLC
LAB                                      DBA ARGONNE NATIONAL LABORATORY         DBA ARGONNE NATIONAL LABORATORY
1 CYCLOTRON ROAD                         9700 S CASS AVE                         CAROL STREAM, IL 60188
BERKELEY, CA 94710                       LEMONT, IL 60439




UFI FILTERS USA, INC                     UGAM SOLUTIONS INC                      UL ASSOCIATES LLC
50 W. BIG BEAVER RD., SUITE 440          300 E 59TH STAPT 1902                   333 PFINGSTEN RD. BLDG 682
TROY, MI 48084                           NEW YORK, NY 10022                      NORTHBROOK, IL 60062
UL HASAN SYED, UZAIR     Case 25-10258-TMH    Doc
                                       UL METHOD   32GMBH
                                                 PARK   Filed 02/19/25        Page  158INC.
                                                                                 ULINE,  of 171
[ADDRESS ON FILE]                       WETTERKREUZ 19A                          12575 ULINE DR
                                        ERLANGEN 91058                           PLEASANT PRAIRIE, WI 53158
                                        GERMANY




ULLOA ALATORRE, JAIME                   ULTIMATE 3D PRINTING STORE INC.          ULTIMATE HYDROFORMING, INC.
[ADDRESS ON FILE]                       1851 GUNN HIGHWAY                        7255 18 1/2 MILE ROAD
                                        ODESSA, FL 33556                         STERLING HEIGHTS, MI 48314




ULTRA FASTENERS INC.                    ULTRATECH TOOL & DESIGN INC.             UMASANKAR, RAKSHOKINI
2762 PEACE PORTAL DR. UNIT 123          1210 W. SCOTT ST.                        [ADDRESS ON FILE]
BLAINE, WA 98230                        FOND DU LAC, WI 54937




UMICORE AG & CO KG                      UMLES, MATT                              UNIFIED CARRIER REGISTRATION
C/O PRECIOUS METALS MGMT                [ADDRESS ON FILE]                        1200 NJ AVE SE
RODENBACHER CHAUSSEE 4                                                           WASHINGTON, DC 20590
HANAU-WOLFGANG D63457
GERMANY



UNIFLEX OF AMERICA                      UNION LEASING INC.                       UNIROYAL ENGINEERED PRODUCTS, LLC
1088 NATIONAL PARKWAY                   330 S. WARMINISTER RDSUITE 334           1800 2ND STREET 970
SCHAUMBURG, IL 60173                    HATBORO, PA 19040                        SARASOTA, FL 34236




UNISEG PRODUCTS PTY LTD                 UNITED CAPITAL PARTNERS, LLC             UNITED FINANCIAL CASUALTY COMPANY
81 DALEFORD WAY                         PENZOIL PLACE - 700 MILAM STREETS        24344 NETWORK PLACE
SOUTHERN RIVER 6110                     HOUSTON, TX 77002                        CHICAGO, IL 60673
AUSTRALIA




UNITED PET CARE LLC                     UNITED RENTALS (NORTH AMERICA), INC      UNITED STATE TREASURY
6232 N 7TH ST. STE 202                  FILE 51122                               1500 PENNSYLVANIA AVE NW
PHOENIX, AZ 85014                       LOS ANGELES, CA 90074                    WASHINGTON, DC 20220




UNITED STATES TREASURY                  UNITED TECHNICAL INC                     UNITED VIP CAR LLC
OFFICE OF THE TREASURER                 1081 E N TERRITORIAL RD                  15127 MAIN ST E SUITE 104
1500 PENNSYLVANIA AVENUE, NW            WHITMORE LAKE, MI 48189                  SUMNER, WA 98390
ROOM 2134
WASHINGTON, DC 20220



UNITEDHEALTHCARE INSURANCE COMPANY      UNIVAR SOLUTIONS CANADA LTD              UNIVAR SOLUTIONS INC.
9900 BREN RD E                          64 ARROW RD                              3 WATERWAY SQUARE PLACE STE. 100
MN008-T-615                             WESTON, ON M9M 2L9                       THE WOODLANDS, TX 77380
MINNETONKA, MN 55343                    CANADA




UNIVAR SOLUTIONS USA                    UNIVERSAL PROTECTION SERVICE, LP         UNNASCH, STEFAN
3075 HIGHLAND PARKWAY STE. 200          1551 N TUSTIN AVE, STE 650               [ADDRESS ON FILE]
DOWNERS GROVE, IL 60515                 SANTA ANA, CA 92705
UNUM                    Case 25-10258-TMH     DocOTOMOTIV
                                      UNVER GRUP    32 Filed   02/19/25
                                                          SANAYI VE TICAR    Page 159 of
                                                                                UPRIGHT   171 INC
                                                                                        HOLDINGS,
2201 E CAMELBACK RD. SUITE 320        A.S.                                      DEPT 3017, PO BOX 1000
PHOENIX, AZ 85016                     KAYAPA ORGANIZE SANAYI BOLGESI SARı       MEMPHIS, TN 38148
                                      NİLUFER 16315
                                      TURKEY



UPS FREIGHT                            UPS SUPPLY CHAIN SOLUTIONS INC           UPS
1000 SEMMES AVE                        28013 NETWORK PLACE                      55 GLENLAKE PKWY NE
RICHMOND, VA 23218                     CHICAGO, IL 60673                        ATLANTA, GA 30328




URIBE, MIGUEL                          US BANK EQUIPMENT                        US BANK TRUST COMPANY
[ADDRESS ON FILE]                      DIV OF US BANK NA                        WEST SIDE FLATS, ST. PAUL
                                       1310 MADRID ST                           60 LIVINGSTON AVE
                                       MARSHALL, MN 56258                       SAINT PAUL, MN 55107




US DEPARTMENT OF LABOR                 USA FORTESCUE FUTURE INDUSTRIES, IN      USB AG, STAMFORD BRANCH
S-2521                                 8200 GREENSBORO DR. STE 525              AS BANK & SECURED PARTY
200 CONSITUTION AVE, NW                MCLEAN, VA 22102                         600 WASHINGTON BLVD
WASHINGTON, DC 20210                                                            STAMFORD, CT 06901




USCALIBRATION INCORPORATED             USCANGA CASTILLO, ABIGAIL                USF HOLLAND LLC
17922 SKY PARK CIRCLE, STE P           [ADDRESS ON FILE]                        27052 NETWORK PLACE
IRVINE, CA 92614                                                                CHICAGO, IL 60673




USON LP                                UST UMWELTSENSORTECHNIK GMBH             UTAC US INC.
8824 FALLBROOK DR.                     DIESELSTRAßE 2 UND 4                     15800 CENTENNIAL DR.
HOUSTON, TX 77064                      GRAFENRODA 99331                         NORTHVILLE, MI 48168
                                       GERMANY




UTAH DEPT OF ENVIRONMENTAL QUALITY     UTAH DEPT OF ENVIRONMENTAL QUALITY       UTAH DEPT OF WORKFORCE SERVICES
195 NORTH 1950 WEST                    PO BOX 144810                            UNEMPLOYMENT INSURANCE
SALT LAKE CITY, UT 84116               SALT LAKE CITY, UT 84114-4810            PO BOX 45288
                                                                                140 E 300 SOUTH
                                                                                SALT LAKE CITY, UT 84145-0288



UTAH LABOR COMMISSION                  UTAH STATE TAX COMMISSION                UTAH STATE TREASURY
160 EAST 300 SOUTH                     210 N 1950 W                             UNCLAIMED PROPERTY DIVISION
3RD FLOOR                              SALT LAKE CITY, UT 84134                 PO BOX 140530
SALT LAKE CITY, UT 84111                                                        SALT LAKE CITY, UT 84114-0530




UTILITY EQUIPMENT & SUPPLY, INC        V.G.V. S.R.L.                            VACCA, JACOB
8800 W BUCKEYE RD                      VIA CEFALONIA, 70                        [ADDRESS ON FILE]
TOLLESON, AZ 85353                     BRESCIA 25124
                                       ITALY




VACCARO, NICHOLAS                      VACUUM PROCESS ENGINEERING, INC.         VACUUM TECHNOLOGY OF TENNESSEE, INC
[ADDRESS ON FILE]                      110 COMMERCE CIRCLE                      1003 ALVIN WEINBERG DR.
                                       SACRAMENTO, CA 95815                     OAK RIDGE, TN 37830
VAIJA RAJARAM, DEVNATH Case 25-10258-TMH
                                     VAISALA, Doc
                                              INC. 32      Filed 02/19/25   Page
                                                                               VAL160  of 171
                                                                                   GIOVANNI E FIGLI SRL
[ADDRESS ON FILE]                    DEPT. CH19486                              REGIONE CRAVERO 2
                                     PALATINE, IL 60055                         RIVARA, TO 10080
                                                                                ITALY




VALDIVIA, LETICIA                      VALDOVINOS, RICHARD                      VALENZUELA MUNGARAY, ADRIAN
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




VALENZUELA TELLEZ, JOSE                VALENZUELA, RICARDO                      VALENZUELA, RODRIGO
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                        [ADDRESS ON FILE]




VALEO AUTO-ELECTRIC MAGYARORSZAG KF    VALIN CORPORATION                        VALLELONGA, ROBERT E.
8200 VESZPREM, PIRAMIS U. 1.           5225 HELLYER AVE, STE 250                [ADDRESS ON FILE]
PIRAMIS 8200                           SAN JOSE, CA 95138
HUNGARY




VALLEY OF THE SUN CLEAN CITIES COAL    VALLEY VISION, INC.                      VALUEACT CAPITAL MANAGEMENT LP
1475 N SCOTTSDALE RD 200               3400 3RD AVENUE                          1 LETTERMAN DRIVEBUILDING D 4TH F
SCOTTSDALE, AZ 85257                   SACRAMENTO, CA 95817                     SAN FRANCISCO, CA 94129




VALVOLINE LLC                          VAN KANEGAN, ZACHARY                     VANCE, KATRINA
C/O VALVOLINE GLOBAL                   [ADDRESS ON FILE]                        [ADDRESS ON FILE]
100 VALVOLINE WY, STE 200
LEXINGTON, KY 40509




VANEK, MICHAEL A                       VANESSA R. WALDREF                       VANESSA R. WALDREF
[ADDRESS ON FILE]                      UNITED STATES ATTORNEYS OFFICE           US ATTORNEYS OFFICE
                                       PO BOX 1494                              402 E YAKIMA AVE, STE 210
                                       SPOKANE, WA 99210-1494                   YAKIMA, WA 98901




VANESSA ROBERTS AVERY                  VANESSA ROBERTS AVERY                    VANESSA ROBERTS AVERY
OFFICE OF THE UNITED STATES ATTORNEY   US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE
CONNECTICUT FINANCIAL CENTER           1000 LAFAYETTE BLVD, 10TH FL             450 MAIN ST, ROOM 328
157 CHURCH ST, FL 25                   BRIDGEPORT, CT 06604                     HARTFORD, CT 06103
NEW HAVEN, CT 06510



VANGUARD TRUCK CENTER OF HOUSTON       VANGUARD TRUCK HOLDINGS LLC              VANTAGE RISK ASSURANCE COMPANY
12935 CROSBY FREEWAY                   34 OLD IVY RD SUITE 200                  123 N. WACKER DR., SUITE 1300
HOUSTON, TX 77049                      ATLANTA, GA 30342                        CHICAGO, IL 60606




VARGAS, OMAR                           VARILEASE FINANCE, INC.                  VARITRONIX UK LIMITED
[ADDRESS ON FILE]                      2800 E COTTONWOOD PKWY, 2ND FLR          3 MILBANKE COURT, MILBANKE WAY
                                       SALT LAKE CITY, UT 84121                 BRACKNELL RG12 1RP
                                                                                UNITED KINGDOM
VASHI, KUSHALBHAI         Case 25-10258-TMH
                                        VASQUEZDoc 32 AGUSTIN
                                               DUARTE,  Filed 02/19/25       Page 161 ofANDREW
                                                                                VASQUEZ, 171
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                      [ADDRESS ON FILE]




VASQUEZ, ORLANDA                         VAZQUEZ, PABLO                         VBH TECHNOLOGIES INC.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                      6615 CORPORATE DR
                                                                                CINCINNATI, OH 45242




VEACH, LANE                              VECTOFLOW GMBH                         VECTOIQ ACQUISITION CORP
[ADDRESS ON FILE]                        FRIEDRICHSHAFENER STR. 1               1354 FLAGLER DR
                                         GILCHING 82205                         MAMARONECK, NY 10543
                                         GERMANY




VECTOR NORTH AMERICA INC.                VECTOR STRUCTURAL ENGINEERING LLC      VEENA DEBBADI, SAI
39500 ORCHARD HILL PLACE. STE 500        651 W. GALENA PARK BLVD.STE 101        [ADDRESS ON FILE]
NOVI, MI 48375                           DRAPER, UT 84020




VEGA, CHRISTOPHER                        VEGA, FRANKIE                          VEGA, JUAN
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                      [ADDRESS ON FILE]




VEILLEUX, JAKE                           VEITH, ALLEN                           VELAZQUEZ GUTIERREZ, APOLO
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                      [ADDRESS ON FILE]




VELEZ, FERNANDO                          VELOCITY ELECTRONICS CORP              VELODYNE LIDAR USA INC.
[ADDRESS ON FILE]                        2208 ENERGY DRIVE                      5221 HELLYER AVE
                                         AUSTIN, TX 78758                       SAN JOSE, CA 95138




VELSOFT TRAINING MATERIALS INC           VENA SOLUTIONS USA INC                 VENAIR GMBH
B-185 PROVOST ST                         1971 WESTERN AVE                       ROBERT-BOSCH-STRABE 3
NEW GLASGOW, NS B2H 2P8                  ALBANY, NY 12203                       FREIBERG AM NECKAR 71691
CANADA                                                                          GERMANY




VENAIR INC                               VENEGAS, ALEXIS                        VENKATASUBBU, NANJUNDAMURTHY
16713, PARK CENTRE BLVD                  [ADDRESS ON FILE]                      [ADDRESS ON FILE]
MIAMI, FL 33169




VEOLIA NORTH AMERICA, INC.               VERDECIA, CHRISTINA                    VERDUZCO LOPEZ, OMAR
53 STATE ST, 14TH FL                     [ADDRESS ON FILE]                      [ADDRESS ON FILE]
BOSTON, MA 02109
VERDUZCO, URIEL           Case 25-10258-TMH
                                        VERIZON Doc 32 FiledINC.
                                                COMMUNICATIONS 02/19/25   Page 162 of
                                                                             VERNAY    171
                                                                                    LABORATORIES, INC.
[ADDRESS ON FILE]                        1095 AVE OF THE AMERICAS             DEPT 6371. PO BOX 11407
                                         NEW YORK, NY 10036                   BIRMINGHAM, AL 35246




VERNE INC.                               VESCO, JOHN                          VESCO, JOHN
115 STILLMAN ST                          [ADDRESS ON FILE]                    [ADDRESS ON FILE]
SAN FRANCISCO, CA 94107




VESEY, ANDREW                            VESEY, ANDREW                        VESTIS GROUP, INC.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                    500 COLONIAL CENTER PKWY, STE 140
                                                                              ROSWELL, GA 30076




VFS LLC                                  VFS, LLC                             VG FOOTBALL BOOSTER CLUB
5827 TEREX                               5827 TEREX                           1556 N ARIZOLA RD.
CLARKSTON, MI 48346                      CLARKSTON, MI 48346                  CASA GRANDE, AZ 85122




VGV S.R.L.                               VGV USA LLC                          VIAIR CORPORATION
VIA ISORELLA, 49/51                      1455 SEQUOIA DRIVESUITE 101          15 EDELMAN
CALVISANO, BS 25012                      AURORA, IL 60506                     IRVINE, CA 92618
ITALY




VIAM MANUFACTURING, INC.                 VIASAT, INC.                         VIBRACOUSTIC CV AIR SPRINGS
87 PARK TOWER RD.                        6196 EL CAMINO REAL                  ATA MAHALLESI, ORKIDE CADDESI NO 25
MANCHESTER, TN 37355                     CARLSBAD, CA 92009                   GEMLIK 16600
                                                                              TURKEY




VIBRACOUSTIC SE & CO.KG                  VIBRACOUSTIC USA INC                 VIEYRA GARCIA, OSCAR
HOHNERWEG 2-4                            400 AYLWORTH AVENUE                  [ADDRESS ON FILE]
WIENHEIM 69465                           SOUTH HAVEN, MI 49090
GERMANY




VIEZCAS, JORGE                           VIEZCAS, JOSE                        VIKING INSTRUMENT & CONTROL LTD.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                    2396 INDUSTRIAL ST.
                                                                              BURLINGTON, ON L7P 1A5
                                                                              CANADA




VILLA, HELEN                             VILLAVERDE, MARISA                   VILLEGAS, ISAAC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                    [ADDRESS ON FILE]




VILLESCAZ, GABRIEL                       VILLESCAZ, JOVAN                     VIMI FASTENERS INC.
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                    3540 TORINGDON WAY, SUITE 200
                                                                              CHARLOTTE, NC 28277
VINING, JENNIFER           Case 25-10258-TMH      Doc 32 Filed
                                         VIRGINIA DEPARTMENT      02/19/25
                                                             OF MOTOR VEHICL Page  163 of
                                                                                VIRGINIA   171
                                                                                         DEPARTMENT OF TAXATION
[ADDRESS ON FILE]                          2300 W BROAD ST                          1957 WESTMORELAND ST
                                           RICHMOND, VA 23269                       RICHMOND, VA 23230




VIRGINIA DEPARTMENT OF TAXATION            VIRGINIA DEPARTMENT OF TAXATION          VIRGINIA DEPARTMENT OF THE TREASURY
1957 WESTMORELAND STREET                   PO BOX 760                               UNCLAIMED PROPERTY DIVISION
RICHMOND, VA 23230                         RICHMOND, VA 23218                       101 NORTH 14TH ST
                                                                                    RICHMOND, VA 23219




VIRGINIA DEPT OF ENVIRONMENTAL QUALITY     VIRGINIA DEPT OF ENVIRONMENTAL QUALITY   VIRGINIA DIVISION OF LABOR AND INDUSTRY
1111 E MAIN ST                             PO BOX 1105                              MAIN STREET CENTRE
STE 1400                                   RICHMOND, VA 23218                       600 E MAIN ST
RICHMOND, VA 23219                                                                  STE 207
                                                                                    RICHMOND, VA 23219



VIRGINIA EMPLOYMENT COMMISSION             VIRGINIA PANEL CORPORATION               VIRGINIA TRANSFORMER CORP.
PO BOX 26441                               1400 NEW HOPE RD                         220 GLADE VIEW DRIVE
RICHMOND, VA 23261-6441                    WAYNESBORO, VA 22980                     ROANOKE, VA 24012




VIRTU CORPORATION                          VIRTUAL BUSINESS ENTERPRISES, LLC        VISHAY MEASUREMENTS GROUP, INC.
1130 CONNECTICUT AVENUE NW, SUITE 2        301 N. MARKET STREET, SUITE 1410         951 WENDELL BLVD
WASHINGTON, DC 20036                       WILMINGTON, DE 19801                     WENDELL, NC 27591




VISIER, INC.                               VITESCO TECHNOLOGIES USA LLC             VNF SOLUTIONS, LLC
548 MARKET STREET, 62284                   700 PARK AVENUE                          1050 THOMAS JEFFERSON ST NW, SUITE
SAN FRANCISCO, CA 94104                    AUBURN HILLS, MI 48326                   WASHINGTON, DC 20007




VOLKSWAGEN GROUP OF AMERICA, INC           VOLKSWAGEN GROUP OF AMERICA, INC.        VOLTMEC S.R.L.
2200 FERDINAND PORSCHE DRIVE               2003 EDMUND HALLEY DRIVE                 VIALE VIRGILIO, 48/F
HERDON, VA 20171                           RESTON, VA 20191                         MODENA, MO 41123
                                                                                    ITALY




VOSS AUTOMOTIVE GMBH                       VOSS AUTOMOTIVE POLSKA SP. ZO.O.         VOSS AUTOMOTIVE, INC
LEIERSMUHLE 2-6                            NOWA WIES LEGNICKA 101                   4640 HILLEGAS RD
WIPPERFURTH 51688                          LEGNICKIE POLE 59-241                    FORT WAYNE, IN 46818
GERMANY                                    POLAND




VOSS AUTOMOTIVE, S. DE R.L. DE C.V.        VPE THERMAL LLC                          VTT LLC
BLVD. CAMPESTRE 208, PARQUE INDUSTR        150 COMMERCE CIRCLE                      1020 LOTUS DRIVE
ARTEAGA COAHUILA, CO 25350                 SACRAMENTO, CA 95815                     ALTON, VA 24520
MEXICO




VULLO, AUGUST                              VULTARA INC                              VYRIAN INC.
[ADDRESS ON FILE]                          4380 NAVIN FIELD LN                      3931 ANN ARBOR DR.
                                           TROY, MI 48085                           HOUSTON, TX 77063
                        Case 25-10258-TMH
W. L. GORE & ASSOCIATES GMBH          W.D. MANORDoc  32 Filed
                                                   MECHANICAL   02/19/25
                                                              CONTRACTORS,   Page 164
                                                                                W.L.    of&171
                                                                                     GORE   ASSOCIATES, INC.
HERMANN-OBERTH-STRABE. 22             INC.                                       201 AIRPORT ROAD
PUTZBRUNN 85640                       1838 N. 23 AVENUE                          ELKTON, MD 21921
GERMANY                               PHOENIX, AZ 85009




W.S. DARLEY & CO.                      W.W. GRAINGER, INC.                       WAAGE, KYLE
325 SPRING LAKE DRIVE                  DEPT 887091006. PO BOX 419267             [ADDRESS ON FILE]
ITASCA, IL 60143                       KANSAS CITY, MO 64141




WABASH METAL PRODUCTS INC              WABASH VALLEY RESOURCES LLC               WABCO GROUP, INC.
1569 MORRIS ST                         444 W. SANDFORD AVE                       1220 PACIFIC DR
PO BOX 298                             WEST TERRE HAUTE, IN 47885                AUBURN HILLS, MI 48326
WABASH, IN 46992-0298




WABCO NORTH AMERICA LLC                WABCO USA LLC                             WAGNER EQUIPMENT CO
8225 PATRIOT BLVD                      MC 7539 DRAWER 25501, 39200 SIX MIL       18000 SMITH ROAD
NORTH CHARLESTON, SC 29418             LIVO, MI 48152                            AURORA, CO 80011




WAGNER EQUIPTMENT COMPANY              WAGNER, RACHEL                            WAITE, CONNOR
ATTN: BRIAN ROTHE                      [ADDRESS ON FILE]                         [ADDRESS ON FILE]
18000 SMITH ROAD
AURORA, CO 80011




WAITE, TRAVIS                          WAKEFIELD THERMAL SOLUTIONS INC           WALBRIDGE ALDINGER LLC
[ADDRESS ON FILE]                      28290 NETWORK PLACE                       777 WOODWARD AVE STE 300
                                       CHICAGO, IL 60673                         DETROIT, MI 48226




WALDRON & COMPANY                      WALL STREET TRANSCRIPT CORPORATION        WALLACE, JERRY
801 2ND AVENUE STE 100                 622 3RD AVENUE 34TH FLOOR                 [ADDRESS ON FILE]
SEATTLE, WA 98104                      NEW YORK, NY 10017




WALLENIUS WILHELMSEN OCEAN AZ          WALLINHESTER PLC                          WALSH, KAREN
300 INTERPACE PARKWAY SUITE A300       1760 E PECOS RDSTE 332                    [ADDRESS ON FILE]
PARSIPPANY, NJ 07054                   GILBERT, AZ 85295




WALTERS PRECISION SERVICE INC          WALTERS, HALEY                            WALTERS, LISA
229 S RIVER DR                         [ADDRESS ON FILE]                         [ADDRESS ON FILE]
TEMPE, AZ 85281




WALTHER, NILS                          WALTONEN PLM, INC.                        WANG, YAN
[ADDRESS ON FILE]                      31330 MOUND ROAD                          [ADDRESS ON FILE]
                                       WARREN, MI 48092
WASHINGTON AREA NEW AUTOCaseDEAL25-10258-TMH
                                 ASSOC            DocDEPT
                                         WASHINGTON   32 OFFiled
                                                             LABOR02/19/25
                                                                   AND       Page 165 of 171
                                                                                WASHINGTON DEPT OF LABOR AND
5301 WISCONSIN AVE NW, SUITE 210         INDUSTRIES                             INDUSTRIES
WASHINGTON, DC 20015                     7273 LINDERSON WAY SW                  PO BOX 44000
                                         TUMWATER, WA 98501                     OLYMPIA, WA 98504-4000




WASHINGTON DEPT OF TRANSPORTATION       WASHINGTON EMPLOYMENT SECURITY DEPT     WASHINGTON EMPLOYMENT SECURITY DEPT
310 MAPLE PARK AVE SE                   212 MAPLE PARK AVE SE                   PO BOX 9046
PO BOX 47300                            OLYMPIA, WA 98501-2347                  OLYMPIA, WA 98507
OLYMPIA, WA 98504-7300




WASHINGTON STATE DEPT OF NAT            WASHINGTON STATE DEPT OF NAT            WASHINGTON STATE DEPT OF REVENUE
RESOURCES                               RESOURCES                               UNCLAIMED PROPERTY SECTION
MS 47000                                NATURAL RESOURCES BUILDING              PO BOX 47477
OLYMPIA, WA 98504                       1111 WASHINGTON ST, SE                  OLYMPIA, WA 98504-7477
                                        OLYMPIA, WA 98504



WASTE MANAGEMENT OF ARIZONA, INC.       WASTE MANAGEMENT OF ARIZONA, INC.       WASTE MANAGEMENT OF ARIZONA, INC.
1580 E ELWOOD ST                        1580 E ELWOOD ST                        PO BOX 7400
PHOENIX, AZ 85040                       PHOENIX, AZ 85281                       PASADENA, CA 91109




WASTE RENTALS, LLC                      WATER & ENERGY SYSTEMS TECHNOLOGY,      WATRY INDUSTRIES, LLC
20221 E MESQUITE ST                     4956 E INGRAM ST                        3312 LAKESHORE DRIVE
MESA, AZ 85212                          MESA, AZ 85205                          SHEBOYGAN, WI 53081




WATSON, BENJAMIN                        WATTCO INC.                             WATTEV TAAS LEASING, INC.
[ADDRESS ON FILE]                       55 MILTON AVE                           444 W OCEAN BLVD, STE 1250
                                        LACHINE, QC H8R 1K6                     LONG BEACH, CA 90802
                                        CANADA




WATTEV TRANSPORT, LLC.                  WAUKESHA TOOL & STAMPING, LLC           WAVEMETRICS, INC
444 W. OCEAN BLVD. SUITE 1250           2076 1ST AVENUE                         10200 SW NIMBUS AVENUE, SUITE G7
LONG BEACH, CA 90802                    GRAFTON, WI 53024                       PORTLAND, OR 97223




WAXIES ENTERPRISES, INC.                WAYTEK, INC.                            WCF MUTUAL INSURANCE COMPANY
5775 RUFFIN RD                          2440 GALPIN CT                          100 W TOWNE RIDGE PKWY
SAN DIEGO, CA 92123-1012                PO BOX 690                              SANDY, UT 84070
                                        CHANHASSEN, MN 55317




WE - THE TRUCK PEOPLE                   WE GOT NEXT CLEANING LLC                WE RIDE POWERSPORTS MESA, LLC
ATTN: SCOTT BLEVINS                     270 E HUNT HWY, STE 16-117              1350 S CLEARVIEW AVE
313 N TENNESSEE ST                      SAN TAN VALLEY, AZ 85143                MESA, AZ 85209
CARTERSVILLE, GA 30120




WEAVER AND TIDWELL LLP                  WEBASTO CHARGING SYSTEMS, INC           WEBASTO ROOF & COMPONENTS SE
2821 W 7TH STREETSTE 700                1333 S. MAYFLOWER AVE, STE 100          SE FRIEDRICHSHAFENER STRAßE 9
FORT WORTH, TX 76107                    MONROVIA, CA 91016                      GILCHING 82205
                                                                                GERMANY
                      Case
WEBASTO THERMO & COMFORT SE 25-10258-TMH
                                     WEBASTODoc  32 & COMFORT
                                             THERMO   Filed 02/19/25
                                                              SE             Page 166 ofTHERMO
                                                                                WEBASTO  171 AND COMFORT NORTH
WEBASTO PORTUGAL RUA PROFESSOR       WERNER-BAIER-STRASSE 1                     AM INC.
FERN                                 NEUBRANDENBURG 17033                       15083 NORTH ROAD
LISBOA 1600-616                      GERMANY                                    FENTON, MI 48430
PORTUGAL



WEBB, LAUREN R                           WEBCAST PLUS LLC                       WEGMANN AUTOMOTIVE USA, INC
[ADDRESS ON FILE]                        3200 E. CAMELBACK RD, STE 295          1715 JOE B JACKSON PKWY
                                         PHOENIX, AZ 85018                      MURFREESBORO, TN 37127




WEH TECHNOLOGIES, INC.                   WEISS TECHNIK NORTH AMERICA, INC.      WELBORN, JOHN W
24903 LAGUNA EDGE DRIVE                  3881 N GREENBROOKE DR. SE              [ADDRESS ON FILE]
KATY, TX 77494                           GRAND RAPIDS, MI 49512




WELDEX CORPORATION                       WELTE ROHRBIEGETECHNIK GMBH            WENGER ENGINEERING GMBH
6751 KATELLA AVENUE                      LESSINGSTRAßE 4/1                      EINSTEINSTRABE 55
CYPRESS, CA 90630                        NEU-ULM 89231                          ULM 89077
                                         GERMANY                                GERMANY




WEPPLER FILTER GMBH                      WERNER GIEßLER GMBH                    WESCO DISTRIBUTION INC.
ZIMMERSMUHLENWEG 61                      PRAZISIONSDREHTEILE                    225 WEST STATION SQUARE DR, STE 700
OBERURSEL 61440                          AM RIßLERSBERG 59                      PITTSBURGH, PA 15219
GERMANY                                  ELZACH 79215
                                         GERMANY



WESCO DISTRIBUTION, INC.                 WESCO GROUP, LLC                       WESSEL, CHRISTOPHER
ATTN REAL ESTATE DEPARTMENT              1840 W 1ST AVE                         [ADDRESS ON FILE]
225 W. STATION SQUARE DRIVE, SUITE 700   MESA, AZ 85202
PITTSBURGH, PA 15219




WEST PUBLISHING CORPORATION              WEST VIRGINIA DIV. OF LABOR            WEST VIRGINIA DIVISION OF LABOR
610 OPPERMAN DRIVE                       1900 KANAWHA BLVD                      1900 KANAWHA BLVD EAST
SAINT PAUL, MN 55123                     CHARLESTON, WV 25305                   STATE CAPITAL COMPLEX
                                                                                BLDG 3, RM 200
                                                                                CHARLESTON, WV 25305



WEST VIRGINIA STATE TREASURERS OFFICE    WESTAIR GASES & EQUIPMENT, INC.        WESTERN FENCE CO., INC.
STATE CAPITOL COMPLEX, BLDG 3            2505 CONGRESS ST                       1935 S FREMONT DR
RM 200                                   SAN DIEGO, CA 92110                    SALT LAKE CITY, UT 84104
CHARLESTON, WV 25305




WESTERN PUMP, INC.                       WESTERN SALES & TESTING INC            WESTERN SIGNS & LIGHTING, LLC
3235 F STREET                            114 SE 46TH AVE                        2452 W BIRCHWOOD, BLDG 6, STE 111
SAN DIEGO, CA 92102                      PO BOX 2446                            MESA, AZ 85202
                                         AMARILLO, TX 79105




WESTERN UTILITY CONTRACTORS, LLC         WESTFIELD DEVELOPMENT INC              WESTON EMBEDDED SOLUTIONS LLC
1094 S. GILBERT RD STE. 203              2049 CENTURY PARK E, 42ND FL           2200 N. COMMERCE PARKWAY, SUITE 200
GILBERT, AZ 85296                        LOS ANGELES, CA 90067                  FORT LAUDERDALE, FL 33326
WESTON, JAMES            Case 25-10258-TMH    Doc
                                       WESTPORT    32INC Filed 02/19/25
                                                AUTO                      Page 167 of FUEL
                                                                             WESTPORT 171 SYSTEMS CANADA INC.
[ADDRESS ON FILE]                       4001 E BROADWAY RD                   5 GODDARD CRESCENT, UNIT 101
                                        PHOENIX, AZ 85040                    CAMBRIDGE, ON N3E 0C8
                                                                             CANADA




WESTPORT FUEL SYSTEMS S.R.L.            WESTWARD SALES, INC.                 WEX HEALTH, INC.
VIA BORMIOLI, 19                        29805 US HIGHWAY 24 186              700 26TH AVENUE EAST
BRESCIA, BS 25135                       BUENA VISTA, CO 81211                WEST FARGO, ND 58078
ITALY




WEYRAUCH, ROBERT                        WEZAG TOOLS, INC.                    WHARTON, ROBERT
[ADDRESS ON FILE]                       1864 HIGH GROVE LANE UNIT 108        [ADDRESS ON FILE]
                                        NAPERVILLE, IL 60540




WHIPPLE, DUSTIN                         WHISENHUNT, AUBREY                   WHISENHUNT, COLE
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                    [ADDRESS ON FILE]




WHITE, ARIEL                            WHITE, DONALD                        WHITE, TREVOR
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                    [ADDRESS ON FILE]




WHOLEFRONT INC.                         WIELAND MICROCOOL LLC                WILBERT, INC.
24903 LAGUNA EDGE DR.                   2100 MARKET STREET, NE               100 N MAIN STSTE 200
KATY, TX 77494                          DECATUR, AL 35601                    BELMONT, NC 28012




WILENCHIK & BARTNESS, P.C.              WILHELM SCHUMACHER GMBH              WILLIAMS III, GILLIS L
2810 N 3RD STREET                       AM PREIST 5                          [ADDRESS ON FILE]
PHOENIX, AZ 85004                       HILCHENBACH 57271
                                        GERMANY




WILLIAMS SCOTSMAN, INC.                 WILLIAMS, CHRISTOPHER                WILLINGHAM WELDING SOLUTIONS INC
4646 E VAN BUREN ST. STE 400            [ADDRESS ON FILE]                    18005 E HWY 225
PHOENIX, AZ 85008                                                            LA PORTE, TX 77571




WILMINGTON SAVINGS FUND SOCIETY, FS     WILSON ELECTRIC SERVICES CORP.       WILSON, THOMAS
500 DELAWARE AVENUE                     600 E. GILBERT DR.                   [ADDRESS ON FILE]
WILMINGTON, DE 19801                    TEMPE, AZ 85288




WILSTERMAN, JASON                       WIMBERT, JORG                        WINGMAN INSURANCE
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                    204 CEDAR STREET
                                                                             CAMBRIDGE, MD 21613
WINKELMANN                 Case 25-10258-TMH    DocBERNHARD
                                         WINKELMANN, 32 Filed 02/19/25        Page 168 ofCOMMUNICATIONS
                                                                                 WINMATE  171           US INC
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                       2640 MATHEWS STREET
                                                                                 SMYRMAN, GA 30080




WINN-MARION BARBER LLC                   WINSLOW, NICOLE                         WINSTON, RODERICK
7151 S. BLACKHAWK STE 900                [ADDRESS ON FILE]                       [ADDRESS ON FILE]
CENTENNIAL, CO 80112




WINTER, JULIA                            WISCONSIN DEPARTMENT OF REVENUE         WISCONSIN OVEN DISTRIBUTORS LLC
[ADDRESS ON FILE]                        2135 RIMROCK RD                         W355 S9075 E GODFREY LN
                                         MADISON, WI 53713                       EAGLE, WI 53119




WISE, JEFF                               WITTE ENGINEERED GASES                  WITTENSTEIN AEROSPACE & SIMULATION
[ADDRESS ON FILE]                        9876 INDIAN KEY TRAIL                   LONG ASHTON BUSINESS PARKYANLEY L
                                         SEMINOLE, FL 33776                      BRISTOL BS41
                                                                                 UNITED KINGDOM




WMBE PAYROLLING INC.                     WOCO INDUSTRIETECHNIK GMBH              WOCO KRONACHER KUNSTSTOFFWERK
9475 CHESAPEAKE DR                       HANAUER LANDSTRASSE 16                  GMBH
SAN DIEGO, CA 92123                      BAD SODEN-SALMUNSTER 63628              INDUSTRIESTRASSE 7
                                         GERMANY                                 KRONACH 96317
                                                                                 GERMANY



WOLFRAM RESEARCH INC.                    WOLFSSL, INC.                           WOLINSKI, MARK
100 TRADE CTR DR                         10016 EDMONDS WAY SUITE C-300           [ADDRESS ON FILE]
CHAMPAIGN, IL 61820-7237                 EDMONDS, WA 98020




WOLVERINE BRONZE COMPANY                 WOMEN IN TRUCKING ASSOCIATION INC.      WONDER S.P.A.
28178 HAYES ROAD                         2040 JAY-MAR RD. STE 1                  BOSCHETTO, 10
ROSEVILLE, MI 48066                      PLOVER, WI 54467                        CREMONA, CR 26100
                                                                                 ITALY




WOO, SANGBEOM                            WOOD GROUP USA, INC.                    WOOD MACKENZIE, INC.
[ADDRESS ON FILE]                        17325 PARK ROWSUITE 500                 16 CHARLOTTE SQUARE
                                         HOUSTON, TX 77084                       EDINBURGH EH2 4DF
                                                                                 SCOTLAND, UK




WOOD, ALEXANDER                          WOODBRIDGE CORPORATION                  WOODRUFF SAWYER & CO.
[ADDRESS ON FILE]                        412606 MA-527-02-072 MORRISSEY BL       ATTN MELANIE LEONE
                                         BOSTON, MA 02125                        50 CALIFORNIA ST, FLOOR 12
                                                                                 SAN FRANCISCO, CA 94111




WOOTEN, SCOTT                            WORKDAY, INC.                           WORKIVA INC.
[ADDRESS ON FILE]                        6110 STONERIDGE MALL RD                 2900 UNIVERSITY BLVD
                                         PLEASANTON, CA 94588                    AMES, IA 50010
                      Case 25-10258-TMH
WORKPLACE SCREENING INTELLIGENCE, L          Doc 32
                                    WORLD PATENT        FiledINC.
                                                   SERVICES,   02/19/25    Page 169 PRODUCTS
                                                                              WORLD  of 171 INC
4443 PINE GOLD AVE                  107 S. WEST STREET, SUITE 805             19654 8TH STREET EAST
APOPKA, FL 32712                    ALEXANDRIA, VA 22314                      SONOMA, CA 95476




WORLEY GROUP, INC.                    WORTHEN, BRITTON                        WORTHEN, BRITTON
5985 ROGERDALE ROAD                   [ADDRESS ON FILE]                       [ADDRESS ON FILE]
HOUSTON, TX 77072




WPENGINE, INC.                        WRIGHT, RICHARD                         WROBEL, IDA
504 LAVACA ST, STE 1000               [ADDRESS ON FILE]                       [ADDRESS ON FILE]
AUSTIN, TX 78701




WRUBLIK, SIMON-PETER                  WST PRAZISIONSTECHNIK GMBH              WURTH ELECTRONICS ICS, INC.
[ADDRESS ON FILE]                     GERWIGSTRAßE 9                          1982 BYERS RD
                                      LOFFINGEN 79843                         MIAMISBURG, OH 45342
                                      GERMANY




WURTH ELEKTRONIK ICS GMBH & CO. KG    WURTH INDUSTRIE SERVICE GMBH & CO.      WURTH USA INC
WURTHSTRABE. 1                        INDUSTRIEPARK WURTH, DRILLBERG          93 GRANT ST
NIEDERNHALL 74676                     BAD MERGENTHEIM 97980                   RAMSEY, NJ 07446
GERMANY                               GERMANY




WUXI WEIFU INTERNATIONAL TRADE CO.,   WYATT PARTNERS LLC                      WYATT PARTNERS LLC
NO. 13 XINHUA ROAD, NEW DISTRICT      17 GLENVIEW DR                          PO BOX 358
WUXI 214029                           WARREN, NJ 07059-5484                   BERKELEY HEIGHTS, NJ 07922-0358
CHINA




WYCOFF, MICHELLE                      XAVIER, RUBEN                           XENOMATIX NV
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                       ROMEINSE STRAAT 6
                                                                              LEUVEN 3001
                                                                              BELGIUM




XERISCAPES UNLIMITED INC              XIA, BIN                                XIAOFAN, LI
1310 W WATKINS ST                     [ADDRESS ON FILE]                       [ADDRESS ON FILE]
PHOENIX, AZ 85007




XL SPECIALTY INSURANCE COMPANY        XOMETRY INC                             XPO LOGISTICS LLC
ATTN DANIEL BRENNAN                   6116 EXECUTIVE BLVD, STE 800            27724 NETWORK PLACE
100 CONSTITUTION PLAZA, 17TH FLOOR    NORTH BETHESDA, MD 20852                CHICAGO, IL 60673
HARTFORD, CT 06103




XPONENTIAL TECHNOLOGY GROUP, INC      X-RITE INCORPORATED                     XTRA LEASE LLC
5050 MARK IV PARKWAY                  LOCKBOX 62750,62750 COLLECTIONS C       7911 FORSYTH BLVD, STE 600
FORT WORTH, TX 76106                  CHICAGO, IL 60693                       ST LOUIS, MO 63105-3877
XYN INC                   Case 25-10258-TMH
                                        YAMAICHIDoc 32 Filed
                                                ELECTRONICS, USA.02/19/25       Page 170 ofINC.
                                                                                   YAMAZEN   171
344 SOUTH LEMON AVE                       475 HOLGER WAY                           111 NORTHWEST POINT BOULEVARD
WALNUT, CA 91789                          SAN JOSE, CA 95134                       ELK GROVE VILLAGE, IL 60007




YANCEY BROS CO                            YANEZ, JONATHAN                          YANG, XIAO-LIN
330 LEE INDUSTRIAL BLVD                   [ADDRESS ON FILE]                        [ADDRESS ON FILE]
AUSTELL, GA 30168




YASKAWA AMERICA, INC.                     YASSAN, MOHAMMADREZA                     YBARRA, JAMES
360 MERRIMACK STREETBUILDING 9            [ADDRESS ON FILE]                        [ADDRESS ON FILE]
LAWRENCE, MA 01843




YEBRA MEDINA, LUIS                        YEON KIM, JI                             YEPNATION INC.
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        180 N STETSON, STE 3500
                                                                                   CHICAGO, IL 60601




YETTER, PAUL                              YING SHING ENTERPRISES LIMITED           YOKOI, SATOMI
[ADDRESS ON FILE]                         NO.7 ON 16TH FLOOR OF SAXON TOWER,       [ADDRESS ON FILE]
                                          KOWLOON 999077
                                          HONG KONG




YOUNG SWENSON & CROSS PAVING, INC.        YOUNG, VINCENT                           YRC FREIGHT
1329 E GIBSON LANE                        [ADDRESS ON FILE]                        10990 ROE AVE
PHOENIX, AZ 85034                                                                  OVERLAND PARK, KS 66211




YSAGUIRRE, TERESA                         YUBICO INC                               YUCHI, LIANG
[ADDRESS ON FILE]                         5201 GREAT AMERICA PARKWAY, STE 122      [ADDRESS ON FILE]
                                          SANTA CLARA, CA 95054




ZACHARIA, RENJU                           ZAMAN, REEMA                             ZAMANI MEYMIAN, NIMA
[ADDRESS ON FILE]                         [ADDRESS ON FILE]                        [ADDRESS ON FILE]




ZAPGO LTD                                 ZARAGOZA, WILLIAM                        ZAVALA, LEOPOLDO
GENESIS BUILDINGLIBRARY AVENUE            [ADDRESS ON FILE]                        [ADDRESS ON FILE]
OXFORD OX11
UNITED KINGDOM




ZAWODNIAK, THERESA                        ZEDRA NETHERLANDS B.V.                   ZEE SIGN SYSTEMS, INC.
[ADDRESS ON FILE]                         SCHIPHOL BOULEVARD 359                   8 CHOATE
                                          SCHIPHOL 1118 BJ                         IRVINE, CA 92620
                                          NETHERLANDS
ZEEM SOLUTIONS LLC       Case 25-10258-TMH     Doc 32
                                       ZERO EMISSIONS        Filed 02/19/25   Page 171
                                                                                 ZERO TOof
                                                                                        60 171
                                                                                           DESIGN
626 ISIS AVE.                           4141 E BROADWAY RD                       8784 GENTLE WIND DRIVE
INGLEWOOD, CA 90301                     PHOENIX, AZ 85040                        CORONA, CA 92883




ZEUS JOINTCO HOLDCO, LLC                ZF ACTIVE SAFETY AND ELECTRONICS US      ZF CV DISTRIBUTION GERMANY GMBH & C
7300 RANCH ROAD 2222, BLD 3 STE 150     DEPARTMENT 77952                         AM LINDENER HAFEN 21
AUSTIN, TX 78730                        DETROIT, MI 48277                        HANNOVER 30453
                                                                                 GERMANY




ZF FRIEDRICHSHAFEN AG - SCHWEINFURT     ZF FRIEDRICHSHAFEN AG                    ZF LEMFORDER TVA, S.A.
RONTGENSTRAßE 2                         DR. JURGEN ULDERUP-STRABE 7              POLIGONO IND. URTIA CRTA. MALLABIA
SCHWEINFURT 97424                       STEMWEDE 32351                           ERMUA, BIZKAIA 48260
GERMANY                                 GERMANY                                  SPAIN




ZF NORTH AMERICA, INC.                  ZHANG, XIAOROU                           ZHEJIANG HONGXIN TECHNOLOGY CO.,LTD
15811 CENTENNIAL DRIVE                  [ADDRESS ON FILE]                        NO.75, DEJIAN ROAD, JIANGKOU STREET
NORTHVILLE, MI 48168                                                             TAIZHOU CITY, ZHEJIANG 318020
                                                                                 CHINA




ZHENG, YU                               ZIEGLER TRUCK GROUP LLC                  ZIELGER TRUCK GROUP LLC
[ADDRESS ON FILE]                       901 WEST 94TH STREET                     ATTN: JOHANNES ARIENS
                                        MINNEAPOLIS, MN 55420                    901 WEST 94TH STREET
                                                                                 MINNEAPOLIS, MN 55420




ZIMMERER, TIMOTHY                       ZIMMERMAN, SHANE                         ZIMMERMANN INC
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        30587 CENTURY DRIVE
                                                                                 WIXOM, MI 48393




ZIOLKOWSKI, JUSTIN                      ZOKVIC JR, IVICA                         ZOKVIC, IVAN
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                        [ADDRESS ON FILE]




ZOKVIC, MATTHEW                         ZOLMAN TIRE INC.                         ZONE INDUSTRIES, LLC
[ADDRESS ON FILE]                       4411 QUALITY DRIVE                       3303 CYPRESSWOOD DR
                                        SOUTH BEND, IN 46638                     SPRING, TX 77388




ZONGKER, WILLIAM J                      ZOOMINFO MIDCO LLC                       ZORO TOOLS, INC.
[ADDRESS ON FILE]                       805 BROADWAY, SUITE 900                  500 W MADISON ST, STE 4000
                                        VANCOUVER, WA 98660                      CHICAGO, IL 60661-4596




ZUCKER, BRIAN                           ZUHLSDORF, JOSEPH
[ADDRESS ON FILE]                       [ADDRESS ON FILE]




Total: 5069
